Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 1 of 316




            League of Women Voters of Florida, Inc.

                                                      vs.

                                              Laurel Lee



                                         Deposition of:

                                               Alan Hays



                                       October 06, 2021
                                                      Vol 1
     Legend for Designations:

     Yellow Highlighting = Plaintiffs' Designations
     Gray Highlighting = Defendants' Designations
     Green Highlighting = Mutual Designations

     Legend for Objections:

     "P="      = Plaintiffs' Objection
     "D="      = Defendants' Objection
     401/402   = Relevance
     602       = Foundation / Lack of Personal Knowledge
     701       = Calls for Speculation
     802       = Hearsay
     C         = Cumulative
     Form      = Assumes Facts Not in Evidence, Argumentative, or Vague
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 2 of 316
Alan Hays
October 06, 2021




  · · · · · IN THE UNITED STATES DISTRICT COURT
  · · · · · · ·NORTHERN DISTRICT OF FLORIDA
  · · · · · · · · ·TALLAHASSEE DIVISION

  ·   ·   ·   ·   ·   ·   ·   ·   CASE NO. 4:21   cv   186-MW/MAF
  ·   ·   ·   ·   ·   ·   ·   ·   · · · · ·4:21   cv   187
  ·   ·   ·   ·   ·   ·   ·   ·   · · · · ·4:21   cv   201
  ·   ·   ·   ·   ·   ·   ·   ·   · · · · ·4:21   cv   242

  LEAGUE OF WOMEN VOTERS
  FLORIDA, INC., et al.,
  · · · · · Plaintiffs,
  vs.
  LAUREL M. LEE, Florida
  Secretary of State, et al.,
  · · · · · Defendants.
  and
  NATIONAL REPUBLICAN
  SENATORIAL COMMITTEE, et al.,
  · · · · · Intervenors-Defendants.

  _____________________________/




  · · · · · · ·ZOOM DEPOSITION OF ALAN HAYS

  · · · · · · · Wednesday, October 6, 2021

  · · · · · · · · 10:15 a.m. -· 4:44 p.m.

  · · · · · · · · · · · ·Via Zoom



  · · · · · · ·STENOGRAPHICALLY REPORTED BY:

  · · · · · · · · · ·SANDRA L. NARGIZ
  · · · · · · RPR, CM, CRR, CRC, FPR, CCR-GA




  Job No.· 210346




                                     www.phippsreporting.com
                                          (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 3 of 316
Alan Hays
October 06, 2021

                                                                        Page 2
  ·1· ·APPEARANCES: (All appearing via Zoom.)

  ·2
  · ·   · ·ON BEHALF OF THE PLAINTIFF THE LEAGUE OF WOMEN
  ·3·   · ·VOTERS FLORIDA, INC/LEAGUE OF WOMEN VOTERS OF
  · ·   · ·FLORIDA EDUCATION FUND, INC.:
  ·4
  · ·   ·   ·   ·PERKINS COIE
  ·5·   ·   ·   ·1888 Century Park East, #1700
  · ·   ·   ·   ·Los Angeles, CA· 90067
  ·6·   ·   ·   ·310.788.3344
  · ·   ·   ·   ·BY: DANIELLE SIVALINGAM, ESQUIRE
  ·7·   ·   ·   ·dsivalingam@perkinscoie.com

  ·8
  · ·   ·   ·   ·ELIAS LAW GROUP, LLP
  ·9·   ·   ·   ·15500 New Barn Road, #104
  · ·   ·   ·   ·Miami Lakes, FL· 33014
  10·   ·   ·   ·305.823.2300
  · ·   ·   ·   ·BY: CHRISTINA A. FORD, ESQUIRE
  11·   ·   ·   ·cford@elias.law
  · ·   ·   ·   ·FRANCESCA GIBSON, ESQUIRE
  12·   ·   ·   ·fgibson@elias.law

  13
  · ·   · ON BEHALF OF WITNESS HAYS:
  14
  · ·   ·   ·   ·GRAY|ROBINSON
  15·   ·   ·   ·301 S. Bronough Street, #600
  · ·   ·   ·   ·Tallahassee, Florida· 32301
  16·   ·   ·   ·850.577.9090
  · ·   ·   ·   ·BY: ANDRE V. BARDOS, ESQUIRE
  17·   ·   ·   ·andy.bardos@gray-robinson.com

  18· ·ON BEHALF OF CONSOLIDATED PLAINTIFFS NAACP:

  19·   ·   ·   COVINGTON & BURLING, LLP
  · ·   ·   ·   850 Tenth Street, NW
  20·   ·   ·   Washington, DC 20001
  · ·   ·   ·   202.662.6000
  21·   ·   ·   BY: CYRUS NASSERI, ESQUIRE
  · ·   ·   ·   cnasseri@cov.com
  22

  23

  24

  25


                          www.phippsreporting.com
                               (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 4 of 316
Alan Hays
October 06, 2021

                                                                        Page 3
  ·1· ·APPEARANCES:· (continued)

  ·2·   · ·ON BEHALF OF CONSOLIDATED PLAINTIFFS FLORIDA
  · ·   · ·RISING TOGETHER:
  ·3
  · ·   ·   ·   ARNOLD & PALMER
  ·4·   ·   ·   250 West 55th Street
  · ·   ·   ·   New York, NY· 10009
  ·5·   ·   ·   212.836.7159
  · ·   ·   ·   BY:· RYAN D. BUDHU, ESQUIRE
  ·6·   ·   ·   ryan.budhu@arnoldporter.com

  ·7· · ·ON BEHALF OF THE DEFENDANT SECRETARY OF STATE LEE:

  ·8·   ·   ·   ·HOLTZMAN VOGEL BARAN TORCHINSKY & JOSEFIAK
  · ·   ·   ·   ·119 North Monroe Street, #500
  ·9·   ·   ·   ·Tallahassee, FL· 32301
  · ·   ·   ·   ·850.508.7775
  10·   ·   ·   ·BY: MOHAMMAD O. JAZIL, ESQUIRE
  · ·   ·   ·   ·mjazil@holtzmanvogel.com
  11·   ·   ·   ·KENNETH DAINES, ESQUIRE
  · ·   ·   ·   ·kdaines@holtzmanvogel.com
  12

  13· · ·ON BEHALF OF THE DEFENDANT ATTORNEY GENERAL
  · · · ·ASHLEY MOODY:
  14

  15·   ·   ·   ·OFFICE OF ATTORNEY GENERAL
  · ·   ·   ·   ·PL-01 The Capitol
  16·   ·   ·   ·Tallahassee, FL· 32399
  · ·   ·   ·   ·850.414.3300
  17·   ·   ·   ·BY: BILAL AHMED FARUQUI, ESQUIRE
  · ·   ·   ·   ·bilal.faruqui@myfloridalegal.com
  18·   ·   ·   ·WILLIAM STAFFORD, III, ESQUIRE
  · ·   ·   ·   ·william.stafford@myfloridalegal.com
  19

  20· · ·ON BEHALF OF THE DEFENDANT ALACHUA COUNTY
  · · · ·SUPERVISOR OF ELECTIONS:
  21

  22·   ·   ·   ·ALACHUA COUNTY ATTORNEY'S OFFICE
  · ·   ·   ·   ·12 SE 1st Street
  23·   ·   ·   ·Gainesville, FL· 32601
  · ·   ·   ·   ·352.374.5218
  24·   ·   ·   ·BY: DIANA JOHNSON, ESQUIRE
  · ·   ·   ·   ·dmjohnson@alachuacounty.us
  25


                          www.phippsreporting.com
                               (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 5 of 316
Alan Hays
October 06, 2021

                                                                        Page 4
  ·1· ·APPEARANCES:· (continued)

  ·2·   ·   ·ON BEHALF OF THE DEFENDANTS BAKER, BAY, BRADFORD,
  · ·   ·   ·CALHOUN, COLUMBIA, DIXIE, FRANKLIN, GADSDEN,
  ·3·   ·   ·HAMILTON, JACKSON, LAFAYETTE, LIBERTY, NASSAU,
  · ·   ·   ·PUTNAM, SANTA ROSA, ST. JOHNS, SUMTER, SUWANNEE,
  ·4·   ·   ·TAYLOR, UNION, WAKULLA, WALTON, WALTON COUNTIES
  · ·   ·   ·SUPERVISORS OF ELECTIONS:
  ·5

  ·6·   ·   ·   ·MARKS GRAY
  · ·   ·   ·   ·1200 Riverplace Boulevard #800
  ·7·   ·   ·   ·Jacksonville, FL· 32207
  · ·   ·   ·   ·904.398.0900
  ·8·   ·   ·   ·BY: SUSAN S. ERDELYI, ESQUIRE
  · ·   ·   ·   ·serdelyi@marksgray.com
  ·9

  10· · ·ON BEHALF OF THE DEFENDANTS BREVARD, DESOTO,
  · · · ·FLAGLER, GILCHRIST, GULF, HIGHLANDS, JEFFERSON,
  11· · ·MADISON COUNTIES SUPERVISORS OF ELECTIONS:

  12
  · ·   ·   ·   ·ROPER, P.A.
  13·   ·   ·   ·2707 East Jefferson Street
  · ·   ·   ·   ·Orlando, FL· 32803
  14·   ·   ·   ·407.897.5150
  · ·   ·   ·   ·BY: NICHOLAS J. MARI, ESQUIRE
  15·   ·   ·   ·nmari@roperpa.com

  16
  · · · ·ON BEHALF OF THE DEFENDANTS CHARLOTTE, COLLIER,
  17· · ·INDIAN RIVER, LAKE, LEE, MANATEE, MARION, MONROE,
  · · · ·PASCO, SEMINOLE COUNTIES SUPERVISORS OF ELECTIONS:
  18

  19·   ·   ·   ·GRAY|ROBINSON
  · ·   ·   ·   ·301 S. Bronough Street, #600
  20·   ·   ·   ·Tallahassee, Florida· 32301
  · ·   ·   ·   ·850.577.9090
  21·   ·   ·   ·BY: ANDRE BARDOS, ESQUIRE
  · ·   ·   ·   ·andy.bardos@gray-robinson.com
  22

  23

  24

  25


                          www.phippsreporting.com
                               (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 6 of 316
Alan Hays
October 06, 2021

                                                                        Page 5
  ·1· ·APPEARANCES:· (continued)
  · · · ·ON BEHALF OF THE DEFENDANT HILLSBOROUGH SUPERVISOR
  ·2· · ·OF ELECTIONS:

  ·3
  · ·   ·   ·   ·HILLSBOROUGH COUNTY OFFICE OF THE COUNTY
  ·4·   ·   ·   ·ATTORNEY
  · ·   ·   ·   ·601 East Kennedy Blvd., Flr. 27
  ·5·   ·   ·   ·Tampa, FL 33602
  · ·   ·   ·   ·813.272.5670
  ·6·   ·   ·   ·BY: STEPHEN M. TODD, ESQUIRE
  · ·   ·   ·   ·todds@hillsboroughcounty.org
  ·7

  ·8· · ·ON BEHALF OF THE DEFENDANT PINELLAS COUNTY
  · · · ·SUPERVISOR OF ELECTIONS:
  ·9

  10·   ·   ·   ·PINELLAS COUNTY ATTORNEY'S OFFICE
  · ·   ·   ·   ·315 Court Street
  11·   ·   ·   ·Clearwater, FL· 33756
  · ·   ·   ·   ·727.464.3354
  12·   ·   ·   ·BY: KELLY L. VICARI, ESQUIRE
  · ·   ·   ·   ·kvicari@pinellascounty.org
  13

  14· · ·ON BEHALF OF THE DEFENDANT ESCAMBIA COUNTY
  · · · ·SUPERVISOR OF ELECTIONS:
  15

  16·   ·   ·   ·ESCAMBIA COUNTY ATTORNEY'S OFFICE
  · ·   ·   ·   ·221 Palafox Place, #430
  17·   ·   ·   ·Pensacola, FL· 32502
  · ·   ·   ·   ·850.595.4970
  18·   ·   ·   ·BY: KIA MA'RENE JOHNSON, ESQUIRE
  · ·   ·   ·   ·kmjohnson@myescambia.com
  19
  · ·   · ·ON BEHALF OF THE DEFENDANT BROWARD COUNTY
  20·   · ·SUPERVISOR OF ELECTIONS:

  21·   ·   ·   ·BROWARD COUNTY ATTORNEY'S OFFICE
  · ·   ·   ·   ·115 S Andrews Avenue, #423
  22·   ·   ·   ·Ft. Lauderdale, FL· 33301
  · ·   ·   ·   ·954.357.7600
  23·   ·   ·   ·BY: BENJAMIN SALZILLO, ESQUIRE
  · ·   ·   ·   ·bsalzillo@me.com
  24

  25


                          www.phippsreporting.com
                               (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 7 of 316
Alan Hays
October 06, 2021

                                                                        Page 6
  ·1· ·APPEARANCES:· (continued)

  ·2· · ·ON BEHALF OF THE DEFENDANT CITRUS COUNTY
  · · · ·SUPERVISOR OF ELECTIONS:
  ·3

  ·4·   ·   ·   ·BELL & ROPER
  · ·   ·   ·   ·2727 East Jefferson Street
  ·5·   ·   ·   ·Orlando, FL· 32308
  · ·   ·   ·   ·407.897.5150
  ·6·   ·   ·   ·BY: DALE A. SCOTT, ESQUIRE
  · ·   ·   ·   ·dscott@bellroperlaw.com
  ·7

  ·8· · ·ON BEHALF OF THE DEFENDANTS GLADES, HARDEE,
  · · · ·HENDRY, HOLMES, LEVY, OKEECHOBEE COUNTIES
  ·9· · ·SUPERVISORS OF ELECTIONS:

  10
  · ·   ·   ·   ·HENDERSON FRANKLIN STARNES & HOLTE
  11·   ·   ·   ·1715 Monroe Street
  · ·   ·   ·   ·Ft. Myers, FL· 33901
  12·   ·   ·   ·239.344.1100
  · ·   ·   ·   ·BY: GERALDO F. OLIVO, ESQUIRE
  13·   ·   ·   ·jerry.olivo@henlaw.com

  14· · ·ON BEHALF OF THE DEFENDANT LEON COUNTY SUPERVISOR
  · · · ·OF ELECTIONS:
  15

  16·   ·   ·   ·MESSER CAPARELLO
  · ·   ·   ·   ·2618 Centennial Place
  17·   ·   ·   ·Tallahassee, FL· 32308
  · ·   ·   ·   ·850.222.0720
  18·   ·   ·   ·BY: MARK HERRON, ESQUIRE
  · ·   ·   ·   ·mherron@lawfla.com
  19

  20· · ·ON BEHALF OF THE DEFENDANT OKALOOSA SUPERVISOR OF
  · · · ·ELECTIONS:
  21

  22·   ·   ·   ·NABORS GIBLIN & NICKERSON
  · ·   ·   ·   ·1500 Mahan Drive, #200
  23·   ·   ·   ·Tallahassee, FL· 32302
  · ·   ·   ·   ·850.224.4070
  24·   ·   ·   ·BY: ELIZABETH ELLIS, ESQUIRE
  · ·   ·   ·   ·eellis@ngnlaw.com
  25


                          www.phippsreporting.com
                               (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 8 of 316
Alan Hays
October 06, 2021

                                                                        Page 7
  ·1· ·APPEARANCES:· (continued)

  ·2· · ·ON BEHALF OF THE DEFENDANT MIAMI-DADE COUNTY
  · · · ·SUPERVISOR OF ELECTIONS:
  ·3

  ·4·   ·   ·   ·MIAMI-DADE COUNTY ATTORNEY'S OFFICE
  · ·   ·   ·   ·111 NW 1st Street, #2810
  ·5·   ·   ·   ·Miami, FL· 31128
  · ·   ·   ·   ·305.375.5151
  ·6·   ·   ·   ·BY: MICHAEL B. VALDES, ESQUIRE
  · ·   ·   ·   ·mbv@miamidade.gov
  ·7

  ·8· · ·ON BEHALF OF THE DEFENDANT PALM BEACH COUNTY
  · · · ·SUPERVISOR OF ELECTIONS:
  ·9

  10·   ·   ·   ·PALM BEACH COUNTY SUPERVISOR OF ELECTIONS OFFICE
  · ·   ·   ·   ·240 South Military Trail
  11·   ·   ·   ·West Palm Beach, FL· 33415
  · ·   ·   ·   ·561.656.6200
  12·   ·   ·   ·BY: ASHLEY D. HOULIHAN, ESQUIRE
  · ·   ·   ·   ·ashleyhoulihan@pbcelections.org
  13

  14· · ·ON BEHALF OF THE INTERVENOR REPUBLICAN NATIONAL
  · · · ·COMMITTEE/NATIONAL REPUBLICAN SENATORIAL
  15· · ·COMMITTEE:

  16·   ·   ·   ·SHUTTS & BOWEN
  · ·   ·   ·   ·201 S. Biscayne Blvd., #1500
  17·   ·   ·   ·Miami, FL· 33131
  · ·   ·   ·   ·305.358.6300
  18·   ·   ·   ·BY: FRANCIS A. ZACHERL, III, ESQUIRE
  · ·   ·   ·   ·faz@shutts.com
  19·   ·   ·   ·BENJAMIN J. GIBSON, ESQUIRE
  · ·   ·   ·   ·bgibson@shutts.com
  20

  21

  22

  23

  24

  25


                          www.phippsreporting.com
                               (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 9 of 316
Alan Hays
October 06, 2021

                                                                        Page 8
  ·1· · · · · · · · · · · · · I N D E X

  ·2·   ·WITNESS· · · · · · · · · · · · · · · · · · · ·PAGE
  · ·   ·ALAN HAYS· · · · · · · · · · · · · · · · · · · ·12
  ·3
  · ·   ·   ·   Direct Examination by Ms. Sivalingam· · · · ·12
  ·4·   ·   ·   Cross Examination by Mr. Nasseri· · · · · · 133
  · ·   ·   ·   Cross Examination by Mr. Budhu· · · · · · · 157
  ·5·   ·   ·   Cross Examination by Mr. Jazil· · · · · · · 181
  · ·   ·   ·   Redirect Examination by· · · · · · · · · · ·219
  ·6·   ·   ·   Ms. Sivalingam
  · ·   ·   ·   Recross Examination by Mr. Nasseri· · · · · 220
  ·7
  · ·   ·CERTIFICATE OF OATH· · · · · · · · · · · · · · 224
  ·8·   ·CERTIFICATE OF REPORTER· · · · · · · · · · · · 225
  · ·   ·READ AND SIGN LETTER· · · · · · · · · · · · · ·226
  ·9·   ·ERRATA SHEET· · · · · · · · · · · · · · · · · ·227

  10·   ·(STENOGRAPHER'S NOTE:· All documents were sent to
  · ·   ·Stenographer electronically.· A digital exhibit
  11·   ·sticker was placed on the documents which were
  · ·   ·marked during the proceeding.)
  12

  13· · · · · · · · · · · INDEX OF EXHIBITS

  14· ·NO.· · · · ·DESCRIPTION· · · · · · · · · · · · ·ID

  15·   ·1· ·Notice of Taking Deposition (775736)· · · · 18
  · ·   ·2· ·3-12-21 Florida Phoenix article (775735)· · 44
  16·   ·3· ·Photo of drop box (775733)· · · · · · · · · 50
  · ·   ·4· ·News 6 article of interview (775734)· · · · 54
  17·   ·5· ·E-mail chain, Hays/Dunaway (009418)· · · · ·93
  · ·   ·6· ·E-mail chain, Hays/Stamoulis (009422)· · · 100
  18·   ·7· ·Transcript of Supv. Hays remarks to Senate 110
  · ·   ·8· ·Senate Bill 90· · · · · · · · · · · · · · ·118
  19·   ·9· ·Lake County survey response· · · · · · · · 118
  · ·   ·10· Text message chat (008384)· · · · · · · · ·123
  20·   ·11· Transcript, Hays comments at hearing· · · ·136
  · ·   ·12· E-mail, Hays/Davis (KEY00009948)· · · · · ·141
  21·   ·13· 2-21-21 E-mail, Hays/Kopelousos· · · · · · 152
  · ·   ·14· REUSPSOIG recovered ballots e-mail chain· ·200
  22·   ·15· Vote-by-mail drop off process· · · · · · · 209
  · ·   ·16· 9-10-2020 e-mail chain, Questions· · · · · 215
  23·   · · ·re: drop boxes
  · ·   ·17· Hays Text message· · · · · · · · · · · · · 220
  24

  25


                          www.phippsreporting.com
                               (888) 811-3408                                    YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 10 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 9
   ·1· ·The following Zoom proceedings began at 10:15 a.m.
   ·2· · · · · · MR. BARDOS:· Andy Bardos on behalf of the
   ·3· · · ·witness.
   ·4· · · · · · MR. STAFFORD:· William Stafford on behalf
   ·5· · · ·of the Florida Attorney General.
   ·6· · · · · · MR. NASSERI:· Cyrus Nasseri on behalf of
   ·7· · · ·the NAACP plaintiffs.
   ·8· · · · · · MR. BUDHU:· Ryan Budhu on behalf of
   ·9· · · ·Florida Rising Together, plaintiffs.
   10· · · · · · MR. JAZIL:· Mohammad Jazil on behalf of
   11· · · ·the Secretary of State.· With me is George
   12· · · ·Meros on behalf of the Defendant Intervenor.
   13· · · · · · MR. DAINES:· Kenneth Daines on behalf of
   14· · · ·the Secretary of State.
   15· · · · · · MR. ZACHERL:· Hi, good morning everybody,
   16· · · ·this is Frank Zacherl, also on behalf of the
   17· · · ·intervenors.
   18· · · · · · MR. GIBSON:· Good morning, this is Ben
   19· · · ·Gibson on behalf of the intervenors.
   20· · · · · · MS. GIBSON:· Francesca Gibson on behalf of
   21· · · ·the League plaintiffs.
   22· · · · · · MS. JOHNSON:· Dianna Johnson on behalf of
   23· · · ·Alachua County supervisor of elections.
   24· · · · · · MR. MARI:· Frank Mari for supervisors of
   25· · · ·elections for Brevard, Flagler, DeSoto,


                          www.phippsreporting.com
                               (888) 811-3408                                     YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 11 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 10
   ·1· ·Gilchrist, Gulf, Highlands, Jefferson and
   ·2· ·Madison Counties.
   ·3· · · · MR. TODD:· Stephen Todd on behalf of
   ·4· ·defendant Craig Latimer for Hillsborough
   ·5· ·County.· Also with me is Peg Reese on behalf of
   ·6· ·Craig Latimer.
   ·7· · · · MR. SALZILLO:· Ben Salzillo on behalf of
   ·8· ·defendant Joe Scott, Broward supervisor of
   ·9· ·elections.
   10· · · · MR. VALDES:· Michael Valdes on behalf of
   11· ·the Miami-Dade supervisor of elections,
   12· ·Christina White.
   13· · · · MS. HOULIHAN:· Ashley Houlihan on behalf
   14· ·of Palm Beach County supervisor of elections,
   15· ·Wendy Link.
   16· · · · MS. ELLIS:· Elizabeth Ellis on behalf of
   17· ·Okaloosa County supervisor of elections, Paul
   18· ·Lux.
   19· · · · MR. HERRON:· Mark Herron on behalf of Mark
   20· ·Earley, Leon County supervisor.
   21· · · · MS. JOHNSON:· Kia Johnson on behalf of
   22· ·David Stafford, Escambia County supervisor of
   23· ·elections.
   24· · · · MS. ERDEYLI:· Susan Erdelyi on behalf of
   25· ·23 supervisors.


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 12 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 11
   ·1· · · · MR. OLIVO:· Jerry Olivo on behalf of
   ·2· ·Glades, Hardee, Hendry, Holmes, Levy and
   ·3· ·Okeechobee Counties.
   ·4· · · · MS. SIVALINGAM:· Before we begin, does
   ·5· ·everybody have access to the exhibits that we
   ·6· ·sent around?· In particular, I want to make
   ·7· ·sure Supervisor Hays is able to access them.                      I
   ·8· ·know it's difficult and sometimes harder doing
   ·9· ·depositions remotely.
   10· · · · THE WITNESS:· I am going to need some
   11· ·patience here.· Here's the plaintiffs'
   12· ·deposition exhibits that Andy sent to me.· Good
   13· ·grief.· Zipped up, open.
   14· · · · MR. BARDOS:· Danielle, I have 13 PDFs, I
   15· ·don't have the password yet.
   16· · · · MS. SIVALINGAM:· I sent it I think 10
   17· ·minutes ago.
   18· · · · MR. BARDOS:· I have it.
   19· · · · MS. SIVALINGAM:· Okay.· Good.
   20· · · · MR. BARDOS:· I will forward the password
   21· ·to you, Supervisor Hays.
   22· · · · (Discussion off record.)
   23· · · · THE WITNESS:· Which one should I open?
   24· · · · MS. SIVALINGAM:· I think we are going to
   25· ·get to the exhibits in a little bit.· My


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 13 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 12
   ·1· · · · colleague, Francesca, will put the name, the
   ·2· · · · file name of the documents that I want you to
   ·3· · · · pull up in the chat, and then we'll give you a
   ·4· · · · minute to pull it up and we'll go from there.
   ·5· · · · · · ·THE STENOGRAPHER:· Would you raise your
   ·6· · · · right hand, please?· Do you swear or affirm
   ·7· · · · that the testimony you are about to give will
   ·8· · · · be the truth, the whole truth, and nothing but
   ·9· · · · the truth?
   10· · · · · · ·THE WITNESS:· I do.
   11· · · · · · ·THE STENOGRAPHER:· Thank you.
   12· ·Thereupon,
   13· · · · · · · · · · · · · ALAN HAYS
   14· ·having been first remotely duly sworn or affirmed,
   15· ·as hereinafter certified, testified as follows:
   16· · · · · · · · · · DIRECT EXAMINATION
   17· ·BY MS. SIVALINGAM:
   18· · · · Q· · So good morning, again, Supervisor Hays,
   19· ·and thank you for taking the time to be here today.
   20· ·My name is Danielle Sivalingam, and I represent
   21· ·several plaintiffs in this matter:· Legal of Women
   22· ·Voters of Florida, League of Women Voters of Florida
   23· ·Education Fund, Florida Alliance for Retired
   24· ·Americans, Cecile Scoon, Susan Rogers, Dr. Robert
   25· ·Brigham and Alan Madison.


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 14 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 13
   ·1· · · · · · ·For ease, I am going to refer to my
   ·2· ·plaintiffs as -- my clients as the League
   ·3· ·plaintiffs.· Unless I specify otherwise that I am
   ·4· ·speaking about only one of my clients, please
   ·5· ·understand me to use the term the League plaintiffs
   ·6· ·to refer to all of my clients.· Okay?
   ·7· · · · A· · Yes, ma'am.
   ·8· · · · Q· · And as you know, there are four cases
   ·9· ·challenging Senate Bill 90, and the judge in all
   10· ·four cases has permitted your testimony to be used
   11· ·in each case, which means that you only need to sit
   12· ·for the deposition, a deposition one time, and your
   13· ·testimony today may be used in all four cases.· For
   14· ·this reason, there are attorneys representing the
   15· ·other plaintiffs present here today and they may
   16· ·conduct their own questioning once I am finished
   17· ·with my questions for you today.
   18· · · · · · ·Can you please state your full name for
   19· ·the record?
   20· · · · A· · My full name is Dixon Alan Hays, spelled
   21· ·H-A-Y-S.· Most people refer to me as Alan Hays.                     I
   22· ·tell folks both my names are four letter words,
   23· ·there is no E in either one of them.· It's A-L-A-N,
   24· ·H-A-Y-S.
   25· · · · Q· · Can you please also state your business


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 15 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 14
   ·1· ·address?
   ·2· · · · A· · 1898 East Burleigh Boulevard, Post Office
   ·3· ·Box 457, Tavares, spelled T-A-V-A-R-E-S, Florida,
   ·4· ·32778.
   ·5· · · · Q· · Supervisor Hays, have you ever been
   ·6· ·deposed before?
   ·7· · · · A· · Yes, ma'am.
   ·8· · · · Q· · About how many times?
   ·9· · · · A· · Once, probably 35 years ago.
   10· · · · Q· · Okay.· Can you tell me a little bit about
   11· ·that case and your role in it.
   12· · · · A· · Yes, ma'am, in my real life, in my
   13· ·previous life, I was a practicing dentist, and one
   14· ·of my patients sued a dentist who had performed some
   15· ·treatment in their mouth and it was not
   16· ·satisfactory; so they deposed me, as the current
   17· ·dentist who had discovered the discrepancies in the
   18· ·previous dentist's work.· And so I told them -- I
   19· ·answered their questions, and that is all I ever
   20· ·heard of it.
   21· · · · Q· · Okay.· Interesting.· Well, so it sounds
   22· ·like it's been a while since you've been deposed.
   23· · · · A· · It's been a while.
   24· · · · Q· · Just so that we are clear today, I am
   25· ·going to go over some ground rules as a refresher on


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 16 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 15
   ·1· ·how these things go.
   ·2· · · · · · ·But before we do that, did you bring
   ·3· ·anything with you to the deposition today?
   ·4· · · · A· · I've got a briefcase for carrying the
   ·5· ·laptops, I've got a bowl with some water in it, and
   ·6· ·it's got some cooler things there to keep the water
   ·7· ·cold, I've got my Gator booster Yeti cup that's got
   ·8· ·water in it.· And other than that, I am all you have
   ·9· ·left.
   10· · · · Q· · Okay.
   11· · · · A· · I do have a pad of paper and a pen to take
   12· ·notes if I want to.
   13· · · · Q· · Sure.· Sounds good.· Do you have your cell
   14· ·phone on you?
   15· · · · A· · No, ma'am.
   16· · · · Q· · Okay.· And is your e-mail inbox open?
   17· · · · A· · Yes.
   18· · · · Q· · Okay.· Is anyone trying -- other than your
   19· ·attorney -- trying to contact you via e-mail about
   20· ·the deposition?
   21· · · · A· · Not that I am aware of.· Forgive me for
   22· ·interjecting here, but as far as I am concerned,
   23· ·this e-mail is only for the -- I mean the --
   24· ·whatever y'all -- exhibits and that's a big deal.
   25· ·The e-mail can wait.· I won't be fiddling with that.


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 17 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 16
   ·1· · · · Q· · Okay.· Good.· And I just ask that if
   ·2· ·anyone aside from your attorney does try to contact
   ·3· ·you about this deposition by phone or e-mail or
   ·4· ·other method, that you tell me.
   ·5· · · · A· · Oh, okay.
   ·6· · · · Q· · Great.· So I am going to go over the
   ·7· ·ground rules for today's deposition.· Given the
   ·8· ·unusual circumstances that we are all living in in
   ·9· ·this moment due to the COVID health crisis, I am not
   10· ·in the room with you and we are all participating in
   11· ·this deposition through videoconference technology.
   12· · · · · · ·And since this deposition is taking place
   13· ·remotely over videoconference, I ask that you do
   14· ·your best to turn off at least the sound on your
   15· ·e-mail communication.· And it sounds like you don't
   16· ·have your cell phone on you, so I appreciate that,
   17· ·just to minimize the distractions while the
   18· ·deposition is taking place.
   19· · · · · · ·And I also ask that your microphone remain
   20· ·on while we are on the record.· If we go on break,
   21· ·you can certainly mute it, but while we are on the
   22· ·record, just so that there is no lag time, and I
   23· ·will do the same.
   24· · · · · · ·During the deposition I will ask you
   25· ·questions and you will answer them, and the court


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 18 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 17
   ·1· ·reporter will be taking down my questions and your
   ·2· ·answers.· Your answers will be under oath, meaning
   ·3· ·that you are swearing to their truthfulness and
   ·4· ·accuracy.· The oath you took today has the same
   ·5· ·effect as if you were testifying in a court of law.
   ·6· ·Do you understand?
   ·7· · · · A· · Sure.
   ·8· · · · Q· · Your answers need to be audible to ensure
   ·9· ·an accurate record of the deposition, so no nodding
   10· ·or shaking of the head.· And please try to avoid
   11· ·saying uh-huh or uh-uh, I will do the same.
   12· · · · · · ·Please wait for me to finish my question
   13· ·before you answer for the sake of the court
   14· ·reporter.· And should your attorney object, please
   15· ·also provide him an opportunity to state his
   16· ·objection for the record before you begin your
   17· ·answer.· This is especially important during a video
   18· ·deposition where a sound, that is not unusual for
   19· ·software delays, to result in accidental and awkward
   20· ·interrupting.
   21· · · · · · ·If my question is unclear to you, please
   22· ·let me know and I will try to clarify for you.· But
   23· ·if you answer the question, I will assume that you
   24· ·understood the question.· Does that sound okay?
   25· · · · A· · Sure.


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 19 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 18
   ·1· · · · Q· · Now, as I referenced, your attorney may
   ·2· ·object to some of my questions.· The objections are
   ·3· ·for the judge to consider later.· You must still
   ·4· ·answer my questions unless you are specifically told
   ·5· ·not to do so by your attorney.
   ·6· · · · · · ·After the deposition the court reporter
   ·7· ·will reduce your testimony into written form which
   ·8· ·will be provided to you in a transcript.· You will
   ·9· ·have the opportunity to read the transcript and
   10· ·correct any inaccuracies.· But if you make any
   11· ·changes to your testimony that are inconsistent with
   12· ·the answers given during the deposition, I and the
   13· ·other attorneys for the plaintiffs will be able to
   14· ·comment on those discrepancies at trial.
   15· · · · · · ·Finally, if you need to take a break for
   16· ·any reason at any time, please say so, I will only
   17· ·ask that if a question is pending, that you answer
   18· ·my question before we go to break.· Okay.
   19· · · · · · ·Now we will pull up an exhibit.· I would
   20· ·like to ask the court reporter to please mark as
   21· ·Exhibit 1 the notice of taking deposition of Alan
   22· ·Hays.
   23· · · · · · ·(Exhibit 1 was marked for identification.)
   24· ·BY MS. SIVALINGAM:
   25· · · · Q· · The document name is in the chat.· Do you


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 20 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 19
   ·1· ·have it up?
   ·2· · · · A· · Me?· Yes, ma'am.
   ·3· · · · Q· · Okay.· Great.· Okay.· I will ask the
   ·4· ·question quicker for the next one.
   ·5· · · · · · ·Have you seen this document, Exhibit 1,
   ·6· ·before?
   ·7· · · · A· · Probably, but honestly, I don't remember.
   ·8· · · · Q· · Okay.· It is the notice of taking your
   ·9· ·deposition.
   10· · · · A· · I understand that.
   11· · · · Q· · Do you understand that you are appearing
   12· ·here today pursuant to this deposition notice which
   13· ·has now been marked as Exhibit 1?
   14· · · · A· · Sure.
   15· · · · Q· · I want to ask you some questions about how
   16· ·you prepared for today's deposition.· Can you please
   17· ·tell me how you prepared for the deposition today?
   18· · · · A· · Well, I reviewed probably a week or two
   19· ·ago the answers that I had given to the multitude of
   20· ·questions that were presented to us, and then I
   21· ·spent time with my attorney getting some rules of
   22· ·engagement, if you want to call it that, the
   23· ·behavioral standards for me; said, Alan, you've got
   24· ·to realize --
   25· · · · · · ·MR. BARDOS:· Hold on, hold on, Alan, you


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 21 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 20
   ·1· · · · don't need to disclose -- I would ask you not
   ·2· · · · to disclose what we discussed.
   ·3· · · · · · ·THE WITNESS:· Oh, okay.
   ·4· · · · · · ·MR. BARDOS:· Go ahead if there is anything
   ·5· · · · else you did to prepare.
   ·6· · · · A· · Not that I recall, no.· I just paid
   ·7· ·attention to the instructions of my attorney.
   ·8· ·BY MS. SIVALINGAM:
   ·9· · · · Q· · Great.· I don't want to know anything that
   10· ·you and your attorney discussed, of course.· But
   11· ·when you say you reviewed answers to questions, do
   12· ·you mean interrogatories maybe?
   13· · · · A· · Yes, ma'am.
   14· · · · Q· · Okay.
   15· · · · A· · I am not understanding -- not being fluent
   16· ·in your legal lingo, but when you said
   17· ·interrogatories, I remembered that.
   18· · · · Q· · Okay.· Sounds good.· Other than your
   19· ·attorney, did you speak with anyone about today's
   20· ·deposition?
   21· · · · A· · Depends on how you define speak with
   22· ·anyone about it.· I have spoken to a multitude of
   23· ·people.· My entire office staff knows that I am
   24· ·being deposed.· I've got multitudes of friends, you
   25· ·know, just -- but, you know, specifically this or


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 22 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 21
   ·1· ·this or this, no.· But, yes, in the general sense, I
   ·2· ·have spoken to more people than I could ever
   ·3· ·remember.
   ·4· · · · Q· · Okay.· So it sounds like a lot of people
   ·5· ·know that you are here.· I guess -- I don't need to
   ·6· ·know about that.· But did you talk with anyone about
   ·7· ·the substance of your testimony today, again, other
   ·8· ·than your attorney?
   ·9· · · · A· · No.
   10· · · · Q· · Okay.· Other than those questions and
   11· ·interrogatories, did you review any other documents
   12· ·in preparation for today's deposition?
   13· · · · A· · No.· I'm sorry for the hesitation in the
   14· ·definition of preparing, and I am not trying to
   15· ·overthink the question, but, you know, at various
   16· ·times since I knew this lawsuit had been filed, I
   17· ·have reviewed the text of Senate Bill 90, I have
   18· ·gone through a whole bunch of other things.· But if
   19· ·I am understanding the context of your question, no,
   20· ·ma'am, I have not done any other preparation than
   21· ·that which we just stated.
   22· · · · Q· · Okay.· That's really helpful to know.
   23· · · · · · ·And as you can imagine, I will be
   24· ·referencing Senate Bill 90 throughout the
   25· ·deposition.· And I will also reference some other


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 23 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 22
   ·1· ·documents, so at certain times, it may come up have
   ·2· ·you seen this before, or did you review it, those
   ·3· ·might be some of the documents that you're thinking
   ·4· ·of.
   ·5· · · · · · ·Okay.· So now just I have to ask, is there
   ·6· ·anything that might impair your ability to testify
   ·7· ·accurately and truthfully today?
   ·8· · · · A· · No, ma'am.
   ·9· · · · Q· · Okay.· You have not taken any medication,
   10· ·alcohol or drugs that would impair your testimony
   11· ·today?
   12· · · · A· · No, ma'am.
   13· · · · Q· · It's one of those that we have to ask to
   14· ·make sure, right?
   15· · · · A· · You have a job to do, so do I.
   16· · · · Q· · If you answer otherwise, it would be
   17· ·useful information in any event.· Okay.
   18· · · · · · ·I have some questions about your
   19· ·professional background and before you became
   20· ·supervisor of elections for Lake County.· And I
   21· ·think you mentioned this.· You are a dentist by
   22· ·training?
   23· · · · A· · Yes, ma'am.
   24· · · · Q· · Before you were a dentist, is it right
   25· ·that you were a member of the Coast Guard for four


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 24 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 23
   ·1· ·years?
   ·2· · · · A· · Yes, ma'am.
   ·3· · · · Q· · Thank you for your service.
   ·4· · · · A· · I would do it again if I was needed.
   ·5· · · · Q· · Wonderful.· Is it correct that in 2004 you
   ·6· ·became a member of the Florida House of
   ·7· ·Representatives?
   ·8· · · · A· · Yes, ma'am.
   ·9· · · · Q· · And where did you represent?
   10· · · · A· · At that time it was House District 25.
   11· · · · Q· · Was Lake County in House District 25?
   12· · · · A· · A portion of Lake County was in House
   13· ·District 25, yes, ma'am.· I had part of Lake County,
   14· ·part of Seminole County and part of Volusia County,
   15· ·all three.
   16· · · · Q· · Okay.· Is it correct that you served in
   17· ·the Florida House of Representatives for about six
   18· ·years?
   19· · · · A· · For exactly six years, yes, ma'am.
   20· · · · Q· · Through 2010 then?
   21· · · · A· · That is correct.
   22· · · · Q· · Okay.· Then after that, you became a
   23· ·member of the Florida Senate?
   24· · · · A· · That is correct.
   25· · · · Q· · What part of Florida did you represent in


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 25 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 24
   ·1· ·the Senate?
   ·2· · · · A· · The Senate districts changed.
   ·3· ·Originally -- originally I had a larger portion of
   ·4· ·Volusia County, a larger portion of Seminole County,
   ·5· ·a portion of Marion County and a greater portion of
   ·6· ·Lake County.· And then I also later on had a portion
   ·7· ·of Orange County.· The districts change from time to
   ·8· ·time, as you are aware.· And I also in the Senate
   ·9· ·had a great deal of Sumter County as well.
   10· · · · Q· · Okay.· During your time in the Florida
   11· ·Senate, is it correct that you served on the Senate
   12· ·Ethics and Elections Committee?
   13· · · · A· · Yes, ma'am.
   14· · · · Q· · Can you tell me a little bit about your
   15· ·work on that committee?
   16· · · · A· · I was on the -- well, I started to say on
   17· ·the redistricting committee, but that was a separate
   18· ·committee.· My work on the ethics elections
   19· ·committee was just sit there and consider the bills
   20· ·and, you know, engage in the discussion and vote on
   21· ·the bills.· It's just like any other committee.
   22· · · · Q· · Sure.· Did you gain insight or knowledge
   23· ·into elections in Florida due to your work on the
   24· ·committee?
   25· · · · A· · Yes, ma'am, but not to a great degree.


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 26 of 316
 Alan Hays
 October 06, 2021

                                                                         Page
                                                                           g 25
   ·1· ·The actual mechanics of the administration of the
   ·2· ·elections was -- I don't recall any discussion
   ·3· ·during those years on that committee about the
   ·4· ·mechanics of election administration.
   ·5· · · · · · ·But the general part of elections, just by
   ·6· ·virtue of the committee, any bill that had to do
   ·7· ·with elections came through our committee.· But it
   ·8· ·was not in the mechanical side of the elections.
   ·9· · · · Q· · Okay.· Did you serve on any other
   10· ·committees about elections during your time in
   11· ·either the Florida House or the Florida Senate?
   12· · · · A· · Not that I recall.
   13· · · · Q· · Okay.· After your time in the Florida
   14· ·Senate, is it correct that immediately after you
   15· ·became supervisor of elections for Lake County?
   16· · · · A· · Yes, ma'am.
   17· · · · Q· · Were you first elected as supervisor of
   18· ·elections in 2016?
   19· · · · A· · Yes, ma'am.
   20· · · · Q· · In Florida, is the supervisor of elections
   21· ·usually an elected position?
   22· · · · A· · In 66 of the 67 counties, the supervisor
   23· ·is elected.· In Miami-Dade County, currently the
   24· ·supervisor there is appointed.
   25· · · · Q· · Okay.· What is the term for a supervisor


                          www.phippsreporting.com
                               (888) 811-3408                                     YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 27 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 26
   ·1· ·of elections at least in Lake County?
   ·2· · · · A· · Four years.
   ·3· · · · Q· · Okay.· Then were you just reelected in
   ·4· ·2020?
   ·5· · · · A· · Yes, ma'am.
   ·6· · · · Q· · Okay.· And would it be correct that your
   ·7· ·term ends in 2024?
   ·8· · · · A· · Yes, ma'am.
   ·9· · · · Q· · Do you plan on running for re-election?
   10· · · · A· · Yes, ma'am.
   11· · · · Q· · Is it correct that the supervisor of
   12· ·elections is a full-time position?
   13· · · · A· · Yes, ma'am.
   14· · · · Q· · So you don't currently have any other
   15· ·jobs?
   16· · · · A· · That is correct.
   17· · · · Q· · Okay.· Is it correct that the supervisor
   18· ·of elections is a partisan rather than nonpartisan
   19· ·office?
   20· · · · A· · Yes, ma'am.
   21· · · · Q· · And you were elected as a Republican,
   22· ·correct?
   23· · · · A· · Yes, ma'am.
   24· · · · Q· · And does Republican remain your party
   25· ·affiliation today?


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 28 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 27
   ·1·
    1· · · · A· · Absolutely.
   ·2· · · · Q· · Okay.· Have you had any formal training in
   ·3· ·election administration?
   ·4· · · · A· · Yes, ma'am.
   ·5· · · · Q· · Can you tell me about your training?
   ·6· · · · A· · Yes, ma'am.· Number 1, five years almost
   ·7· ·now of on-the-job experience but most, perhaps at
   ·8· ·least equally important, the Association of
   ·9· ·Supervisors here in Florida has put together a
   10· ·30-course curriculum that the completion of which
   11· ·leads to the designation of a master of certified
   12· ·elections professional.· And I have earned that
   13· ·designation as being a certified elections
   14· ·professional.
   15· · · · Q· · Okay.· When did you attain that
   16· ·certification?
   17· · · · A· · I would have to go look on the plaque, but
   18· ·it was probably in 2018 or '19.· I know as soon as I
   19· ·was elected and took office, I immediately began the
   20· ·completion of those courses.· And they are in-person
   21· ·courses, they were not being taught online at the
   22· ·time, you literally had to go to the courses; and so
   23· ·I made a very definitive effort on my part to earn
   24· ·that designation.· And I took several of my team
   25· ·here with me to get their certification as well.


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 29 of 316
 Alan Hays
 October 06, 2021

                                                                         Page
                                                                           g 28
   ·1· · · · Q· · Okay.· And you find that certification --
   ·2· ·did you find it valuable?
   ·3· · · · A· · Yes, ma'am, quite valuable.
   ·4· · · · Q· · Can you describe for me the
   ·5· ·responsibilities of the supervisor of elections in
   ·6· ·Lake County?
   ·7· · · · A· · Yes, ma'am.· I am -- I tell my team all
   ·8· ·the time, I am the head coach of the team of
   ·9· ·champions.· And specifically my duties are to
   10· ·oversee the administration of the election itself.
   11· ·And the list would be probably this long
   12· ·(indicating) of all the little bitty different
   13· ·things.
   14· · · · · · ·And we have frequently had people come
   15· ·through the office for tours and things, and
   16· ·invariably they leave with an expression of, wow, I
   17· ·had no idea how many details y'all have to take care
   18· ·of in order to have a smooth election.
   19· · · · · · ·And we take great pride in being detailed
   20· ·oriented, and I tell people, you know, I had, you
   21· ·know, 30 years of training as a dentist and
   22· ·practiced being very meticulous on details in the
   23· ·patient's mouth, and I am very meticulous and
   24· ·attentive to details in my administration of
   25· ·elections here.


                          www.phippsreporting.com
                               (888) 811-3408                                     YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 30 of 316
 Alan Hays
 October 06, 2021

                                                                         Page
                                                                           g 29
   ·1· · · · · · ·We have to secure the polling places; we
   ·2· ·have to recruit and train all the election workers,
   ·3· ·we have to make sure all the equipment is tested and
   ·4· ·in working order; we have to make sure all is
   ·5· ·deployed appropriately to the chosen election sites,
   ·6· ·both early voting and election day; we have to
   ·7· ·coordinate all of the vote-by-mail programs; we have
   ·8· ·to do all of the tabulation; we have to do all of
   ·9· ·the reporting; we have to do the auditing post
   10· ·election, and it will just go and on.
   11· · · · · · ·There in 2018, of course, we had three
   12· ·statewide recounts.· A recount is a completely
   13· ·different set of circumstances.· And, you know, I
   14· ·don't mean to be cute, but I could talk for a long,
   15· ·long time about the duties.· But I think if I've
   16· ·answered your question, I will hush.
   17· · · · Q· · No, that was really helpful, thank you.
   18· ·Mostly it has, but one thing I am not sure I heard
   19· ·and I want to just confirm, is your office involved
   20· ·with registering voters?
   21· · · · A· · Oh, yes, ma'am.· Duh.
                                   Duh
   22· · · · Q· · Okay.· You may have mentioned this, I want
   23· ·to make sure, is it right that you maintain
   24· ·statistics on voting history and voter registration?
   25· · · · A· · Yes, ma'am.


                          www.phippsreporting.com
                               (888) 811-3408                                     YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 31 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 30
   ·1·
    1· · · · Q· · Okay.· And about how many elections --
   ·2· · · · A· · If I may, let me add there, too, a part of
   ·3· ·that voter registration database maintenance is our
   ·4· ·list maintenance program which is prescribed in
   ·5· ·statute as to how we are to execute that to make
   ·6· ·sure that our voter database is current and up to
   ·7· ·date in every way that we possibly can.· And we are
   ·8· ·very attentive to that detail as well.
   ·9· · · · Q· · Okay.· That sounds good.· So about how
   10· ·many elections have you run as the Lake County
   11· ·supervisor of elections?
   12· · · · A· · Well, a multitude of municipal elections,
   13· ·I've got five that are pending right now for this
   14· ·year.· I had seven, I think, in 2017.· And then, of
   15· ·course, we have done the '18 gubernatorial election,
   16· ·and then we did the -- '19, we had city elections,
   17· ·then in '20 we had both the presidential preference
   18· ·primary, the regular primary, we also had the
   19· ·primary in 2018 as well, and then we had the general
   20· ·election in both '18 and in '20.· And, you know,
   21· ·honestly, I haven't counted them, but a bunch
   22· ·anyhow.
   23· · · · Q· · And then would it be fair to say that
   24· ·every primary, presidential primary and general
   25· ·election since you were elected in 2016, you oversaw


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 32 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 31
   ·1· ·those elections?
   ·2· · · · A· · Yes, ma'am.· I would have been the
   ·3· ·presiding officer over those elections, every
   ·4· ·election that's been held in Lake County since
   ·5· ·January of 2017.
   ·6· · · · Q· · Currently, how large is your staff at the
   ·7· ·Supervisor of Elections office?
   ·8· · · · A· · Eighteen or twenty.
   ·9· · · · Q· · And is that about the same size that it
   10· ·was during the 2020 general election?
   11· · · · A· · Oh, great day, no.· During that 2020
   12· ·election, we hired another probably 12 or 15 people
   13· ·for temporary employment.
   14· · · · Q· · Okay.· Out of those 12 to 15 individuals,
   15· ·they were temporary?
   16· · · · A· · Yes, ma'am.
   17· · · · Q· · As supervisor of elections for Lake
   18· ·County, who do you consider your constituents to be?
   19· · · · A· · Every registered voter and really every
   20· ·citizen, because it's our hope that every eligible
   21· ·citizen will become a registered voter and then will
   22· ·make the effort to become informed about the
   23· ·candidates and about the issues and turn out to
   24· ·vote.
   25· · · · · · ·We are very deliberate in our efforts to


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 33 of 316
 Alan Hays
 October 06, 2021

                                                                         Page
                                                                           g 32
   ·1· ·make sure that we register everyone who wants to be
   ·2· ·registered.· We go into multiple community events
   ·3· ·all across the county, and then we also go into all
   ·4· ·the high schools once a year to preregister the 16
   ·5· ·and 17-year-olds and to register any 18-year-olds
   ·6· ·that haven't previously been registered.
   ·7· · · · · · ·So we are very diligent in our effort to
   ·8· ·make sure that people are aware that they can
   ·9· ·register online, they can register in person, they
   10· ·can go to any library and register there, they can
   11· ·go to the DMV offices and register there.
   12· · · · · · ·Candidly, there is no excuse to not be
   13· ·registered in Lake County, Florida.· If you want to
   14· ·be registered, there is multiple doors that are wide
   15· ·open for you.
   16· · · · Q· · Okay.· And then to the extent that we
   17· ·haven't discussed this, I just want to make sure I
   18· ·understand.· What are your goals as supervisor of
   19· ·elections?
   20· · · · A· · We have adopted as an office four points
   21· ·of commitment, and the first and most important is
   22· ·voter confidence.· And everything that we do is
   23· ·focused on making sure that we have earned the
   24· ·confidence of those voters.
   25· · · · · · ·Our second goal of commitment is excellent


                          www.phippsreporting.com
                               (888) 811-3408                                     YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 34 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 33
   ·1· ·service.· And we want every person with whom we
   ·2· ·interact, whether it be in person, whether it be on
   ·3· ·the phone or whether it be via e-mail or any other
   ·4· ·way, we want them to realize that they are important
   ·5· ·to us, we have been attentive to their needs, and we
   ·6· ·have done the best of our ability to meet the
   ·7· ·question that they had and to answer it as
   ·8· ·completely as we could.
   ·9· · · · · · ·Our third point of emphasis and commitment
   10· ·is accurate and efficient elections, and we are
   11· ·going to do everything we know humanly possible to
   12· ·make sure that every election, whether it be a
   13· ·municipal election or presidential election, is done
   14· ·to the highest level of integrity and accuracy.
   15· · · · · · ·And then we have our fourth point of
   16· ·commitment is responsible financial stewardship
   17· ·that -- the people of this county have trusted me
   18· ·with $4 million a year to say, Alan, here's your
   19· ·budget, make sure you are a good steward of it and
   20· ·use it wisely.· And I have done so to the point I
   21· ·have been able to return money to them every year
   22· ·since I have been in office.
   23· · · · Q· · Okay.· Thank you.· So it sounds like you
   24· ·know Lake County pretty well, and I would like you,
   25· ·if you can, to tell me a little bit more about the


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 35 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 34
   ·1· ·county, including how many voters it has.
   ·2· · · · A· · We have approximately 268,000 voters.
   ·3· ·It's been interesting.· I look back, in the 2016
   ·4· ·presidential election there were -- I believe it was
   ·5· ·240 something thousand -- anyhow, you have to do the
   ·6· ·numbers.
   ·7· · · · · · ·But I do know that in the four intervening
   ·8· ·years between 2016 and 2020, we added over 44,000
   ·9· ·registrations to our registration database, new
   10· ·registrations, over 44,000.· We averaged over 11,000
   11· ·voters per year during that four-year time period.
   12· · · · · · ·Lake County geographically sits almost in
   13· ·the exact middle of the state bordered by Orange,
   14· ·Seminole, Volusia, Putnam and Marion and Sumter and
   15· ·Polk Counties and Osceola County.· And we also -- we
   16· ·are 97 miles from north to south and probably
   17· ·60 miles east to west.
   18· · · · · · ·We previously, when I moved here in 1976,
   19· ·were very heavy in agriculture, citrus being the
   20· ·king.· The freezes in the '80s decimated that
   21· ·industry.· We now have become in many areas,
   22· ·particularly the south end of the county, a bedroom
   23· ·community for Orlando.
   24· · · · · · ·The city of Clermont has now become the
   25· ·largest city in the county; previously Leesburg was


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 36 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 35
   ·1· ·the largest one; that Tavares has been the county
   ·2· ·seat for multiple years, probably a hundred, I don't
   ·3· ·know how many, long before I got here.
   ·4· · · · · · ·What other things do you want to know
   ·5· ·about Lake County?
   ·6·
    6· · · · Q· · That was a lot of information, so I really
   ·7· ·appreciate it.· I think if I need anything else, I
   ·8· ·will ask you throughout a little bit later.· But
   ·9· ·that gives me a good sense for the county, so thank
   10· ·you.
   11· · · · · · ·Switching gears, I want to ask you some
   12· ·questions about an association that you mentioned a
   13· ·few minutes ago, the Florida Supervisor of
   14· ·Elections.· I think you already told me what it is.
   15· ·Is it correct that you are a member of the FSE?
   16· · · · A· · Yes, ma'am.
   17· · · · Q· · Okay.· What's your opinion of the FSE?
   18· · · · A· · I feel privileged to be a member of such
   19· ·an esteemed group of dedicated public servants, and
   20· ·I am not trying to curry favor with anybody.· But
   21· ·what I really wish our association could
   22· ·successfully do is impart to the citizens of Florida
   23· ·just how high a level of dedication and efficiency
   24· ·and accuracy and all those other good things our
   25· ·association is.


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 37 of 316
 Alan Hays
 October 06, 2021

                                                                         Page
                                                                           g 36
   ·1·
    1· · · · · · ·I have been so tickled to be at their -- I
   ·2· ·have been at every association meeting since I was
   ·3· ·sworn in, and I know I could count on one hand, but
   ·4· ·honestly, I can't refer you to any specific time
   ·5· ·when I have ever heard any partisan comments made.
   ·6· ·The association is as neutral as neutral can be.
   ·7· · · · · · ·When I was in the Legislature, I was not
   ·8· ·privy and, frankly, didn't give a hoot about the
   ·9· ·politics.· I was there about policy.· And that's one
   10· ·of the things I enjoy the most about this job here,
   11· ·is I am somewhat like a referee on a football field.
   12· ·I call fouls when I see them and the rest of the
   13· ·time I try to stay out of the way, behind the scenes
   14· ·and let the good things happen.
   15· · · · · · ·But we are all about policy, policy,
   16· ·policy, follow the law.· We are not going to get
   17· ·into the political milieu.· And the association does
   18· ·just that.
   19· · · · · · ·They are a very dedicated group of
   20· ·professional men and women, several of whom have
   21· ·been there for 20 plus years.· They have been very
   22· ·generous with their support, their openness, sharing
   23· ·ideas all the time back and forth.
   24· · · · · · ·I was moving into a new office building
   25· ·and we had to do some modifications.· I visited 10


                          www.phippsreporting.com
                               (888) 811-3408                                     YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 38 of 316
 Alan Hays
 October 06, 2021

                                                                         Page
                                                                           g 37
   ·1· ·other supervisors' offices, I borrowed their good
   ·2· ·ideas, brought them here, incorporated those ideas
   ·3· ·into the construction of our building here.· And
   ·4· ·they have just -- we all work together, and I don't
   ·5· ·know which ones are Ds and which are Rs and it
   ·6· ·really doesn't make any difference to any of us.
   ·7·
    7· · · · Q· · Okay.· And is it correct that you are on
   ·8· ·the FSE legislative committee?
   ·9· · · · A· · I have chaired that committee for the
   10· ·last, I think, four years, maybe three.· Anyhow,
   11· ·yes, I am the chairman of that committee.
   12· · · · Q· · Okay.· Now I want to ask you about the
   13· ·2020 elections in Lake County.· And in terms of
   14· ·federal elections, there were three elections in
   15· ·2020, is that right?
   16· · · · A· · Yes, ma'am.
   17· · · · Q· · Okay.· The presidential preference
   18· ·primary, the primary election, and the general
   19· ·election?
   20· · · · A· · That's correct.
   21· · · · Q· · Okay.· Most of my questions, unless I
   22· ·state otherwise, are going to be about those
   23· ·elections as a group.· If your answer is different
   24· ·for certain elections, definitely let me know;
   25· ·otherwise, I will take your answer as being an


                          www.phippsreporting.com
                               (888) 811-3408                                     YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 39 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 38
   ·1· ·answer for all three of those federal elections.
   ·2· · · · A· · Okay.
   ·3·
    3· · · · Q· · Okay.· So looking back on the 2020
   ·4· ·elections in Lake County, would you say that the
   ·5· ·elections were a success?
   ·6· · · · A· · Absolutely.
   ·7· · · · Q· · And why is that?
   ·8· · · · A· · Because we had very few hiccups, the
   ·9· ·results came in on time and our audits proved that
   10· ·we were accurate.
   11· · · · · · ·And we have received many, many, many
   12· ·compliments from the citizens of Lake County on how
   13· ·smooth the elections ran.· Our election workers have
   14· ·commented several times about how fulfilled they are
   15· ·to be a part of the team, how pleased they are with
   16· ·our training, the efficiency of it, the fact that we
   17· ·didn't have any long lines, no waiting periods, no
   18· ·power failures, I could go on and on and on.· But
   19· ·the 2020 elections in Lake County were an astounding
   20· ·success.
   21· · · · Q· · Okay.· Do you know what the voter turnout
   22· ·was for the 2020 general election in Lake County?
   23· · · · A· · 80.28 percent.· That's 80.28 percent.
   24· · · · Q· · Would you consider that to be a high
   25· ·turnout?


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 40 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 39
   ·1· · · · A· · Yes, ma'am.
   ·2· · · · Q· · Okay.· Is that higher than in other recent
   ·3· ·presidential elections?
   ·4· · · · A· · I have no idea.
   ·5· · · · Q· · Okay.· That's fine.· If you don't know,
   ·6· ·definitely let me know.
   ·7· · · · A· · I don't know.
   ·8· · · · Q· · Is high voter turnout important to you?
   ·9· · · · A· · Absolutely.
   10· · · · Q· · Okay.· Now, how would you define a secure
   11· ·election?
   12· · · · A· · There are a multitude of ways to define
   13· ·security.· Our security begins here with the
   14· ·background checks on the people before we employ
   15· ·them.· Our security here extends to our e-mail,
   16· ·where we can't just sign on with a password, we have
   17· ·to have multifactor authentication to get on the
   18· ·account.· After you've typed in your password, you
   19· ·get a code and that code changes every time you get
   20· ·on.
   21· · · · · · ·The physical plant itself, we have over 20
   22· ·security cameras, both external and internal, in
   23· ·multiple rooms and in the warehouse.· We have chain
   24· ·of custody of every one of our tabulation machines.
   25· ·Our boxes of equipment and supplies that go out are


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 41 of 316
 Alan Hays
 October 06, 2021

                                                                         Page
                                                                           g 40
   ·1· ·sealed with numbered seals, those seal numbers are
   ·2· ·recorded.
   ·3· · · · · · ·And all of our ballots, we count the
   ·4· ·ballots when they come from the printer.· We know
   ·5· ·exactly how many we have got, we know exactly how
   ·6· ·many we've deployed to each precinct and every early
   ·7· ·voting site, and we make sure that the tabulation of
   ·8· ·those ballots is complete with every election.· We
   ·9· ·go on then, of course, on election day with all the
   10· ·tabulation of those ballots.
   11· · · · · · ·We do the audit, we make sure -- good Lord
   12· ·of mercy, the thousands and thousands of dollars
   13· ·that we have spent on cybersecurity, you and I both
   14· ·could take a real nice vacation with that money.
   15· · · · · · ·But the multiple layers of security that
   16· ·we have in several different positions through here,
   17· ·both internally and at the county level and at the
   18· ·state level and all sorts of firewalls, I could go
   19· ·on and on and on.· So all of these factors play a
   20· ·key role in making sure the election is secure.
   21· · · · Q· · Okay.· Would you say that the 2020
   22· ·elections in Lake County were secure?
   23· · · · A· · Absolutely.
   24· · · · Q· · Okay.· And all of those steps to make that
   25· ·secure option that you described for me in detail,


                          www.phippsreporting.com
                               (888) 811-3408                                     YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 42 of 316
 Alan Hays
 October 06, 2021

                                                                         Page
                                                                           g 41
   ·1· ·those were employed in the 2020 elections in your
   ·2· ·county?
   ·3· · · · A· · Yes, ma'am.
   ·4· · · · Q· · Okay.· As an election administrator, are
   ·5· ·you generally familiar with elections throughout the
   ·6· ·state of Florida or at least the statewide --
   ·7· ·actually, are you generally familiar with elections
   ·8· ·throughout the state of Florida?
   ·9· · · · A· · Generally, yes, ma'am.
   10· · · · Q· · Okay.· I only want to know to your
   11· ·knowledge and to your understanding, would you say
   12· ·that the 2020 general election Florida statewide was
   13· ·a success?
   14· · · · A· · Absolutely.
   15· · · · Q· · Okay.· And generally speaking, would those
   16· ·be for the same reasons that you described regarding
   17· ·Lake County?
   18· · · · A· · Yes, ma'am.
   19· · · · Q· · Okay.· And to your knowledge as an
   20· ·election administrator, would you say that the 2020
   21· ·elections statewide in Florida were generally
   22· ·secure?
   23· · · · A· · Yes, ma'am.
   24· · · · Q· · Okay.· And would that be for similar
   25· ·reasons that you described as to why the election in


                          www.phippsreporting.com
                               (888) 811-3408                                     YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 43 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 42
   ·1·
    1· ·Lake County was secure?
   ·2· · · · A· · Yes, ma'am.
   ·3· · · · Q· · Okay.· So as you know, this lawsuit
   ·4· ·involves the legality of Florida's Senate Bill 90,
   ·5· ·which I may refer to as SB 90 for short.· Did you
   ·6· ·generally follow the introduction of SB 90 and its
   ·7· ·counterpart HB7041 as it made its way through the
   ·8· ·Florida Legislature from its introduction to its
   ·9· ·passage?
   10· · · · A· · Yes, ma'am.
   11· · · · Q· · What was your opinion about SB 90 when it
   12· ·was released initially?
   13· · · · A· · It was initially released the day before
   14· ·the ethics and elections Senate committee was
   15· ·scheduled to hear it the first time.· It had three
   16· ·sections.· I thought the middle section was good, I
   17· ·thought the first and third sections were not good,
   18· ·and yet, I decided to not go to Tallahassee and let
   19· ·my voice be heard.
   20· · · · · · ·The next week, what I considered a bad
   21· ·bill became a horrible bill when it then had seven
   22· ·sections, and I felt so strongly that I did go to
   23· ·Tallahassee and I testified before the committee;
   24· ·and I honestly don't remember which one it was now,
   25· ·Senator Rodriguez was the chairman of it, if I


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 44 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 43
   ·1· ·recall correctly.
   ·2· · · · · · ·But anyhow, I testified there and I told
   ·3· ·them what I thought of the bill.· And then, of
   ·4· ·course, it went on and, holy cow, multiple changes,
   ·5· ·you've got the track record in the record I am sure
   ·6· ·of that bill.· And, of course, I followed it right
   ·7· ·on through the final passage of it.
   ·8· · · · Q· · Okay.· Were you consulted in your capacity
   ·9· ·as a supervisor of elections about Senate Bill 90 or
   10· ·HB7041 before it was released?
   11· · · · A· · No, ma'am.
   12· · · · Q· · Did the FSE take an official position on
   13· ·SB90, to your knowledge?
   14· · · · A· · Yes, ma'am.
   15· · · · Q· · What was the position?
   16· · · · A· · The position -- and I apologize, I don't
   17· ·know exactly what stage, it was near the end of it,
   18· ·but we put out a letter that stated that in its
   19· ·present form, we did not support it.
   20· · · · Q· · Aside from speaking before the committee
   21· ·about SB 90, can you give me just an overview of the
   22· ·steps you took to oppose SB 90 such as lobbying your
   23· ·state representative or senator?
   24· · · · A· · As you can imagine, I have several
   25· ·colleagues there in the legislature with whom I


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 45 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 44
   ·1· ·served.· And I contacted several of them, I
   ·2· ·contacted others whom I had not served with but they
   ·3· ·knew of my current position and my track record in
   ·4· ·Tallahassee multiple times, multiple ways, just
   ·5· ·trying to explain to them what a travesty certain
   ·6· ·parts of Senate Bill 90 were at that particular
   ·7· ·time.
   ·8· · · · · · ·And to their credit, they did make
   ·9· ·significant changes to the bill as it went through
   10· ·the process.
   11· · · · · · ·Did they give us everything that we asked
   12· ·for?· No, ma'am, they did not.· But they did -- they
   13· ·did take some of our suggestions and incorporate
   14· ·them into the bill, and a lot of it had to do with
   15· ·deleting certain things from the bill.
   16· · · · Q· · Okay.· I would like to now pull up an
   17· ·article in the Florida Phoenix, it's entitled "GOP
   18· ·Reforms:· Only immediate family could help pick up
   19· ·and deliver ballots; but what if there's no family
   20· ·close by?"· And my colleague has put the document
   21· ·title in the chat.
   22· · · · · · ·(Exhibit 2 was marked for identification.)
   23· · · · · · ·MS. SIVALINGAM:· Let me know when you have
   24· · · · it up.
   25· · · · · · ·THE WITNESS:· There we go.· Okay.


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 46 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 45
   ·1· ·BY MS. SIVALINGAM:
   ·2· · · · Q· · This article is from the Florida Phoenix
   ·3· ·dated March 12, 2021, and it quotes you in several
   ·4· ·places.· Do you recognize we'll call Exhibit 2?
   ·5· · · · A· · I have it here on the screen in front of
   ·6· ·me, it's the first time I have ever seen it.· So I
   ·7· ·guess you could say I recognize it, but I have not
   ·8· ·read this.· I don't know anything about it.
   ·9· · · · Q· · Do you remember giving an interview to
   10· ·Laura Cassels at the Florida Phoenix for an article?
   11· · · · A· · Okay.· I will take your word for it.· I do
   12· ·not record the different people with whom I speak,
   13· ·certainly not the reporters, good gracious alive.
   14· · · · · · ·Do you want me to read this thing for
   15· ·content and see if it's accurate or not, or what?
   16· · · · Q· · I have a couple specific questions about a
   17· ·couple statements, but if you feel more comfortable,
   18· ·I certainly want you to feel comfortable discussing
   19· ·the article, so whatever you need to do.
   20· · · · A· · Hang on, let me take a minute or two here.
   21· · · · Q· · Absolutely.
   22· · · · A· · (Examining Document.)
   23· · · · · · ·My elderly mother is still living, too.
   24· ·She will be a hundred in February.
   25· · · · Q· · Oh, wow.


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 47 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 46
   ·1· · · · A· · (Examining Document.)
   ·2· · · · · · ·Okay.· I've skimmed it.
   ·3· · · · Q· · Okay.· I want to ask you about your
   ·4· ·statement and most of the testimony -- well, your
   ·5· ·statement before the Legislature where you said the
   ·6· ·bill, Senate Bill 90, does not include a single one
   ·7· ·of the top 10 priorities recommended by the
   ·8· ·Supervisor of Elections Statewide Association of
   ·9· ·which Hays is a member.
   10· · · · · · ·Did you, in fact, give that statement
   11· ·before the Florida Senate?
   12· · · · A· · I don't recall.· I have -- I can get a
   13· ·copy of my remarks that I did read that day.                I
   14· ·don't recall making that statement at the time.· As
   15· ·a matter of fact, the bill did not include any of
   16· ·our top 10 priorities, but I don't think I made that
   17· ·statement in my testimony to the Senate.· But there
   18· ·again, I would have to review my written speech that
   19· ·day.
   20· · · · Q· · Okay.· But I am not asking about whether
   21· ·or not the bill included those priorities.· The
   22· ·draft that you spoke on did not include those top 10
   23· ·priorities, is that correct?
   24· · · · A· · Yes.
   25· · · · Q· · And then the final version of SB 90, did


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 48 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 47
   ·1· ·it include any of the top 10 priorities recommended
   ·2· ·by the Florida supervisor of elections?
   ·3· · · · A· · I am sorry, I would have to go back and
   ·4· ·review that list of priorities and compare it with
   ·5· ·the bill.· I don't recall right now.
   ·6· · · · Q· · Okay.
   ·7· · · · A· · You see, this article was written right
   ·8· ·after -- the only version of the bill was the second
   ·9· ·version.· This is when it was a seven-section
   10· ·travesty -- my word, not theirs.· But there were
   11· ·many, many changes made to the bill as it progressed
   12· ·through the process.
   13· · · · Q· · That's right.· That's right.· So you said
   14· ·that near the end, the FSE released a statement
   15· ·stating their official position on SB 90 and that
   16· ·they did not support SB 90.· Did that statement also
   17· ·represent your views at least at the time?
   18· · · · A· · Absolutely.
   19· · · · Q· · Switching gears to talking about voting by
   20· ·mail in Lake County, I want to make sure I
   21· ·understand the process.· These are questions, to the
   22· ·extent it's different, so I am asking about before
   23· ·SB 90.
   24· · · · · · ·Can you explain to me how a Lake County
   25· ·voter could request a vote-by-mail ballot?


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 49 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 48
   ·1· · · · A· · They could go online to our website, they
   ·2· ·could also fill out a voter registration application
   ·3· ·requesting a vote-by-mail ballot.· They could send
   ·4· ·us -- they could make a phone call, they could come
   ·5· ·in in person.· There again, it's quite easy to
   ·6· ·request a vote-by-mail ballot.
   ·7·
    7· · · · Q· · Can voters renew their requests for a
   ·8· ·vote-by-mail ballot by checking a box on the
   ·9· ·envelope in which they returned their ballot in a
   10· ·given election?
   11· · · · A· · No, ma'am.· Here in Lake County we did not
   12· ·have that option available.· It's one that I
   13· ·certainly planned to incorporate, but I had a whole
   14· ·host of preprinted envelopes that I did not want to
   15· ·render them obsolete, so we did not offer that
   16· ·convenience yet.
   17· · · · Q· · How does your office go about sending Lake
   18· ·County voters' vote-by-mail ballot?
   19· · · · A· · We most of the time use the U.S. Postal
   20· ·Service.· There are some overseas voters who we
   21· ·e-mail their ballots to them, the military and
   22· ·overseas.· But generally it's -- and we also have
   23· ·some who come by to pick up their ballots in person.
   24· ·But the overwhelming majority of our ballots go out
   25· ·in the U.S. Postal Service.


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 50 of 316
 Alan Hays
 October 06, 2021

                                                                         Page
                                                                           g 49
   ·1· · · · Q· · Okay.· And before SB 90, can you explain
   ·2· ·to me all the ways in which a Lake County voter
   ·3· ·could return their vote-by-mail ballot?
   ·4· · · · A· · Yes, ma'am.· They could bring it into our
   ·5· ·office in person.· We have a drop box here that is
   ·6· ·available throughout the whole time that we are
   ·7· ·open.· They could also take it to an early voting
   ·8· ·site; all of our early voting sites have drop boxes.
   ·9· · · · · · ·We also had a drop box in the front of our
   10· ·office in the edge of the parking lot there that had
   11· ·three security cameras trained on it 24 hours a day.
   12· ·And the opening of that box, I had it custom
   13· ·tailored so that you could only put two or three
   14· ·envelopes in there at a time.· It's a very narrow --
   15· ·I am trying to look at the camera here to see.· The
   16· ·opening is only probably a half to three-quarters of
   17· ·an inch wide or high so that you can't put a whole
   18· ·stack of envelopes in there.
   19· · · · · · ·The big thing, too, is you can't pour a
   20· ·cup full of liquid in there either.· When I was
   21· ·designing the mailbox, I talked to a librarian who
   22· ·had experience with library drop boxes for book
   23· ·returns, and she cautioned me, she said, Alan, you
   24· ·wouldn't believe the number of vandals that come by
   25· ·and pour liquids in there, various other things that


                          www.phippsreporting.com
                               (888) 811-3408                                     YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 51 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 50
   ·1· ·didn't belong in the book return boxes.· So I
   ·2· ·incorporated her advice and custom tailored our box
   ·3· ·so that it wouldn't be able to do that.
   ·4· · · · · · ·One of the three cameras that we have
   ·5· ·picks up the license tag number of the vehicle if
   ·6· ·they go by in a vehicle.· People could walk up to
   ·7· ·the box and put it in there.· So we had our drop box
   ·8· ·here, we have a drop box at early voting sites and,
   ·9· ·of course, anybody can mail it, return mail, we pay
   10· ·the postage for the return mail.· I think that
   11· ·pretty well covers everything.
   12· · · · Q· · Well, because you talked about it, can we
   13· ·pull up -- I think I have a picture of the drop box,
   14· ·but it is outside your office.· It might be helpful
   15· ·for referencing.· I think I see now the slot you are
   16· ·talking about.
   17· · · · · · ·MS. SIVALINGAM:· Sandi, we can mark this
   18· · · · Exhibit 3.
   19· · · · · · ·(Exhibit 3 was marked for identification.)
   20· · · · A· · Yep, that's it.
   21· ·BY MS. SIVALINGAM:
   22· · · · Q· · That's it.· Okay.· I want to come back to
   23· ·that and we're probably going to be referencing it a
   24· ·couple of times.· But just to clarify, when you say
   25· ·you made this slot small so that only a few ballots


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 52 of 316
 Alan Hays
 October 06, 2021

                                                                         Page
                                                                           g 51
   ·1·
     · ·could be put through it, you are talking about the
   ·2· ·slot in this picture?
   ·3· · · · A· · Yes, ma'am.
   ·4· · · · Q· · One other thing I am not sure you
   ·5· ·mentioned, but in terms of returning a vote-by-mail
   ·6· ·ballot, again, before SB 90, put individuals, unpaid
   ·7· ·individuals to return other individuals' ballots,
   ·8· ·other voters ballots?
   ·9· · · · A· · Oh, yeah, the Florida Statutes, sure,
   10· ·other people could -- as long as they were not paid,
   11· ·they could go around and get them.
   12· · · · Q· · And then you said obviously voters could
   13· ·return a ballot by mail.· When did a voter need to
   14· ·return their vote-by-mail ballot if they needed it
   15· ·in the mail to ensure it would be counted by the
   16· ·election day?
   17· · · · A· · Well, it would depend on the speed of the
   18· ·postal service, but the law says I must have
   19· ·physical possession of every one of those ballots no
   20· ·later than 7:00 p.m. on election night unless they
   21· ·are coming from overseas.· The overseas voters have
   22· ·a ten-day grace period to get them in.· But for all
   23· ·domestic returned ballots, I must have physical
   24· ·possession of those by 7:00 p.m.
   25· · · · Q· · That makes sense.· I should clarify, did


                          www.phippsreporting.com
                               (888) 811-3408                                     YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 53 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 52
   ·1·
    1· ·you recommend to voters, if they were returning
   ·2· ·their ballot via mail, that they should get it in
   ·3· ·the mail by a certain date to ensure that their
   ·4· ·ballot was counted?
   ·5· · · · A· · We certainly did repeatedly.· We noticed
   ·6· ·them in multiple different ways and different times,
   ·7· ·don't wait until the last minute.· As soon as you
   ·8· ·get this ballot, mark it and get it back in the mail
   ·9· ·to us, or you can bring it by and drop it into our
   10· ·drop box here, either one.
   11· · · · Q· · Did you ever recommend to voters they get
   12· ·it in by at least a week before election day?
   13· · · · A· · Probably so.
   14· · · · Q· · Okay.· But if a voter is returning a
   15· ·ballot via drop box, getting it in shorter than a
   16· ·week before election day, there would be no concern
   17· ·then, would you agree with that?
   18· · · · A· · No, ma'am.· They are welcome to bring it
   19· ·to this box here at 6:58 p.m. on election night and
   20· ·we'll still get it; because at 7 o'clock, I have two
   21· ·staff people out there at that box to remove all the
   22· ·ballots that are in it and bring them into the
   23· ·office.· Because this box sits right out in front of
   24· ·our office, you see, and so we know then that once
   25· ·that 7:00 p.m. harvest, so to speak, has been


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 54 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 53
   ·1· ·executed, any ballots that might be in there the
   ·2· ·next morning or later that night came in after
   ·3· ·7:00 p.m.· So if they want to wait until the very
   ·4· ·last moment, then this is their best option.
   ·5· · · · Q· · Okay.· I think you were pointing and you
   ·6· ·said that box there.· Just for the record, when you
   ·7· ·were pointing, what were you pointing to?
   ·8· · · · A· · Pointing to the image, Exhibit --
   ·9· · · · Q· · Oh, Exhibit 3.· Okay.
   10· · · · A· · Exhibit 3.
   11· · · · Q· · The drop box outside the supervisor's
   12· ·office?
   13· · · · A· · Yes, ma'am, the drop box outside the
   14· ·supervisor's office.
   15· · · · Q· · Okay.· Thank you.· Has voting by mail
   16· ·increased in recent years in Lake County?
   17· · · · A· · Oh, absolutely.
   18· · · · Q· · Do you remember about how many Lake County
   19· ·voters requested vote-by-mail ballots in the 2020
   20· ·general election?
   21· · · · A· · I don't remember specifically.· I'm
   22· ·guessing somewhere in the neighborhood of 90,000.                    I
   23· ·know we planned budget-wise to be prepared to mail
   24· ·60,000 and we blew through that in a heartbeat.· So
   25· ·it was -- but I believe it was around 90,000 that we


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 55 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 54
   ·1· ·mailed out and had around 68 or 70,000 returned, if
   ·2· ·I recall correctly.
   ·3· · · · · · ·Don't hold me to those numbers.· I will
   ·4· ·have to check on them and see.
   ·5· · · · Q· · Okay.· I do have an article where you were
   ·6· ·interviewed about voting by mail that I think it
   ·7· ·will refresh your recollection.· So I am going to
   ·8· ·have you pull up the article, it accompanied a video
   ·9· ·interview that it appears that you did for News 6.
   10· ·It's called "Central Florida counties reporting
   11· ·record number of mail-in ballots this election."
   12· · · · · · ·(Exhibit 4 was marked for identification.)
   13· ·BY MS. SIVALINGAM:
   14· · · · Q· · Do you have it up?
   15· · · · A· · Yes, ma'am.
   16· · · · Q· · Okay.· Great.· Do you recognize this
   17· ·article or remember giving an interview to
   18· ·Ms. Nadeen Yanes of WKMG?
   19· · · · A· · Oh, yeah.· Yeah.· Sure do.
   20· · · · Q· · Okay.· So as of the date of this article,
   21· ·you said about 29 percent of Lake County voters had
   22· ·requested a mail-in ballot, is that accurate?
   23· · · · A· · Sure.
   24· · · · Q· · Okay.
   25· · · · A· · That's about 29 percent, according to


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 56 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 55
   ·1· ·Nadine's figures, but be that as it may, I think I
   ·2· ·heard you say 28 percent.
   ·3· · · · Q· · Twenty-nine.· If I did, I apologize.                   I
   ·4· ·meant to say 29.· This was published -- this looks
   ·5· ·like this article was published October 7.
   ·6· · · · · · ·Is it fair to say that you may have
   ·7· ·received more requests for vote-by-mail ballots
   ·8· ·after the date of publication of this article?
   ·9· · · · A· · That is correct.
   10· · · · Q· · Okay.· And we already discussed what you
   11· ·think was the percentage of Lake County voters who
   12· ·requested a vote-by-mail ballot.· Do you remember
   13· ·what percentage of Lake County voters voted by mail
   14· ·in the 2020 general election?
   15· · · · A· · Not off the top of my head, no, ma'am.
   16· · · · Q· · You said a record number of Lake County
   17· ·voters requested a vote-by-mail ballot.· And then
   18· ·you said, everything that's here in the vote-by-mail
   19· ·department is a record, no question.
   20· · · · · · ·Did a record number -- so did a record
   21· ·number of Lake County voters end up voting by mail
   22· ·in the 2020 general election?
   23· · · · A· · Yes, ma'am.
   24· · · · Q· · Do you know, to your knowledge, why that
   25· ·was?


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 57 of 316
 Alan Hays
 October 06, 2021

                                                                         Page
                                                                           g 56
   ·1· · · · A· · You would have to ask each one of them to
   ·2· ·be specific, but in general, I think everybody knows
   ·3· ·that the pandemic that was prevailing at that time
   ·4· ·was a major factor, and then we also have some who
   ·5· ·did not trust the U.S. Postal Service to deliver
   ·6· ·their ballot in a timely manner, if at all, and they
   ·7· ·expressed to us on multiple occasions how grateful
   ·8· ·they were for the drop box convenience, that they
   ·9· ·could drop it off after hours or on the weekends or
   10· ·things like that.· And so just a multitude of
   11· ·reasons, but the pandemic, of course, was the big
   12· ·thing.
   13· · · · Q· · Thank you.· A little bit later in the
   14· ·article you say, here in Florida I feel very, very
   15· ·comfortable in the security of the vote-by-mail
   16· ·process and the validation of signature matching.
   17· · · · · · ·What is signature matching?
   18· · · · A· · Signature matching begins with the
   19· ·recording of the signature of that voter on their
   20· ·voter registration application.· Sometimes that
   21· ·signature is recorded on a signature pad at the
   22· ·Department of Motor Vehicles, that would be a
   23· ·discussion for another day on another lawsuit
   24· ·probably.
   25· · · · · · ·But let's get through that and let's look


                          www.phippsreporting.com
                               (888) 811-3408                                     YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 58 of 316
 Alan Hays
 October 06, 2021

                                                                         Page
                                                                           g 57
   ·1·
    1· ·now at the envelope that has returned that ballot to
   ·2· ·us.· Before the envelope is opened and, actually, as
   ·3· ·soon as it comes in, we immediately arrange the
   ·4· ·envelopes so that all in a stack are positioned so
   ·5· ·that the signature and the bar code that's on that
   ·6· ·envelope are both visible on every envelope.· And we
   ·7· ·then run it through a signature verification machine
   ·8· ·which uses the technology very similar to that which
   ·9· ·a bank uses to verify the signature in the lower
   10· ·right corner of a check.
   11· · · · · · ·And the machine reads the bar code which
   12· ·tells the machine which voter record to access the
   13· ·signature, and then it also takes a picture of the
   14· ·signature on that envelope and it electronically
   15· ·compares those two signatures.
   16· · · · · · ·If the machine verifies them as being
   17· ·accurate and acceptable, then we accept it as well.
   18· ·The machine may not even see a signature because
   19· ·some envelopes are left blank, others other times it
   20· ·just cannot verify it and it will give us -- at the
   21· ·end of the batch, it gives us a list of all of the
   22· ·names of the voters whose signature was verified, a
   23· ·list of those that it was not verified, and then a
   24· ·third list of whatever reason it did not make a
   25· ·verification.


                          www.phippsreporting.com
                               (888) 811-3408                                     YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 59 of 316
 Alan Hays
 October 06, 2021

                                                                         Page
                                                                           g 58
   ·1·
    1· · · · · · ·We then take that entire batch of -- and
   ·2· ·the machine, at the same time, has put a batch
   ·3· ·number and a sequence number and a time and date
   ·4· ·stamp on every one of those envelopes.· We take the
   ·5· ·entire batch with those three sheets of reports and
   ·6· ·give it to a human that has been trained in
   ·7· ·signature recognition and comparison.· We have a
   ·8· ·list of eight specific points that they utilize to
   ·9· ·compare the signature.
   10· · · · · · ·Another advantage we have is that if we
   11· ·have multiple signatures in that voter's record, the
   12· ·people verifying that signature on the envelope are
   13· ·able to thumb back through those signatures and see
   14· ·if they find the one that did match.
   15· · · · · · ·People need to understand there is a huge,
   16· ·huge difference in signing an electronic pad at a
   17· ·DMV versus signing on the back of an envelope at
   18· ·your dining room table or at your kitchen counter
   19· ·when the voter is returning that envelope to us.· So
   20· ·there is certainly likely to be discrepancies in the
   21· ·electronic signature pad signature versus that
   22· ·that's written on that envelope.· But that voter may
   23· ·very well have signed earlier a piece of paper that
   24· ·we have recorded in their record, so we can verify
   25· ·it that way.


                          www.phippsreporting.com
                               (888) 811-3408                                     YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 60 of 316
 Alan Hays
 October 06, 2021

                                                                         Page
                                                                           g 59
   ·1· · · · · · ·If we then verify it, the envelope goes
   ·2· ·into those records to be -- those ballots to be
   ·3· ·tabulated later on.
   ·4· · · · · · ·If we do not verify it, if we deem that as
   ·5· ·an unacceptable signature, we then notify the voter
   ·6· ·to tell them we have an issue with their signature
   ·7· ·and here's what you must do to resolve that issue.
   ·8· ·We give them the step-by-step process to cure that
   ·9· ·signature discrepancy, and we give them the deadline
   10· ·of 5:00 p.m. on Thursday after the election.· We
   11· ·stress that multiple times.
   12· · · · · · ·We go through multiple ways -- number one,
   13· ·we send them a letter via the postal service, but we
   14· ·also, if they have been generous enough to give us
   15· ·their e-mail address and/or their cell phone number,
   16· ·we call them; if they don't answer, we leave them a
   17· ·voice mail.· And then we also can send them an
   18· ·e-mail to alert them early on, here's an issue with
   19· ·your signature, here's what you need to do to
   20· ·resolve it.
   21· · · · · · ·And then once we get the resolution from
   22· ·the voter, we then put their ballot in the stack to
   23· ·be tabulated.
   24· · · · · · ·Does that pretty well cover it?
   25· · · · Q· · I think it does.· Very thorough and thank


                          www.phippsreporting.com
                               (888) 811-3408                                     YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 61 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 60
   ·1· ·you for explaining that to me.
   ·2· · · · · · ·So then going back to the statement, here
   ·3· ·in Florida I feel very, very comfortable in the
   ·4· ·security of the vote-by-mail process and the
   ·5· ·validation of signature matching.
   ·6· · · · · · ·Does that still reflect your
                                             r views
                                               v     today?
   ·7· · · · A· · Yes, ma'am, certainly does.
   ·8· · · · Q· · I know we talked generally about security
   ·9· ·at the 2020 election, but just in terms of the
   10· ·security of the vote-by-mail process, were you
   11· ·satisfied with the security of the vote-by-mail
   12· ·process in the 2020 elections in Lake County?
   13· · · · A· · Yes, ma'am.
   14· · · · · · ·MS. SIVALINGAM:· It has now been over an
   15· · · · hour of questioning, I think I would like to
   16· · · · take a little break.· I want to make sure that
   17· · · · everyone gets a break.· I think now is a good
   18· · · · time if it's a good time for you.
   19· · · · · · ·THE WITNESS:· It's fine with me.· How long
   20· · · · you want to break?
   21· · · · · · ·MS. SIVALINGAM:· I only need five minutes.
   22· · · · · · ·(A recess took place from 11:29 a.m. to
   23· · · · 11:35 a.m.)
   24· ·BY MS. SIVALINGAM:
   25· · · · Q· · So before the break we were talking about


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 62 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 61
   ·1· ·voting by mail.· Do you anticipate that a
   ·2· ·significant percentage of voters in Lake County will
   ·3· ·continue to want to vote by mail in the future?
   ·4· · · · · · ·MR. BARDOS:· Object to the form.
   ·5· · · · A· · Yes.
   ·6· ·BY MS. SIVALINGAM:
   ·7· · · · Q· · To your knowledge --
   ·8· · · · A· · Did Andy say something?
   ·9· · · · · · ·MR. BARDOS:· I said object to form for the
   10· · · · record, but go ahead.
   11· · · · A· · I expect a significant percentage will
   12· ·probably want to continue to vote by mail.
   13· ·BY MS. SIVALINGAM:
   14· · · · Q· · Okay.· Do you think that voting by mail
   15· ·helps decrease -- we talked about that.· Let me go
   16· ·back.
   17· · · · · · ·You testified that Lake County, at least
   18· ·recently, hasn't had a problem with long lines at
   19· ·the polls, right?
   20· · · · A· · That's correct.
   21· · · · Q· · Do you think that voting by mail helps
   22· ·decrease long lines at the polls on voting day?
   23· · · · A· · You know, that's something you can't
   24· ·quantify, but common sense would tell you that if
   25· ·you have 5,000 more people voting by mail, that's


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 63 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 62
   ·1· ·5,000 fewer people than you would have at the
   ·2· ·polling place.· But even those numbers are not
   ·3· ·necessarily true because some people would vote by
   ·4· ·mail instead of -- and not even think about going to
   ·5· ·the polling place.
   ·6· · · · · · ·So I wouldn't want to speculate as to what
   ·7· ·percentage or anything like that.· But just on the
   ·8· ·surface of it, one would think, but your thoughts
   ·9· ·and my thoughts or someone else's thoughts may or
   10· ·may not coincide.
   11· · · · Q· · Okay.· Are you familiar with the term
   12· ·"voter fraud"?
   13· · · · A· · Yes, ma'am.
   14· · · · Q· · Okay.· Are you aware of any widespread
   15· ·voter fraud in Lake County that occurred in the 2020
   16· ·elections related to vote-by-mail ballots?
   17· · · · A· · No, ma'am.
   18· · · · Q· · To your knowledge, are you aware of any
   19· ·widespread voter fraud in the state of Florida that
   20· ·occurred in 2020 related to vote-by-mail ballots?
   21· · · · A· · No, ma'am.
   22· · · · Q· · We talked a little bit about drop boxes.
   23· ·I do thank you for your testimony on that so far,
   24· ·but I have some more questions about drop boxes.
   25· · · · · · ·How long has Lake County been using drop


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 64 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 63
   ·1· ·boxes to collect ballots?
   ·2· · · · A· · Since before I came on, every early voting
   ·3· ·site has had a drop box, and the Supervisor of
   ·4· ·Elections office has always had a drop box.· The box
   ·5· ·outside, to my knowledge, the 2017 election of --
   ·6· ·the municipal elections that were here, that's the
   ·7· ·first time it has been used in Lake County.· And it
   ·8· ·was used successfully for all five of the big
   ·9· ·elections.· Actually, with every election, since
   10· ·2017 through the 2020 general election, we had used
   11· ·that outside drop box very successfully.
   12· · · · Q· · Okay.· Lake County had 13 drop boxes
   13· ·available in the 2020 elections, is that right?
   14· · · · A· · Yes, ma'am.· No, actually, we had 14
   15· ·because we had -- we had 12 early voting sites, each
   16· ·of whom had a drop box, then we had the drop box
   17· ·here in our office inside, and we also had the
   18· ·external drop box.· So that would be a total of 14
   19· ·that we had.
   20· · · · Q· · Okay.· Great.· What are the hours of the
   21· ·internal drop box, or what were the hours during the
   22· ·2020 elections?
   23· · · · A· · The hours at the early voting sites were
   24· ·10:00 a.m. till 6:00 p.m. every day that the early
   25· ·voting site was operational.· The hours for the drop


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 65 of 316
 Alan Hays
 October 06, 2021

                                                                         Page
                                                                           g 64
   ·1·
    1· ·box here inside the office were a regular 8:00 to
   ·2· ·5:00 office hours, and actually we stayed opened
   ·3· ·until 6:00 p.m.· So I would say -- to answer the
   ·4· ·question, it was 8:00 a.m. to 6:00 p.m. here in the
   ·5· ·office, and then, of course, the outside one was
   ·6· ·available 24/7.
   ·7· · · · Q· · Okay.· So I want to ask a few more
   ·8· ·questions about the drop box that we see in
   ·9· ·Exhibit 3 or we see a photo of it, the one outside
   10· ·of your office.
   11· · · · · · ·Where specifically outside your office was
   12· ·it located, including how far from your office?
   13· · · · A· · From the front door of my office to the
   14· ·drop box is probably no more than 50 feet, would be
   15· ·my guess.· I can have someone measure it for you in
   16· ·the next 20 or 30 minutes and give you exactly
   17· ·because today, in that same site, we now have a U.S.
   18· ·Postal Service drop box there.· But forgive me for
   19· ·not knowing whether it's 50 feet or 60 feet.· But
   20· ·it's close by and it's in plain view.
   21· · · · · · ·I can literally sit at my desk and see it,
   22· ·and there are other people that work inside the
   23· ·building that have clear view of it, plus it's on
   24· ·24-hour camera surveillance by three cameras.
   25· · · · Q· · Right.· Is it right that voters could


                          www.phippsreporting.com
                               (888) 811-3408                                     YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 66 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 65
   ·1· ·drive up or walk up and drop their ballots in the
   ·2· ·drop box?
   ·3· · · · A· · Yes, ma'am, either/or.
   ·4· · · · Q· · Okay.· For the 2020 general election, what
   ·5· ·was the first day that voters could begin using the
   ·6· ·drop box outside the Supervisor's office?
   ·7· · · · A· · I would have to go back and look at the
   ·8· ·calendar, but it was the day that -- the same day
   ·9· ·that we mailed them, which is 45 days ahead of time;
   10· ·or actually we do that to overseas.· It's probably
   11· ·35 days ahead of the election.· The day after we
   12· ·mail them out we put the drop box out there and we
   13· ·leave it for the entire time.
   14· · · · Q· · Okay.· And this drop box pictured in
   15· ·Exhibit 3, was it available the Monday before
   16· ·election day?
   17· · · · A· · Yes, ma'am.· It was available all the way
   18· ·through election night.
   19· · · · Q· · That's right, you said that, as late as
   20· ·the last pickup on election night.
   21· · · · A· · The box itself sits there for a day or two
   22· ·after the election, but it doesn't do anybody any
   23· ·good to put anything in it after 7:00 p.m.
   24· · · · Q· · Right.· Understood.· Okay.· So going back
   25· ·to my question about the Monday before election day,


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 67 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 66
   ·1· ·in your experience and to your knowledge, is the
   ·2· ·Monday before election day a popular day to vote?
   ·3· · · · A· · I have no idea.
   ·4· · · · Q· · Okay.
   ·5· · · · A· · I'm sorry, I don't pay any attention to
   ·6· ·the daily totals.
   ·7· · · · Q· · That's fine.· If you don't know, I want
   ·8· ·you to tell me that.
   ·9· · · · · · ·Now I do have some more specific questions
   10· ·about the monitoring.· You mentioned that the drop
   11· ·box in Exhibit -- pictured in Exhibit 3 outside of
   12· ·the Supervisor of Elections office was monitored by
   13· ·three cameras.· I would like you to tell me where
   14· ·the cameras were situated, including, to the best of
   15· ·your knowledge, how far the cameras were from the
   16· ·drop box.
   17· · · · A· · I know that there is -- two of them are up
   18· ·high on the face of the building pointed toward the
   19· ·box, and the third one is down low pointed toward
   20· ·the box.· I wouldn't begin to speculate the
   21· ·distance.· All I know is it's close enough that we
   22· ·can determine -- probably determine what make and
   23· ·model of the car it is, but then that third one, of
   24· ·course, we have the license tag, now, only if they
   25· ·drive through headed in one direction.· If they


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 68 of 316
 Alan Hays
 October 06, 2021

                                                                         Page
                                                                           g 67
   ·1· ·drive through headed the other direction, we get a
   ·2· ·picture of the front of the car instead of the
   ·3· ·license tag.· But that's neither here nor there
   ·4· ·right now.
   ·5· · · · Q· · But that would be if they were going --
   ·6· · · · A· · If they were driving through so that the
   ·7· ·driver could sit in the driver's seat and get the
   ·8· ·ballot into the box, then we would get a picture of
   ·9· ·the license tag.· If they are driving through so
   10· ·that the passenger puts the ballot in the box, then
   11· ·we just get the front of the vehicle.
   12· · · · Q· · Okay.· Okay.
   13· · · · A· · We have the other two cameras that are
   14· ·capturing the big picture, the wide angle view, if
   15· ·you will.
   16· · · · Q· · Okay.· The cameras would also capture
   17· ·individuals who walk up and drop the drop box off --
   18· ·the ballots off?
   19· · · · A· · Yeah.
   20· · · · Q· · Okay.
   21· · · · A· · And if I may add, those same cameras
   22· ·capture the two people on my staff that go out every
   23· ·day to retrieve the ballots from there.· Anybody
   24· ·that approaches -- all the activity around that
   25· ·mailbox is on the camera 24/7.


                          www.phippsreporting.com
                               (888) 811-3408                                     YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 69 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 68
   ·1· · · · Q· · Okay.· Great.· Who reviewed the camera
   ·2· ·footage?
   ·3· · · · A· · Nobody that I know of.
   ·4·
    4· · · · Q· · As needed, would you or your staff review
   ·5· ·the camera footage?
   ·6· · · · A· · Yes, if a need presented itself, my IT
   ·7· ·director would review it along with myself and my
   ·8· ·assistant supervisor would be the ones to review it,
   ·9· ·absolutely.
   10· · · · Q· · Okay.· During the 2020 general election,
   11· ·there was no need to review the footage?
   12· · · · A· · That is correct.
   13· · · · Q· · And why is that?
   14· · · · A· · Because no one informed us of any
   15· ·suspected misdeeds that might have been done there;
   16· ·there was no evidence inside the box on any of the
   17· ·ballots that there might have been any misdeeds
   18· ·done; and we were busy taking care of administering
   19· ·the election.
   20· · · · · · ·We don't have to go around -- we've got
   21· ·much more important things to do than sit there and
   22· ·watch all the night's activity at the drop box when
   23· ·only the crickets and the raccoons were running
   24· ·around.
   25· · · · Q· · Okay.· Did the 24-hour drop box at the


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 70 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 69
   ·1·
    1· ·Supervisor of Elections office also have any
   ·2· ·in-person monitoring either during business hours or
   ·3· ·after business hours?
   ·4· · · · A· · Yes, ma'am, the Secretary of State's
   ·5· ·general counsel, Brad McVay, sent out a directive,
   ·6· ·if I recall correctly, it was before the general
   ·7· ·election, it may have been for the primary, but I
   ·8· ·believe it was just for the general.· We would have
   ·9· ·to go back and check on that.
   10· · · · · · ·But anyhow, when that directive came out,
   11· ·he said that it had to be an in-person monitoring,
   12· ·so I then hired what we call rent-a-cop to come out
   13· ·there and sit in their patrol car for hour upon
   14· ·endless hour watching the night go by with no
   15· ·activity at the box.· But we continued the camera
   16· ·surveillance through that entire time.· But we did
   17· ·have live monitoring.
   18· · · · · · ·We do everything we can to comply with the
   19· ·letter of the law or the directives from the
   20· ·division to the fullest extent.· I am a free
   21· ·thinker, but I am not a free actor.
   22· · · · Q· · Understood.· And those contract -- I guess
   23· ·the independent security firm that you hired, it
   24· ·sounds like they did not find any suspicious
   25· ·activity around the 24-hour drop box, is that right?


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 71 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 70
   ·1· · · · A· · That is correct, yes, ma'am.
   ·2· · · · Q· · Okay.· But is it fair to say that you did
   ·3· ·not have a security firm for the entire time that
   ·4· ·the 24-hour drop box was available at least in some
   ·5· ·of the elections?· I want to know if there was a
   ·6· ·point in time in 2020 when only the three security
   ·7· ·cameras were monitoring that drop box after hours.
   ·8· · · · A· · There was definitely that point in time
   ·9· ·through the PPP in March, our election, and all the
   10· ·elections from 2017 through that PPP.· And again, I
   11· ·would have to go back and look and see when the
   12· ·directive came out as to whether or not we had to
   13· ·have live monitoring versus camera monitoring.· But
   14· ·I can get that answer for you this afternoon if we
   15· ·ever break for lunch.
   16· · · · Q· · Okay.· But for now, that's fine.· To your
   17· ·knowledge, from 2017 until you hired an independent
   18· ·security firm, during the time when the drop box was
   19· ·only monitored via video surveillance, was there any
   20· ·suspicion of activity such as destruction of the box
   21· ·or stealing of the ballots inside the box?
   22· · · · A· · None whatsoever.
   23· · · · Q· · Okay.· Just quickly I want to go over the
   24· ·other drop boxes that were available, the other I
   25· ·guess 13 it would have been.


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 72 of 316
 Alan Hays
 October 06, 2021

                                                                         Page
                                                                           g 71
   ·1·
    1· · · · · · ·You testified that those were available --
   ·2· ·or I guess there was 12 drop boxes available located
   ·3· ·in early voting locations, right?
   ·4· · · · A· · Yes, ma'am.
   ·5· · · · Q· · And then they were available, not the one
   ·6· ·inside your office, which you already told me about,
   ·7· ·but the ones at early voting locations, they were
   ·8· ·available between 10:00 a.m. and 6:00 p.m. daily?
   ·9· · · · A· · Yes, ma'am.
   10· · · · Q· · Do you remember what day that began on?
   11· · · · A· · Not off the top of my head.
   12· · · · Q· · Do you remember what day early voting in
   13· ·Lake County in 2020 ended on?
   14· · · · A· · Yes.· It ended on Saturday before the
   15· ·election at 6:00 p.m.· The election, I think, was on
   16· ·November 8, was it not, which means that it would
   17· ·have been on Saturday, November 6 at 6:00 p.m. that
   18· ·early voting ended.
   19· · · · Q· · So then after that point, the only drop
   20· ·boxes that would have been available would've been
   21· ·the 24-hour box, and then would the box inside your
   22· ·office have been available after early voting ended?
   23· · · · A· · Yes, ma'am.
   24· · · · Q· · But only during -- from 8:00 to 6:00,
   25· ·right?


                          www.phippsreporting.com
                               (888) 811-3408                                     YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 73 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 72
   ·1· · · · A· · That is correct.
   ·2· · · · Q· · Okay.· Just wanted to make sure that I
   ·3· ·fully understand.
   ·4· · · · · · ·Okay.· In terms of monitoring of the drop
   ·5· ·boxes at the early voting site, were those boxes
   ·6· ·monitored?
   ·7· · · · A· · Yes, ma'am.· Once the directive came out
   ·8· ·from the Secretary of State's office, we complied
   ·9· ·with that directive completely at every drop box.
   10· · · · Q· · Before that directive, were they
   11· ·monitored?
   12· · · · A· · Yes, ma'am, but we did not have an
   13· ·individual person that was assigned.· The drop boxes
   14· ·were positioned inside a large supply cabinet, and
   15· ·those people who brought their ballots there were
   16· ·put -- they would hand the ballot to one of the
   17· ·election workers who would put them in.
   18· · · · · · ·Now then when we -- I think it may have
   19· ·been during the primary that we went to the larger
   20· ·boxes that we wound up setting on a table and
   21· ·chaining the box to the table, and we had then a
   22· ·person assigned to be there monitoring that box at
   23· ·all times.
   24· · · · · · ·And the chain of custody of that ballot
   25· ·began at that box because that monitor person had a


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 74 of 316
 Alan Hays
 October 06, 2021

                                                                         Page
                                                                           g 73
   ·1· ·sheet of paper there with a bunch of blanks on it
   ·2· ·and they were to record the name of the voter who
   ·3· ·was written on that envelope so that we knew right
   ·4· ·then that that envelope with that person's name on
   ·5· ·it was written on that form, and that began the
   ·6· ·chain of custody of that envelope.
   ·7· · · · · · ·It went into the box, then that night,
   ·8· ·when the ballots were returned to our central
   ·9· ·office, that chain-of-custody form came with the
   10· ·envelopes so when we checked them in here to the
   11· ·office, we knew exactly how many and who they
   12· ·belonged to.· And that chain of custody is still
   13· ·part of our records.
   14· · · · Q· · And you produced those logs to us in
   15· ·discovery, I believe.
   16· · · · · · ·I want to make sure that I understand
   17· ·because I think you give a really great description
   18· ·of how to go about dropping off the ballots in the
   19· ·24-hour box, but I want to make sure that I
   20· ·understand how the -- from A to Z, how somebody
   21· ·would go about dropping off their ballot at the drop
   22· ·box in the early voting site.
   23· · · · · · ·Would you describe it.· So a voter -- let
   24· ·me know if this is wrong.· A voter approaches an
   25· ·early voting site, walks inside, goes to the drop


                          www.phippsreporting.com
                               (888) 811-3408                                     YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 75 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 74
   ·1· ·box where an individual from your office is
   ·2· ·monitoring the box; the person will put their ballot
   ·3· ·in the box, and then the individual writes down
   ·4· ·their name and logs the information, and then the
   ·5· ·chain of custody proceeds as you described.
   ·6· · · · · · ·Can you please correct me if any of that
   ·7· ·is wrong or add any detail that I omitted.
   ·8· · · · · · ·MR. BARDOS:· Object to the form.
   ·9· · · · A· · The individual with the ballot envelope
   10· ·comes in, presents that envelope to the monitor, who
   11· ·then writes the name of the voter that's printed on
   12· ·that envelope on the chain of custody sheet, and
   13· ·then the envelope is positioned.· We will allow the
   14· ·voter to put it into the box, or the monitor can put
   15· ·it into the box, either one.
   16· · · · · · ·But that -- and it may or may not be the
   17· ·person who's actually delivering the envelope.· It
   18· ·may be a friend or a relative who's bringing the
   19· ·envelope for the person.· But we don't worry
   20· ·about -- at least back then we didn't worry about
   21· ·that, the identity of that person presenting it.· We
   22· ·simply recorded the name that was printed of the
   23· ·voter whose ballot was supposed to be in that
   24· ·envelope.
   25


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 76 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 75
   ·1· ·BY MS. SIVALINGAM:
   ·2· · · · Q· · That makes a lot of sense.· Then this
   ·3· ·monitor that you are describing, was that in every
   ·4· ·instance a permanent employee of your office?
   ·5· · · · A· · No, ma'am, it was a paid election worker.
   ·6· · · · Q· · Does that mean temporary employee?
   ·7· · · · A· · Yes, ma'am.
   ·8· · · · Q· · In any instance would a volunteer have
   ·9· ·been that individual that was monitoring the box?
   10· · · · A· · No, ma'am.
   11· · · · Q· · Okay.· But in every instance, it was a
   12· ·temporary worker, or most?
   13· · · · A· · Well, no.· Here in the -- that monitored
   14· ·the drop box in our office, we did have paid
   15· ·permanent personnel monitoring that just by virtue
   16· ·of the physical location of the box itself.· And
   17· ·they are right there right now today monitoring
   18· ·that.· But at all the early voting sites, the
   19· ·monitor was one of the temporary trained election
   20· ·workers.
   21· · · · Q· · Okay.· That's really helpful just because
   22· ·I know that it's a pretty specific process and can
   23· ·potentially differ.· So thank you for giving me that
   24· ·detailed description.
   25· · · · · · ·One other question about those monitors.


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 77 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 76
   ·1· ·Whether temporary or, I guess, in the instance of
   ·2· ·inside your office, permanent employees at your
   ·3· ·office, the individuals monitoring the drop boxes,
   ·4· ·did they, to your knowledge, review the ballot
   ·5· ·envelope to make sure it was signed?
   ·6· · · · A· · I would have to defer to my training
   ·7· ·people to speak factually.· It was my expectation
   ·8· ·that they would do that, but in a case where
   ·9· ·somebody -- I'm not aware of any instances where an
   10· ·unsigned envelope went into the drop box.· Perhaps
   11· ·that's the best answer I can give you.
   12· · · · Q· · That's very helpful.· To your knowledge,
   13· ·were drop boxes popular in Lake County during the
   14· ·2020 elections?
   15· · · · A· · Yes.
   16· · · · · · ·MR. BARDOS:· Object to the form.
   17· ·BY MS. SIVALINGAM:
   18· · · · Q· · Okay.· Did you receive any comments from
   19· ·voters about -- you or your staff receive any
   20· ·comments from voters about the drop boxes?
   21· · · · A· · The only comments that I recall were those
   22· ·who expressed appreciation for the accessibility of
   23· ·the 24-hour drop box.· I don't recall any others
   24· ·relative to the early voting drop boxes.· But, you
   25· ·know, again, you have to understand the complexity


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 78 of 316
 Alan Hays
 October 06, 2021

                                                                         Page
                                                                           g 77
   ·1· ·of our operation, and we don't pay any attention to
   ·2· ·what I would consider trivial things like that.
   ·3· · · · · · ·I mean, it's important we get feedback
   ·4· ·particularly if they have any way to improve the
   ·5· ·system, but -- and of course, you get some that are
   ·6· ·going to be loud and boisterous and express their
   ·7· ·displeasure with certain things, but that's just
   ·8· ·human nature.
   ·9· · · · · · ·But I am not aware of any specific
   10· ·comments that I received anyhow relative to the drop
   11· ·boxes or their accessibility or lack thereof.
   12· · · · Q· · Sure.· But you did say that you received
   13· ·some comments expressing appreciation about the
   14· ·24-hour box, right?
   15· · · · A· · Yes, ma'am.
   16· · · · Q· · Okay.· And were those -- I am wondering, I
   17· ·guess, two things.· I want to know what that
   18· ·generally was and also whether -- and maybe your
   19· ·counsel can speak to this, whether -- because I
   20· ·don't remember seeing that in production, so if it
   21· ·was maybe oral communication, but if it was written,
   22· ·we would appreciate that being produced.
   23· · · · A· · I don't recall any written communication,
   24· ·but, you know, as you go through the community --
   25· ·even during elections we are not here in the office


                          www.phippsreporting.com
                               (888) 811-3408                                     YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 79 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 78
   ·1· ·24/7.· We go to the grocery store, we go to church,
   ·2· ·we go to the barber shop, places like that, and
   ·3· ·people say, oh, man, we really like that drop box
   ·4· ·you got out there, you know --
   ·5· · · · Q· · Sure.
   ·6· · · · A· · -- that sort of thing.· So it's --
   ·7· · · · Q· · Can you hear me?· There is a little bit of
   ·8· ·lag on my side.
   ·9· · · · A· · I can hear you just fine.
   10· · · · Q· · Great.· Then aside from what you just
   11· ·said, can you speak to any other comments that you
   12· ·received about the 24-hour drop box?
   13· · · · A· · In the 2020 election or in current
   14· ·elections?
   15· · · · Q· · But you don't have a 24 -- or do you have
   16· ·a 24-hour drop box in the current election?
   17· · · · A· · Well, the 24-hour drop box now is U.S.
   18· ·Postal Service.
   19· · · · Q· · I want to talk about that in a minute, I
   20· ·did see that -- in the 2020 elections.
   21· · · · A· · Then in the 2020 election, no, ma'am,
   22· ·every -- I think I've related to you every comment
   23· ·I've gotten.
   24· · · · Q· · Okay.· That sounds good.· Why did Lake
   25· ·County choose to have a 24-hour drop box when it


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 80 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 79
   ·1· ·first opened up in 2017?
   ·2· · · · A· · Because one of our goals when I took
   ·3· ·office was to do everything that we could do to
   ·4· ·enhance the election day experience for everyone,
   ·5· ·whether it be the voter, whether it be the election
   ·6· ·worker or whether it be my full-time staff or my
   ·7· ·temporary staff.· And by providing that convenience
   ·8· ·of 24-hour access that is secure, we felt like that
   ·9· ·was the right thing to do.
   10· · · · · · ·And I had consulted with supervisors in
   11· ·other counties who had very successfully used it,
   12· ·and so we decided to install one here and used it
   13· ·very successfully.
   14· · · · Q· · Okay.· If a vote-by-mail ballot is placed
   15· ·in a drop box on the day before election day, that
   16· ·ballot will be counted, right?
   17· · · · A· · Of course.
   18· · · · Q· · Can you be sure that if a vote-by-mail
   19· ·ballot that is placed in a mailbox on the day before
   20· ·election day will be counted?
   21· · · · A· · No, ma'am.
   22· · · · Q· · I am not sure if you know this, but do you
   23· ·know about how many drop box ballots were voted in
   24· ·Lake County the week before the election?
   25· · · · A· · No, ma'am.


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 81 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 80
   ·1· · · · Q· · Okay.· Now I have a couple of questions
   ·2· ·about what I think you already talked to me about,
   ·3· ·these logs.
   ·4· · · · · · ·You referenced -- so did the County
   ·5· ·maintain logs of voters who voted via drop box for
   ·6· ·all three federal elections in the year 2020?
   ·7· · · · A· · I don't think we did so for the PPP.· And
   ·8· ·I would have to check on the primary, whether or not
   ·9· ·we had them monitored.· We maintained the logs on
   10· ·all those who used the drop boxes when we had the
   11· ·monitors in place, I will put it that way.
   12· · · · Q· · Okay.
   13· · · · A· · Except now -- let me back up a moment,
   14· ·too.
   15· · · · · · ·We did not record those ballots that were
   16· ·dropped into the 24-hour box by name.· We did record
   17· ·them by number because -- I never allow one person
   18· ·to go out there to that drop box by themselves.· We
   19· ·always send two people out, and we record the name
   20· ·of the two people or the initials of the two people
   21· ·that are out there and the time of day and what day
   22· ·it is; and then we bring the ballots inside, count
   23· ·them all and record the number of ballots that were
   24· ·in the box at that particular harvest.· And that
   25· ·does become a part of the 22-month retention record.


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 82 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 81
   ·1· · · · Q· · Okay.· Did you have logs for the drop box
   ·2· ·available inside the Supervisor of Elections office?
   ·3· · · · A· · Only after we were directed to have the
   ·4· ·monitors by the Department of State.
   ·5· · · · Q· · But to the extent that you maintained logs
   ·6· ·at other early voting locations, they were
   ·7· ·maintained on the same basis at the early voting
   ·8· ·location at your office, right?
   ·9· · · · A· · To the best of my recollection, yes,
   10· ·ma'am.
   11· · · · Q· · Okay.· So in terms of the drop box
   12· ·available -- the 24-hour drop box, you said that you
   13· ·recorded the number of voters who voted at that box.
   14· ·I don't think that we have been provided with those
   15· ·numbers.· Could you produce those to us?
   16· · · · A· · Sure.
   17· · · · Q· · After this deposition is fine.· They were
   18· ·requested in discovery.
   19· · · · · · ·And do you know, to the extent they were
   20· ·produced, that's fine, but that's something that we
   21· ·haven't seen that -- your counsel can correct me if
   22· ·they were produced -- the numbers, that would be
   23· ·helpful to us.
   24· · · · · · ·MR. BARDOS:· Danielle, I do think they
   25· · · · were produced and I will check on that for you.


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 83 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 82
   ·1· · · · · · ·MS. SIVALINGAM:· Thanks.· And if you could
   ·2· · · · just confirm, we would really appreciate it.
   ·3· · · · · · ·MR. BARDOS:· Sure.
   ·4· ·BY MS. SIVALINGAM:
   ·5· · · · Q· · Okay.· Do you, Supervisor Hays, have a
   ·6· ·sense of the types of voters who used the 24-hour
   ·7· ·drop box?· And I mean kind of asking for the
   ·8· ·demographic information in terms of age and race.
   ·9· · · · A· · I don't have a clue.
   10· · · · Q· · Okay.· Do you have any reason to believe
   11· ·that the demographics of individuals who used the
   12· ·drop box at the early voting location -- at early
   13· ·voting locations differed from those who used the
   14· ·Lake County 24-hour drop box?
   15· · · · A· · Again, I don't have a clue.
   16· · · · Q· · Fine.
   17· · · · A· · Danielle, maybe I am -- maybe I am
   18· ·negligent in some way, but we pay no attention to
   19· ·whether the person has hair or what color the hair
   20· ·may be, what kind of clothes they are wearing, what
   21· ·kind of car they are driving, whether they may be
   22· ·this, they may be that.· No, we don't care.· If
   23· ·it's -- if that person is a voter in Lake County, we
   24· ·are going to give them 100 percent of our best
   25· ·effort to enhance their election day experience in


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 84 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 83
   ·1· ·whatever way it may be.
   ·2· · · · · · ·So I don't -- the only extent to which I
   ·3· ·keep demographic records are those that are already
   ·4· ·incorporated as part of the database.· But I don't
   ·5· ·care what color they are, I don't care if they even
   ·6· ·have a tan or not.· I mean literally, I am totally,
   ·7· ·totally 100 percent neutral.
   ·8· · · · Q· · I want to be clear, I am not indicating
   ·9· ·any kind of negligence.· There is just some facts
   10· ·that are relevant maybe in litigation that aren't
   11· ·relevant, in your estimation anyway, to how you
   12· ·conduct your job.· So there is just different
   13· ·inquiries and just because you don't have the
   14· ·information, that's completely fine, it's just a
   15· ·question that I have to ask as part of our discovery
   16· ·in this case.· And it's not implying anything really
   17· ·and certainly not negligence.
   18· · · · A· · Okay.
   19· · · · Q· · By the way, not knowing is fine, but
   20· ·sometimes I need to know whether or not you know.
   21· ·And it's just to learn, you know, because if you
   22· ·know, I am going to ask some other questions about
   23· ·it.· If you don't, we'll move on, which is what
   24· ·we'll do now.· Okay.
   25· · · · · · ·MR. BARDOS:· Danielle, before we move on,


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 85 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 84
   ·1· · · · the document that you were talking about before
   ·2· · · · that you were looking for, I believe it said in
   ·3· · · · response to request number 2, we produced it on
   ·4· · · · July 6, a document entitled 2020 General
   ·5· · · · Election.· I believe that's the document you
   ·6· · · · are looking for.
   ·7· · · · · · ·MS. SIVALINGAM:· Okay.· There is no Bates
   ·8· · · · stamp on that, is that correct?
   ·9· · · · · · ·MR. BARDOS:· That is correct.
   10· · · · · · ·MS. SIVALINGAM:· Okay.· Thank you.· We'll
   11· · · · take a look at that on a break and make sure
   12· · · · that it lines up with what we need, but I very
   13· · · · much appreciate it.
   14· ·BY MS. SIVALINGAM:
   15· · · · Q· · All right.· What changes do you
   16· ·understand, Supervisor Hays, SB90 made to the law
   17· ·concerning drop boxes in Florida?
   18· · · · A· · The only thing that I am aware of is the
   19· ·fact that you can no longer have a camera-monitored
   20· ·drop box, you have to have an employee of your
   21· ·office monitoring it.· And that's why we have the
   22· ·postal service drop box out there instead of my own
   23· ·drop box.
   24· · · · Q· · Okay.· What is your opinion of SB 90's
   25· ·requirement that drop boxes must be continuously and


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 86 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 85
   ·1· ·physically monitored, as opposed to surveilled via
   ·2· ·video?
   ·3· · · · · · ·MR. JAZIL:· Object to the form.
   ·4· · · · A· · So do you want me to answer with my
   ·5· ·opinion, or do you want me to be quiet?
   ·6· ·BY MS. SIVALINGAM:
   ·7· · · · Q· · I want you to answer with your opinion.
   ·8· · · · A· · I think -- restate the question first,
   ·9· ·please.
   10· · · · Q· · Sure.· What is your opinion of SB 90's
   11· ·requirement that the drop boxes must be continuously
   12· ·and physically monitored, as opposed to surveilled
   13· ·by video?
   14· · · · A· · I think it's absurd, in one word.
   15· · · · Q· · And why is that?
   16· · · · A· · Because there is no monitoring that I am
   17· ·aware of, whether it be cameras or in person, of the
   18· ·thousands of mailboxes that are available to voters
   19· ·all across the state of Florida.
   20· · · · · · ·Right here in front of my office is now a
   21· ·postal service drop box, and any voter can put any
   22· ·ballot in there they want to, and I don't have to
   23· ·have the cameras on there.· I choose to keep the
   24· ·cameras on there.
   25· · · · · · ·But just down the street at the post


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 87 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 86
   ·1· ·office, there are two other drop boxes that are
   ·2· ·drive-bys that they can put them in right there, and
   ·3· ·the list goes on and on and on.· And this
   ·4· ·requirement not allowing camera surveillance is
   ·5· ·absurd, in my opinion.
   ·6· · · · Q· · Is it fair to say that you think that your
   ·7· ·drop boxes were secure when they were solely -- or
   ·8· ·your drop box outside your office was secure when it
   ·9· ·was monitored solely via video?
   10· · · · A· · I can best answer that by saying that it
   11· ·has been there in place for every election since we
   12· ·moved into this building, and I have had not one
   13· ·instance of any kind of suspected malbehavior.· So
   14· ·security, yes, it is very secure and -- you know, it
   15· ·is what it is.
   16· · · · Q· · Okay.· One thing that we didn't discuss,
   17· ·but are you familiar with the 25,000-dollar penalty
   18· ·provision of SB 90?
   19· · · · A· · Oh, yes.
   20· · · · Q· · Can you explain to me your understanding
   21· ·of how that works?
   22· · · · A· · My understanding is if that drop box at
   23· ·any time is available for the -- to receive ballots
   24· ·and it's not monitored, I am subject to a
   25· ·25,000-dollar fine.


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 88 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 87
   ·1· · · · Q· · And to clarify, does it have to be
   ·2· ·monitored by an employee of your office, or can it
   ·3· ·be monitored by, for instance, the contract security
   ·4· ·service you used last year, to your understanding?
   ·5· · · · A· · My recollection of the wording of the law
   ·6· ·is it has to be an employee of my office, which in
   ·7· ·my mind would preclude the rent-a-cop.· Perhaps --
   ·8· ·let me call him or her the contract security person.
   ·9·
    9· · · · Q· · That sounds good.· Do you think that this
   10· ·25,000-dollar fine required by SB 90 is necessary?
   11· · · · · · ·MR. JAZIL:· Object to the form.
   12· ·BY MS. SIVALINGAM:
   13· · · · Q· · You can answer.
   14· · · · A· · Are you asking me what I think?
   15· · · · Q· · Yes, I am.
   16· · · · A· · I think it's a slap in the face, I think
   17· ·it's insulting, I think it is totally unnecessary,
   18· ·unwarranted and completely out of order.
   19· · · · Q· · How, if at all, will the 25,000-dollar
   20· ·fine impact Lake County's administration of drop
   21· ·boxes in the 2022 election cycle?
   22· · · · A· · First point of impact will be very
   23· ·specific in our training; we will make it clear to
   24· ·the person that is in charge, the clerk of -- the
   25· ·person in charge of those early voting sites, that


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 89 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 88
   ·1· ·under no circumstances will that box be available
   ·2· ·for the deposition of ballots without a monitor
   ·3· ·being there because I am not going to subject myself
   ·4· ·to that 25,000-dollar fine.
   ·5· · · · · · ·So we will train them there, we will make
   ·6· ·sure that even if that person has to take a potty
   ·7· ·break or if they have to go to get a drink of water
   ·8· ·or for any other reason, before they leave that drop
   ·9· ·box, they will have another person there to monitor
   10· ·it, and that will be one of our employees.
   11· · · · Q· · Do you plan on double staffing any of your
   12· ·drop boxes?
   13· · · · A· · We very well have been discussing that.
   14· ·We have not made the final decision, but I would say
   15· ·that if pressed on the decision today, yes, ma'am, I
   16· ·will double staff it because I am just not going to
   17· ·pay the 25,000-dollar fine.
   18· · · · Q· · Right.· Will either the 25,000-dollar fine
   19· ·or the requirement that drop boxes be monitored by
   20· ·employees, will that pose a burden on your office?
   21· · · · A· · Well, it will certainly impose a financial
   22· ·burden, but other than that, no big deal.
   23· · · · Q· · Can you explain the financial burden?
   24· · · · A· · Of course.· The cost of the people that
   25· ·you pay to sit there and monitor the thing and


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 90 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 89
   ·1·
    1· ·particularly if we do decide to double staff it.
   ·2· · · · Q· · Okay.· And those costs, will you either
   ·3· ·have to cut other services, or will those costs
   ·4· ·ultimately be borne by the taxpayers?
   ·5· · · · A· · The cost will be borne by the taxpayers.
   ·6· ·We are not going to reduce our level of service.
   ·7· · · · Q· · Okay.· You said in past years you were
   ·8· ·able to, is it right, return certain -- return some
   ·9· ·money to the voters, is that right, that goes in
   10· ·line with your fourth goal of financial stewardship?
   11· · · · A· · Yes, ma'am.
   12· · · · Q· · Do you think that these financial burdens
   13· ·on your office might affect your ability to return
   14· ·funds to the voters in Lake County?
   15· · · · A· · Well, it will certainly diminish the
   16· ·amount of the refund.
   17· · · · Q· · Okay.· Okay.· Now, very specifically
   18· ·talking about a drop box, so not a USPS box, is it
   19· ·correct that Lake County is not going to have a
   20· ·24-hour drop box outside of the Supervisors of
   21· ·Elections office during the 2020 election cycle?
   22· · · · A· · That is correct.
   23· · · · Q· · Is that because of SB 90?
   24· · · · A· · Hang on a minute.· I think I misunderstood
   25· ·you, Danielle.· Did you say during the 2020 election


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 91 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 90
   ·1· ·cycle?
   ·2· · · · Q· · 2022.
   ·3· · · · A· · 2022.· Well, if the law will change and
   ·4· ·we, as a supervisors' association, are going to
   ·5· ·appeal to the legislators the change.· But as the
   ·6· ·law stands today, there will be no 24-hour drop box
   ·7· ·available to the voters of Lake County except those
   ·8· ·owned by the postal service.
   ·9· · · · Q· · Right.· And just for now, I understand and
   10· ·I do want to ask about your USPS box, but just
   11· ·speaking about the drop box only and only speaking
   12· ·about assuming SB 90 remains in place and your
   13· ·current plans under the current law, to clarify -- I
   14· ·just want to make sure I have this right -- Lake
   15· ·County does not plan on having a 24-hour drop box
   16· ·available outside the Supervisor of Elections office
   17· ·during the 2022 election cycle?
   18· · · · A· · That is correct.
   19· · · · Q· · Thank you.· And then is that because of
   20· ·SB 90?
   21· · · · A· · Yes, ma'am.
   22· · · · Q· · Can you explain?
   23· · · · A· · What --
   24· · · · Q· · Explain why, explain why under SB 90 you
   25· ·can't have it.


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 92 of 316
 Alan Hays
 October 06, 2021

                                                                         Page
                                                                           g 91
   ·1·
    1· · · · A· · It's included in the language of the law.
   ·2· ·The law simply says that I have to have it monitored
   ·3· ·by an employee of my office, and if I am not willing
   ·4· ·to do that, then I can't have the box out there.
   ·5· · · · Q· · And it sounds like you are not willing to
   ·6· ·do that?
   ·7· · · · A· · That is correct.· I am not going to pay
   ·8· ·again for the -- I apologize, I am having to think
   ·9· ·of the contract security company.· I am not going to
   10· ·pay for one of them to sit out there for 24 hours a
   11· ·day; that is, I think, a ludicrous use of the
   12· ·taxpayer dollars and I am not going to do it.
   13· · · · Q· · Under SB 90, could you even pay for them,
   14· ·or would it have to be an employee of your office?
   15· · · · A· · There you go.· It would have to be an
   16· ·employee of my office, and I am not willing to do
   17· ·that either.
   18· · · · Q· · Okay.· So does that mean that Lake County
   19· ·will not have -- I guess I should say will in the --
   20· ·just speaking about the 2022 election cycle, under
   21· ·the current legal framework, with SB 90 in place,
   22· ·will Lake County have a -- so then will Lake
   23· ·County's drop boxes only be available to voters
   24· ·during early voting hours?
   25· · · · · · ·MR. BARDOS:· Object to the form.


                          www.phippsreporting.com
                               (888) 811-3408                                     YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 93 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 92
   ·1· ·BY MS. SIVALINGAM:
   ·2· · · · Q· · To your knowledge.
   ·3· · · · A· · Under the current law, our plan for the
   ·4· ·'22 election is to have drop boxes available at all
   ·5· ·of our early voting sites during early voting hours
   ·6· ·and here in our office during the hours in which we
   ·7· ·are open, which actually is longer than the early
   ·8· ·voting hours.· We open at the 8:00 a.m. every day,
   ·9· ·Monday through Friday, and when early voting is
   10· ·going on, we are even open those two Saturdays as
   11· ·well.
   12· · · · · · ·So the drop box here in our office will be
   13· ·available for them.· All the drop boxes will be
   14· ·available except the one outside camera monitored,
   15· ·that's the only one that won't be and it's now
   16· ·stored in our warehouse.
   17· · · · Q· · Stored in the warehouse?· Okay.· So I do
   18· ·want to ask you about this USPS box outside your
   19· ·office.· And for me I think it would be most helpful
   20· ·to look at an exhibit where you talk about it and
   21· ·introduced the idea to the supervisors.
   22· · · · · · ·MS. SIVALINGAM:· For my colleague, who is
   23· · · · going to put the name of the document up there,
   24· · · · it is the e-mail chain with Supervisor Hays and
   25· · · · other supervisors, including on the last chain,


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 94 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 93
   ·1·
    1· · · · Supervisor Carol Dunaway.
   ·2· · · · · · ·(Exhibit 5 was marked for identification.)
   ·3· · · · A· · Boy, how do you make this thing bigger?
   ·4· ·BY MS. SIVALINGAM:
   ·5· · · · Q· · I know, it's a little bit -- I would use
   ·6· ·the Zoom magnifying glass function.
   ·7· · · · · · ·MS. SIVALINGAM:· And I'll have the court
   ·8· · · · reporter mark this as Exhibit 5.
   ·9· · · · A· · Direct me to what part you want.
   10· ·BY MS. SIVALINGAM:
   11· · · · Q· · I do want to ask -- so I would like to
   12· ·start at the first e-mail that you sent, it's dated
   13· ·May 26, 2021, at 9:07 p.m. where it says
   14· ·"Colleagues."
   15· · · · A· · Okay.
   16· · · · Q· · Do you recognize this e-mail chain as an
   17· ·e-mail chain between yourself and several
   18· ·supervisors of elections?
   19· · · · A· · Yes, ma'am.
   20· · · · Q· · Okay.· Okay.· I actually -- I would like
   21· ·to have you explain -- well, in this e-mail, it
   22· ·seems like you have an idea about how to address the
   23· ·drop box issue since SB 90, is that right?
   24· · · · A· · Sure.
   25· · · · Q· · Can you explain the idea that you present


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 95 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 94
   ·1· ·to the other supervisors in this e-mail?
   ·2· · · · A· · Well, the idea is very simple, in that our
   ·3· ·voters had -- several of them had become accustomed
   ·4· ·to bringing their vote-by-mail ballots here,
   ·5· ·dropping them off in our private drop box.· To allow
   ·6· ·them to continue the convenience of this location, I
   ·7· ·asked the postmistress if she would bring one of her
   ·8· ·drop boxes down here and put it in and that's what
   ·9· ·they did.· So I am showing that to the rest of the
   10· ·supervisors across the state, what I chose to do for
   11· ·the convenience of my voters.
   12· · · · Q· · Okay.· Thank you.· You also say, "While we
   13· ·don't have to staff it, it is located in the same
   14· ·place as our earlier more secure box was located."
   15· · · · · · ·Why was the earlier -- by earlier, you
   16· ·mean the drop box that we saw a picture of in
   17· ·Exhibit 3, right?
   18· · · · A· · That's correct.
   19· · · · Q· · Okay.· Why was that earlier drop box more
   20· ·secure than the USPS box?
   21· · · · A· · Well, because the contents of that box are
   22· ·handled only by employees of my office.· It doesn't
   23· ·go -- it comes directly from the voter directly into
   24· ·our vote-by-mail department; it does not have to go
   25· ·through the myriad of USPS stops along the way.


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 96 of 316
 Alan Hays
 October 06, 2021

                                                                         Page
                                                                           g 95
   ·1· · · · · · ·Now the box is -- the contents of that box
   ·2· ·is retrieved by only one person, that person takes
   ·3· ·it to the Tavares post office, it then goes from
   ·4· ·there to the Lake Mary central postal facility, and
   ·5· ·then hopefully the next day it comes back to us.
   ·6· · · · · · ·The postmistress recently did a test
   ·7· ·herself and it was two days later before it came
   ·8· ·back to the Tavares post office, and then it has to
   ·9· ·come back to us.
   10· · · · · · ·So there is at least a two-day lag and
   11· ·potentially longer lag before we get that ballot in
   12· ·our hands.
   13· · · · · · ·So in that sense, it's more secure, in
   14· ·that it's handled only by our office and not the
   15· ·U.S. postal people.· It's more secure in the sense
   16· ·that we have two people retrieving the ballots
   17· ·instead of only one.
   18· · · · · · ·And then the actual opening of the box
   19· ·itself, the postal service box, please keep this
   20· ·secure and don't tell the public, but a person with
   21· ·ill intentions could take a gallon jug or any size
   22· ·container of liquid and have somebody else open the
   23· ·trap door and just pour the liquid right into the
   24· ·thing and wet every one of those ballots down in
   25· ·there, and then we would have to go through the


                          www.phippsreporting.com
                               (888) 811-3408                                     YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 97 of 316
 Alan Hays
 October 06, 2021

                                                                         Page
                                                                           g 96
   ·1· ·process of duplicating and running them -- it would
   ·2· ·just ruin -- it wouldn't ruin them, hopefully, in
   ·3· ·the sense of not allowing us to get any duplication
   ·4· ·quality out of them, but at least it would be a real
   ·5· ·mess.· They could --
   ·6·
    6· ·BY MS. SIVALINGAM:
   ·7· · · · Q· · I understand the concern and that concern
   ·8· ·that you just described about pouring water or
   ·9· ·another liquid over ballots in the USPS box; sounds
   10· ·like you designed your drop box to avoid that issue.
   11· ·To your knowledge, did something like that happen in
   12· ·Lake County in the USPS boxes?
   13· · · · A· · No, ma'am.
   14· · · · Q· · Okay.
   15· · · · A· · That's why I don't want to talk outside
   16· ·this circle here because we don't want to give
   17· ·anybody any ideas.
   18· · · · Q· · Okay.· This is -- I have to let you know
   19· ·this is testimony that is public, but I guess -- I
   20· ·hear you.
   21· · · · · · ·Okay.· So thanks for explaining that.
   22· · · · · · ·Now, if you can read -- and I know the
   23· ·font is small, but it looks like at 9:53 p.m. you
   24· ·sent an e-mail to Supervisor Brian Corley of Pasco,
   25· ·where at a certain point you say, "I just hope the


                          www.phippsreporting.com
                               (888) 811-3408                                     YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 98 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 97
   ·1· ·USPS gets the ballot test promptly."
   ·2· · · · · · ·Other than what we've discussed, why would
   ·3· ·you have a concern about promptness with regard to
   ·4· ·the USPS?
   ·5· · · · A· · Forgive me for chuckling at that question.
   ·6· ·The U.S. Postal Service is notorious for tardy
   ·7· ·deliveries.· After saying that, though, let me add
   ·8· ·that our experience here in Lake County has been
   ·9· ·very, very good with those folks.· We have had very
                 deliveries.·
   10· ·few late deliveries.· But the postal service
   11· ·recently put out a notice to the entire country
   12· ·saying that rather than first-class mail being
   13· ·delivered in three days, we should now expect it in
   14· ·five days.
   15· · · · · · ·So that -- I think that sort of speaks to
   16· ·itself, of the notorious U.S. Postal Service
   17· ·delivery schedule has been degraded along the way
   18· ·over the last several years.
   19· · · · Q· · Okay.· To your knowledge, this USPS box
   20· ·that you placed where the drop box used to be
   21· ·outside the Lake County Supervisor's office, any
   22· ·ballots placed inside there would still have to go
   23· ·through the processing that you described, right?
   24· · · · · · ·MR. BARDOS:· Object to the form.
   25· · · · A· · Restate the question.


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 99 of 316
 Alan Hays
 October 06, 2021

                                                                         Page 98
   ·1· ·BY MS. SIVALINGAM:
   ·2· · · · Q· · I will restate the question.· Okay.· You
   ·3· ·said -- is it correct that you said that if a ballot
   ·4· ·is placed inside a drop box, your election workers
   ·5· ·empty the box and take it inside the Supervisor's
   ·6· ·office and go through the chain of custody, right?
   ·7· ·They go directly to your office, the ballots?
   ·8· · · · A· · That's correct.
   ·9· · · · Q· · I'm looking -- I want to clarify if -- to
   10· ·the extent there is a difference with the USPS box
   11· ·that's there now, the ballots would have to go
   12· ·through processing through the U.S. Postal Service
   13· ·before they reach your office?
   14· · · · A· · That is correct.
   15· · · · · · ·Can I call a timeout here a minute?· My
   16· ·computer with the exhibits on it has a battery
   17· ·issue, which I thought we had it plugged in, but
   18· ·apparently it's not working correctly.· So if I
   19· ·could take a break for a moment and get that solved.
   20· · · · · · ·MR. BARDOS:· Yeah, let's go off the record
   21· · · · for a minute.
   22· · · · · · ·MS. SIVALINGAM:· Sure.
   23· · · · · · ·(Discussion off record.)
   24· · · · · · ·THE WITNESS:· I am back up and running.
   25


                          www.phippsreporting.com
                               (888) 811-3408                                      YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 100 of 316
 Alan Hays
 October 06, 2021

                                                                      Page 99
   ·1· ·BY MS. SIVALINGAM:
    2· · · · Q· · Because in your last -- in the last e-mail
   ·2·
   ·3· ·in this chain in Exhibit 5, you say something to --
   ·4· ·you say to Supervisor Dunaway that you were hoping
   ·5· ·to get the postmaster to have pickup people leave
   ·6· ·the ballots here with us instead of running them
   ·7· ·through the center; I have not made the request yet,
   ·8· ·but hopefully she will be in her election service
   ·9· ·frame of mind so we -- as we near the election, this
   10· ·will consent.
   11· · · · · · ·I just want to know, have you reached any
   12· ·sort of agreement with the postmaster whereby the
   13· ·ballots inside the USPS box outside the Supervisor's
   14· ·office do not have to go through U.S. Postal Service
   15· ·processing before they reach your office?
   16· · · · A· · To say we've reached an agreement I think
   17· ·is -- that's one way to put it.· But I did -- since
   18· ·we are having five city elections right now, I did
   19· ·call her since that e-mail was written and she said,
   20· ·Alan, I am sorry, but we have to follow the rules,
   21· ·and I certainly understand that.· So the trip to the
   22· ·post office, to Lake Mary, back to the post office,
   23· ·and then to our office is the way that the postal
   24· ·service is doing it.
   25· · · · Q· · When you say have to follow the rules --


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 101 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 100
   ·1·
    1· · · · A· · The postal service rules.
   ·2· · · · Q· · Right.· Which means that the ballots have
   ·3· ·to be processed?
   ·4· · · · A· · Yes, ma'am.
   ·5· · · · Q· · Okay.· Let's pull up what I will mark as
   ·6· ·Exhibit 6, it is --
   ·7· · · · · · ·MS. SIVALINGAM:· Francesca, it's the
   ·8· · · · e-mail with Supervisor Hays at the top, the
   ·9· · · · last e-mail in the chain is at 3:02 p.m. on the
   10· · · · 27th of May, 2021.
   11· · · · · · ·(Exhibit 6 was marked for identification.)
   12· ·BY MS. SIVALINGAM:
   13· · · · Q· · Supervisor Hays, do you have that e-mail
   14· ·up?
   15· · · · A· · Yes, ma'am.
   16· · · · Q· · We already talked about some things on
   17· ·here, so I wanted to direct you to, I think, the
   18· ·second-to-the-top e-mail of the chain where
   19· ·Supervisor Stamoulis, I see the return-to-sender
   20· ·policy for nonballots, that's the only wrinkle, that
   21· ·sentence.· Once you've had a chance to read it, I
   22· ·just would like to know if you know what the
   23· ·supervisor meant by that.
   24· · · · A· · Are you talking about the one that he sent
   25· ·May 27 at 11:44:36 a.m.?


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 102 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 101
   ·1· · · · Q· · Oh, sorry, May 27 at 2:32 p.m.
   ·2· · · · A· · (Examining Document.)
   ·3· · · · · · ·What was your question again, Danielle?
   ·4· · · · Q· · You respond to the e-mail.· Do you know
   ·5· ·what he meant by, I see the return-to-sender policy
   ·6· ·in that sentence, what he means by that sentence?
   ·7· · · · A· · Not particularly.· The return-to-sender
   ·8· ·policy for nonballots is the only wrinkle, I don't
   ·9· ·know.· I replied to him saying I agree they may be
   10· ·confused, is the people may very well be confused
   11· ·because it's a postal service box and they were
   12· ·expecting it to be our box.· But beyond that, I have
   13· ·no idea.
   14· · · · Q· · Yeah, I wasn't entirely sure either.· But
   15· ·when you say, I agree that they may be confused, do
   16· ·you mean voters may be confused as to whether it's a
   17· ·drop box or a USPS box?
   18· · · · A· · Well, imagine yourself, you've become
   19· ·accustomed to coming to the office and putting your
   20· ·ballot in our white drop box.· And you come
   21· ·expecting to find that box there again and all of a
   22· ·sudden that box is not there, but they've got this
   23· ·blue box there.· And the mental process you might go
   24· ·through is, why in the world did they change this?
   25· · · · · · ·That's the point of confusion that I was


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 103 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 102
   ·1· ·referring to there.
   ·2· · · · Q· · Okay.
   ·3· · · · A· · And to that point, I say I plan to put a
   ·4· ·sign nearby informing those choosing to use the box,
   ·5· ·that it is not a drop box for our office but,
   ·6· ·instead, the USPS.· We will be putting that out
   ·7· ·there with each election season, particularly near
   ·8· ·the end of the time when it might be critical for
   ·9· ·the -- say the last week of -- before the election;
   10· ·because if somebody drops it in there the day before
   11· ·the election, they can pretty well kiss it goodbye,
   12· ·it's highly unlikely that it will be here.
   13· · · · Q· · Do you have any concern that due to the
   14· ·location of the USPS box, it may -- well, never
   15· ·mind.· I will move on.
   16· · · · · · ·Would you agree that -- do you know, I
   17· ·guess, if every county in Florida is planning to
   18· ·replace -- every county in Florida that had a
   19· ·24-hour drop box is planning to replace that drop
   20· ·box with a USPS box?
   21· · · · A· · I have not heard of any that are planning
   22· ·to do that.
   23· · · · Q· · Okay.
   24· · · · · · ·MR. JAZIL:· This is Mo for the Secretary.
   25· · · · I lodge an objection to the last question.


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 104 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 103
   ·1· ·BY MS. SIVALINGAM:
    2· · · · Q· · Okay.· Turning back, I do have one more
   ·2·
   ·3· ·question about one of your e-mails on this chain.
   ·4· ·This one is the e-mail Thursday, May 27 at 2:03 p.m.
   ·5· ·from you to Supervisor Stamoulis.· The line where
   ·6· ·you say, of course, can you read that sentence?· It
   ·7· ·says, "Of course, my strong desire is to show the
   ·8· ·Legislature how wrong their restrictions are and
   ·9· ·have them allow us to again use our own secure
   10· ·camera-monitored drop box available 24/7."
   11· · · · · · ·Would you agree then that the USPS box
   12· ·that you placed outside the Lake County Supervisor's
   13· ·office is an inadequate substitute for the 24-hour
   14· ·drop box that was previously located there?
   15· · · · · · ·MR. BARDOS:· Object to the form.
   16· ·BY MS. SIVALINGAM:
   17· · · · Q· · You can still answer.
   18· · · · A· · It would be my opinion that the USPS box
   19· ·is subjecting those ballots to an unnecessary chance
   20· ·of being misplaced or disfigured or destroyed or
   21· ·lost or anything else that would preclude those
   22· ·votes from being counted.
   23· · · · · · ·And it's my firm conviction that the box
   24· ·that we had out there that was monitored by the
   25· ·cameras was exceptionally adequate and highly


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 105 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 104
   ·1·
    1· ·secure.
   ·2· · · · Q· · Okay.· And the provision of SB 90 that we
   ·3· ·have been discussing concerning drop boxes,
   ·4· ·including the fine and the requirement that -- a
   ·5· ·continued monitoring by an employee, so I'm talking
   ·6· ·about the whole provision, not just the monitoring
   ·7· ·piece of it, do you think that this provision of
   ·8· ·SB 90 will be a burden to voters?
   ·9· · · · · · ·MR. BARDOS:· Object to the form.
   10· · · · A· · Do I think the provision of SB 90
   11· ·requiring the monitoring of drop boxes will be an
   12· ·imposition to the voters?· Is that your question?
   13· ·BY MS. SIVALINGAM:
   14· · · · Q· · A burden, inclusive of also the piece of
   15· ·the provision that includes the fine.
   16· · · · · · ·MR. BARDOS:· Object to the form.
   17· · · · A· · Well, if -- it's my recollection -- and
   18· ·you lawyers will have to clarify for me, but I
   19· ·believe the stipulation was -- on the $25,000, it's
   20· ·a civil fine, and if I am correct, that means I've
   21· ·got to pay it out of my pocket, that the taxpayers
   22· ·will not be able to pay that for me.
   23· · · · · · ·THE WITNESS:· Is that correct, Andy?
   24· · · · · · ·MR. BARDOS:· I can't help you out.· You
   25· · · · are on your own for now.


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 106 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 105
   ·1· · · · A· · Well, you know, here you may -- directly,
   ·2· ·no.· I don't think -- I don't think the voters will
   ·3· ·be directly affected in a manner that they will
   ·4· ·notice that -- I mean, to Joe --
   ·5· ·BY MS. SIVALINGAM:
   ·6· · · · Q· · Would it be helpful if I clarify, maybe
   ·7· ·just is the removal of the 24-hour drop box a burden
   ·8· ·to voters?
   ·9· · · · · · ·MR. BARDOS:· Object to the form.
   10· · · · A· · Danielle, I really don't know how -- what
   11· ·new information I have to offer --
   12· ·BY MS. SIVALINGAM:
   13· · · · Q· · If you think you've answered, that's fine.
   14· · · · A· · -- that question because I think at least
   15· ·I tried to be very clear that the utilization of a
   16· ·postal service drop box is -- is subjecting those
   17· ·ballots to potential disfigurement and other harms
   18· ·that the voters would not have if they were using my
   19· ·drop box.· Does that answer your question?
   20· · · · Q· · Yes.
   21· · · · A· · Okay.
   22· · · · Q· · Okay.· I want to make sure that -- I think
   23· ·you told me earlier that no one had reported and you
   24· ·were not familiar with any instances of suspicious
   25· ·activity with regard to the 24-hour drop box.· I am


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 107 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 106
   ·1· ·curious as to all of the drop boxes available in
   ·2· ·Lake County, including the ones available only
   ·3· ·during early voting hours and the one in your
   ·4· ·office, inside your office.
   ·5· · · · · · ·At any time during the 2020 elections, did
   ·6· ·anyone monitoring the drop boxes report any problems
   ·7· ·with the drop box?
   ·8· · · · A· · No, ma'am.
   ·9· · · · Q· · Okay.
   10· · · · · · ·MS. SIVALINGAM:· Are you guys going to
   11· · · · take a lunch break?
   12· · · · · · ·MR. BARDOS:· How much more do you think
   13· · · · you have, Danielle?
   14· · · · · · ·MS. SIVALINGAM:· Probably about two hours,
   15· · · · maximum.
   16· · · · · · ·MR. BARDOS:· Yeah, I think we should take
   17· · · · a lunch break then when it's a convenient time.
   18· · · · · · ·MS. SIVALINGAM:· Whatever works for you.
   19· · · · I know it's close to his lunch there.
   20· · · · · · ·MR. BARDOS:· Alan, what do you think?
   21· · · · · · ·THE WITNESS:· The sooner, the better, I
   22· · · · guess.
   23· · · · · · ·MR. BARDOS:· Let's take a lunch break then
   24· · · · and we can reconvene.
   25· · · · · · ·MR. JAZIL:· Andy, this is Mo, just for


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 108 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 107
   ·1· ·planning purposes, can we get a sense of how
   ·2· ·many more cumulative hours of questioning folks
   ·3· ·have?· Because I know the Department of State,
   ·4· ·and George is sitting here with me for the
   ·5· ·intervenors, we have a few questions, too.· We
   ·6· ·just want to make sure we have adequate time.
   ·7· · · · MR. BARDOS:· Anyone else who plans to ask
   ·8· ·questions, what are your thoughts on that?
   ·9· · · · MR. NASSERI:· For the NAACP plaintiffs, I
   10· ·probably will not have -- I doubt it will be
   11· ·over like an hour and a half, maybe two hours
   12· ·at the absolute maximum, but I --
   13· · · · MS. SIVALINGAM:· I will try to be
   14· ·judicious.· Of course, I do want to hear
   15· ·Supervisor Hays to the fullest extent and don't
   16· ·want to cut off anything important that he has
   17· ·to say.
   18· · · · MR. BARDOS:· Is anybody else planning at
   19· ·this point to ask questions?
   20· · · · MR. BUDHU:· Yeah, this is Ryan Budhu for
   21· ·Florida Rising plaintiffs, I am looking at
   22· ·maybe 45 minutes to an hour.
   23· · · · MR. BARDOS:· Mo, do you think that gives
   24· ·you the time you need?
   25· · · · MR. JAZIL:· I would like to ask about an


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 109 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 108
   ·1· ·hour and a half worth of questions.· I am here
   ·2· ·with George, so -- for the intervenors, and the
   ·3· ·Secretary will streamline as much as possible.
   ·4· ·I don't know if that puts you over seven hours.
   ·5· · · · MR. BARDOS:· What if we take our lunch
   ·6· ·break now and we can continue our planning
   ·7· ·discussion.· To the extent that the plaintiffs
   ·8· ·can streamline and avoid duplication, I would
   ·9· ·appreciate it.
   10· · · · THE WITNESS:· That was going to be my
   11· ·question, Andy, is how many -- Lord have mercy,
   12· ·you are talking about six or seven hours here
   13· ·additional, which I can stay, but how many of
   14· ·these questions are going to be repetitive?                   I
   15· ·am, candidly, not inclined to answer the same
   16· ·question three different times just because
   17· ·there is three different lawyers here, unless I
   18· ·am absolutely required to.
   19· · · · MR. BARDOS:· Yeah, let's go ahead and go
   20· ·off the record for the lunch break at this
   21· ·point.· And I think that's important, if the
   22· ·plaintiffs could streamline their questions.                      I
   23· ·think we've made some of the same points
   24· ·multiple times, and to the extent that other
   25· ·plaintiff groups plan to ask the same


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 110 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 109
   ·1· · · · questions, it's enough if it's been done once
   ·2· · · · before.· So let's try to be efficient when we
   ·3· · · · reconvene.
   ·4· · · · · · ·(A recess took place from 12:48 p.m. to
   ·5· · · · 1:30 p.m.)
   ·6· ·BY MS. SIVALINGAM:
   ·7· · · · Q· · So, Supervisor Hays, I'm going to switch
   ·8· ·gears now and ask some questions about ballot
   ·9· ·collection.· And we already discussed, when you were
   10· ·telling me about the different ways that folks can
   11· ·return their ballots, that prior to SB 90's passage,
   12· ·in Lake County unpaid individuals could return
   13· ·voters' ballots to your office, is that right?
   14· · · · A· · Sure.
   15· · · · Q· · Okay.· Did civic groups -- to your
   16· ·knowledge, did civic groups in Lake County ever help
   17· ·collect ballots?
   18· · · · A· · I could not give you any instance of such
   19· ·occurrence that I'm aware of.
   20· · · · Q· · Can you explain what you understand to be
   21· ·SB 90's change about ballot collection?
   22· · · · A· · Simplest way to say it is it prohibits
   23· ·ballot harvesting, the details of which are not
   24· ·right here on the tip of my tongue right now, I'm
   25· ·sorry.


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 111 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 110
   ·1· · · · Q· · That's okay.· Do you understand SB 90 to
   ·2· ·make it a crime to return more than two ballots
   ·3· ·unless those ballots belong to an immediate family
   ·4· ·member as defined by statute?
   ·5· · · · A· · I think that would probably be correct.
   ·6· · · · Q· · Okay.· So we -- I think we talked about
   ·7· ·this and you said that you testified before the
   ·8· ·Florida Senate about SB 90.· And does it sound right
   ·9· ·that those remarks would have been on or around
   10· ·March 10, 2021?
   11· · · · A· · That's correct.
   12· · · · Q· · Okay.· My colleague Mr. Nasseri had a
   13· ·portion of your remarks those days transcribed and
   14· ·I'd like to pull up that transcription and mark it
   15· ·as -- I think we're on Exhibit 7.· Is that right?
   16· · · · · · ·(Exhibit 7 was marked for identification.)
   17· ·BY MS. SIVALINGAM:
   18· · · · Q· · And mark it as Exhibit 7 and I believe
   19· ·your attorney just sent me that document.· It wasn't
   20· ·in the zip file that I sent, it was in Mr. Nasseri's
   21· ·zip file that we also just had it sent to you
   22· ·separately.
   23· · · · · · ·MR. BARDOS:· I just e-mailed it to you,
   24· · · · Alan, maybe 5 to 10 minutes ago.
   25· · · · · · ·(Discussion of the record.)


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 112 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 111
   ·1· · · · · · ·THE WITNESS:· Committee on government
   ·2· · · · affairs, I guess.· Okay.· There we are.
   ·3· · · · · · ·MS. SIVALINGAM:· Yes.· That's the one.
   ·4· ·BY MS. SIVALINGAM:
   ·5· · · · Q· · Okay.· So this is a transcription of your
   ·6· ·remarks.· To the extent anything doesn't seem
   ·7· ·accurate, you should let me know.· But we did -- or
   ·8· ·Mr. Nasseri did endeavor to have them transcribed,
   ·9· ·your remarks transcribed word for word to my
   10· ·understanding.
   11· · · · · · ·Okay.· So I have a question about remarks
   12· ·on page 2, the second to the last box where it
   13· ·should say, I think, Supervisor Hays, beginning with
   14· ·"I don't know."· And you might want to read Senator
   15· ·Torres's question right before then to contextualize
   16· ·your remarks.
   17· · · · · · ·I want to give you a minute to read it.
   18· ·When you're done reading, will you let me know?
   19· · · · A· · (Examining Document.)
   20· · · · · · ·Okay, I'm through.
   21· · · · Q· · Okay.· To your memory does this statement
   22· ·accurately reflect a portion of your testimony
   23· ·before the Florida Senate committee on government
   24· ·oversight and accountability on or around March 10,
   25· ·2021?


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 113 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 112
   ·1· · · · A· · Yes, ma'am.
   ·2· · · · Q· · Okay.· Here you reference tax collectors
   ·3· ·that have drop boxes in their offices similar to
   ·4· ·drop boxes that banks use for night depositories.
   ·5· ·Can you describe or explain what you mean by that?
   ·6· · · · A· · I think it's pretty well self-explanatory.
   ·7· ·Are you not familiar with what bank drop boxes look
   ·8· ·like?
   ·9· · · · Q· · I am not familiar with what a tax
   10· ·collector -- actually, no, I'm not.· Can you explain
   11· ·that?· Not at least potentially --
   12· · · · A· · Well, they vary in their construction and
   13· ·I wouldn't attempt to go into all that kind of
   14· ·detail but they're -- most of the time they're built
   15· ·in, they're not just attached to the outside of the
   16· ·building, they're built in and you -- and sometimes
   17· ·it's something just simple as a mail slot in a door
   18· ·that you can lift a little flap and stick stuff
   19· ·through, but then other times it's a formal box that
   20· ·you put stuff in.
   21· · · · · · ·I mean, I'm sorry, here in Florida we have
   22· ·them all over the place.· Everybody's familiar with
   23· ·them.
   24· · · · Q· · Okay.· I think I -- I think your
   25· ·description makes sense now.· And are you saying


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 114 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 113
   ·1· ·here in your testimony that tax collectors have
   ·2· ·something similar to that?
   ·3· · · · A· · Absolutely, that's what it says.
   ·4· · · · Q· · And by tax collector, just to clarify, is
   ·5· ·that an official government worker or ...
   ·6· · · · A· · Here in Florida we have five
   ·7· ·constitutional officers and the tax collector is one
   ·8· ·of those.
   ·9· · · · Q· · Okay.· Okay.· So is it correct that you
   10· ·testified that voters in Lake County have confused
   11· ·drop boxes at tax collector offices for supervisor
   12· ·of election drop boxes?
   13· · · · A· · No, ma'am, I didn't say anything about the
   14· ·voters being confused that I recall.
   15· · · · Q· · Okay.
   16· · · · A· · I wouldn't suppose that they were.· Just
   17· ·the mere fact that the tax collector brought us the
   18· ·ballots tells you that the voter accomplished their
   19· ·purpose which was getting the ballot to us.
   20· · · · Q· · Okay.· But -- okay.· That's fair.· So --
   21· ·but you are saying that there was a phenomenon
   22· ·whereby voters in Lake County dropped off -- at
   23· ·least some voters dropped off vote-by-mail ballots
   24· ·in tax collector drop boxes rather than official
   25· ·supervisor of election drop boxes?


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 115 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 114
   ·1· · · · A· · That is correct.
   ·2· · · · Q· · And oftentimes tax collectors delivered
   ·3· ·those ballots to you?
   ·4· · · · A· · That is correct.
   ·5· · · · Q· · Had they not -- and we don't know if they
   ·6· ·haven't in certain instances -- you would not
   ·7· ·receive those ballots as you do in the way that you
   ·8· ·do in supervisor of election drop boxes?
   ·9· · · · A· · That's correct.
   10· · · · Q· · Okay.· Just wanted to understand the
   11· ·distinction.
   12· · · · · · ·So after the tax collector brought you
   13· ·those ballots, did you accept them?
   14· · · · A· · Of course.
   15· · · · Q· · And did you process them?
   16· · · · A· · Absolutely.
   17· · · · Q· · And do you understand that process of tax
   18· ·collectors bringing ballots to you, in the instance
   19· ·of if it was more than two ballots, to still be
   20· ·permitted under SB 90 restrictions on ballot
   21· ·collection?
   22· · · · A· · I never gave it a thought.
   23· · · · Q· · Could you give it a thought?
   24· · · · A· · If I were, I would want to have the
   25· ·language of Senate Bill 90 right here in front of me


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 116 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 115
   ·1· ·and then analyze it.· But for this discussion, I
   ·2· ·think that's beyond my ability.
   ·3· · · · Q· · Well, I would like to know your opinion,
   ·4· ·as a supervisor of election, as to whether you would
   ·5· ·be able to accept these ballots that were dropped
   ·6· ·off at tax collector offices rather than your office
   ·7· ·or box, I should say, rather than your box.· I'm
   ·8· ·happy to have -- we can pull up the text of SB 90.
   ·9· · · · · · ·MR. BARDOS:· This is a question he just
   10· · · · answered.
   11· ·BY MS. SIVALINGAM:
   12· · · · Q· · Okay.· Fair enough.· Okay.
   13· · · · A· · Can I ask -- what are you fishing for?
   14· ·Maybe I can help you get to the point.
   15· · · · Q· · Yeah, well, okay.· If SB 90, as we've
   16· ·discussed, right, says that other than immediate
   17· ·family members, an individual can only return two
   18· ·ballots, right, or else they face criminal
   19· ·penalties?
   20· · · · A· · There again, I don't have the thing -- and
   21· ·see, Senate Bill 90 went through several different
   22· ·iterations and without the final copy here in front
   23· ·of me, I'd prefer not to answer that specific a
   24· ·question; but, you know ...
   25· · · · Q· · But I think then you should have SB 90 in


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 117 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 116
   ·1· ·front of you if you're not sure about this
   ·2· ·provision, because I have a couple questions about
   ·3· ·this provision and I don't see a reason why you
   ·4· ·shouldn't see the text.
   ·5· · · · A· · Maybe we better call a time out, go get
   ·6· ·the bill.
   ·7· · · · Q· · I have the bill as one of the potential
   ·8· ·exhibits.
   ·9· · · · A· · Oh, okay.
   10· · · · Q· · It would be -- let me pull it up.· It's
   11· ·one of the last ones in this zip file.
   12· · · · · · ·MS. GIBSON:· I added it in the chat box.
   13· · · · · · ·MS. SIVALINGAM:· Thank you.
   14· · · · · · ·THE WITNESS:· Okay.· Give me the line
   15· · · · number, please.
   16· · · · · · ·MS. SIVALINGAM:· Can you give me a minute
   17· · · · to pull up the right line.· I think -- can we
   18· · · · go off for a minute.
   19· · · · · · ·(Discussion off record.)
   20· ·BY MS. SIVALINGAM:
   21· · · · Q· · It is page 47, beginning at line 1356 and
   22· ·through line 1367.
   23· · · · A· · Any person that -- (unintelligible.)
   24· · · · · · ·THE STENOGRAPHER:· If you are going to
   25· · · · read, please read out loud so I can understand


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 118 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 117
   ·1· · · · you.
   ·2· · · · · · ·THE WITNESS:· Oh, I'm sorry, Sandi.· Just
   ·3· · · · forgot it, I'm reading to myself.· Yeah.
   ·4· · · · · · ·Okay, what's your question, Danielle?
   ·5· ·BY MS. SIVALINGAM:
   ·6· · · · Q· · Sure.· So I'm wondering if, let's say,
   ·7· ·three or four vote-by-mail ballots were placed in a
   ·8· ·tax collector's drop box and then that tax collector
   ·9· ·brings those ballots to you, if that is a -- if you
   10· ·can even accept those ballots or if that is in
   11· ·violation of SB 90?
   12· · · · · · ·MR. BARDOS:· And I'll object that it calls
   13· · · · for a legal conclusion.
   14· ·BY MS. SIVALINGAM:
   15· · · · Q· · Okay.· But you can answer.
   16· · · · A· · Well, you have to understand my office is
   17· ·a ministerial office.· We have no enforcement
   18· ·ability, we have no investigative authority and no
   19· ·prosecutorial authority.· If we suspect anything is
   20· ·amiss, we are to refer that to the state attorney's
   21· ·office.· And to be sticking right here, perhaps I
   22· ·could turn in the tax collector to the state
   23· ·attorney's office and let them take care of that.
   24· · · · Q· · Okay.· But to your understanding, the tax
   25· ·collector could not turn in more than two forms


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 119 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 118
   ·1· ·under this provision?
   ·2· · · · · · ·MR. BARDOS:· Hold on, hold on, let me
   ·3· · · · just -- same objection, calls for a legal
   ·4· · · · conclusion and asked and answered several
   ·5· · · · times.
   ·6· ·BY MS. SIVALINGAM:
   ·7· · · · Q· · Okay.· I won't ask you again but I would
   ·8· ·like an answer.
   ·9· · · · A· · Well, I'm not a lawyer but I can read
   10· ·where it says "any person."· That would include you
   11· ·or anybody else.
   12· · · · Q· · Okay.· All right.· We'll move on.
   13· · · · · · ·MS. SIVALINGAM:· Mr. Salzillo, do you
   14· · · · intend to say something or --
   15· · · · · · ·MS. SIVALINGAM:· Okay.· I would like to
   16· · · · bring up Exhibit 8.· This is the Lake County
   17· · · · survey response.
   18· · · · · · ·(Exhibit 8 was marked for identification.)
   19· · · · · · ·MR. BARDOS:· Did we make Senate Bill 90 an
   20· · · · exhibit?· Was that Exhibit 8?
   21· · · · · · ·MS. SIVALINGAM:· Oh, you know what, you're
   22· · · · right.· Let's do that.· So then this is
   23· · · · Exhibit 9.
   24· · · · · · ·(Exhibit 9 was marked for identification.)
   25· · · · · · ·THE WITNESS:· I've got it up.


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 120 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 119
   ·1· ·BY MS. SIVALINGAM:
   ·2· · · · Q· · Okay.· Do you recognize this document,
   ·3· ·Exhibit 9?
   ·4· · · · A· · Oh, now I do, yes.· That is the quiz that
   ·5· ·came from the House of Representatives committee on
   ·6· ·public integrity and elections.· It was their
   ·7· ·survey.
   ·8· · · · Q· · And did you fill out this survey in
   ·9· ·Exhibit 9?
   10· · · · A· · Yes, I did.
   11· · · · Q· · Okay.· Do you know around when you did?
   12· · · · A· · No, ma'am.
   13· · · · Q· · Okay.· Go to page 4, right at the bottom.
   14· ·Let me know when you're there.
   15· · · · A· · I'm there.
   16· · · · Q· · And can you just take a moment to read the
   17· ·last bullet point?
   18· · · · A· · "Did you receive any reports of ballot
   19· ·harvesting in your county."· And the answer is "no."
   20· · · · Q· · Okay.· What do you understand ballot
   21· ·harvesting to mean?
   22· · · · A· · When people go out and collect bunches of
   23· ·ballots.· And "bunches" is an indeterminate number
   24· ·but it is what it is.
   25· · · · Q· · Okay.· And your survey response where you


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 121 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 120
   ·1· ·say your county did not receive any reports about
   ·2· ·ballot harvesting, that was in relation to the 2020
   ·3· ·general election, right?
   ·4· · · · A· · Yeah, as far as I know all the questions
   ·5· ·in that quiz were but, you know, that's been six
   ·6· ·months ago or longer.
   ·7· · · · Q· · Okay.· Well, did Lake County have a
   ·8· ·problem with ballot harvesting in the 2018
   ·9· ·elections, to your knowledge?
   10· · · · A· · To my knowledge, there has been no problem
   11· ·with ballot harvesting in Lake County, Florida,
   12· ·since I became supervisor of elections.
   13· · · · Q· · Thank you.· All right.· Earlier we
   14· ·discussed the ways before SB 90 a voter could
   15· ·request a vote-by-mail ballot.· And one thing that
   16· ·we have not discussed yet was the duration of a
   17· ·voter's vote-by-mail request.· So I have some
   18· ·questions about that.
   19· · · · · · ·Before SB 90's passage, could a voter
   20· ·request that their vote-by-mail status last for four
   21· ·years?
   22· · · · A· · That is correct.
   23· · · · Q· · Or in other words, two general election
   24· ·cycles?
   25· · · · A· · Right.


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 122 of 316
 Alan Hays
 October 06, 2021

                                                                     Page
                                                                       g 121
   ·1· · · · Q· · Or could voters simply request that their
   ·2· ·vote-by-mail ballot be good for a single election?
   ·3· · · · A· · That is correct.
   ·4· · · · Q· · Okay.· To your knowledge, did the majority
   ·5· ·of voters in Lake County who requested a
   ·6· ·vote-by-mail ballot request that ballot be good for
   ·7· ·two general election cycles rather than a single
   ·8· ·election?
   ·9· · · · A· · I haven't looked at those statistics and
   10· ·really have no idea.
   11· · · · Q· · Okay.· That's fine.· Did anyone in Lake
   12· ·County tell you that they wished that they could not
   13· ·request a vote-by-mail ballot for two general
   14· ·election cycles?
   15· · · · A· · Restate that question please.
   16· · · · Q· · Sure.· Did any voter in Lake County tell
   17· ·you that they wished they could not request that a
   18· ·vote-by-mail ballot -- that their vote-by-mail
   19· ·ballot request be good for two general election
   20· ·cycles?
   21· · · · A· · I hate to be slow here.· Are you asking me
   22· ·did anybody complain because they could -- did they
   23· ·say that they wished they could not request it for
   24· ·two election cycles?
   25· · · · Q· · Exactly.


                           www.phippsreporting.com
                                (888) 811-3408                                 YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 123 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 122
   ·1·
    1· · · · A· · No.· Nobody said that.
   ·2· · · · Q· · Okay.· What is your understanding of how
   ·3· ·Senate Bill 90 changed the duration or permanency of
   ·4· ·a vote-by-mail ballot request?
   ·5· · · · A· · Very simply.· It cut it from a four-year
   ·6· ·duration to a two-year duration.· Instead of two
   ·7· ·general election cycles, it's good for only one now.
   ·8· · · · Q· · Okay.· Do you understand that the request
   ·9· ·as now under Senate Bill 90 only -- the request for
   10· ·a vote-by-mail ballot can only be good through the
   11· ·end of the calendar year of the next general
   12· ·election?
   13· · · · A· · Of course.
   14· · · · Q· · Okay.· And I just want to understand how
   15· ·this works in practice because I think sometimes
   16· ·when you talk about duration, it can be a little
   17· ·theoretical.
   18· · · · · · ·So do you understand the law now to be
   19· ·that if a Florida voter makes a request to
   20· ·vote-by-mail on October 20th, 2022, and they make
   21· ·the request for the maximum amount of time that they
   22· ·can have a vote-by-mail request on file, their
   23· ·request would now be expired by December 31st, 2022?
   24· · · · A· · That is -- I would expect a strict
   25· ·interpretation of the wording of the bill, which is


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 124 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 123
   ·1·
    1· ·now law.
   ·2· · · · Q· · Okay.· And do you have a different
   ·3· ·interpretation other than that strict
   ·4· ·interpretation?
   ·5· · · · A· · No, ma'am, I have to go by what the lawyer
   ·6· ·says.
   ·7· · · · Q· · Okay.· Okay.· But in this circumstance,
   ·8· ·the request would have only been valid for one
   ·9· ·election, right?
   10· · · · A· · That's right.
   11· · · · Q· · Okay.· So earlier you testified that Lake
   12· ·County does not have an option to request a
   13· ·vote-by-mail ballot via check box on a ballot
   14· ·envelope but you -- but is it right that you had
   15· ·intended to do so in the future if possible?
   16· · · · A· · That is correct.
   17· · · · · · ·MS. SIVALINGAM:· Okay.· And I want to
   18· · · · bring up Exhibit 10.· Right?· Yes, we're on 10.
   19· · · · Okay.· This is going to be the text message
   20· · · · chat.
   21· · · · · · ·(Exhibit 10 was marked for
   22· · · · identification.)
   23· ·BY MS. SIVALINGAM:
   24· · · · Q· · Let me know once you've read it.
   25· · · · A· · Sure.


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 125 of 316
 Alan Hays
 October 06, 2021

                                                                     Page
                                                                       g 124
   ·1·
    1· · · · Q· · Okay.· Exhibit 10 is a text message chain
   ·2· ·with Hillsborough County SOE.· Do you know if that's
   ·3· ·Craig Latimer?
   ·4· · · · A· · Yes, ma'am.
   ·5· · · · Q· · And then also on the chain is David Ramba?
   ·6· · · · A· · Yes, ma'am.
   ·7· · · · Q· · Is David Ramba the FSE's lobbyist?
   ·8· · · · A· · Yes, ma'am.
   ·9· · · · Q· · Okay.· And then you are also on the text
   10· ·message chain?
   11· · · · A· · That is correct.
   12· · · · Q· · And we know that this document was
   13· ·produced by Paul Lux, supervisor of elections for
   14· ·Okaloosa County.· So would you agree that where it
   15· ·says Alan Hays, that is you?
   16· · · · A· · Absolutely.· There is no other.
   17· · · · Q· · Great.· And the text beneath your chain --
   18· ·your name on the chain was, in fact, sent by you?
   19· · · · A· · I suppose so.· I'd have to go back and
   20· ·look through all of my own text messages if they're
   21· ·still there.· I have no idea.
   22· · · · Q· · No reason to believe it's not you, though?
   23· · · · A· · No.
   24· · · · Q· · Good.· Okay.· And in the text message
   25· ·chain, Craig Latimer says "Ingoglia just said our


                           www.phippsreporting.com
                                (888) 811-3408                                 YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 126 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 125
   ·1· ·check box is no good."· Do you know what Supervisor
   ·2· ·Latimer meant by that statement?
   ·3· · · · A· · No, I don't because I don't -- I don't
   ·4· ·recall the setting in which this exchange took
   ·5· ·place.
   ·6· · · · Q· · Okay.· All right.· Do you think that after
   ·7· ·SB 90 voters can no -- can you -- can you go through
   ·8· ·with your intent to have the check box method of
   ·9· ·requesting vote-by-mail ballots now that SB 90 is in
   10· ·place?
   11· · · · A· · I will not go through with it.
   12· · · · Q· · -- explain why?
   13· · · · A· · I'm sorry, you broke up.
   14· · · · Q· · Can you explain why?
   15· · · · A· · Yeah, because the way I interpret Senate
   16· ·Bill 90, the check box is no longer a valid way to
   17· ·do it.· That's one of the -- one of the things that
   18· ·our association is going to attempt to get rectified
   19· ·in this coming legislative session, try to explain
   20· ·to them that the check box is being put there so
   21· ·that the voter who has already provided us with the
   22· ·necessary identification numbers, once we verify
   23· ·that that signature on that return envelope is
   24· ·indeed that of the voter whose it's supposed to be,
   25· ·then we could take that check box as being put there


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 127 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 126
   ·1· ·by that voter who is already a proven registered
   ·2· ·voter and the identification numbers have come that
   ·3· ·way as well.
   ·4· · · · · · ·So, you know, that's what we're going to
   ·5· ·try to do.
   ·6· · · · Q· · Okay.
   ·7· · · · A· · The way the law is right now, I'm not
   ·8· ·going to be doing the check box.
   ·9· · · · Q· · And can you briefly tell me why you would
   10· ·have wanted to do a check box?
   11· · · · A· · For the convenience of the voter.
   12· · · · Q· · Okay.· Does it make requesting
   13· ·vote-by-mail ballots easier?
   14· · · · A· · Of course.
   15· · · · Q· · And does it make it less likely that
   16· ·they'll forget to request a vote-by-mail ballot?
   17· · · · A· · Sure.
   18· · · · Q· · Sorry, you cut through for me on that?
   19· · · · A· · Sure.
   20· · · · Q· · Okay, thanks.
   21· · · · · · ·Turning back briefly to Exhibit 10, you
   22· ·say "another way to make VBM difficult."· Do you
   23· ·remember what you meant by that?
   24· · · · A· · Not at this point.· Again, I would have to
   25· ·go back and try to reconstruct the whole setting of


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 128 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 127
   ·1· ·what other ways might have been discussed.· No.
   ·2· ·Short answer to the question, I don't know.
   ·3· · · · Q· · All right.· Thank you.
   ·4· · · · · · ·Aside from what we discussed with regard
   ·5· ·to the check box, does the shorter validity period
   ·6· ·affect your office's ability to plan and
   ·7· ·administer -- the shorter validity period that we've
   ·8· ·been discussing about vote-by-mail request ballots
   ·9· ·affect your office's ability to plan and administer
   10· ·elections?
   11· · · · A· · Not really.
   12· · · · Q· · Okay.· Will there be any fiscal burden?
   13· · · · A· · I am sure that if one were to calculate
   14· ·the fact that we would have to be taking clerical
   15· ·time to enter the vote-by-mail requests every two
   16· ·years instead of every four years, yes, that would
   17· ·be considered a fiscal impact.· But beyond that, I
   18· ·don't know of any impact that it would have.
   19· · · · Q· · All right.· So now switching gears again
   20· ·entirely now to talk a little bit about registering
   21· ·to vote.
   22· · · · · · ·And you went over the ways that a voter
   23· ·can register to vote in Lake County earlier with me.
   24· ·I think you mentioned in person at your office and
   25· ·DMV -- at the DMV and online.· Can voters also


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 129 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 128
   ·1· ·register to vote using a third-party voter
   ·2· ·registration organization?
   ·3· · · · A· · Sure.
   ·4· · · · Q· · Okay.· Do you receive -- do you know about
   ·5· ·how many voter registrations you receive annually
   ·6· ·from voters who register to vote by third-party
   ·7· ·voter registration organizations?
   ·8· · · · A· · No, ma'am.
   ·9· · · · Q· · Okay.· Are you generally familiar with the
   10· ·law governing voter registrations conducted by
   11· ·third-party voter registration organizations in
   12· ·Florida?
   13· · · · A· · Yes, ma'am.
   14· · · · Q· · Okay.· Do you know what happens to voter
   15· ·registration forms turned in after the, I believe
   16· ·it's now a 14-day period that they have to turn in
   17· ·ballots?
   18· · · · A· · I would have to --
   19· · · · · · ·MR. BARDOS:· Objection.· Objected to form.
   20· · · · Go ahead.
   21· · · · A· · I would have to dig out all the rules and
   22· ·the procedures and everything.· Just on its face, if
   23· ·they -- we check the date and if it's turned in more
   24· ·than 14 days after it was signed, then it should be
   25· ·disallowed, would be my first reaction.· But again,


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 130 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 129
   ·1· ·I would have to check the law and the rules of the
   ·2· ·division of elections, all that sorts of stuff.
   ·3· ·BY MS. SIVALINGAM:
   ·4· · · · Q· · Okay.· I hear you.· That makes sense.· Did
   ·5· ·you have any problems in the 2020 election cycle
   ·6· ·related to third-party voter registration
   ·7· ·organizations turning in applications late?
   ·8· · · · A· · Not that I'm aware of.
   ·9· · · · Q· · Okay.· Are you aware of any complaints
   10· ·from voters about third-party voter registration
   11· ·organizations turning in voter applications late in
   12· ·Lake County?· And now that question should apply
   13· ·beyond just the 2020 election cycle.
   14· · · · A· · None that I'm aware of.
   15· · · · Q· · Okay.· Are you aware of any incident in
   16· ·Lake County where a voter was prevented from voting
   17· ·because of a third-party voter registration
   18· ·organization turning in a registration application
   19· ·late?
   20· · · · A· · No, ma'am.
   21· · · · Q· · Okay.· Now I have some questions about
   22· ·in-person voting.
   23· · · · A· · About what?
   24· · · · Q· · In-person voting?
   25· · · · A· · Oh, okay.


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 131 of 316
 Alan Hays
 October 06, 2021

                                                                     Page
                                                                       g 130
   ·1· · · · Q· · I believe you mentioned Lake County did
   ·2· ·not have long lines at the polls in 2020, is that
   ·3· ·right?
   ·4· · · · A· · Yes.
   ·5· · · · Q· · How do you define a long line?
   ·6· · · · A· · Just on the face of it, it's a very
   ·7· ·subjective term.· But I'll put it this way:· I did
   ·8· ·not receive any complaints from any voters in any
   ·9· ·precinct in Lake County complaining about an
   10· ·excessive wait time in order for them to vote in
   11· ·person.
   12· · · · Q· · Are you aware that at least some counties
   13· ·in Florida have a history of long lines at the
   14· ·polls?
   15· · · · A· · Sure.
   16· · · · Q· · Okay.· In past elections have civic groups
   17· ·or volunteers not associated with your office
   18· ·provided water or food to voters in line waiting to
   19· ·vote in Lake County?
   20· · · · A· · Not to my knowledge.· See, we -- here's
   21· ·the way we run things in Lake County.· Within a
   22· ·150-foot radius from the front door of the polling
   23· ·place, whether it be early voting place or election
   24· ·day place, there is a no solicitation zone in that
   25· ·150-foot radius.· We do not allow any activity, any


                           www.phippsreporting.com
                                (888) 811-3408                                 YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 132 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 131
   ·1· ·contact with the voters inside that radius except
   ·2· ·for exit polling.
   ·3· · · · · · ·Once they come inside that 150-foot
   ·4· ·radius, nobody is allowed to interact with them
   ·5· ·except the election workers themselves.
   ·6· · · · Q· · Okay.· And that would be even individuals
   ·7· ·in a nonpartisan capacity?
   ·8· · · · A· · Ma'am, nobody means nobody.
   ·9· · · · Q· · Okay.· Well, nobody aside from election
   10· ·workers.· Okay, that makes sense.· Just wanted to be
   11· ·sure but I do appreciate it.
   12· · · · · · ·Are there any other problems caused by
   13· ·Senate Bill 90, in your view, that we have not yet
   14· ·talked about?
   15· · · · A· · None that come to mind right offhand.
   16· · · · Q· · Okay.· Have we already discussed all the
   17· ·financial or administrative burdens that Senate
   18· ·Bill 90 may impose on your office?
   19· · · · A· · As far as I know.
   20· · · · Q· · Have you submitted to the Board of County
   21· ·Commissioners in your county a proposed budget for
   22· ·2022?
   23· · · · A· · Sure.
   24· · · · Q· · And do you know -- I would just ask that
   25· ·if you haven't produced that document, that it be


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 133 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 132
   ·1· ·produced.
   ·2· · · · A· · We can produce it.
   ·3· · · · Q· · Great.
   ·4· · · · A· · Send you the same document that I sent to
   ·5· ·the Board of County Commissioners.
   ·6· · · · Q· · That's what we would want.
   ·7· · · · A· · Okay.
   ·8· · · · Q· · Okay.
   ·9· · · · · · ·MS. SIVALINGAM:· I think I am almost done
   10· · · · with my questioning.· So before I finish I want
   11· · · · to just make sure I have everything.· Can I
   12· · · · just take like three minutes to make sure?
   13· · · · · · ·MR. BARDOS:· Yeah, no problem.
   14· · · · · · ·(Short pause.)
   15· ·BY MS. SIVALINGAM:
   16· · · · Q· · Okay.· One more question, Supervisor Hays.
   17· ·That budget that you submitted to the Board of
   18· ·County Commissioners which you will produce to me,
   19· ·do you know if it's been approved yet?
   20· · · · A· · Yes, ma'am.
   21· · · · · · ·MS. SIVALINGAM:· Okay.· So those are all
   22· · · · the questions I have right now.· After -- I may
   23· · · · have a couple more questions at the end after
   24· · · · the defendants ask a few questions.· But that's
   25· · · · it for now.


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 134 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 133
   ·1· · · · · · ·MR. BARDOS:· Okay.· Thank you, Danielle.
   ·2· · · · Cyrus, are you next?
   ·3· · · · · · ·MR. NASSERI:· Yes, I believe I'm up.
   ·4· · · · · · · · · · CROSS EXAMINATION
   ·5· ·BY MR. NASSERI:
   ·6· · · · Q· · Okay.· So good afternoon, Supervisor Hays.
   ·7· · · · A· · How are you?
   ·8· · · · Q· · My name is Cyrus Nasseri and I represent
   ·9· ·the Florida State Conference of the NAACP Disability
   10· ·Rights Fund and Common Cause.· I'm going to ask you
   11· ·a few more questions.
   12· · · · · · ·Just for your information, so my clients
   13· ·have a couple of claims that are different from
   14· ·Danielle's so the topics are generally similar but
   15· ·I'll try my best not to repeat anything because we
   16· ·do have kind of different claims in this matter that
   17· ·need different information.
   18· · · · · · ·So if we just quickly go back to your
   19· ·experience.· How many years have you been involved
   20· ·in Florida, either government or elections?
   21· · · · A· · This is my 17th year.
   22· · · · Q· · Can you repeat that, sorry?
   23· · · · A· · This is my 17th year.
   24· · · · Q· · Seventeenth year.· And how many years were
   25· ·you in the state Senate?


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 135 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 134
   ·1· · · · A· · Six.· I was in the House for six, I
   ·2· ·served -- this is my fifth year, 12, 5 more makes 17
   ·3· ·as supervisor.
   ·4· · · · Q· · Okay.· And you've been a Republican for
   ·5· ·that entire duration, is that correct?
   ·6· · · · A· · Absolutely.
   ·7· · · · · · ·Can I ask you a question?
   ·8· · · · Q· · Sure.
   ·9· · · · A· · What difference does it make?· Republican
   10· ·or Democrat or an NPA?· I can tell you right now, in
   11· ·this office we don't care.
   12· · · · Q· · I appreciate that.· It's honestly just so
   13· ·I can kind of cover my bases and get all the
   14· ·information about you.
   15· · · · A· · Okay.
   16· · · · Q· · Yeah.· I appreciate that and I can tell
   17· ·that you're not partisan by the way that you -- the
   18· ·law.· So I appreciate that.
   19· · · · · · ·So -- okay.· And I believe you said you
   20· ·were on a committee, some sort of elections related
   21· ·committee when you were in the legislature, is that
   22· ·correct?
   23· · · · A· · Yes, sir.
   24· · · · Q· · So would you say that you are generally
   25· ·experienced when it comes to elections in the state


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 136 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 135
   ·1· ·of Florida?
   ·2· · · · A· · Not because of my legislative service.
   ·3· ·Only since I've become supervisor of elections am I
   ·4· ·experienced in the administration.· People need to
   ·5· ·understand there is a wide, wide chasm between
   ·6· ·running a campaign and winning an election contest
   ·7· ·versus the administration of an election.
   ·8· · · · · · ·I am the administrator of the elections
   ·9· ·now as the supervisor of elections.· Prior to this
   10· ·role, I was the candidate who was winning the
   11· ·elections.· But believe you me, as a legislator I
   12· ·knew nothing about the administration of elections
   13· ·because I'd never worked one day in the office of an
   14· ·elections supervisor.
   15· · · · Q· · Okay.· I understand.· Thank you.
   16· · · · · · ·MR. NASSERI:· Okay.· If I may, there is --
   17· · · · I'd like to pull up an exhibit, which -- Sandi,
   18· · · · can you remind me which number we're on at this
   19· · · · point.
   20· · · · · · ·THE STENOGRAPHER:· I believe the next one
   21· · · · is 11.
   22· · · · · · ·THE WITNESS:· I believe the next one would
   23· · · · be 11, but I'm not sure.
   24· · · · · · ·MR. NASSERI:· Thank you for doing my job
   25· · · · for me.· I'd like to mark this as Exhibit 11.


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 137 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 136
   ·1· · · · · · ·(Exhibit 11 was marked for
   ·2· · · · identification.)
   ·3· ·BY MR. NASSERI:
   ·4· · · · Q· · And I believe you said earlier that you
   ·5· ·did testify at a hearing regarding SB 90, is that
   ·6· ·correct?
   ·7· · · · A· · Sure.
   ·8· · · · Q· · Okay.· And I'll represent to you that this
   ·9· ·is a -- well, first of all, do you recall what the
   10· ·date of that hearing was?
   11· · · · A· · It's an earlier testimony.· I think it was
   12· ·March 10th, on or around March the 10th.
   13· · · · Q· · Okay.· Well, I'll represent to you that
   14· ·this a transcript of that, your statement to that
   15· ·hearing.· So does this look to you like an accurate
   16· ·depiction of those statements?
   17· · · · A· · It looks like an accurate depiction of my
   18· ·prepared remarks.· After I completed this
   19· ·presentation, I was then asked several questions by
   20· ·the different senators.
   21· · · · Q· · Right.· And I believe Danielle entered
   22· ·that as an exhibit.
   23· · · · A· · Yes.
   24· · · · Q· · Okay.· So if you could turn to -- I'd say
   25· ·it's the -- page 1, there's a paragraph that starts


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 138 of 316
 Alan Hays
 October 06, 2021

                                                                     Page
                                                                       g 137
   ·1· ·with "Mr. Chairman, if I were seeking to remodel my
   ·2· ·home."
   ·3· · · · A· · That's correct.
   ·4· · · · Q· · Found that?· Okay.· So you stated that if
   ·5· ·you were seeking to remodel your home, you would
   ·6· ·seek the services and opinions of an architect, not
   ·7· ·a dentist.· In that analogy, who is the -- who would
   ·8· ·be the architect?
   ·9· · · · A· · The person of my choosing who would know
   10· ·about the design of a building.
   11· · · · Q· · Right.· Right.· But in the context of
   12· ·SB 90, I think, what would be -- who is the person
   13· ·who has this level of expertise that would be
   14· ·similar to an architect in rebuilding your home?
   15· · · · A· · I explain that in the next paragraph.
   16· · · · Q· · Right.
   17· · · · A· · My role as elections supervisor of Lake
   18· ·County, I'm asking each member of the legislature to
   19· ·seek the opinions and take the advice of the
   20· ·elections professionals in the state of Florida
   21· ·before making significant changes to our statutes.
   22· ·Those elections professionals to whom I refer there
   23· ·is the supervisors of elections across the 67
   24· ·counties.
   25· · · · Q· · Okay.· And is it fair to say based on this


                           www.phippsreporting.com
                                (888) 811-3408                                 YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 139 of 316
 Alan Hays
 October 06, 2021

                                                                     Page
                                                                       g 138
   ·1· ·statement that at this time, you did not feel that
   ·2· ·SB 90 was drafted with the -- properly consulting
   ·3· ·supervisors of elections?
   ·4· · · · A· · Absolutely.· I think you go on down the
   ·5· ·next page, two or three paragraphs, you'll see
   ·6· ·page 11, line 309 begins "a travesty."· Those are my
   ·7· ·words exactly and that's exactly what I looked at.
   ·8· · · · · · ·These remarks were crafted toward the
   ·9· ·seven-section version of the bill which was the
   10· ·second version that had come out.· I referred to
   11· ·that in my testimony earlier today.
   12· · · · Q· · Okay.· So at the time of this version of
   13· ·the bill, it's fair to say you didn't feel that the
   14· ·SOEs had been consulted sufficiently?
   15· · · · A· · Hadn't been consulted at all.
   16· · · · Q· · Okay.· And would you say, given your years
   17· ·of experience in both the legislature and as an
   18· ·elections supervisor, that that would be -- that's
   19· ·unusual for a significant election bill?
   20· · · · · · ·MR. JAZIL:· Object to form.
   21· ·BY MR. NASSERI:
   22· · · · Q· · You can answer.
   23· · · · A· · I think it would probably be fair to say
   24· ·that when I was sitting on the ethics and elections
   25· ·committee, we didn't really have any significant


                           www.phippsreporting.com
                                (888) 811-3408                                 YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 140 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 139
   ·1· ·elections bills that I come by.
   ·2· · · · · · ·But regardless of that, my comments right
   ·3· ·here indicate to most people who would read it -- or
   ·4· ·even those who heard it -- that I was -- I was
   ·5· ·asking the legislators, please don't try to do this
   ·6· ·on your own because I've been there where you are
   ·7· ·and I know you don't know anything about the
   ·8· ·administration of elections.
   ·9· · · · · · ·Before you do something significant,
   10· ·please come and ask the professional elections
   11· ·community how is the best way to do it.· They should
   12· ·come to us, give us their goals, what they're trying
   13· ·to accomplish and then let us guide them through
   14· ·that process to achieve those goals instead of them
   15· ·coming down with stuff that conflicts.
   16· · · · Q· · Okay.· So to your knowledge, you're not
   17· ·aware whether this is normal or not when it comes to
   18· ·election bills?
   19· · · · · · ·MR. BARDOS:· Object to form.
   20· · · · · · ·MR. JAZIL:· Object to form.
   21· · · · A· · I haven't been a supervisor of elections
   22· ·but five years.· This is not the first one.· We
   23· ·had -- we had other bills.· But see, here's another
   24· ·thing, Cyrus.· This -- the stage in the development
   25· ·of Senate Bill 90 has to be taken into consideration


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 141 of 316
 Alan Hays
 October 06, 2021

                                                                     Page
                                                                       g 140
   ·1· ·here.· We, at this point, this is the first point at
   ·2· ·which we injected ourselves into the discussion.
   ·3· · · · · · ·And from this point forward, through the
   ·4· ·evolution of that bill, we did have frequent
   ·5· ·interchanges with the legislators.· But at this
   ·6· ·point, my comments were directed to them in that
   ·7· ·context.
   ·8· ·BY MR. NASSERI:
   ·9· · · · Q· · Okay.· I see.· Thank you.
   10· · · · · · ·So -- well, actually let me take one quick
   11· ·step back because you mentioned other bills,
   12· ·election bills that you've seen in the five years
   13· ·that you've been an elections supervisor.· For those
   14· ·bills, were SOEs consulted earlier in the process?
   15· · · · A· · No, I'll tell you the truth, I'm not aware
   16· ·of any.· Now, that doesn't mean that it didn't
   17· ·happen.· But I'm not aware of any situations where
   18· ·SOEs were consulted first.
   19· · · · · · ·I do know that as an association,
   20· ·approached some of the legislators with our issues
   21· ·and said would you please sponsor this bill or that
   22· ·bill and they cooperated very nicely with us.
   23· · · · · · ·So we've had -- in my five years here and
   24· ·as at least three or four years I've been chairman
   25· ·of the legislative committee, we've had a good


                           www.phippsreporting.com
                                (888) 811-3408                                 YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 142 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 141
   ·1· ·relationship with the legislators.
   ·2· · · · Q· · Okay.· I understand.· Let me switch gears
   ·3· ·here.
   ·4· · · · · · ·MR. NASSERI:· I'd like to mark as
   ·5· · · · Exhibit 12 the document I just put in the chat.
   ·6· · · · And, Supervisor Hays, that's going to be in --
   ·7· · · · it's not the folder that Danielle sent, it's
   ·8· · · · actually a separate folder.
   ·9· · · · · · ·MR. BARDOS:· Supervisor Hays, these are in
   10· · · · the NAACP folder.· If you'd like I can send
   11· · · · you, if I haven't done it, a version that is
   12· · · · not password protected.
   13· · · · · · ·(Exhibit 12 was marked for
   14· · · · identification.)
   15· · · · · · ·(Discussion off record.)
   16· ·BY MR. NASSERI:
   17· · · · Q· · In the meantime I will ask you this:· What
   18· ·is your understanding of the rationale behind the
   19· ·drop box restrictions in SB 90?
   20· · · · · · ·MR. BARDOS:· Object to form.
   21· · · · A· · I couldn't -- I couldn't begin to even
   22· ·pretend to get in the minds of the legislators and I
   23· ·don't presume to know what they're thinking.
   24· ·BY MR. NASSERI:
   25· · · · Q· · Okay.· You mentioned earlier that there


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 143 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 142
   ·1· ·is -- you've replaced the drop box in front of your
   ·2· ·office with a USPS box, is that correct?
   ·3· · · · A· · Sure.
   ·4· · · · Q· · Do you know -- I think you mentioned also
   ·5· ·that if somebody puts a ballot in the USPS box the
   ·6· ·day of the election, it's not guaranteed to be
   ·7· ·counted at as vote, is that correct?
   ·8· · · · A· · No, that's not what I said at all.
   ·9· · · · Q· · That wasn't what you said?
   10· · · · A· · No.
   11· · · · Q· · Can you clarify?
   12· · · · A· · What I said was when the ballot goes in
   13· ·the USPS drop box, it then goes to the local post
   14· ·office, it then goes to the mail center in Lake
   15· ·Mary, and then it comes back to the local post
   16· ·office and then it comes to us.
   17· · · · Q· · Right.· And how many days does that
   18· ·process take?
   19· · · · A· · In the current setting, two to three days.
   20· · · · Q· · Okay.· Whereas in contrast, if the drop
   21· ·box -- ballot drop box, you receive it immediately
   22· ·afterwards?
   23· · · · A· · When I was allowed to use my own drop box,
   24· ·it was put in and we took it out that same day.
   25· · · · Q· · Okay.


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 144 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 143
   ·1· · · · A· · Now this e-mail has come through.
   ·2· · · · Q· · Okay.· Great.
   ·3· · · · A· · I'll pull up that attachment.· Okay.· And
   ·4· ·this one was --
   ·5· · · · Q· · The 00948.
   ·6· · · · A· · There we go.· Okay.
   ·7· · · · Q· · Okay.· So do you recognize this e-mail
   ·8· ·chain?
   ·9· · · · A· · Not offhand but let me look through it
   10· ·here a little bit to see.· Where do you want me to
   11· ·go?· To the bottom of it?
   12· · · · Q· · Yes, so I would say --
   13· · · · A· · Legislative wrap up.· Okay.· All right.
   14· ·So what part do you want me to zero in on?
   15· · · · Q· · I'd like you to look at the second
   16· ·paragraph of the first e-mail, the e-mail that was
   17· ·sent at 8:15 a.m. on April 30th, 2021.
   18· · · · A· · Thirtieth.· Okay.
   19· · · · Q· · And I believe you say that the -- it
   20· ·starts with "we shall work next session to help all
   21· ·legislators."
   22· · · · A· · Oh, there we are.· Okay.· That one.· Okay.
   23· ·Yeah, according to mine it was 8:15:29, "Thanks
   24· ·Vicki.· Rep Snyder calling you is great sign."
   25· ·Okay.· "We shall work next session to help all the


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 145 of 316
 Alan Hays
 October 06, 2021

                                                                     Page
                                                                       g 144
   ·1· ·legislators understand how disingenuous and lame it
   ·2· ·is to deny use of video monitoring of drop boxes
   ·3· ·while allowing voters to use the US Postal Service
   ·4· ·drop boxes that have no monitoring whatsoever.· In
   ·5· ·the meantime, I'm encouraging each SOE to deliver
   ·6· ·that message."
   ·7· · · · · · ·Yeah, is that the paragraph to which
   ·8· ·you --
   ·9· · · · Q· · Yeah, exactly.· Yeah, exactly.· So when
   10· ·you said there that you want to help the legislators
   11· ·understand how disingenuous it is, can you explain
   12· ·what you meant by that?
   13· · · · A· · Well, perhaps a better word would have
   14· ·been how absurd it is and ridiculous.· Give me a
   15· ·break.· Anybody with half a brain can understand
   16· ·that to put a ballot in a drop box that is out here
   17· ·in front of my office under the camera surveillance
   18· ·we described at length ad nauseam today is far more
   19· ·secure than going through the traipsing back and
   20· ·forth as we described just a few moments ago.
   21· · · · · · ·And so there you are.· I mean, no
   22· ·legislator yet has even attempted to explain to me
   23· ·how their authorization of postal service drop boxes
   24· ·is any safer than a drop box in front of my office.
   25· · · · Q· · Okay.· So you think this provision is


                           www.phippsreporting.com
                                (888) 811-3408                                 YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 146 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 145
   ·1· ·unlikely to increase election security by your
   ·2· ·understanding?
   ·3· · · · A· · Absolutely.
   ·4· · · · Q· · And are you aware of any other
   ·5· ·justification for this restriction beyond election
   ·6· ·security?
   ·7· · · · A· · No, that goes back to another TV interview
   ·8· ·that I referenced earlier this morning when the lady
   ·9· ·asked me "why are they doing this."· I got better
   10· ·things to do with my time than to try to figure out
   11· ·why harebrain things like this come in.
   12· · · · · · ·And so I didn't bother to ask the
   13· ·legislators "Why are you doing this this way?"                    I
   14· ·tried to explain to them on multiple occasions that
   15· ·this was bad idea, bad public policy, and it needn't
   16· ·be done this way.· And I might as well have talked
   17· ·to you for all the good that it did.
   18· · · · Q· · Okay.· I guess putting aside any trying to
   19· ·get into the heads of legislators, in your opinion
   20· ·as an election supervisor, is there any benefit to
   21· ·this provision whatsoever?
   22· · · · · · ·MR. JAZIL:· Object to form.
   23· · · · A· · To the provision that does what?
   24· ·BY MR. NASSERI:
   25· · · · Q· · Sorry.· Regarding the drop boxes requiring


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 147 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 146
   ·1· ·in-person monitoring?
   ·2· · · · · · ·MR. BARDOS:· Objection, asked and
   ·3· · · · answered.
   ·4· · · · A· · Oh, no, no, no, no, I definitely -- I
   ·5· ·definitely see there's a benefit for requiring
   ·6· ·in-person monitoring.· But to outlaw the use of this
   ·7· ·camera surveillance is what I object to on the part
   ·8· ·of the legislators.
   ·9· ·BY MR. NASSERI:
   10· · · · Q· · I see.
   11· · · · A· · If for nothing else, the -- having that
   12· ·monitor there at the drop box in the early voting
   13· ·site or here in my office is a good sign to instill
   14· ·heightened voter confidence in the security of the
   15· ·system.· They don't just wander in and drop their
   16· ·ballot into a box.· They come in and it's very
   17· ·formalized.· As I indicated earlier, we begin the
   18· ·chain of custody for that ballot at that particular
   19· ·time.
   20· · · · Q· · Okay.· Thank you.· And kind of taking a
   21· ·step back quickly, I believe you mentioned earlier
   22· ·that when we were talking about -- I guess your
   23· ·statement with Danielle about line lengths, you said
   24· ·something along the lines of you couldn't
   25· ·necessarily say that lines would be longer just


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 148 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 147
   ·1· ·because vote-by-mail was harder, because some
   ·2· ·people -- well, correct me if I'm misstating you
   ·3· ·here, but because some people may not -- may not
   ·4· ·vote at all if they don't vote by mail?
   ·5· · · · A· · No, I never said anything like that at
   ·6· ·all.
   ·7· · · · Q· · Okay.· So then would you say that if
   ·8· ·vote-by-mail is more difficult to achieve, that in
   ·9· ·person lines will be longer?
   10· · · · A· · That to me would be speculation and I'm
   11· ·not willing to speculate.
   12· · · · Q· · Okay.· Fair enough.
   13· · · · A· · There are so many different ways of voting
   14· ·here in Florida and it's so convenient, frankly, I
   15· ·don't see any reason for anybody to not be
   16· ·registered nor do I see any reason for anybody not
   17· ·to cast their ballot.
   18· · · · Q· · Let me switch gears to the -- I believe
   19· ·earlier you spoke about the provision in SB 90
   20· ·requiring or pertaining to how often people can
   21· ·request vote-by-mail ballots.· Is it your opinion
   22· ·that requiring people to request ballots for every
   23· ·election cycle will be an additional burden on your
   24· ·office?
   25· · · · A· · It will require more frequent clerical


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 149 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 148
   ·1· ·entries.
   ·2· · · · Q· · Okay.· Would it increase costs for your
   ·3· ·office?
   ·4· · · · A· · Sure.
   ·5· · · · Q· · Okay.· Sorry, one second here.
   ·6· · · · · · ·I would like to talk for a minute about
   ·7· ·ballot collection.· Can you explain to me how the --
   ·8· ·well, strike that.· Scratch that.
   ·9· · · · A· · Would it help if we let you go ahead and
   10· ·prepare your questions and have someone else come in
   11· ·now that has their questions all lined up ready to
   12· ·go; and come back later with your prepared
   13· ·questions?
   14· · · · Q· · Yeah, well, if we can just take a quick
   15· ·break here, I don't imagine I'll go very much longer
   16· ·at all.· So I think it probably makes more sense for
   17· ·me to just knock these out.
   18· · · · · · ·MR. NASSERI:· Can we take five off the
   19· · · · record?
   20· · · · · · ·MR. BARDOS:· Let's do that.
   21· · · · · · ·(A recess took place from 2:39 p.m. to
   22· · · · 2:45 p.m.)
   23· ·BY MR. NASSERI:
   24· · · · Q· · Okay.· All right.· So let me very quickly
   25· ·go back to the provision regarding having to renew


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 150 of 316
 Alan Hays
 October 06, 2021

                                                                     Page
                                                                       g 149
   ·1· ·requests for ballots every election cycle.· What is
   ·2· ·your understanding of the rationale for this change?
   ·3· · · · · · ·MR. BARDOS:· Object to form.
   ·4· · · · A· · I have no understanding and I didn't
   ·5· ·attempt to.· And there was two reasons:· Number 1 is
   ·6· ·I don't attempt to, you know, try to read between
   ·7· ·the lines.· But also this is nothing more than a
   ·8· ·reversion to previous policy.· You go back and look
   ·9· ·clear back into the '90s, I guess '90 through I
   10· ·think it was '07, it was one cycle at a time.
   11· · · · · · ·Then -- and it has changed back and forth.
   12· ·And if I remember correctly it was in 2011 that it
   13· ·changed from one election cycle to two cycles, which
   14· ·means the four years.· And then this year they
   15· ·changed it back to the one election cycle, which is
   16· ·the two-year time period.
   17· · · · · · ·So forgive me for not digging into details
   18· ·too much but, as I said, it's just a reversion to a
   19· ·previous policy.
   20· ·BY MR. NASSERI:
   21· · · · Q· · Are you aware that some opponents of SB 90
   22· ·argue that these changes were needed to prevent
   23· ·voter fraud?
   24· · · · A· · I couldn't tell you day, time or person
   25· ·but it doesn't surprise me.


                           www.phippsreporting.com
                                (888) 811-3408                                 YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 151 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 150
   ·1· · · · Q· · And did you have any issues with voter
   ·2· ·fraud under the previous rule?
   ·3· · · · · · ·MR. BARDOS:· Object to form.
   ·4· · · · A· · Not as it related to the vote-by-mail
   ·5· ·renewal cycle.· The only voter fraud stuff we've had
   ·6· ·problems with since I've been in this office had to
   ·7· ·do with the third-party registration· organization
   ·8· ·activities of handling voter registration
   ·9· ·applications but that's another story for another
   10· ·day.
   11· ·BY MR. NASSERI:
   12· · · · Q· · And during your tenure as the supervisor
   13· ·of elections, are you aware of any instance of voter
   14· ·fraud that would have been prevented had people had
   15· ·to renew their requests for ballots every election
   16· ·cycle?
   17· · · · · · ·MR. BARDOS:· Object to form.
   18· · · · · · ·MR. JAZIL:· Form.
   19· ·BY MR. NASSERI:
   20· · · · Q· · Go ahead.
                  No.
   21· · · · A· · No
   22· · · · Q· · In Lake County do you have any -- sorry,
   23· ·scratch that.
   24· · · · · · ·In Lake County do you have any safeguards
   25· ·in place to ensure that voters who move are no


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 152 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 151
   ·1· ·longer able to vote from their previous address?
   ·2· · · · A· · Yes, sir, we have several different
   ·3· ·safeguards there.· Number 1, we try to encourage all
   ·4· ·voters, when they change address, to let us know.
   ·5· ·The postal service can let us know through a return
   ·6· ·mail-type thing.· When the voters go to change their
   ·7· ·address at the DMV on their driver's license, they
   ·8· ·can let us know.· So there's multiple opportunities
   ·9· ·for them to let us know.
   10· · · · · · ·And thus we -- plus we have -- if the
   11· ·voter sends us -- if they have -- if they have a
   12· ·request on file, we send it to the address that is
   13· ·listed in that voter's file.· And if they have
   14· ·moved, then the post office does not forward that
   15· ·ballot, they send it back to us.· All of our ballots
   16· ·are nonforwardable.
   17· · · · Q· · And in your opinion are those safeguards
   18· ·sufficient to prevent against fraud that might be
   19· ·caused by somebody moving?
   20· · · · A· · Well, I've not seen any instances of
   21· ·fraud, so I guess one could conclude that they
   22· ·probably are.
   23· · · · Q· · I'd like to pull up --
   24· · · · · · ·MR. NASSERI:· I would like to mark this as
   25· · · · Exhibit 13.


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 153 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 152
   ·1· · · · · · ·(Exhibit 13 was marked for
   ·2· · · · identification.)
   ·3· · · · · · ·MR. NASSERI:· That would be in the same
   ·4· · · · folder that the previous exhibit was in.
   ·5· · · · A· · This is 9909.
   ·6· ·BY MR. NASSERI:
   ·7· · · · Q· · Exactly.· Once you have it open go to --
   ·8· ·well, first of all, can you tell me whether you
   ·9· ·recognize this e-mail?
   10· · · · A· · Oh, yeah.· Sure do.
   11· · · · Q· · Okay.· And to your knowledge, is this a --
   12· ·or do you have any reason not to believe that this
   13· ·is an accurate copy of this e-mail that you sent?
   14· · · · A· · Not at first glance, I don't have any
   15· ·reason to disbelieve that.
   16· · · · Q· · Okay.· Well, if you want to take a look
   17· ·through, feel free to take your time.· But the
   18· ·portion I'm interested in is the middle of page 3.
   19· · · · A· · And that would be specifically what?
   20· · · · Q· · The portion -- I think it's the first
   21· ·bullet that starts on page 3, about ballot
   22· ·harvesting.
   23· · · · A· · Yes.· "Put meaningful penalties on it;
   24· ·however, there needs to be some limited
   25· ·accommodation as in current statute or this action


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
           Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 154 of 316
            Alan Hays
            October 06, 2021

                                                                                Page 153
              ·1· ·may prohibit non-family members from dropping off
              ·2· ·ballots for seniors or handicapped people who can't
              ·3· ·or don't wish to go to the drop box.· The current
              ·4· ·limit is two ballots other than your own or that of
              ·5· ·an immediate family member."
              ·6· · · · Q· · So can you explain your concern here, what
              ·7· ·you mean?
153:6-19
              ·8· · · · A· · Yes.· I think anybody who is familiar with
P=401/402   ·9· ·the history of elections not only in Florida but in
(assistance
claim       10· ·other states as well is familiar with all kinds of
dismissed)
            11· ·horror stories about ballots that never made it to
              12· ·the tabulation machines.· And that was a direct
Ex. 13
              13· ·result of ballot harvesting.
P=802         14· · · · · · ·I think that every registered voter
D=            15· ·deserves to have their voice counted and thus the
Designation
will be       16· ·practice of ballot harvesting needs to be very
preserved
because       17· ·tightly regulated if it's even allowed at all.
Plaintiffs    18· ·Personally I would say it's not allowed.· But there
designate
120:7-12.     19· ·it is.
Ex. 13        20· · · · · · ·I say put meaningful penalties on it but
offered not
for truth     21· ·yet put some limited -- I mean, I don't know how to
of the        22· ·say it any clearer than I said it right there in
matter
asserted,     23· ·black and white.
but to show
the State     24· · · · Q· · Right.· So would you say that you have a
was           25· ·concern that people who are disabled or elderly
notified of
Supervisor’
s concerns                            www.phippsreporting.com
and                                        (888) 811-3408                                  YVer1f




recommendat
ions.
            Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 155 of 316
              Alan Hays
              October 06, 2021

                                                                                 Page 154
                ·1· ·might not be able to return the ballot themselves?
                ·2· · · · A· · Cyrus, I made that point in my Senate
                ·3· ·testimony.
                ·4· · · · Q· · Right.· Yeah, I guess my question is, do
                ·5· ·you think the present form of the bill addresses --
                ·6· ·sorry.· Scratch that.
                ·7· · · · · · ·So to clarify, so this e-mail, this was a
154:7-9
                ·8· ·previous version of the bill, is that right?
P=401/402       ·9· · · · A· · That is correct.
(assistance
claim           10· · · · Q· · Okay.
dismissed)
                11· · · · A· · And we can put it in a real good frame.

D=              12· ·You can see on the e-mail that it was in February,
Designation     13· ·the 21st, and actually this didn't -- if I remember
will be
preserved       14· ·correctly, this didn't have anything to do with any
because         15· ·bill because I don't believe we were aware of the
Plaintiffs
designate       16· ·bill at this time.
120:7-12.
                17· · · · · · ·The governor had a big press conference
                18· ·somewhere in South Florida and he put out this big
                19· ·whoop-di-doo press release and had a bunch of
                20· ·talking points on it, and this was my candid
                21· ·assessment of all of those talking points.· And I
                22· ·explain all that in the preliminary remarks there in
154:24-25       23· ·the e-mail.

P=401/402    24· · · · · · ·So this was not in reference to Senate
(assistance 25· ·Bill 90 at all.
claim
dismissed)
                               www.phippsreporting.com
 D=Designation will be              (888) 811-3408
 preserved because Plaintiffs
                                                                                            YVer1f




 designate 120:7-12.
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 156 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 155
   ·1· · · · Q· · Okay.· I see.· That's very good actually.
   ·2· ·But I guess just referencing this notion of limiting
   ·3· ·ballot collection, were you concerned that this
   ·4· ·could effectively prevent some handicapped people
   ·5· ·from voting?
   ·6· · · · · · ·MR. BARDOS:· Object to form.
   ·7· · · · · · ·MR. JAZIL:· Object to the form.
   ·8· ·BY MR. NASSERI:
   ·9· · · · Q· · Go ahead.
   10· · · · A· · Nasser (sic), I'm sorry, maybe I'm just
   11· ·not comprehending.· But it seems to me like I've
   12· ·answered that question at least two or three times
   13· ·already today.· In my testimony before the Senate
   14· ·committee I used my own personal mother as an
   15· ·example and I stand by that testimony.
   16· · · · Q· · Okay.· So just to clarify, the answer to
   17· ·that is -- would you say that's "yes"?
   18· · · · A· · I'm not saying yes or no because you're --
   19· ·I'm sorry, but your delivery of your question and
   20· ·the couching this and that, no, I'm sorry.· Listen,
   21· ·I've addressed the ballot harvesting issue as far as
   22· ·I'm concerned.
   23· · · · Q· · Okay.· Fair enough.· And I appreciate
   24· ·that.
   25· · · · A· · Maybe it's because I'm not a lawyer that I


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 157 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 156
   ·1· ·have difficulty following your starts and stops and
   ·2· ·restarts and your hesitations and all this sort of
   ·3· ·stuff.
   ·4· · · · · · ·For those of you that are coming up later
   ·5· ·on today, please do us all a favor, have your
   ·6· ·questions prepared.· I understand how one answer
   ·7· ·might stimulate another question but for goodness
   ·8· ·sakes, ask the question.· Let's get on with the
   ·9· ·program.
   10· · · · Q· · I appreciate that.· And, yeah, sorry, I'm
   11· ·just trying -- I don't want to repeat things that
   12· ·were already asked of you, so I'm trying to find
   13· ·things that weren't already covered.· So it takes
   14· ·some time sometimes to kind of find what's
   15· ·appropriate to ask.
   16· · · · · · ·But I think that's it for me for now.                   I
   17· ·might ask a few things in response to other's
   18· ·questions later.· But thank you very much for your
   19· ·time, Supervisor Hays.· I appreciate you bearing
   20· ·with me.· Yeah, I know it's a tiring experience.
   21· · · · · · ·MR. BARDOS:· Great.· Thanks, Cyrus.
   22· · · · Someone from Florida Rising was planning to ask
   23· · · · questions?
   24· · · · · · ·MR. BUDHU:· Yep, that's me, Ryan Budhu.
   25· · · · · · ·(Discussion off record.)


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 158 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 157
   ·1· · · · · · ·THE STENOGRAPHER:· Back on the record.
   ·2· · · · · · · · · · CROSS EXAMINATION
   ·3· ·BY MR. BUDHU:
   ·4· · · · Q· · Good afternoon, Mr. Hays.· My name is Ryan
   ·5· ·Budhu.· I am an attorney for plaintiffs, for an
   ·6· ·organization, Florida Rising Together, along with a
   ·7· ·few other plaintiffs in a case in the Northern
   ·8· ·District of Florida, 21 CV 201.
   ·9· · · · · · ·As you've been sitting here, you've been
   10· ·answering questions.· You may recall at the
   11· ·beginning of your deposition you were given some
   12· ·instructions by Danielle.· You were informed that
   13· ·you were under oath.· Do you recall those
   14· ·instructions?
   15· · · · A· · I suppose so.· I couldn't tell you what
   16· ·the first instruction was but, yes, I know I've been
   17· ·under oath the whole time today.· So is there a
   18· ·specific instruction you want to point out to me?
   19· · · · Q· · No, just generally that you're under oath
   20· ·and you're sworn to testify to tell the truth.· Do
   21· ·you recall that?
   22· · · · A· · Absolutely.
   23· · · · Q· · Okay.· Excellent.· And any of the rules
   24· ·that Danielle gave you at the beginning of the
   25· ·outset of the deposition, they're still in effect


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 159 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 158
   ·1· ·even though I'm questioning you.
   ·2· · · · A· · Oh, yes.
   ·3· · · · Q· · You understand that?
   ·4· · · · A· · Yes.
   ·5· · · · Q· · Okay.· In turn -- and I'd like to actually
   ·6· ·jump to vote-by-mail.· And I know you briefly gave
   ·7· ·some testimony about the different ways that there
   ·8· ·was procedure for requesting a vote-by-mail ballot.
   ·9· · · · · · ·Could you go through the different ways
   10· ·prior to the enactment of SB 90, the different ways
   11· ·that an individual could request a vote-by-mail
   12· ·ballot?
   13· · · · A· · The ways of requesting a vote-by-mail
   14· ·ballot prior to Senate Bill 90 and after Senate
   15· ·Bill 90 are the same.· The only thing that I recall
   16· ·right off the top of my head that Senate Bill 90
   17· ·changed is it just -- it hasn't changed the methods
   18· ·at all; it's just changed the amount of information
   19· ·that we must have to identify the voter who's
   20· ·requesting the ballot or the party who is requesting
   21· ·the ballot for the voter; we have to get identifying
   22· ·information on the voter and we have to get
   23· ·identifying information on the person requesting
   24· ·that.
   25· · · · · · ·But other than that, the methods of


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 160 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 159
   ·1· ·requesting a ballot have not changed at all.
   ·2· · · · Q· · Okay.· So let's talk about that.· Before
   ·3· ·Senate Bill 90, what type of documentation or
   ·4· ·information was necessary to get a vote-by-mail
   ·5· ·ballot?
   ·6· · · · A· · People would call us and say, hey, send me
   ·7· ·a vote-by-mail ballot.· We would find out, okay,
   ·8· ·what's your date of birth or some other way to look
   ·9· ·them up.· You can look up -- our database is
   10· ·accessible through several different methods of
   11· ·look-up.· The most convenient one for some people is
   12· ·to ask the date of birth, others ask address.
   13· · · · · · ·Anyhow, you look up that voter and you ask
   14· ·them, okay, do you want your vote-by-mail ballot
   15· ·just for this election or do you want it for all
   16· ·elections going forward?· And in last year's case
   17· ·we'd say through the 2022 election.· Well, they'd
   18· ·say yes, you know, answer one way or the other and
   19· ·you get it.
   20· · · · · · ·Now, when the data comes up, we make sure
   21· ·that we're saying, okay, are you the voter, is it
   22· ·your -- is this your address?· Well, if they give us
   23· ·the same address, then fine, we'll send it to them.
   24· · · · · · ·One of the things that the people need to
   25· ·understand and the legislators were not aware of is


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 161 of 316
 Alan Hays
 October 06, 2021

                                                                     Page
                                                                       g 160
   ·1·
    1· ·that many of our voters across the state registered
   ·2· ·to vote before the driver's license or the Florida
   ·3· ·ID number or the Social Security last four digits
   ·4· ·were requirements for registration.
   ·5· · · · · · ·Consequently, those voters, if they have
   ·6· ·not updated their registration information prior to
   ·7· ·now, we don't have that information in our database.
   ·8· ·So it did us no good to say, okay, give me the
   ·9· ·driver's license number, or if we didn't have their
   10· ·Social Security last four digits in their record, it
   11· ·would do no good for us to ask them to give us that
   12· ·because we're looking at blanks.
   13· · · · · · ·So we would -- give us your date of birth,
   14· ·give us your address, that sort of thing, and we
   15· ·could find out that we're making sure we send the
   16· ·ballot to the correct person at the correct address.
   17· · · · Q· · Okay.· So you mentioned an address, date
   18· ·of birth.· Were there any other ways prior to the
   19· ·enactment of SB 90 that your office was able to
   20· ·ensure that a request for a vote-by-mail ballot was
   21· ·legitimate?
   22· · · · A· · Ryan, right offhand, you're dealing with
   23· ·essentially a rookie supervisor.· I can't think of
   24· ·any just off the top of my head.· I can certainly
   25· ·attest to the conscientious level of our employees.


                           www.phippsreporting.com
                                (888) 811-3408                                 YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 162 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 161
   ·1· · · · · · ·I do know that if the voter is
   ·2· ·requesting -- or if prior to Senate Bill 90 and even
   ·3· ·now after Senate Bill 90, if they're requesting the
   ·4· ·ballot to be mailed to an address other than the one
   ·5· ·that's on their record, then we must have a written
   ·6· ·request signed by that voter before we can send it
   ·7· ·to that other address.
   ·8· · · · · · ·So, no, I would say that that was pretty
   ·9· ·much it.· If I went to my voter registration
   10· ·director, she could probably tell me one or two
   11· ·other things I don't know.· But for the sake of this
   12· ·discussion, I've given you my answer.
   13· · · · Q· · Okay.· And I'm going to focus now on that
   14· ·identification number requirement that you kind of
   15· ·talked about in SB 90.
   16· · · · · · ·You're aware that there are registered
   17· ·voters who don't have a driver's license, a state ID
   18· ·or Social Security number, correct?
   19· · · · A· · I'm aware that we have voters in our
   20· ·database that do not -- for which we do not have
   21· ·those identifying numbers.
   22· · · · Q· · Well, I'm asking, are you aware that there
   23· ·are registered voters who don't have a driver's
   24· ·license, a state ID or a Social Security number?
   25· ·Not just in your database but just in general?


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 163 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 162
   ·1· · · · A· · No, I'm not aware of that.· It's my
   ·2· ·impression that everybody in the United States has a
   ·3· ·Social Security number but I may be mistaken on
   ·4· ·that.
   ·5· · · · Q· · Let's, I guess, go back to the process.
   ·6· ·Under SB 90.· What is your understanding what
   ·7· ·happens if a voter who wants a vote-by-mail ballot,
   ·8· ·doesn't have a driver's license number, a state
   ·9· ·identification or Social Security number?· Can your
   10· ·office send them a vote-by-mail ballot?
   11· · · · A· · No.· We're not going to send a
   12· ·vote-by-mail ballot to anybody that we're not
   13· ·supposed to.
   14· · · · Q· · Okay.· Are you aware of --
   15· · · · A· · Wait just a minute, Ryan.· We need -- I
   16· ·think that might need a little amplification there.
   17· ·We have taken the initiative to identify -- we
   18· ·queried our database, we identified all of those
   19· ·voters for whom we did not have one of those
   20· ·identifying numbers.· And we sent a letter to each
   21· ·of those voters along with an application blank and
   22· ·asked them to complete that application blank and
   23· ·send it back to us.
   24· · · · · · ·And as we get those returns, we then input
   25· ·that data.· So that's what our office has done to


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 164 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 163
   ·1· ·correct that data deficiency.
   ·2· · · · Q· · Do you have an idea of the financial costs
   ·3· ·of that type of initiative?
   ·4· · · · A· · No, not off the top of my head.· I do know
   ·5· ·that there were, I believe, about 9,000 that we
   ·6· ·identified within our county, but there were others,
   ·7· ·I'm sure.
   ·8· · · · Q· · Okay.· And just so I'm clear and just so
   ·9· ·the record is clear, under SB 90, what's your
   10· ·understanding of what happens if a voter provides an
   11· ·identification number that doesn't match the number
   12· ·in their voter record?
   13· · · · A· · They don't get a ballot.· It's called
   14· ·election integrity.
   15· · · · Q· · And just generally speaking, in your
   16· ·experience, do voters know what identification
   17· ·number they provided when they originally registered
   18· ·to vote?
   19· · · · A· · No.· Now, that was the real quick answer.
   20· ·Many of them may recall registering at the DMV which
   21· ·would give us the DL number but they don't recall
   22· ·what the number is.· They could look it up if they
   23· ·got their driver's license near them but that's
   24· ·about it.
   25· · · · Q· · But generally voters don't, you know,


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 165 of 316
 Alan Hays
 October 06, 2021

                                                                     Page
                                                                       g 164
   ·1· ·don't know what identification number they provided
   ·2· ·you when they originally registered to vote,
   ·3· ·correct?
   ·4· · · · · · ·MR. BARDOS:· Object to form.
   ·5· · · · A· · That's why when they call, we ask them --
   ·6· ·we look on the record first and see what numbers we
   ·7· ·have, and then we ask them to verify one of those
   ·8· ·numbers.· Some of them we have both the last four
   ·9· ·digits of their social and their driver's license.
   10· ·And most people know the last four digits of their
   11· ·social and they can give it to us just quick like
   12· ·that, be done.
   13· ·BY MR. BUDHU:
   14· · · · Q· · And the reason why your office goes
   15· ·through that questioning is because most voters
   16· ·don't recall the original identification number that
   17· ·they used to register to vote, correct?
   18· · · · A· · I suppose.· I mean, what kind of question
   19· ·is that?
   20· · · · Q· · Well, it's a question I asked.· If you
   21· ·would like me to rephrase, I can rephrase.· But you
   22· ·just kind of mentioned a process that your office
   23· ·does to identify the number or identification number
   24· ·that a voter used when they originally registered to
   25· ·vote.


                           www.phippsreporting.com
                                (888) 811-3408                                 YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 166 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 165
   ·1· · · · · · ·So I'm just asking, based on your
   ·2· ·experience, do voters generally recall that
   ·3· ·identification number that they used when they
   ·4· ·registered to vote?
   ·5· · · · · · ·MR. BARDOS:· Object to form.· Asked and
   ·6· · · · answered.
   ·7· ·BY MR. BUDHU:
   ·8· · · · Q· · You can answer.
   ·9· · · · A· · Yeah, I would say, you know, if you walked
   10· ·up to a voter and say, do you remember the voter
   11· ·registration -- or the number that you provided as
   12· ·an identifying number?· They'd look at you like what
   13· ·kind of planet are you from?· And they'd say, of
   14· ·course, I don't remember.
   15· · · · · · ·But when they call here for their
   16· ·vote-by-mail request, they are more likely to be in
   17· ·the frame of mind -- and to help them out, we don't
   18· ·try to play cat and mouse games with them.· We say,
   19· ·okay, can you give me the last four digits of your
   20· ·social?· We got it sitting right there on the screen
   21· ·in front of us.
   22· · · · · · ·And if they give it -- we don't say, okay,
   23· ·is the last four digit of your social 3728?· We ask
   24· ·them to give us those four digits.· And then we can
   25· ·verify it.


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 167 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 166
   ·1· · · · · · ·And if they don't -- if we don't have
   ·2· ·that, then we say, okay, please give me your
   ·3· ·driver's license number.· And they do that.· And we
   ·4· ·can verify that.· So that's the process.
   ·5· · · · Q· · Okay.· And I'm going try to break this
   ·6· ·down just so I get a better sense.· So when someone
   ·7· ·comes in or when someone is requesting a
   ·8· ·vote-by-mail ballot, your office tries to verify.
   ·9· ·They may verify by asking the last four digits of
   10· ·the Social Security number, correct?
   11· · · · A· · Sure.
   12· · · · Q· · And they also may ask the last four digits
   13· ·of a driver's license, is that correct?
   14· · · · A· · No, they ask for the whole driver's
   15· ·license number.· And we ask for the date of birth
   16· ·and we ask for their name and their address.· We
   17· ·take the security of these ballots very, very
   18· ·seriously.
   19· · · · Q· · And if someone doesn't have access or
   20· ·doesn't recall the last four digits of their social
   21· ·and doesn't have a driver's license, what's the
   22· ·procedure there?
   23· · · · A· · We will mail them a voter registration
   24· ·application, or they can go online to our website
   25· ·and fill out the voter registration application.


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 168 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 167
   ·1· ·And then that goes to the division of elections, and
   ·2· ·they put it through their security screening process
   ·3· ·and identification process, and then send to us the
   ·4· ·name of that voter when it's ready to be recorded as
   ·5· ·registered.
   ·6· · · · Q· · And I think we touched upon this briefly
   ·7· ·but I just want to confirm.· Has your office
   ·8· ·estimated the total cost of complying with the
   ·9· ·identification number match provision of SB 90?
   10· · · · A· · No.
   11· · · · Q· · Do you have a ballpark?
   12· · · · A· · No, sir.
   13· · · · Q· · Do you know when you might have an idea
   14· ·about the estimated cost?
   15· · · · A· · Frankly, I don't plan to calculate it.· We
   16· ·just do it.· I don't waste time fiddling with
   17· ·numbers that are inconsequential.· The law says do
   18· ·it, I do it.· And I don't care -- I do care what it
   19· ·costs but I -- it's -- the law is the law.· I have
   20· ·no choice.· So I just do it.· And I'm not willing to
   21· ·pay my clerical staff time to come up with numbers
   22· ·like that.
   23· · · · Q· · Based on your experience, what impact do
   24· ·you think the SB 90 requirement that voters provide
   25· ·an identification number will have on voters in Lake


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 169 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 168
   ·1· ·County?
   ·2· · · · A· · I'd say it would be negligible.
   ·3· · · · Q· · Well, what do you mean by negligible?
   ·4· · · · A· · I don't see it as making it any more
   ·5· ·difficult to register and no more difficult to vote.
   ·6· ·Florida has an outstanding track record over the
                                     administration.· The
   ·7· ·last five years of elections administration.
   ·8· ·2018 recounts for three statewide elections proved
   ·9· ·to anybody that might have had any doubt of our
   10· ·capability; there were only 2 counties out of 67
   11· ·that had trouble with that recount.· Both of those
   12· ·supervisors have since been replaced.
   13· · · · · · ·And in 2020, only two years after that
   14· ·'18, all 67 counties came through shining in a grand
   15· ·way in the administration of that election.
   16· · · · · · ·And so that's where we are.· We're a very
   17· ·proud profession, we're a very proud association,
   18· ·and we've done an outstanding job of providing
   19· ·election services for the people of Florida.
   20· · · · Q· · And you kind of referenced that there are
   21· ·about 9,000 voters in your database in Lake County
   22· ·that might be affected by the identification number
   23· ·requirement, correct?
   24· · · · A· · Well, you have to understand, none of
   25· ·those people may even want a vote-by-mail ballot, so


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 170 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 169
   ·1· ·this bill would not impact them at all.
   ·2· · · · Q· · Well, that's just speculating.· I'm just
   ·3· ·trying to nail down.· So there's about 9,000 voters
   ·4· ·that may be impacted by the number identification in
   ·5· ·SB 90, correct, in your county?
   ·6· · · · · · ·MR. BARDOS:· Form.
   ·7· · · · · · ·THE WITNESS:· Go ahead, Andy.· What did
   ·8· · · · you say?
   ·9· · · · · · ·MR. BARDOS:· I said object to form.
   10· · · · A· · Okay.· I'll put it directly, Ryan.
   11· ·Those -- if 9,000 is indeed the correct number,
   12· ·those people have already been impacted because we
   13· ·have mailed them a communication from our office and
   14· ·given them an opportunity to supply for us that
   15· ·identifying data that previously was missing in
   16· ·their record.
   17· ·BY MR. BUDHU:
   18· · · · Q· · Well, I'm not trying to confirm the number
   19· ·that you've tried to rectify in terms of them having
   20· ·missing data.· I'm trying to just get a sense of the
   21· ·number from your testimony about the individuals in
   22· ·Lake County that are impacted by the identification
   23· ·number requirement of SB 90.
   24· · · · · · ·You had mentioned that there are 9,000
   25· ·voters that have missing information in the database


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 171 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 170
   ·1· ·that you were sending out these envelopes.· So I
   ·2· ·just want to confirm just that those were -- that
   ·3· ·would be 9,000 voters who are impacted by the
   ·4· ·identification number requirement of SB 90, correct?
   ·5· · · · · · ·MR. BARDOS:· Object to form.
   ·6· · · · A· · I think I just answered the question a
   ·7· ·moment ago.· Now, I'm not going to speculate for you
   ·8· ·or anyone else on how many of that 9,000 may or may
   ·9· ·not want a vote-by-mail ballot.· And for the sake of
   10· ·this discussion, as I understand it, if they don't
   11· ·want a vote-by-mail ballot, they're not going to be
   12· ·impacted other than the fact that they received a
   13· ·communication from us.
   14· ·BY MR. BUDHU:
   15· · · · Q· · And so I'm not asking you to speculate.
   16· ·And so I just want to confirm, you had mentioned
   17· ·that there are about 9,000 voters that had missing
   18· ·information in your database, correct?
   19· · · · A· · Ryan, I'm trying to be patient with you
   20· ·but this is about the third or fourth time I've
   21· ·confirmed that.· Now, please do me a favor, don't
   22· ·ask me that again.· All right?· Do you understand?
   23· · · · Q· · Okay.· And so I'm just trying to get a
   24· ·clean record here.· So when I ask you a question,
   25· ·it's so that I can get an answer, a straight answer.


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 172 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 171
   ·1· ·You understand?
   ·2· · · · · · ·And to the extent that you don't
   ·3· ·understand the question, to the extent that you feel
   ·4· ·you can't answer it, you just let me know.· But I'm
   ·5· ·just asking sometimes either a yes-or-no question
   ·6· ·very simply.
   ·7· · · · · · ·And I understand that this may have been a
   ·8· ·question that maybe Danielle had asked or Cyrus had
   ·9· ·asked or maybe even I had asked before.· But I'm
   10· ·just simply trying to get testimony down.· I'm
   11· ·trying to do my job.· I know that you try to do your
   12· ·job day in and day out.
   13· · · · · · ·So I'm just going to ask again, and this
   14· ·is what we're doing, is we're just asking questions
   15· ·and I'm just trying to get answers.· So simple and
   16· ·easy to read in a transcript.
   17· · · · · · ·So you had mentioned before that there
   18· ·were 9,000 individuals who had missing information
   19· ·in your database in Lake County, is that correct?
   20· · · · A· · That's correct.
   21· · · · Q· · And that would be about 9,000 individuals
   22· ·who may be impacted by the SB 90 identification
   23· ·number requirement, correct?
   24· · · · · · ·MR. BARDOS:· Object to form.· Asked and
   25· · · · answered four or five times.


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 173 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 172
   ·1· ·BY MR. BUDHU:
   ·2· · · · Q· · You can answer.
   ·3· · · · A· · I'm refusing to answer the question.                    I
   ·4· ·don't know how I can make it any more plain to you
   ·5· ·than what I've already said.· So if you want to
   ·6· ·phrase it a different way or if you want to get on
   ·7· ·with a real question, okay.
   ·8· · · · · · ·But I'm -- you're not going to drive me
   ·9· ·into a corner and me say "yes" or "no" to something
   10· ·that is speculative.· I don't know how to say it any
   11· ·more plain than I've already said it.· So there you
   12· ·have it.
   13· · · · Q· · Well, I'm trying to get to the universe of
   14· ·voters that would be --
   15· · · · A· · I'm not about the universe, I'm about just
   16· ·Lake County elections.
   17· · · · · · ·MR. BARDOS:· Do we want to take a break?
   18· · · · · · ·THE WITNESS:· I don't need a break, I need
   19· · · · the man to get on with the questioning.
   20· ·BY MR. BUDHU:
   21· · · · Q· · With all due respect, I am questioning --
   22· · · · · · ·MR. BARDOS:· Ryan.· Ryan, I think he's
   23· · · · answered -- I think the issue is the way that
   24· · · · you're phrasing your question "may be
   25· · · · impacted."· You know, it's speculation who


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 174 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 173
   ·1· · · · might or might not be impacted.· And so I think
   ·2· · · · he's answered that.· He's said it several times
   ·3· · · · already.
   ·4· · · · · · ·If you want to try to say it a different
   ·5· · · · way, if you're really asking something else,
   ·6· · · · that might be helpful.· But "may be impacted"
   ·7· · · · is I think where we're getting caught up.· And
   ·8· · · · he's answered that part to the best of his
   ·9· · · · ability three or four times already.
   10· · · · · · ·MR. BUDHU:· Okay.· Give me one second,
   11· · · · Mr. Hays.· I'm going to try to think if there
   12· · · · is a way that I can rephrase this question.
   13· · · · All right?
   14· · · · · · ·(Short pause.)
   15· ·BY MR. BUDHU:
   16· · · · Q· · Mr. Hays, based on your estimation there
   17· ·are about 9,000 voters that, if they wanted to
   18· ·request a vote-by-mail ballot, they would be
   19· ·impacted by SB 90's identification number
   20· ·requirement, correct?
   21· · · · · · ·MR. BARDOS:· Object to form.
   22· · · · A· · If they wanted to request a vote-by-mail
   23· ·ballot, it would depend on how they made that
   24· ·request.· And --
   25


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 175 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 174
   ·1· ·BY MR. BUDHU:
   ·2·
    2· · · · Q· · What do you mean by that?
   ·3· · · · A· · They could fill out a voter registration
   ·4· ·application and request that vote-by-mail ballot.
   ·5· ·And they could, in filling out that voter
   ·6· ·registration application, they could provide one or
   ·7· ·both of those identifying numbers and then the
   ·8· ·problem would go away.
   ·9· · · · Q· · Okay.· I'm going to go and move on towards
   10· ·third-party voter registration organizations.
   11· · · · · · ·Prior to enactment of SB 90, did your
   12· ·office receive registrations from third-party voter
   13· ·registration organizations for voters outside of
   14· ·Lake County?
   15· · · · A· · Yes, sir, from time to time we did.
   16· · · · Q· · Okay.· How did your office handle those
   17· ·types of registrations?
   18· · · · A· · We input the data and then we mailed the
   19· ·form to the particular county of residence.
   20· · · · Q· · And how does that differ from how your
   21· ·office handles registration for voters in your
   22· ·county?
   23· · · · A· · It's pretty simple.· The registration of
   24· ·those voters in our county, we input the
   25· ·registration data and the form stays right here with


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 176 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 175
   ·1· ·us.
   ·2· · · · Q· · And does your office ever receive
   ·3· ·registrations for someone outside of the county
   ·4· ·through a means other than through a third-party
   ·5· ·voter registration organization?
   ·6· · · · A· · Not that I'm aware of.
   ·7· · · · Q· · And with the enactment of SB 90, will your
   ·8· ·office handle out-of-county registrations from
   ·9· ·third-party voter registration organizations any
   10· ·differently?
   11· · · · A· · Absolutely.
   12· · · · Q· · How so?
   13· · · · A· · We'll send them back to the third-party
   14· ·organization.· The third-party organization in the
   15· ·first place is supposed to send them to us -- only
   16· ·send to us only those whose addresses are in Lake
   17· ·County.
   18· · · · Q· · And do you know how many out-of-county
   19· ·registrations from third-party voter registration
   20· ·organizations did your office process in 2020?
   21· · · · A· · No, I don't know that number offhand.· But
   22· ·to elaborate a little bit further on the previous
   23· ·question even, this was -- this issue was one of
   24· ·those requests from our association to the
   25· ·legislature.


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 177 of 316
 Alan Hays
 October 06, 2021

                                                                     Page
                                                                       g 176
   ·1· · · · · · ·When we explained to them -- and I'll just
   ·2· ·give you one example and there are probably several
   ·3· ·others.· But one example is one of the third-party
   ·4· ·organizations had an office in Winter Park, which is
   ·5· ·in Orange County.· The physical location of that
   ·6· ·office was closer to the Seminole County supervisors
   ·7· ·office than it was to the Orange County supervisors
   ·8· ·office.
   ·9· · · · · · ·So with the current law at that time, they
   10· ·were able to take all of those third-party
   11· ·registration organization applications, drop them at
   12· ·the Seminole County office, and it put an
   13· ·overwhelming undue burden on the Seminole County
   14· ·office to process all of those things.· And then we
   15· ·had to hope and pray that we got the registration
   16· ·information and we got the registration blank
   17· ·itself.· It created a bookkeeping nightmare.
   18· · · · · · ·So the legislature, at our request from
   19· ·the association, put these provisions into Senate
   20· ·Bill 90 that the TPROs must send the applications to
   21· ·the supervisor's office in which the county -- in
   22· ·whichever county that voter resides.
   23· · · · Q· · And I just -- and I think I got -- because
   24· ·you had answered -- you'd gone back to a previous
   25· ·question, so I just want to make sure that the


                           www.phippsreporting.com
                                (888) 811-3408                                 YVer1f
            Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 178 of 316
              Alan Hays
              October 06, 2021

                                                                                 Page 177
                  ·1· ·transcript is clear and we got an answer to my
                  ·2· ·previous question.
                  ·3· · · · · · ·If you knew off the top of your head how
                  ·4· ·many out-of-county registrations the third-party
                  ·5· ·voter registration organizations that your office
                  ·6· ·processed in 2020?
                  ·7· · · · A· · No, I don't.
                  ·8· · · · Q· · Do you know how many out of state in 2020?
                  ·9· · · · A· · As far as I know we didn't process any out
                  10· ·of state.· Why would somebody out of state send us
                  11· ·an application to register to vote?
                  12· · · · Q· · And I think you touched a little bit on
                  13· ·resources needed to process third-party voter
                  14· ·registration organizations' registration efforts.
  177:15-         15· · · · · · ·Could you elaborate a little bit more in
  178:18
                  16· ·2020, what are the resources that your office had to
  P=401/402       17· ·expend in processing some of the third-party voter
  (SB90
  would not       18· ·registration organization voter registrations?
  prevent)        19· · · · A· · The biggest example of interaction with
D=Relevant
because           20· ·third-party applications in this office occurred in
demonstrates
3PVROs have       21· ·mid to late February and early March of 2020 when we
history of
fraud in          22· ·were supplied with over 540 voter registration
Florida, and
illustrates the   23· ·applications from a third-party organization that
need for
legislature to    24· ·had been falsified.
further
regulate 3PVROs   25· · · · · · ·Signatures had been forged, information
and importance
of notifying
voters of                              www.phippsreporting.com
alternative                                 (888) 811-3408                                  YVer1f




methods of
registration
besides 3PVROs.
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 179 of 316
 Alan Hays
 October 06, 2021

                                                                     Page
                                                                       g 178
   ·1· ·had been filled in that was incorrect.· And when we
   ·2· ·discovered this had been done, we turned it over to
   ·3· ·the state attorney's office and it wound up with one
   ·4· ·particular operator of that organization being
   ·5· ·charged with 10 felony counts.
   ·6· · · · · · ·That happened just before the PPP and we
   ·7· ·were having people who had been registered as
   ·8· ·Democrats all their lives suddenly receiving from us
   ·9· ·new voter information cards indicating they were now
   10· ·Republicans.· And they called and said, what on
   11· ·earth are you doing?· Why are you doing this?· And
   12· ·we said, well, we have this form that you filled out
   13· ·requesting you be switched from D to R.· Oh, no that
   14· ·wasn't I.
   15· · · · · · ·Well, would you mind coming in and we'll
   16· ·show you the form?· They would come in, look at it,
   17· ·said that's not my signature.· And it's not my
   18· ·handwriting either.
   19· · · · · · ·And I told you the end of the story or at
   20· ·least the next chapter in the story.· The end of the
   21· ·story has not yet been written because of all the
   22· ·court delays due to COVID, and so this person is
   23· ·still waiting for her day in court.
   24· · · · Q· · So if I understand you correctly, there's
   25· ·no conviction yet in that particular case, is that


                           www.phippsreporting.com
                                (888) 811-3408                                 YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 180 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 179
   ·1· ·correct?
   ·2· · · · A· · Yes.
   ·3· · · · Q· · And do you know if -- do you know the name
   ·4· ·of that TPVRO?
   ·5· · · · A· · I believe it was Florida First.· It was an
   ·6· ·organization --
   ·7· · · · Q· · Do you recall the name -- sorry.· I cut
   ·8· ·you off.
   ·9· · · · A· · -- organization that was working for the
   10· ·Republican Party of Florida or the National
   11· ·Republicans, I'm not sure who hired them.· But
   12· ·anyhow they were trying to get Republicans
   13· ·registered.
   14· · · · Q· · And in terms of the felony that -- or
   15· ·felonies that you had referenced, do you know the
   16· ·name of the individual who was charged?
   17· · · · A· · Well, it's interesting because when the
   18· ·act was committed, her name was Cheryl Hall, and
   19· ·she -- shortly after she turned herself in, she went
   20· ·through some sort of legal proceeding I suppose and
   21· ·changed her last name.· And I don't recall right off
   22· ·the top of my head what that was.· We could find
   23· ·that information and give it to you.
   24· · · · · · ·But she -- she wound up running for state
   25· ·committee woman position in the general election.


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 181 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 180
   ·1· ·The last name started with a A but I can't recall
   ·2· ·offhand what it was.
   ·3· · · · · · ·MR. BUDHU:· Yeah, to the extent that it
   ·4· · · · hasn't been provided, we'd ask counsel to
   ·5· · · · provide any information relating to that
   ·6· · · · fraudulent third-party voter registration
   ·7· · · · organization incident.
   ·8· · · · · · ·MR. BARDOS:· We can discuss that.
   ·9· ·BY MR. BUDHU:
   10· · · · Q· · Since the enactment of SB 90, have you
   11· ·received registrations from third-party voter
   12· ·registration organizations for voters outside of
   13· ·your county?
   14· · · · A· · Yes, just yesterday as a matter of fact.
   15· · · · Q· · I'm sorry, could you repeat that?
   16· · · · A· · I said, yes, as recently as yesterday that
   17· ·I know of.
   18· · · · Q· · And how has your office handled these
   19· ·registrations?
   20· · · · A· · As far as I know we send it back to the
   21· ·third-party organization telling them to send --
   22· ·either that or we -- candidly the straight answer to
   23· ·your question is I don't know.· I'll have to find
   24· ·out the details and get them to you.
   25· · · · Q· · But -- and I just want to confirm, do you


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 182 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 181
   ·1· ·send it back or you don't know?
   ·2· · · · A· · I don't know.· I pay people good money to
   ·3· ·make those tasks happen.· Had I known that was going
   ·4· ·to be a question, I could have had the answer for
   ·5· ·you but right now, I don't know.
   ·6· · · · Q· · Do you know how many out-of-county voter
   ·7· ·registrations your office has handled in 2021?
   ·8· · · · A· · No.
   ·9· · · · · · ·MR. BUDHU:· I have no further questions.
   10· · · · Thank you, Mr. Hays.
   11· · · · · · ·THE WITNESS:· Thank you.
   12· · · · · · ·MR. BARDOS:· Thanks, Ryan, for that.· Mo,
   13· · · · are you next?
   14· · · · · · ·MR. JAZIL:· Yes.· Can you hear me?
   15· · · · · · ·THE WITNESS:· Yes, sir.
   16· · · · · · ·MR. JAZIL:· Would it be possible for us to
   17· · · · take a five-minute break.· I'd like to use the
   18· · · · restroom.
   19· · · · · · ·MR. BARDOS:· Yeah, this would be a good
   20· · · · time for me as well.
   21· · · · · · ·(A recess took place from 3:32 p.m. to
   22· · · · 3:40 p.m.)
   23· · · · · · · · · · CROSS EXAMINATION
   24· ·BY MR. JAZIL:
   25· · · · Q· · Good afternoon, Supervisor Hays.· My name


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 183 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 182
   ·1· ·is Mo Jazil.· I'm a lawyer for the Secretary of
   ·2· ·State's office and I've got with me George Meros,
   ·3· ·who seems to be hiding but he's here.
   ·4· · · · A· · How are you guys doing?
   ·5· · · · Q· · We're doing better than you are, I think.
   ·6· · · · A· · I'm doing fine if you'd just make sure you
   ·7· ·got your questions prepared and don't ask me the
   ·8· ·same thing four different times.
   ·9· · · · Q· · Well, I'll try not to.
   10· · · · · · ·MR. MEROS:· I got them written down right
   11· · · · here.
   12· ·BY MR. JAZIL
   13· · · · Q· · So, Supervisor Hays, what we're going to
   14· ·do is go through some of your legislative experience
   15· ·first.· I want to make sure that we have a few
   16· ·things clear for some of our friends who are not
   17· ·from Florida.
   18· · · · · · ·So as I understand it, you served in the
   19· ·Florida legislature for 12 years, both in the House
   20· ·and the Senate.· In the Senate you served on the
   21· ·Senate ethics and elections committee.· Did I
   22· ·understand that correctly from your prior testimony?
   23· · · · A· · That is correct.
   24· · · · Q· · And now you have a leadership position
   25· ·with the Florida State Association of Supervisors of


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 184 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 183
   ·1· ·Elections as the chair of their legislative
   ·2· ·committee.· Do I have that correct, sir?
   ·3· · · · A· · Yes, sir.
   ·4· · · · Q· · So, Supervisor Hays, while you were in the
   ·5· ·legislature on the Senate ethics and elections
   ·6· ·committee, did you have any elections related bills
   ·7· ·come through your committee?
   ·8· · · · A· · I'm sure we did, Mo, but honestly I would
   ·9· ·have to go back through the whole list that came
   10· ·before -- that committee has consideration of all of
   11· ·the appointments that are made throughout the whole
   12· ·state.· We do a lot of different things there in
   13· ·addition to elections work.
   14· · · · · · ·And I don't know if it's a blessing or a
   15· ·handicap, but out of my 12 years of service there, I
   16· ·could not give you the topic or the bill number of
   17· ·six bills that I filed and passed and all that
   18· ·stuff.· I have the ability to focus on the immediate
   19· ·and when it's over with, win, lose or draw, it's
   20· ·over with and I'm on down the road with something
   21· ·else and I focus on that.
   22· · · · · · ·I don't know if that's a throwback to my
   23· ·years as a dentist when I was focusing just on that
   24· ·tooth and never looked at the teeth on either side
   25· ·of it or not.· But it is what it is.


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 185 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 184
   ·1· · · · · · ·So if you've got bills there that dealt
   ·2· ·with elections that was on the committee when I was
   ·3· ·there, I'll talk to that perhaps to the best of my
   ·4· ·memory.
   ·5· · · · Q· · So let's not focus on the bills.· As you
   ·6· ·were making policy, did you hear from all
   ·7· ·stakeholders involved?· Did you hear from the
   ·8· ·Democrats, the Republicans on issues as they came
   ·9· ·up?
   10· · · · A· · I really never paid a whole lot of
   11· ·attention to what group they were representing or
   12· ·their -- what party they were representing.· I had a
   13· ·wide open door policy.· I would almost listen to
   14· ·anybody.· I may not agree with them but I would at
   15· ·least give them the courtesy of my time to express
   16· ·their views on legislation, whatever it might have
   17· ·been.
   18· · · · Q· · So had the League of Women Voters come to
   19· ·you, you would have listened to them; had the NAACP
   20· ·come to you, you would have listened to them; had
   21· ·the Democrats or Republicans came, you would have
   22· ·listened to them.· Is that ...
   23· · · · A· · Absolutely, yes, sir.
   24· · · · Q· · And if they came to you with suggested
   25· ·language or positions, you would consider those and


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 186 of 316
 Alan Hays
 October 06, 2021

                                                                     Page
                                                                       g 185
   ·1· ·judge them on whether or not it's sound policy.· Is
   ·2· ·that an accurate understanding of your testimony
   ·3· ·from earlier?
   ·4· · · · A· · Yes, sir.
   ·5· · · · Q· · Okay.· So, Supervisor Hays, how many days
   ·6· ·does a regular legislative session last?
   ·7· · · · A· · 60.
   ·8· · · · Q· · And --
   ·9· · · · A· · Now, that's the official formal session.
   10· ·But you've got several weeks of committee meetings
   11· ·leading up to that.· I didn't -- it's been a while.
   12· ·I would say probably six weeks of committee
   13· ·meetings, perhaps seven.· But the constitution calls
   14· ·for a 60-day legislative session every year.
   15· · · · Q· · Yes, sir.· And in your time both as a
   16· ·legislator and now as a stakeholder for the
   17· ·elections community, do you remember that time being
   18· ·pretty jam packed with meetings, agendas and work to
   19· ·be done, or was there a lot of time for you to deal
   20· ·with issues?
   21· · · · A· · It was packed from the get-go to the final
   22· ·sine die flag dropping, absolutely.· It is 60 days
   23· ·packed with meeting upon meeting upon meeting, and
   24· ·the clock is rarely respected in terms of you start
   25· ·at 8:00 and you quit at 5:00.


                           www.phippsreporting.com
                                (888) 811-3408                                 YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 187 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 186
   ·1· · · · · · ·It was not uncommon for me to have
   ·2· ·6:30 a.m. appointments with different people,
   ·3· ·whether it be for breakfast or whether it be in my
   ·4· ·office, and then till 10:00, 11 o'clock at night we
   ·5· ·were still having consultations, whether it be phone
   ·6· ·or whatnot.· But, yeah, it's a very jam packed 60
   ·7· ·days.
   ·8· · · · Q· · And in that jam packed 60 days, you also
   ·9· ·had committee meetings, is that correct?
   10· · · · A· · Oh, sure.
   11· · · · Q· · And was it the norm for those committee
   12· ·meetings to have time limits on how long a
   13· ·particular speaker could come and share their
   14· ·perspective with the committee?
   15· · · · A· · Oh, absolutely.· Yeah, as a matter of fact
   16· ·as chairman of the committee, on more than one
   17· ·occasion I put time limits on each presenter and
   18· ·said, you're allowed to present for one minute or
   19· ·two minutes.· It was very rare that any presenter
   20· ·would get to go longer than three minutes if you had
   21· ·to put a time limit on them.
   22· · · · Q· · But did you nevertheless allow
   23· ·stakeholders to provide written comments to you,
   24· ·letters?
   25· · · · A· · Oh, sure.


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 188 of 316
 Alan Hays
 October 06, 2021

                                                                     Page
                                                                       g 187
   ·1· · · · Q· · And did you read those, consider those?
   ·2· · · · A· · Sometimes.· And if I didn't, I had my
   ·3· ·staff read them and summarize them for me.
   ·4· · · · Q· · Okay.· Supervisor Hays, let's talk a bit
   ·5· ·about Senate Bill 90.· Based on your testimony from
   ·6· ·earlier today, my understanding is you were pretty
   ·7· ·involved in the legislative process concerning what
   ·8· ·became Senate Bill 90 as signed by the governor, is
   ·9· ·that understanding correct?
   10· · · · A· · Yes, sir, I would have to say it is.
   11· · · · Q· · And my understanding is you did not like
   12· ·the bill that was originally made public, you did
   13· ·not like the subsequent version of the bill even
   14· ·more?
   15· · · · A· · That's right.
   16· · · · Q· · And that second version of the bill is
   17· ·what prompted you to go up to Tallahassee and share
   18· ·your thoughts with the Florida legislature, is that
   19· ·understanding correct, sir?
   20· · · · A· · Totally correct.
   21· · · · Q· · Did Senate Bill 90 become better during
   22· ·the legislative process after your involvement and
   23· ·that of the Florida State Association of Supervisors
   24· ·of Elections?
   25· · · · A· · Significantly better.


                           www.phippsreporting.com
                                (888) 811-3408                                 YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 189 of 316
 Alan Hays
 October 06, 2021

                                                                     Page
                                                                       g 188
   ·1· · · · Q· · Sir, did you and the association support
   ·2· ·the final bill that was enacted and signed by the
   ·3· ·governor?
   ·4· · · · A· · I don't know as I'm able to speak for the
   ·5· ·association.· But I do know that I supported the
   ·6· ·bill as it was being -- as a matter of fact, I
   ·7· ·communicated with some of the senators.· There was
   ·8· ·one particular exchange on the floor and I was
   ·9· ·watching online, and one of the sponsors of the bill
   10· ·or an amendment sponsor -- anyhow, one of the
   11· ·speakers on the bill was asked the question, "Does
   12· ·any supervisor support this?"
   13· · · · · · ·And I texted, I believe it was Senator
   14· ·Boyd, I'm not sure but I believe it was Senator Boyd
   15· ·that I texted and said that I support it.
   16· · · · · · ·And people need to understand the
   17· ·legislative process as it is.· It's -- particularly
   18· ·there in that last week of session, Mo, it's a very,
   19· ·very fluid operation.· And I have seen bills just
   20· ·change completely in the blink of an eye.· Strike
   21· ·all amendments are introduced at the last minute and
   22· ·you look for a summary statement from a reliable
   23· ·colleague that you can trust to tell you what's in
   24· ·the bill.· And then you make your decision on it.
   25· · · · · · ·And it's a very, very intense time.· But


                           www.phippsreporting.com
                                (888) 811-3408                                 YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 190 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 189
   ·1· ·frankly, I didn't see anything in the mechanical
   ·2· ·stuff of the passing of Senate Bill 90 that was
   ·3· ·anything out of the ordinary.· I have experienced it
   ·4· ·for 12 years; just another day in the legislature as
   ·5· ·far as we're concerned.
   ·6· · · · Q· · Understood.· Supervisor Hays, I'd like to
   ·7· ·follow up on something you just said, the strike all
   ·8· ·amendments.· Is that a tool in the legislator's
   ·9· ·toolbox that's commonly used?
   10· · · · A· · Yes, sir, and forgive me for not
   11· ·explaining it.· I have to understand my audience.
   12· ·None of y'all have been legislators perhaps.
   13· · · · · · ·But as the bills move through, if you have
   14· ·one small section here, one small section there that
   15· ·you would like to change, you can file an amendment
   16· ·changing those one or two things.· Sometimes it's
   17· ·simply a punctuation mark or one or two words versus
   18· ·a whole paragraph.
   19· · · · · · ·But if you're going to wind up making
   20· ·multiple changes in the text of the bill, it's far
   21· ·more logistically -- what's the word I'm looking
   22· ·for -- it's more streamlined.· Rather than filing a
   23· ·series of six or eight different amendments, let's
   24· ·just file one big amendment.
   25· · · · · · ·And all of these -- all of the changes


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 191 of 316
 Alan Hays
 October 06, 2021

                                                                     Page
                                                                       g 190
   ·1· ·that are made are underlined or lined through.· All
   ·2· ·the deletions are lined through.· So it's not like
   ·3· ·you're trying to submit something with a smoke
   ·4· ·covering over it.· It's -- the changes are very
   ·5· ·plain right there on the paper for you.
   ·6· · · · · · ·But instead of taking up endless hours of
   ·7· ·voting and voting and voting on multiple, multiple
   ·8· ·amendments, you just go through and do one big
   ·9· ·amendment for the whole bill and it's called a
   10· ·strike all.
   11· · · · Q· · Understood, Supervisor Hays.· You talked a
   12· ·bit about the four goals, the points of commitment
   13· ·that y'all have at the supervisor of elections
   14· ·office.
   15· · · · · · ·And as I understand them, they were,
   16· ·number 1, voter confidence; number 2, providing
   17· ·excellent service; number 3, providing accurate --
   18· ·pardon me -- administering accurate and efficient
   19· ·elections; and number 4, managing the office in a
   20· ·financially responsible way.
   21· · · · · · ·Did I understand those four correctly,
   22· ·sir?
   23· · · · A· · Yes, sir.
   24· · · · Q· · Let's talk a bit about excellent service.
   25· ·My friends talked to you a bit earlier about the


                           www.phippsreporting.com
                                (888) 811-3408                                 YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 192 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 191
   ·1· ·education efforts that you undertake with your
   ·2· ·voters.
   ·3· · · · · · ·Are you going to undertake education
   ·4· ·efforts with voters to help them understand the
   ·5· ·changes that Senate Bill 90 made?
   ·6· · · · A· · We already have undertaken that and we
   ·7· ·will continue to do so.
   ·8· · · · Q· · And if constituents have questions about
   ·9· ·how to ask for a vote-by-mail ballot or how to drop
   10· ·off the vote-by-mail ballot or where to vote in
   11· ·person, are those questions that you and your staff
   12· ·answer?
   13· · · · · · ·MS. SIVALINGAM:· Objection, form.
   14· · · · · · ·THE WITNESS:· Pardon me?
   15· · · · · · ·MS. SIVALINGAM:· I was just objecting for
   16· · · · to the record.· Objection to form.· Compound.
   17· ·BY MR. JAZIL:
   18· · · · Q· · Okay.· So we'll take those one at a time
   19· ·because of the objection, Supervisor Hays.
   20· · · · · · ·Do you and your staff answer questions
   21· ·from voters about how to vote by mail?
   22· · · · A· · Routinely.
   23· · · · Q· · Do you answer questions about how to use
   24· ·drop boxes if people have questions?
   25· · · · A· · Absolutely.


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 193 of 316
 Alan Hays
 October 06, 2021

                                                                     Page
                                                                       g 192
   ·1·
    1· · · · Q· · Do you and your staff answer questions
   ·2· ·about how to vote in person?
   ·3· · · · A· · Sure.· We also put instructions like that
   ·4· ·on our website and every vote-by-mail ballot that
   ·5· ·goes out has instructions on it and deadlines are
   ·6· ·listed there.· Sometimes you wonder why do we get
   ·7· ·questions when we have tried to go be so proactive
   ·8· ·in giving instructions and information upfront.
   ·9· · · · · · ·But even when we do get those questions
   10· ·that are bewildering to us as to their origin, we
   11· ·still try to treat that voter with the same respect
   12· ·that we would want to be treated if we were asking
   13· ·similar questions.· We don't say, well, we told you
   14· ·that in the instructions.· We go ahead and answer
   15· ·the question.
   16· · · · Q· · And I appreciate that, Supervisor.
   17· ·Supervisor, I'd like to turn your attention to an
   18· ·exhibit that my friend Cyrus shared with you.· I'm
   19· ·going to use the screen share function so we both
   20· ·look at it at the same time.
   21· · · · · · ·So this is what I believe has been marked
   22· ·as Exhibit 13.· These are your thoughts that you
   23· ·shared with the Governor's Office on February 21st,
   24· ·2021.
   25· · · · A· · As I said earlier, that was prior to any


                           www.phippsreporting.com
                                (888) 811-3408                                 YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 194 of 316
 Alan Hays
 October 06, 2021

                                                                     Page
                                                                       g 193
   ·1· ·bill that I'm aware of having been published at that
   ·2· ·time.
   ·3· · · · Q· · Yes, sir.· And so if we go to page 3,
   ·4· ·there's this question here about "vote-by-mail
   ·5· ·requests must be made each election year."
   ·6· · · · A· · Yep.
   ·7· · · · Q· · Do you see that?
   ·8· · · · A· · Sure do.
   ·9· · · · Q· · And there you suggest that requests not be
   10· ·required every election year because there are
   11· ·municipal elections that happen?
   12· · · · A· · That is correct.
   13· · · · Q· · Do you understand Senate Bill 90 as
   14· ·requiring vote-by-mail requests to be made every
   15· ·year?
   16· · · · A· · No, sir.
   17· · · · · · ·MS. SIVALINGAM:· Objection to form.· Calls
   18· · · · for a legal conclusion.
   19· ·BY MR. JAZIL:
   20· · · · Q· · Supervisor Hays, my understanding of your
   21· ·earlier testimony is there are going to be five
   22· ·municipal elections held in your county this year,
   23· ·is that correct?
   24· · · · A· · Yes, sir.
   25· · · · Q· · Are vote-by-mail requests that you have on


                           www.phippsreporting.com
                                (888) 811-3408                                 YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 195 of 316
 Alan Hays
 October 06, 2021

                                                                     Page
                                                                       g 194
   ·1· ·file from voters sufficient to vote by mail in those
   ·2· ·five municipal elections?
   ·3· · · · A· · Yes, sir.
   ·4· · · · Q· · When you were talking to my friend
   ·5· ·Danielle about the 2020 election, you said, quote,
   ·6· ·there were very few hiccups.· Do you recall saying
   ·7· ·that, sir?
   ·8· · · · A· · Sure.· That's a phrase I use frequently.
   ·9· · · · Q· · Okay.· And then later you talked about the
   10· ·540 voter registration forms that a third-party
   11· ·voter registration group provided to you that were
   12· ·let's say impermissibly marked.· Do you recall that,
   13· ·sir?
   14· · · · A· · I do.
   15· · · · Q· · Would that be one of the few hiccups that
   16· ·you were referring to during the 2020 cycle?
   17· · · · A· · Yes, sir.
   18· · · · Q· · Sir, would you agree with me that we had a
   19· ·safe and secure election in 2020?
   20· · · · A· · Absolutely.
   21· · · · Q· · But would you also agree with me that
   22· ·there's no such thing as a perfect election?
   23· · · · A· · Unfortunately, I do have to agree with
   24· ·that.· And it's going to remain that way as long as
   25· ·humans are doing it, you know.


                           www.phippsreporting.com
                                (888) 811-3408                                 YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 196 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 195
   ·1· · · · Q· · Yes, sir.· Supervisor Hays, as we were
   ·2· ·talking about the changes made to Senate Bill 90
   ·3· ·during the legislative process, there was your
   ·4· ·testimony before the legislature in early March that
   ·5· ·was discussed.· And as part of that testimony there
   ·6· ·were some discussion about your elderly mother being
   ·7· ·able to vote.· Do you recall that, sir?
   ·8· · · · A· · Absolutely.
   ·9· · · · Q· · Do you know whether or not your elderly
   10· ·mother will be able to vote in the upcoming election
   11· ·assuming, God willing, she is with us?
   12· · · · A· · Well, we pray every day that she's with us
   13· ·and come February she'll hit a hundred.· You're
   14· ·invited to her party, all of you, who want to come.
   15· · · · · · ·For me it'll be the first time I've ever
   16· ·been to a hundred-year-old birthday party, but
   17· ·nevertheless.· Let's keep it professional, Alan.
   18· · · · · · ·As far as I can see it, the way Senate
   19· ·Bill 90 is structured, the way it passed and has
   20· ·been implemented, I don't see anything in there that
   21· ·would prohibit her from voting.
   22· · · · Q· · Okay.
   23· · · · A· · Truth be known, she drives to the polling
   24· ·place and votes in person.
   25· · · · Q· · Good for her.


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 197 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 196
   ·1· · · · A· · Still driving in the daytime.
   ·2· · · · Q· · Supervisor Hays, as we are continuing to
   ·3· ·talk about how voters return vote-by-mail ballots, I
   ·4· ·want to -- well, strike that, please.
   ·5· · · · · · ·So your elderly mother goes to polls and
   ·6· ·votes, like a lot of people.· And when you go to the
   ·7· ·polls and vote, there is 150-foot nonsolicitation
   ·8· ·zone that applies.· That's my understanding.· Is
   ·9· ·that your understanding as well, Supervisor Hays?
   10· · · · A· · Yes, sir.
   11· · · · Q· · And within that 150-foot nonsolicitation
   12· ·zone, do you allow any interaction by third-party
   13· ·groups, political parties, with the voters?
   14· · · · A· · No, sir.
   15· · · · · · ·MS. SIVALINGAM:· Objection, asked and
   16· · · · answered.
   17· ·BY MR. JAZIL:
   18· · · · Q· · And if someone wanted to get a bottle of
   19· ·water while they're waiting in line, how would they
   20· ·go about doing that?· It's a hot day, they're
   21· ·thirsty, they really need a drink.· How would your
   22· ·staff or anyone else help that person out and assist
   23· ·them in line?
   24· · · · A· · My suggestion is that, number 1, the only
   25· ·part of my staff that's going to be out there is the


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 198 of 316
 Alan Hays
 October 06, 2021

                                                                     Page
                                                                       g 197
   ·1· ·poll deputy who is in charge of maintaining decorum
   ·2· ·there inside that 150-foot mark and in the polling
   ·3· ·place itself.· And we don't make a habit of going
   ·4· ·around asking people do you need water, do you need
   ·5· ·food or anything like that.
   ·6· · · · · · ·Folks are welcome to bring their own
   ·7· ·beverages with them if they'd like.· But if there is
   ·8· ·a party or any group or any individual that wants to
   ·9· ·provide water or hot dogs or hamburgers or whatever
   10· ·they want, you can set up a barbecue stand out there
   11· ·at 151 feet away from the door.· You can set up a
   12· ·beer tent if you want to 151 feet away from the
   13· ·door.
   14· · · · · · ·Outside of that 150-foot mark, I don't
   15· ·have any control.· But inside the 150-foot zone,
   16· ·there's no solicitation, there's no appearance of
   17· ·solicitation.· The only people allowed to interact
   18· ·there are the voters themselves and, as I mentioned
   19· ·earlier this morning or sometime in the day, exit
   20· ·polling.
   21· · · · Q· · Okay.· And so suppose someone is waiting
   22· ·in line and they're elderly and they're having a
   23· ·hard time just standing up in line.· How would your
   24· ·staff deal with that situation, sir?
   25· · · · A· · If we become aware of it, we would


                           www.phippsreporting.com
                                (888) 811-3408                                 YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 199 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 198
   ·1· ·certainly do whatever the judgment of that
   ·2· ·particular election worker deems appropriate for
   ·3· ·that time.· We could get them a chair, we could
   ·4· ·invite them to come in, sit down in the shade or
   ·5· ·something and wait their turn or something.
   ·6· · · · · · ·There's -- those type of forecast things,
   ·7· ·Mo, are just really limitless and you just have to
   ·8· ·rely on people.· And, of course, the obvious best
   ·9· ·thing to do is set up your polling place so that you
   10· ·don't have those big long lines.· But in spite of
   11· ·your best efforts, sometimes these things are going
   12· ·to occur.
   13· · · · · · ·But we just have to understand, if
   14· ·somebody is there and, you know, if it's a physical
   15· ·need, we're going to certainly address it.· But if
   16· ·it's something somebody just says, I want a drink of
   17· ·water or I want a Pepsi or something like that, then
   18· ·fine, ask the person in line next to you, hey, hold
   19· ·my place, I'm going to get a drink.· You want me to
   20· ·bring you back a bottle too?· And then take off and
   21· ·then come back and get your place in line.· It's not
   22· ·rocket science.
   23· · · · Q· · And is that how you administered your
   24· ·elections in 2020?
   25· · · · A· · Sure.


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 200 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 199
   ·1· · · · Q· · And in 2018?
   ·2· · · · A· · Sure.
   ·3· · · · Q· · And is that how you plan on administering
   ·4· ·your elections in 2022?
   ·5· · · · A· · Sure.
   ·6· · · · Q· · Okay.· Supervisor Hays, I'd like to turn
   ·7· ·your attention to an exhibit that I have and I'd
   ·8· ·like to ask a few questions about it.· This is the
   ·9· ·file titled "REUSPSOIG recovered ballots."
   10· · · · A· · Do I have that?
   11· · · · Q· · You should.· Or I could just share screen.
   12· ·Did that work out all right for you last time I did
   13· ·it, sir?
   14· · · · A· · Worked out fine.
   15· · · · Q· · Okay.· If you wouldn't mind just taking a
   16· ·minute, Supervisor Hays, to take a look at this.
   17· ·This is an e-mail from March 2021 regarding a U.S.
   18· ·postal service investigation and I'll scroll down so
   19· ·you see the first e-mail in the chain.
   20· · · · · · ·And if I scroll down some more, sir, to
   21· ·the last page, your name is there -- misspelled, my
   22· ·apologies, but it's misspelled.· And this e-mail
   23· ·references certain recovered unopened ballots in
   24· ·Illinois.· Do you recall what this investigation was
   25· ·about, Supervisor Hays?


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 201 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 200
   ·1· · · · A· · No, sir.
   ·2· · · · Q· · Has the U.S. Postal Service contacted you
   ·3· ·at all about these unopened ballots that were sent
   ·4· ·to Illinois?
   ·5· · · · A· · Not that I recall.
   ·6· · · · Q· · Okay.
   ·7· · · · · · ·MR. JAZIL:· Can we mark this as 13 (sic.)
   ·8· · · · · · ·(Exhibit 14 was marked for
   ·9· · · · identification.)
   10· ·BY MR. JAZIL:
   11· · · · Q· · And, Supervisor Hays, I wanted to ask you
   12· ·about it because I don't know what that
   13· ·investigation is about and I figured I'd ask since I
   14· ·had a chance.
   15· · · · · · ·Sir, I'd like to talk a bit more about
   16· ·drop boxes now.· It's an issue that's been the
   17· ·subject of a lot of questions here and I've got a
   18· ·few of my own.
   19· · · · · · ·Exhibit 3 is the picture of the drop box
   20· ·that y'all have, the 24-hour drop box?· Do you --
   21· · · · A· · Right.
   22· · · · Q· · Okay.· So -- yeah, go ahead, Supervisor
   23· ·Hays?
   24· · · · A· · It's the white one, not the blue one?
   25· · · · Q· · Yes, sir, the white one.


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 202 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 201
   ·1· · · · A· · Okay.
   ·2· · · · Q· · And I'm just a little confused about the
   ·3· ·drop box conversation in general.· Based on your
   ·4· ·testimony from earlier today, it sounded like your
   ·5· ·county has been using drop boxes since at least
   ·6· ·2017.· Is that correct?
   ·7· · · · A· · I believe the first time we used it was in
   ·8· ·2018, because, see, I came into office in January of
   ·9· ·2017 and we didn't move over here into this building
   10· ·where we are now until 2018.
   11· · · · · · ·And there again, I would have to go back
   12· ·and look at the record, but my best recollection is
   13· ·in 2018 for the primary election we were in this
   14· ·building and that was the first time that we used
   15· ·the drop box out there.· And it was famously
   16· ·successful.
   17· · · · Q· · Okay.· And was that a 24-hour drop box in
   18· ·2018 as well, sir?
   19· · · · A· · Yes, sir.
   20· · · · Q· · And in 2018, did the drop box have the
   21· ·three camera video monitoring set that you
   22· ·described?
   23· · · · A· · Yes, sir.
   24· · · · Q· · And was the drop box shaped the same way
   25· ·with the lid, as you described it, to make it


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 203 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 202
   ·1·
    1· ·difficult to put liquids in?
   ·2· · · · A· · Yes, sir, there have been no structural
   ·3· ·alterations to that drop box since the day it first
   ·4· ·went out there.
   ·5· · · · Q· · And, Supervisor Hays, I know you're pretty
   ·6· ·active with the state association.· Do you know
   ·7· ·whether other supervisors of elections have a
   ·8· ·similar drop box design to limit liquids?
   ·9· · · · A· · Yes, sir, they do.· And when I say it's
   10· ·similar, we have to emphasize similar, not
   11· ·identical.
   12· · · · Q· · Okay.
   13· · · · A· · But there are multiple designs that have
   14· ·been used very successfully in several other
   15· ·counties around -- as a matter of fact, I copied my
   16· ·design from St. Johns County.
   17· · · · · · ·And Citrus County just recently, last
   18· ·year, moved into a former bank building and their
   19· ·drop box was built in when the building was
   20· ·constructed.· It was a night depository for the
   21· ·bank.· And now that -- even that box has to be
   22· ·manned by an employee of the office if it's going to
   23· ·be in compliance with Senate Bill 90, which is now
   24· ·state law.
   25· · · · · · ·But short answer to your question, yes,


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 204 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 203
   ·1·
    1· ·Mo, there's a lot of -- there are -- there's
   ·2· ·several, anyhow, other offices that use the drop
   ·3· ·boxes successfully.
   ·4· · · · Q· · But not all of them use a similar design?
   ·5· · · · A· · Oh, as far as I know, my mine is the only
   ·6· ·one designed exactly like that.
   ·7· · · · Q· · Yes, sir.· And my understanding is you
   ·8· ·spoke to a librarian and designed your drop box this
   ·9· ·way to prevent liquids from being thrown into the
   10· ·drop box.· Is my understanding correct, sir?
   11· · · · A· · That's correct, yes, sir.
   12· · · · Q· · And, Supervisor Hays, in just looking at
   13· ·the picture of the drop box, could someone take fire
   14· ·crackers, light them and throw them in the drop box?
   15· · · · · · ·MS. SIVALINGAM:· Objection.· Sorry, keep
   16· · · · going.· I want you to finish your question, Mo,
   17· · · · sorry.
   18· · · · · · ·MR. JAZIL:· Sure.
   19· · · · A· · I don't recall who the -- who the famous
   20· ·philosopher was that said a fool is born every day,
   21· ·but that -- I guess the imagination of one would be
   22· ·the limit as to what they might try.
   23· ·BY MR. JAZIL:
   24· · · · Q· · Sure.· And, Supervisor Hays, I'm obviously
   25· ·concerned about drop box security from my client's


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 205 of 316
 Alan Hays
 October 06, 2021

                                                                     Page
                                                                       g 204
   ·1· ·perspective.· So I am asking these questions and I
   ·2· ·do appreciate your perspective on them.· And ...
   ·3· · · · A· · Well, let me point out, Mo, that every --
   ·4· ·literally every single U.S. Postal Service drop box
   ·5· ·I've ever seen, you could drop a cherry bomb in,
   ·6· ·much less a firecracker.· So what's your point?
   ·7· · · · Q· · Sure.· Sure.· And that's worth exploring,
   ·8· ·Supervisor Hays.
   ·9· · · · · · ·Is it your understanding that the
   10· ·mailboxes that we have for the U.S. Postal Service
   11· ·have mail other than ballots in them?
   12· · · · A· · Well, that's a known fact.
   13· · · · Q· · Okay.· And your drop boxes, do they have
   14· ·anything other than ballots in them?
   15· · · · A· · I don't recall getting anything other than
   16· ·elections related information.·
                          information   We have had some
   17· ·people put their voter registration applications in
   18· ·there.· But it came there because it was supposed to
   19· ·come to us, you know.
   20· · · · · · ·But I'm not aware of any, shall we say
   21· ·malicious mail or any goopy mail that -- now, we
   22· ·have had -- crazy thing.· We have had people drop
   23· ·their return envelopes in there that were destined
   24· ·for Orange County instead of Lake County, but they
   25· ·were ballots nevertheless.


                           www.phippsreporting.com
                                (888) 811-3408                                 YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 206 of 316
 Alan Hays
 October 06, 2021

                                                                     Page
                                                                       g 205
   ·1· · · · · · ·But to your point, I think with the mixed
   ·2· ·bag, so to speak of mail pieces in a postal service
   ·3· ·box as that in a supervisor's box, we -- all the
   ·4· ·mail that we have gotten so far has been elections
   ·5· ·related.· We've not had anything that was not
   ·6· ·related to elections to my knowledge.
   ·7· · · · Q· · So if I drop a cherry bomb in your drop
   ·8· ·box, I would burn election related materials?
   ·9· · · · · · ·MS. SIVALINGAM:· Objection to form.· Calls
   10· · · · for speculation.
   11· ·BY MR. JAZIL:
   12· · · · Q· · And you can go ahead and answer.
   13· · · · · · ·MR. JAZIL:· And, Counsel, can we limit the
   14· · · · speaking objections.· If I want to know what
   15· · · · the reason is, I'll ask?· Let's just object to
   16· · · · form.
   17· · · · · · ·MS. SIVALINGAM:· Oh, sure.· Absolutely.
   18· · · · Apologies.· But if -- but I will say -- sorry,
   19· · · · Mo.· If you all could give me and the other
   20· · · · plaintiffs an opportunity to object so that
   21· · · · we're not all speaking over each other, I would
   22· · · · appreciate that.
   23· ·BY MR. JAZIL:
   24· · · · Q· · Supervisor Hays, do you remember my
   25· ·question?


                           www.phippsreporting.com
                                (888) 811-3408                                 YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 207 of 316
 Alan Hays
 October 06, 2021

                                                                     Page
                                                                       g 206
   ·1· · · · A· · Yes, I do.· And directly, I don't think
   ·2· ·you can get a cherry bomb in that narrow slip.
   ·3· · · · Q· · What about firecrackers?
   ·4· · · · A· · Oh, yeah.
   ·5· · · · · · ·MS. SIVALINGAM:· Objection to form.
   ·6· · · · A· · Firecrackers would go in it, and possibly
   ·7· ·TNT bombs because of their structure.· But the
   ·8· ·cherry bombs as I remember are about yay big around
   ·9· ·and I don't think one would fit in that narrow slit.
   10· ·BY MR. JAZIL:
   11· · · · Q· · Fair enough.· And Supervisor Hays, I
   12· ·noticed on the picture that that drop box was bolted
   13· ·down with four screws on the ground.· Is that
   14· ·understanding correct based on the pictures?
   15· · · · A· · That is correct.· And it's got a big wad
   16· ·of concrete on the bottom of it too and that
   17· ·concrete is reinforced with steel in there.
   18· · · · Q· · Okay.· So if I were to throw a chain
   19· ·behind my truck and try to drive off with it, what
   20· ·would happen?
   21· · · · · · ·MS. SIVALINGAM:· Objection to form.
   22· · · · A· · Your guess is as good as mine.· I've never
   23· ·thought about that.
   24· ·BY MR. JAZIL:
   25· · · · Q· · Okay.


                           www.phippsreporting.com
                                (888) 811-3408                                 YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 208 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 207
   ·1· · · · A· · It would be speculative.
   ·2· · · · Q· · Okay.· And --
   ·3· · · · A· · One thing about it, you would be on
   ·4· ·camera, though.
   ·5· · · · Q· · I would be on camera, but my understanding
   ·6· ·of your testimony is if I come with the passenger's
   ·7· ·side facing the drop box, you wouldn't get my
   ·8· ·license plate, would you?
   ·9· · · · A· · That's right.
   10· · · · Q· · All right.
   11· · · · A· · I'd see your bald head, though.
   12· · · · Q· · I'll wear a hat, Supervisor Hays.
   13· · · · · · ·But let me explore that some more.· So in
   14· ·2020, my understanding is y'all had a contract
   15· ·security guard waiting out there looking at the drop
   16· ·box, the 24-hour drop box, is that correct?
   17· · · · A· · That's correct.
   18· · · · Q· · And correct me if I'm wrong, my
   19· ·understanding of your testimony earlier today is
   20· ·that you don't feel comfortable using a contract
   21· ·security guard because you don't consider that
   22· ·contract security guard an employee of the
   23· ·supervisors of elections office.· Is my
   24· ·understanding correct, sir?
   25· · · · A· · That's correct.


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 209 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 208
   ·1· · · · Q· · If you had some comfort that that contract
   ·2· ·security guard is an employee of the supervisors of
   ·3· ·elections office, would you consider keeping the
   ·4· ·24/7 drop box as it is with the security guard
   ·5· ·outside?
   ·6· · · · · · ·MS. SIVALINGAM:· Objection to form.
   ·7· · · · A· · You know, that would be purely a fiscal
   ·8· ·decision.· I would have to look at it to decide, you
   ·9· ·know, at probably $18 an hour for 24 hours a day,
   10· ·I'm not that good at math in the head, but
   11· ·nevertheless it's a big chunk of money.· And I
   12· ·just -- frankly, I think it would be a poor
   13· ·utilization of taxpayer dollars.
   14· ·BY MR. JAZIL:
   15· · · · Q· · If you could make the money work, would
   16· ·you do it?
   17· · · · · · ·MS. SIVALINGAM:· Objection to form.
   18· · · · A· · No, I'm sorry, Mo.· That one I can't
   19· ·answer because if you could make the money work?
   20· ·How are you going to make it work?· Somebody going
   21· ·to slip it in my back pocket?· Are you going to
   22· ·sweet talk the county commissioners into giving me
   23· ·more money?
   24· · · · · · ·I'm sorry, that one, I think, is too
   25· ·vague.


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
         Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 210 of 316
          Alan Hays
          October 06, 2021

                                                                              Page 209
            ·1· ·BY MR. JAZIL:
            ·2· · · · Q· · I understand.· Supervisor Hays, I'd like
            ·3· ·to turn your attention to a document titled "Request
            ·4· ·for production number 6," the drop off process your
            ·5· ·office provided.· And I will share my screen so that
            ·6· ·you can see it with me.
            ·7· · · · · · ·Sir, do you recall this --
            ·8· · · · A· · Yes, sir.
            ·9· · · · Q· · It's titled "Vote-by-mail drop off
            10· ·process."· Is this a process your office follows?
            11· · · · A· · Yes, sir.· We originated it as far as I
            12· ·recall.
            13· · · · Q· · Yes, sir.
            14· · · · · · ·MR. JAZIL:· Sandi, could we go ahead and
            15· · · · mark this as the next numbered exhibit, 14.
            16· · · · · · ·(Discussion off the record.)
            17· · · · · · ·MR. JAZIL:· So the prior one is 14, this
            18· · · · is 15.
            19· · · · · · ·(Exhibit 15 was marked for
            20· · · · identification.)
            21· ·BY MR. JAZIL:
            22· · · · Q· · So, Supervisor Hays, here we have got a
Ex.15       23· ·drop off process that your office, as you just said,

P= 802      24· ·originated.· And this process requires among other
            25· ·things that an election worker verify that the


                                    www.phippsreporting.com
                                         (888) 811-3408                                  YVer1f
            Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 211 of 316
             Alan Hays
             October 06, 2021
D=Defendants
                                                                                 Page
                                                                                   g 210
offer Hays Ex.
15 (Trial Ex.
                  ·1· ·vote-by-mail ballot is sealed, an election worker
183) not for
the truth of
                  ·2· ·verify that the back of the envelope has a
the matter
                  ·3· ·signature.· Do you see those two provisions, sir?
asserted by the
policy, but       ·4· · · · A· · Sure.
only for the
existence of a    ·5· · · · Q· · And is this the policy that your office
policy;
Supervisor Hays   ·6· ·follows?
testified based
on has personal   ·7· · · · A· · Absolutely.
knowledge that
the policy was    ·8· · · · Q· · And does this policy require there to be
followed.
                  ·9· ·an actual human being there to ensure that the
Alternatively,
it is a record    10· ·envelope is sealed and the envelope has a signature?
kept and
maintained in     11· · · · A· · Of course.
the course of a
regularly         12· · · · Q· · Sir, have your constituents commented at
conducted
activity of a     13· ·all to you about your staff ensuring that their
business,
organization,     14· ·envelope is sealed or that the envelope has a
occupation, or
calling under
                  15· ·signature?
FRE 803(6).
                  16· · · · A· · None of them have commented, that I'm
                  17· ·aware of, to me on those specific things.· I have
                  18· ·had several favorable comments about the overall
                  19· ·chain of custody beginning right there at the drop
                  20· ·box.· I don't recall any negative feedback that we
                  21· ·have gotten from this process.
                  22· · · · · · ·But if I may go a little bit further, you
                  23· ·see what all is involved here.· This is in the early
                  24· ·voting site or here in our office.· And for me to
                  25· ·expect a contract security guard to be out there at


                                       www.phippsreporting.com
                                            (888) 811-3408                                 YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 212 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 211
   ·1· ·11:30 at night or 4:30 in the morning doing this
   ·2· ·sort of stuff is preposterous.
   ·3· · · · · · ·And so that would be a huge negative, to
   ·4· ·answer your previous question about if money were no
   ·5· ·object, my paraphrasing of your question.· No, we're
   ·6· ·not -- I just don't -- I just don't foresee parking
   ·7· ·an employee of my office or a rent-a-cop out there
   ·8· ·to do this kind of detailed paperwork.
   ·9· · · · Q· · Okay.· But this process that you have,
   10· ·Supervisor Hays, how does this align with the four
   11· ·goals that y'all have?· Does this help voter
   12· ·confidence, does this promote excellent service
   13· ·or -- can you ...
   14· · · · A· · Yes, sir.· It helps in every way.
   15· · · · Q· · Okay.· And help me understand how this
   16· ·promotes voter confidence?
   17· · · · A· · Well, they realize, as I mentioned earlier
   18· ·today, when they come up, they know that somebody is
   19· ·there keeping an eye on that box.· It's not just a
   20· ·naked box sitting out there and different people can
   21· ·come plop different things in it.
   22· · · · · · ·And we explain to them that the chain of
   23· ·custody for this -- your ballot begins right here
   24· ·with the completion of this data.· And so we fill
   25· ·out those forms there, and then we tell them that


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 213 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 212
   ·1· ·tonight that ballot will be in the supervisor's
   ·2· ·office in Tavares under camera surveillance and
   ·3· ·nobody is going to tinker with it until we start the
   ·4· ·processing of it, the signature verification and all
   ·5· ·that.
   ·6· · · · · · ·If that doesn't enhance their confidence,
   ·7· ·we don't need to worry about confidence on that
   ·8· ·person's part.
   ·9· · · · Q· · And then, Supervisor Hays, in answering my
   10· ·last question you talked about the security guard
   11· ·monitoring your 24/7 drop box.· Do you have a sense
   12· ·of how many people use your 24/7 drop box after
   13· ·business hours during the last election cycle?
   14· · · · A· · Quite a few.· Quite a few.· Gracious.· You
   15· ·come in on a Monday morning and you can see a whole
   16· ·bunch of them that have accumulated over the
   17· ·weekend.· And sometimes just overnight you may have
   18· ·20 or 30 in the box, you know.
   19· · · · Q· · Okay.· So when I say after business hours,
   20· ·I meant that to be after 5:00 p.m.· Is that your
   21· ·understanding of after business hours as well?
   22· · · · A· · Yes, sir.
   23· · · · Q· · And you talked about the weekend.· So from
   24· ·5:00 p.m. on Friday evening to Monday morning, when
   25· ·would your staff check that 24/7 drop box to check


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 214 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 213
   ·1· ·how many ballots accumulated over the weekend?
   ·2· · · · A· · Monday morning probably about 9 o'clock.
   ·3· · · · Q· · Okay.· So from Friday 5:00 to Monday at
   ·4· ·9:00, you would have, as you put it, quite a few
   ·5· ·ballots accumulate in there?
   ·6· · · · A· · Oh, yeah, I personally have seen over a
   ·7· ·hundred.
       ·hundred.
   ·8· · · · Q· · Okay.· Do you know how many of those
   ·9· ·ballots were put into the drop box between say
   10· ·8:00 p.m. Friday night and 8:00 a.m. Saturday
   11· ·morning?
   12· · · · A· · No.
   13· · · · Q· · Do you have any way to find out how many
   14· ·people put in ballots during those twilight hours,
   15· ·let's call them that?
   16· · · · A· · We can go back and look at the video and
   17· ·see how many vehicles went by but we couldn't see
   18· ·how many ballots they put in.· They may put in one
   19· ·or they may put in two or three.
   20· · · · Q· · Okay.· And my understanding of your
   21· ·testimony with my friends earlier today was of the
   22· ·people who are using that 24/7 drop box, you could
   23· ·not speculate as to how many would choose to use
   24· ·other drop boxes around the county.· Is my
   25· ·understanding correct, sir?


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 215 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 214
   ·1· · · · A· · I'm not sure that I recall a question even
   ·2· ·of that type, but to give you a straight answer,
   ·3· ·I've never given it any thought.· If people bring it
   ·4· ·here, they bring it here.· If they want to take it
   ·5· ·somewhere else, they take it there.
   ·6· · · · · · ·I mean, I got important things to do.                   I
   ·7· ·don't sit around and try to figure out people's
   ·8· ·motives in doing stuff that is within the law.                    I
   ·9· ·don't even try to figure out why they do it outside
   10· ·the law.· It's worthless to me.· I try to devote my
   11· ·energy to things that are productive.
   12· · · · Q· · Sure.· So you don't know how many people
   13· ·who use that 24/7 drop box would use other drop
   14· ·boxes in the county?
   15· · · · · · ·MR. NASSERI:· Object to form.
   16· · · · A· · Oh, I don't know.
   17· ·BY MR. JAZIL:
   18· · · · Q· · Okay.
   19· · · · A· · I mean, one could say, gracious sakes,
   20· ·every one of them could be put in a postal service
   21· ·drop box; we could just do away with all our drop
   22· ·boxes completely.
   23· · · · · · ·But, no, I'm sorry.· That one there is out
   24· ·of the ballpark, I think.
   25· · · · Q· · Fair enough.· Supervisor Hays, I'm going


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 216 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 215
   ·1· ·to share with you two other exhibits that I have.
   ·2· · · · · · ·Okay.· Supervisor Hays, take a minute to
   ·3· ·look at this e-mail that you sent on Thursday,
   ·4· ·September 10th, 2020.
   ·5· · · · A· · Right.
   ·6· · · · Q· · To Maria Matthews?
   ·7· · · · A· · Right.
   ·8· · · · Q· · You asked her a drop box question in that
   ·9· ·e-mail, is that correct?
   10· · · · A· · Yes, sir.
   11· · · · Q· · Okay.
   12· · · · A· · And shame on me, I put a period instead of
   13· ·a question mark.· "Are we allowed to place drop
   14· ·boxes at sites suitable for early voting before
   15· ·early voting begins."
   16· · · · Q· · Yes.
   17· · · · A· · "Possibility being considered is to begin
   18· ·drop box access on October 1st while early voting
   19· ·begins October 19."
   20· · · · · · ·MR. JAZIL:· So, Sandi, can we go ahead and
   21· · · · mark this as next exhibit.
   22· · · · · · ·(Exhibit 16 was marked for
   23· · · · identification.)
   24· ·BY MR. JAZIL:
   25· · · · Q· · Do you recall sending that e-mail,


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 217 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 216
   ·1· ·Supervisor Hays, to Maria Matthews?
   ·2· · · · A· · Sure.
   ·3· · · · Q· · Let's take a look at the next exhibit.
   ·4· ·This is an e-mail that you sent September 16th to
   ·5· ·Brad McVay?
   ·6· · · · A· · Yeah.
   ·7· · · · Q· · And if we scroll down we see a series of
   ·8· ·questions related to drop boxes on page 2, is that
   ·9· ·correct, sir?
   10· · · · A· · Yes, sir.
   11· · · · · · ·MR. JAZIL:· And, Sandi, can we go ahead
   12· · · · and mark this as the next sequential exhibit.
   13· ·BY MR. JAZIL:
   14· · · · Q· · So, Supervisor Hays, here's my question:
   15· ·You mentioned earlier in your testimony that you got
   16· ·some guidance from Brad McVay about drop boxes
   17· ·before the 2020 election.· In that guidance did Brad
   18· ·McVay attempt to answer the questions that you and
   19· ·other supervisors posed about drop boxes?
   20· · · · A· · As I recall, Mr. McVay sent us -- to all
   21· ·supervisors -- a -- for lack of a better word --
   22· ·directive or legal opinion -- I don't know what the
   23· ·fancy word for it would be.· But anyway, he sent us
   24· ·a notification that the drop boxes had to be
   25· ·monitored by employees of our office.· And that was


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 218 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 217
   ·1· ·the extent of it.
   ·2· · · · · · ·The -- you see, my objective in proposing
   ·3· ·that we use sites that were suitable for early
   ·4· ·voting such as city halls, fire stations, police
   ·5· ·departments, other government buildings, libraries,
   ·6· ·things like that, that statutes allow us to put
   ·7· ·early voting sites in those.
   ·8· · · · · · ·But yet here, I had this drop box out
   ·9· ·front for access to the voters and the drop box in
   10· ·my business office here was accessible to the voters
   11· ·before early voting began.· And I was looking for a
   12· ·way to expand that to the rest of the county.· And
   13· ·my efforts fell into the creek.· That's a country
   14· ·saying we have out here in hinterlands.
   15· · · · · · ·But Brad says, no, you got to have
   16· ·employees and this and that and the other.· I guess
   17· ·you probably have Brad's reply to us as well that
   18· ·you probably wanted to enter as an exhibit.
   19· · · · Q· · I'll let Brad's reply speak for itself.                 I
   20· ·just wanted to see whether or not Brad answered your
   21· ·questions in his memo and ...
   22· · · · · · ·MR. JAZIL:· Supervisor Hays, I think I may
   23· · · · be done.· If we can take just a five-minute
   24· · · · break and I'll confer with Mr. Meros here, make
   25· · · · sure I haven't missed something, maybe we can


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 219 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 218
   ·1· · · · come back then and I'll end with a question or
   ·2· · · · two and we'll be done from our perspective.· If
   ·3· · · · you could just take a five-minute break.
   ·4· · · · · · ·(A recess took place from 4:27 p.m. to
   ·5· · · · 4:35 p.m.)
   ·6· ·BY MR. JAZIL:
   ·7· · · · Q· · Okay.· Supervisor Hays, earlier today you
   ·8· ·testified that there are so many convenient ways to
   ·9· ·vote in Florida that there is absolutely no reason
   10· ·for someone to fail to register or vote in the
   11· ·state.· Do you recall that testimony, sir?
   12· · · · A· · I do.
   13· · · · Q· · Does that still hold true after passage of
   14· ·Senate Bill 90?
   15· · · · A· · Yes, sir.
   16· · · · · · ·MR. JAZIL:· I have no further questions.
   17· · · · · · ·Mr. Meros.
   18· · · · · · ·MR. MEROS:· Supervisor, George Meros.· And
   19· · · · it's better than my image isn't there anyway.
   20· · · · · · ·I have one question which is a statement
   21· · · · rather than a question and that is:· I win the
   22· · · · award for speaking to you without any questions
   23· · · · at all and I am quiet and done and have a good
   24· · · · evening.
   25· · · · · · ·THE WITNESS:· Thank you, Mr. Meros.


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 220 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 219
   ·1· · · · · · ·And, Mo, you get a half a point for
   ·2· · · · putting him on for that as well.
   ·3· · · · · · ·(Discussion off record.)
   ·4· · · · · · ·MR. BARDOS:· All right.· So Danielle and
   ·5· · · · Cyrus had a few more questions and then I think
   ·6· · · · we'll be just about done, unless Mo or George
   ·7· · · · has a final follow-up.
   ·8· · · · · · ·THE WITNESS:· All right.· Lay it on me.
   ·9· · · · Who goes first?
   10· · · · · · · · · · REDIRECT EXAMINATION
   11· ·BY MS. SIVALINGAM:
   12· · · · Q· · I'll go first.· And I certainly am not
   13· ·winning any awards in that, in the category that
   14· ·George is today.
   15· · · · A· · You get the award for the most, honey.
   16· · · · Q· · I know.· Okay, well, I'll take that.· But
   17· ·I only have one question.
   18· · · · A· · Okay.
   19· · · · Q· · Earlier today you discussed a situation
   20· ·where someone working for a third-party voter
   21· ·registration organization, Florida First, was
   22· ·alleged to have submitted several fraudulent voter
   23· ·registration applications.
   24· · · · · · ·To your knowledge, were any ballots
   25· ·improperly voted as a result of the alleged voter


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 221 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 220
   ·1· ·registration fraud that you described?
   ·2· · · · A· · No, ma'am.
   ·3· · · · · · ·MS. SIVALINGAM:· Thank you.· No further
   ·4· · · · questions from me.· And I do thank you for your
   ·5· · · · time today.
   ·6· · · · · · ·THE WITNESS:· Glad to do it.
   ·7· · · · · · · · · · RECROSS EXAMINATION
   ·8· ·BY MR. NASSERI:
   ·9· · · · Q· · Okay, Supervisor Hays, I have about one
   10· ·and a half minutes worth of questions, so bear with
   11· ·me.· I am going to quickly screen share something.
   12· ·Okay.
   13· · · · · · ·(Discussion off record.).
   14· ·BY MR. NASSERI:
   15· · · · Q· · I'm going to share this.· Can you see
   16· ·this, Supervisor Hays?
   17· · · · A· · Yes, I can.
   18· · · · · · ·MR. NASSERI:· Okay.· And, Sandi, I'd like
   19· · · · to enter this as exhibit number I believe is it
   20· · · · around 16 now?
   21· · · · · · ·THE STENOGRAPHER:· I believe we're 17.
   22· · · · · · ·(Exhibit 17 was marked identification.)
   23· ·BY MR. NASSERI:
   24· · · · Q· · Okay.· So this is a text message, I
   25· ·believe.· Does this look familiar to you at all?


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 222 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 221
   ·1·
    1· · · · A· · It sure does.
   ·2· · · · Q· · Okay.· And do you recall who you -- first
   ·3· ·of all, did you send this text message?
   ·4· · · · A· · If I didn't send that identical one, I
   ·5· ·certainly sent one very similar.· I do think that's
   ·6· ·the one I probably sent to Senate President Wilton
   ·7· ·Simpson.
   ·8· · · · Q· · Okay.
   ·9· · · · A· · Now, I may have sent that to two or three
   10· ·others legislators as well.· It certainly expresses
   11· ·my sentiments precisely.
   12· · · · Q· · Okay.· So the last sentence here you say,
   13· ·"Elimination of these is grossly inconvenient for
   14· ·many hundreds of voters."· Can you expand on what
   15· ·"these" refers to?
   16· · · · A· · Of course.· "These" refer to the drop
   17· ·boxes under video surveillance.
   18· · · · Q· · Okay.· And do you stand by this statement
   19· ·that it would be "grossly inconvenient for many
   20· ·hundreds of voters" to eliminate those?
   21· · · · A· · Absolutely.
   22· · · · Q· · Okay.· And I believe you said earlier that
   23· ·one of your -- the things that you aspire to is
   24· ·having essentially -- you know, ideally would be
   25· ·everyone voting in your county, is that correct?


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 223 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 222
   ·1· · · · A· · Yes, sir.
   ·2· · · · Q· · And do you think making voting grossly
   ·3· ·inconvenient for hundreds of voters works in
   ·4· ·furtherance of that goal?
   ·5· · · · · · ·MR. JAZIL:· Object to form.
   ·6· · · · A· · I don't think that the elimination of the
   ·7· ·video surveillance of drop boxes helps anybody.
   ·8· ·BY MR. NASSERI:
   ·9· · · · Q· · And do you think it's possible that
   10· ·people -- voters might be discouraged from voting if
   11· ·voting is not convenient?
   12· · · · · · ·MR. JAZIL:· Object to form.
   13· · · · A· · I don't -- I don't pretend to deal in the
   14· ·possible or the impossible.· The sad truth is many
   15· ·people choose not to vote and they have multiple
   16· ·reasons for doing so.
   17· · · · · · ·And as I've stated earlier today, it would
   18· ·be my desire that every eligible citizen registers
   19· ·and then takes the time to become an informed voter
   20· ·and then conveys those informed decisions on their
   21· ·ballot.
   22· ·BY MR. NASSERI:
   23· · · · Q· · Right.· But I guess just among the
   24· ·conversations and communications you've had with
   25· ·people in your county, is convenience a factor in


                           www.phippsreporting.com
                                (888) 811-3408                                  YVer1f
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 224 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 223
   ·1· ·whether people choose to vote or not?
   ·2· · · · · · ·MR. JAZIL:· Object to form.
   ·3· · · · A· · Cyrus, I'm sorry, but I can't get inside
   ·4· ·the head of the voters.
   ·5· ·BY MR. NASSERI:
   ·6· · · · Q· · Okay.
   ·7· · · · A· · We have -- we have polling places that are
   ·8· ·a hundred yards from somebody's front door and they
   ·9· ·won't walk that hundred yards to go and vote on
   10· ·election day, or even on early voting.· We have --
   11· ·the list could go on for the next two or three
   12· ·hours.
   13· · · · Q· · No, I understand that.· Okay.
   14· · · · · · ·MR. NASSERI:· Well, no further questions
   15· · · · from me.· Thank you, Supervisor Hays, I really
   16· · · · appreciate you bearing with us on this long
   17· · · · day.· That's all for me.
   18· · · · · · ·MR. BARDOS:· Thank you, Cyrus.· Anybody
   19· · · · else?· Was that George?
   20· · · · · · ·MR. MEROS:· Yeah.
   21· · · · · · ·MR. BARDOS:· Would you like to make
   22· · · · another statement?
   23· · · · · · ·Okay.· All right.· I think that's a wrap.
   24· · · · Thanks, everybody.· We will read.
   25· · · · · · ·(Proceedings concluded at 4:44 p.m.)


                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 225 of 316
 Alan Hays
 October 06, 2021

                                                                        Page 224
   ·1· · · · · · · · · · ·CERTIFICATE OF OATH

   ·2

   ·3· ·STATE OF FLORIDA· · · · ·)

   ·4· ·COUNTY OF LEON· · · · · ·)

   ·5

   ·6

   ·7

   ·8· · · · · · ·I, the undersigned authority, certify that

   ·9· ·ALAN HAYS remotely appeared before me on October 6,

   10· ·2021 and was duly sworn.

   11

   12· · · · · · ·SIGNED AND SEALED this 12th day of

   13· ·October, 2021.

   14

   15

   16

   17

   18

   19·   ·   ·   ·   ·   ·   ·   ·   ·   ·SANDRA L. NARGIZ, RPR, RMR, CRR, CCR
   · ·   ·   ·   ·   ·   ·   ·   ·   ·   ·snargiz@comcast.net
   20·   ·   ·   ·   ·   ·   ·   ·   ·   ·Commission #GG172788
   · ·   ·   ·   ·   ·   ·   ·   ·   ·   ·EXPIRES: APRIL 18TH, 2022
   21

   22

   23

   24

   25


                                     www.phippsreporting.com
                                          (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 226 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 225
   ·1· · · · · · · · · ·CERTIFICATE OF REPORTER

   ·2· ·STATE OF FLORIDA· · )

   ·3· ·COUNTY OF LEON· · · )

   ·4· · · · · · ·I, SANDRA L. NARGIZ, Registered

   ·5· ·Professional Reporter, certify that I was authorized

   ·6· ·to and did stenographically report the deposition of

   ·7· ·ALAN HAYS; that a review of the transcript was

   ·8· ·requested, and that the foregoing transcript, pages

   ·9· ·1 through 223, is a true record of my stenographic

   10· ·notes.

   11· · · · · · ·I further certify that I am not a

   12· ·relative, employee, attorney or counsel of any of

   13· ·the parties, nor am I a relative or employee of any

   14· ·of the parties' attorney or counsel connected with

   15· ·the action, nor am I financially interested in the

   16· ·action.

   17· · · · · · ·DATED this 12th day of October, 2021.

   18

   19

   20

   21· · · · · · · · · ·SANDRA L. NARGIZ, RPR, RMR, CRR, CRC
   · · · · · · · · · · ·Notary Public
   22· · · · · · · · · ·snargiz@comcast.net

   23

   24

   25


                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 227 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 226
   ·1
   · ·   ·October 12, 2021
   ·2
   · ·   ·ALAN HAYS
   ·3·   ·c/o· ANDRE V. BARDOS, ESQUIRE
   · ·   · · · andy.bardos@gray-robinson.com
   ·4

   ·5· ·RE:· League of Women Voters, et al., vs.
   · · · · · Secretary Lee, et al.
   ·6· · · · Case No.· 4:21 cv 186-MW/MAF

   ·7· ·Dear Supervisor Hays:

   ·8· ·Please take notice that on October 6, 2021, you gave
   · · ·your deposition in the above cause.· At that time
   ·9· ·you did not waive your signature.

   10·   ·The above-addressed attorney has ordered a copy of
   · ·   ·the transcript and will make arrangements with you
   11·   ·to read their copy.· Please execute the Errata
   · ·   ·Sheet, which can be found at the back of the
   12·   ·transcript, and have it returned to us at
   · ·   ·production@phippsreporting.com for distribution to
   13·   ·all parties.

   14·   ·If you do not read and sign the transcript within
   · ·   ·thirty (30) days, the original, which has already
   15·   ·been forwarded to the ordering attorney, may be
   · ·   ·filed with the Clerk of the Court.
   16
   · ·   ·If you wish to waive your signature now, please sign
   17·   ·your name to the blank at the bottom of this letter
   · ·   ·and return to the address listed below.
   18
   · ·   ·Very truly yours,
   19

   20·   ·Sandra L. Nargiz, RPR, CMR, CRR
   · ·   ·Phipps Reporting, Inc.
   21·   ·1551 Forum Place, Suite 200-E
   · ·   ·West Palm Beach, Florida· 33401
   22
   · ·   ·I do hereby waive my signature.
   23
   · ·   ·_____________________________
   24·   ·ALAN HAYS
   · ·   ·Job No.· 210346
   25


                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 228 of 316
 Alan Hays
 October 06, 2021

                                                                     Page 227
   ·1· · · · · · · · · · · · ERRATA SHEET

   ·2· · · ·DO NOT WRITE ON TRANSCRIPT - ENTER CHANGES HERE

   ·3·   ·In   Re:· League of Women Voters, et al., vs. Secretary
   · ·   · ·   · · · · · · · · · ·Lee, et al.
   ·4·   · ·   · · · · · Case No.: 4:21 cv 186-MW/MAF
   · ·   · ·   · · · · · · · · · · ALAN HAYS
   ·5·   · ·   · · · · · · · · · · October 6, 2021

   ·6· ·PAGE· ·LINE· · · · CHANGE· · · · · · · · · REASON
   · · ·____________________________________________________
   ·7· ·____________________________________________________

   ·8· ·____________________________________________________

   ·9· ·____________________________________________________

   10· ·____________________________________________________

   11· ·____________________________________________________

   12· ·____________________________________________________

   13· ·____________________________________________________

   14· ·____________________________________________________

   15· ·____________________________________________________

   16· ·____________________________________________________

   17· ·____________________________________________________

   18· ·____________________________________________________

   19·   ·Under penalties of perjury, I declare that I have
   · ·   ·read the foregoing transcript of my deposition and I
   20·   ·hereby swear that my testimony therein was true at
   · ·   ·the time it was given and is now true and correct,
   21·   ·including any corrections and/or amendments listed
   · ·   ·above.
   22

   23· ·____· · · · · · · ______________________________

   24· ·Date· · · · · · · ·ALAN HAYS
   · · ·Job No.· 210346
   25


                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 229 of 316
 Alan Hays
 October 06, 2021                                                               1

                       Exhibit 010 Hay                          60:22
      Exhibits         s                            0         11:30
                         8:19 123:18,                           211:1
   Exhibit 001 Hay                        00948
                         21 124:1
   s                                        143:5             11:35
                         126:21
     8:15 18:21,23                                              60:23
                                          07
                       Exhibit 011 Hay
     19:5,13                                149:10            11:44:36
                       s
   Exhibit 002 Hay                                              100:25
                         8:20 135:25
   s                                                1         12
                         136:1
     8:15 44:22                                                 31:12,14 45:3
                       Exhibit 012 Hay    1
     45:4                                                       63:15 71:2
                       s                      18:21,23
   Exhibit 003 Hay                                              134:2 141:5,
                         8:20 141:5,13        19:5,13 27:6
   s                                                            13 182:19
                       Exhibit 013 Hay        136:25 149:5      183:15 189:4
     8:16 50:18,19
                       s                      151:3 190:16
     53:9,10 64:9                                             12:48
                         8:21 151:25          196:24
     65:15 66:11                                                109:4
                         152:1 192:22     10
     94:17 200:19                                             13
                       Exhibit 014 Hay      11:16 36:25
   Exhibit 004 Hay                                              11:14 63:12
                       s                    46:7,16,22
   s                                                            70:25 151:25
                         8:21 200:8         47:1 110:10,
     8:16 54:12                                                 152:1 192:22
                       Exhibit 015 Hay      24 111:24
   Exhibit 005 Hay                                              200:7
                       s                    123:18,21
   s                                                          1356
                         8:22 209:19        124:1 126:21
     8:17 93:2,8                                                116:21
                                            178:5
     99:3              Exhibit 016 Hay
                                          100                 1367
                       s
   Exhibit 006 Hay                                              116:22
                         8:22 215:22        82:24 83:7
   s                                                          14
                       Exhibit 017 Hay    10:00
     8:17 100:6,11                                              63:14,18
                       s                    63:24 71:8
   Exhibit 007 Hay                                              128:24 200:8
                         8:23 220:22        186:4
   s                                                            209:15,17
                                          10:15
     8:18 110:15,                                             14-day
                                 $          9:1
     16,18                                                      128:16
                                          10th
   Exhibit 008 Hay     $18                                    15
                                            136:12 215:4
   s                     208:9                                  31:12,14
     8:18 118:16,                         11
                       $25,000                                  209:18,19
     18,20                                  135:21,23,25
                         104:19                               150-foot
                                            136:1 138:6
   Exhibit 009 Hay                                              130:22,25
                       $4                   186:4
   s                                                            131:3 196:7,
                         33:18
     8:19 118:23,                         11,000
                                                                11 197:2,14,
     24 119:3,9                             34:10
                                                                15
                                          11:29



                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 230 of 316
 Alan Hays
 October 06, 2021                                                               2

   151                 20                   84:4 89:21,25       64:24 68:25
     197:11,12           30:17,20           106:5 120:2         69:25 70:4
   16                    36:21 39:21        129:5,13            71:21 73:19
     32:4 215:22         64:16 212:18       130:2 168:13        76:23 77:14
     220:20            2004                 175:20 177:6,       78:12,16,17,
                         23:5               8,16,21             25 79:8 80:16
   16th
                                            194:5,16,19         81:12 82:6,14
     216:4             201
                                            198:24 207:14       89:20 90:6,15
   17                    157:8
                                            215:4 216:17        102:19 103:13
     134:2 220:21,     2010                                     105:7,25
                                          2021
     22                  23:20                                  200:20 201:17
                                            45:3 93:13
   17-year-olds        2011                 100:10 110:10       207:16
     32:5                149:12             111:25 143:17     24/7
   17th                2016                 181:7 192:24        64:6 67:25
     133:21,23           25:18 30:25        199:17              78:1 103:10
   18                    34:3,8           2022                  208:4 212:11,
     30:15,20          2017                 87:21 90:2,3,       12,25 213:22
     168:14              30:14 31:5         17 91:20            214:13
   18-year-olds          63:5,10            122:20,23         240
     32:5                70:10,17 79:1      131:22 159:17       34:5
                         201:6,9            199:4             25
   1898
     14:2              2018               2024                  23:10,11,13
                         27:18 29:11        26:7              25,000-dollar
   19
                         30:19 120:8      20th                  86:17,25
     27:18 30:16
                         168:8 199:1        122:20              87:10,19
     215:19
                         201:8,10,13,                           88:4,17,18
   1976                                   21
                         18,20
     34:18                                  157:8             26
                       2020                                     93:13
   1:30                                   21st
                         26:4 31:10,11
     109:5                                  154:13 192:23     268,000
                         34:8 37:13,15
                                          22                    34:2
   1st                   38:3,19,22
     215:18              40:21 41:1,        92:4              27
                         12,20 53:19      22-month              100:25 101:1
                         55:14,22           80:25               103:4
             2
                         60:9,12          23                  27th
   2                     62:15,20                               100:10
                                            10:25
       44:22 45:4        63:10,13,22
                                          24                  28
       84:3 111:12       65:4 68:10
                                            49:11 78:15         55:2
       168:10 190:16     70:6 71:13
       216:8                                91:10 208:9       29
                         76:14 78:13,
                                          24-hour               54:21,25 55:4
                         20,21 80:6


                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 231 of 316
 Alan Hays
 October 06, 2021                                                                 3

   2:03                3:40                   212:20,24       7:00
     103:4               181:22               213:3             51:20,24
   2:32                                                         52:25 53:3
     101:1                       4                  6           65:23

   2:39
                       4                  6                             8
     148:21
                           54:12 119:13       54:9 71:17
   2:45                    190:19             84:4 100:6,11   8
     148:22                                   209:4               71:16 118:16,
                       44,000
                         34:8,10          60                      18,20
             3                              34:17 64:19       80.28
                       45
                         65:9 107:22        185:7,22            38:23
   3
                                            186:6,8           80s
       50:18,19        457
       53:9,10 64:9      14:3             60,000                34:20
       65:15 66:11                          53:24             8:00
                       47
       94:17 152:18,     116:21           60-day                64:1,4 71:24
       21 190:17                            185:14              92:8 185:25
                       4:27
       193:3 200:19                       66                    213:10
                         218:4
   30                                       25:22             8:15
                       4:30
     28:21 64:16                          67                    143:17
                         211:1
     212:18                                 25:22 137:23      8:15:29
                       4:35
   30-course                                168:10,14           143:23
                         218:5
     27:10                                68
                       4:44
   309                                      54:1                        9
                         223:25
     138:6                                6:00
                                                              9
   30th                                     63:24 64:3,4
                                 5                                118:23,24
     143:17                                 71:8,15,17,24
                                                                  119:3,9 213:2
   31st                5                  6:30
                                                              9,000
     122:23                93:2,8 99:3      186:2
                                                                163:5 168:21
                           110:24 134:2
   32778                                  6:58                  169:3,11,24
     14:4              5,000                52:19               170:3,8,17
                         61:25 62:1                             171:18,21
   35
     14:9 65:11        50                           7           173:17
                         64:14,19                             90
   3728
                                          7
     165:23            540                                      13:9 21:17,24
                                              52:20 55:5
                         177:22 194:10                          42:4,5,6,11
   3:02                                       110:15,16,18
     100:9             5:00                                     43:9,21,22
                                          70,000                44:6 46:6,25
                         59:10 64:2
   3:32                                     54:1
                         185:25                                 47:15,16,23
     181:21


                             www.phippsreporting.com
                                  (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 232 of 316
 Alan Hays
 October 06, 2021                                                               4

     49:1 51:6         97                   186:15 191:25     accuracy
     86:18 87:10         34:16              194:20 195:8        17:4 33:14
     89:23 90:12,      9909                 205:17 210:7        35:24
     20,24 91:13,        152:5              218:9 221:21      accurate
     21 93:23                             absurd                17:9 33:10
                       9:00
     104:2,8,10                             85:14 86:5          38:10 45:15
                         213:4
     110:1,8                                144:14              54:22 57:17
     114:20,25         9:07
                                          accept                111:7 136:15,
     115:8,15,21,        93:13
                                            57:17 114:13        17 152:13
     25 117:11         9:53                                     185:2 190:17,
                                            115:5 117:10
     118:19 120:14       96:23                                  18
     122:3,9                              acceptable
                                            57:17             accurately
     125:7,9,16                  A                              22:7 111:22
     131:13,18                            access
     136:5 137:12      A-L-A-N              11:5,7 57:12      accustomed
     138:2 139:25        13:23              79:8 166:19         94:3 101:19
     141:19 147:19     a.m.                 215:18 217:9      achieve
     149:9,21            9:1 60:22,23     accessibility         139:14 147:8
     154:25              63:24 64:4         76:22 77:11       act
     158:10,14,15,       71:8 92:8                              179:18
                                          accessible
     16 159:3            100:25 143:17
                                            159:10 217:10     action
     160:19 161:2,       186:2 213:10
                                          accidental            152:25
     3,15 162:6        ability
     163:9 167:9,                           17:19             active
                         22:6 33:6
     24 169:5,23                          accommodation         202:6
                         89:13 115:2
     170:4 171:22                           152:25            activities
                         117:18 127:6,
     174:11 175:7                         accompanied           150:8
                         9 173:9
     176:20 180:10       183:18             54:8              activity
     187:5,8,21                                                 67:24 68:22
                       absolute           accomplish
     189:2 191:5                                                69:15,25
                         107:12             139:13
     193:13 195:2,                                              70:20 105:25
                       absolutely         accomplished
     19 202:23                                                  130:25
                         27:1 38:6          113:18
     218:14
                                                              actor
                         39:9 40:23       account
   90's                                                         69:21
                         41:14 45:21        39:18
     84:24 85:10
                         47:18 53:17                          actual
     109:11,21                            accountability
                         68:9 108:18                            25:1 95:18
     120:19 173:19                          111:24
                         113:3 114:16                           210:9
   90,000                                 accumulate
                         124:16 134:6                         ad
     53:22,25                               213:5
                         138:4 145:3                            144:18
   90s                   157:22 175:11    accumulated
                                                              add
     149:9               184:23 185:22      212:16 213:1
                                                                30:2 67:21


                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 233 of 316
 Alan Hays
 October 06, 2021                                                               5

     74:7 97:7         adopted              108:19 128:20     amendment
   added                 32:20              148:9 150:20        188:10
     34:8 116:12       advantage            155:9 169:7         189:15,24
                         58:10              192:14 200:22       190:9
   addition
                                            205:12 209:14     amendments
     183:13            advice
                                            215:20 216:11       188:21 189:8,
   additional            50:2 137:19
                                          Alachua               23 190:8
     108:13 147:23     affairs
                                            9:23              Americans
   address               111:2
                                          Alan                  12:24
     14:1 59:15        affect
                                            12:13,25          amiss
     93:22 151:1,        89:13 127:6,9
                                            13:20,21            117:20
     4,7,12            affected             18:21 19:23,
     159:12,22,23        105:3 168:22                         amount
                                            25 33:18
     160:14,16,17                                               89:16 122:21
                       affiliation          49:23 99:20
     161:4,7                                                    158:18
                         26:25              106:20 110:24
     166:16 198:15                                            amplification
                       affirm               124:15 195:17
   addressed                                                    162:16
                         12:6             alcohol
     155:21                                                   analogy
                       affirmed             22:10
   addresses                                                    137:7
                         12:14            alert
     154:5 175:16                                             analyze
                       afternoon            59:18
   adequate                                                     115:1
                         70:14 133:6      align
     103:25 107:6                                             and/or
                         157:4 181:25       211:10
   administer                                                   59:15
                       age                alive
     127:7,9                                                  Andy
                         82:8               45:13
   administered                                                 9:2 11:12
                       agendas            alleged
     198:23                                                     61:8 104:23
                         185:18             219:22,25
   administering                                                106:25 108:11
                       agree              Alliance              169:7
     68:18 190:18
                         52:17 101:9,       12:23
     199:3                                                    angle
                         15 102:16        allowed
   administration                                               67:14
                         103:11 124:14      131:4 142:23
     25:1,4 27:3         184:14                               annually
                                            153:17,18
     28:10,24            194:18,21,23                           128:5
                                            186:18 197:17
     87:20 135:4,                                             answering
                       agreement            215:13
     7,12 139:8                                                 157:10 212:9
                         99:12,16         allowing
     168:7,15
                       agriculture          86:4 96:3         answers
   administrative                                               17:2,8 18:12
                         34:19              144:3
     131:17                                                     19:19 20:11
                       ahead              alterations
   administrator                                                171:15
                         20:4 61:10         202:3
     41:4,20 135:8                                            anticipate
                         65:9,11



                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 234 of 316
 Alan Hays
 October 06, 2021                                                               6

     61:1              approached         association           16:2 17:14
   apologies             140:20             27:8 35:12,         18:1,5 19:21
     199:22 205:18     approaches           21,25 36:2,6,       20:7,10,19
                         67:24 73:24        17 46:8 90:4        21:8 110:19
   apologize
                                            125:18 140:19       157:5
     43:16 55:3        appropriately
                                            168:17 175:24     attorney's
     91:8                29:5
                                            176:19 182:25       117:20,23
   apparently          approved             187:23 188:1,       178:3
     98:18               132:19             5 202:6
                                                              attorneys
   appeal              approximately      assume                13:14 18:13
     90:5                34:2               17:23
                                                              audible
   appearance          April              assuming              17:8
     197:16              143:17             90:12 195:11
                                                              audience
   appearing           architect          astounding            189:11
     19:11               137:6,8,14         38:19
                                                              audit
   appears             areas              attached              40:11
     54:9                34:21              112:15
                                                              auditing
   application         argue              attachment            29:9
     48:2 56:20          149:22             143:3
     129:18                                                   audits
                       arrange            attain
     162:21,22                                                  38:9
                         57:3               27:15
     166:24,25                                                authentication
                       article            attempt
     174:4,6                                                    39:17
                         44:17 45:2,        112:13 125:18
     177:11                                                   authority
                         10,19 47:7         149:5,6
   applications          54:5,8,17,20                           117:18,19
                                            216:18
     129:7,11            55:5,8 56:14                         authorization
     150:9 176:11,                        attempted
                       Ashley                                   144:23
     20 177:20,23                           144:22
                         10:13                                averaged
     204:17 219:23                        attention
                       aspire                                   34:10
   applies                                  20:7 66:5
                         221:23             77:1 82:18        avoid
     196:8
                       assessment           184:11 192:17       17:10 96:10
   apply                                                        108:8
                         154:21             199:7 209:3
     129:12
                       assigned           attentive           award
   appointed                                                    218:22 219:15
                         72:13,22           28:24 30:8
     25:24
                       assist               33:5              awards
   appointments                                                 219:13
                         196:22           attest
     183:11 186:2
                       assistant            160:25            aware
   appreciation                                                 15:21 24:8
                         68:8             attorney
     76:22 77:13                                                32:8 62:14,18
                                            9:5 15:19



                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 235 of 316
 Alan Hays
 October 06, 2021                                                               7

     76:9 77:9           208:21 210:2       159:1,5,7,14        4,11 166:17
     84:18 85:17         213:16 218:1       160:16,20           196:3 199:9,
     109:19 129:8,     background           161:4 162:7,        23 200:3
     9,14,15             22:19 39:14        10,12 163:13        204:11,14,25
     130:12 139:17                          166:8 168:25        213:1,5,9,14,
                       bad
     140:15,17                              170:9,11            18 219:24
                         42:20 145:15
     145:4 149:21                           173:18,23         ballpark
     150:13 154:15     bag                  174:4 191:9,        167:11 214:24
     159:25              205:2              10 192:4
                                                              bank
     161:16,19,22      bald                 210:1 211:23
                                                                57:9 112:7
     162:1,14            207:11             212:1 222:21
                                                                202:18,21
     175:6 193:1       ballot             ballots
     197:25 204:20                                            banks
                         47:25 48:3,6,      40:3,4,8,10
     210:17                                                     112:4
                         8,9,18 49:3        44:19 48:21,
   awkward               51:6,13,14         23,24 50:25       bar
     17:19               52:2,4,8,15        51:7,8,19,23        57:5,11
                         54:22 55:12,       52:22 53:1,19     barbecue
          B              17 56:6 57:1       54:11 55:7          197:10
                         59:22 67:8,10      59:2 62:16,20     barber
   back                  72:16,24           63:1 65:1           78:2
     34:3 36:23          73:21 74:2,9,      67:18,23
                                                              Bardos
     38:3 47:3           23 76:4            68:17 70:21
                                                                9:2 11:14,18,
     50:22 52:8          79:14,16,19        72:15 73:8,18
                                                                20 19:25 20:4
     58:13,17 60:2       85:22 95:11        79:23 80:15,
                                                                61:4,9 74:8
     61:16 65:7,24       97:1 98:3          22,23 86:23
                                                                76:16 81:24
     69:9 70:11          101:20 109:8,      88:2 94:4
                                                                82:3 83:25
     74:20 80:13         21,23 113:19       95:16,24 96:9
                                                                84:9 91:25
     95:5,8,9            114:20             97:22 98:7,11
                                                                97:24 98:20
     98:24 99:22         119:18,20          99:6,13 100:2
                                                                103:15 104:9,
     103:2 124:19        120:2,8,11,15      103:19 105:17
                                                                16,24 105:9
     126:21,25           121:2,6,13,        109:11,13,17
                                                                106:12,16,20,
     133:18 140:11       18,19 122:4,       110:2,3
                                                                23 107:7,18,
     142:15 144:19       10 123:13          113:18,23
                                                                23 108:5,19
     145:7 146:21        126:16 142:5,      114:3,7,13,
                                                                110:23 115:9
     148:12,25           12,21 144:16       18,19 115:5,
                                                                117:12 118:2,
     149:8,9,11,15       146:16,18          18 117:7,9,10
                                                                19 128:19
     151:15 157:1        147:17 148:7       119:23 125:9
                                                                132:13 133:1
     162:5,23            151:15 152:21      126:13 127:8
                                                                139:19 141:9,
     175:13 176:24       153:13,16          128:17
                                                                20 146:2
     180:20 181:1        154:1 155:3,       147:21,22
                                                                148:20 149:3
     183:9 198:20,       21 158:8,12,       149:1 150:15
                                                                150:3,17
     21 201:11           14,20,21           151:15 153:2,


                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 236 of 316
 Alan Hays
 October 06, 2021                                                               8

     155:6 156:21      begin                154:17,18           188:19 189:13
     164:4 165:5         11:4 17:16         189:24 190:8      birth
     169:6,9 170:5       65:5 66:20         198:10 206:8,       159:8,12
     171:24              141:21 146:17      15 208:11           160:13,18
     172:17,22           215:17           bigger                166:15
     173:21 180:8      beginning            93:3              birthday
     181:12,19           111:13 116:21    biggest               195:16
     219:4 223:18,       157:11,24          177:19            bit
     21                  210:19
                                          bill                  11:25 14:10
   based               begins               13:9 21:17,24       24:14 33:25
     137:25 165:1        39:13 56:18        25:6 42:4,21        35:8 56:13
     167:23 173:16       138:6 211:23       43:3,6,9            62:22 78:7
     187:5 201:3         215:15,19          44:6,9,14,15        93:5 127:20
     206:14
                       behalf               46:6,15,21          143:10 175:22
   bases                 9:2,4,6,8,10,      47:5,8,11           177:12,15
     134:13              12,13,16,19,       114:25 115:21       187:4 190:12,
   basis                 20,22 10:3,5,      116:6,7             24,25 200:15
     81:7                7,10,13,16,        118:19 122:3,       210:22
   batch                 19,21,24 11:1      9,25 125:16       bitty
     57:21 58:1,2,     behavioral           131:13,18           28:12
     5                   19:23              138:9,13,19
                                                              black
                                            139:25 140:4,
   Bates               belong                                   153:23
                                            21,22 154:5,
     84:7                50:1 110:3                           blank
                                            8,15,16,25
   battery             belonged             158:14,15,16        57:19 162:21,
     98:16               73:12              159:3 161:2,3       22 176:16
   Beach               Ben                  169:1 176:20      blanks
     10:14               9:18 10:7          183:16 187:5,       73:1 160:12
   bear                beneath              8,12,13,16,21     blessing
     220:10              124:17             188:2,6,9,11,       183:14
                                            24 189:2,20
   bearing             benefit                                blew
                                            190:9 191:5
     156:19 223:16       145:20 146:5                           53:24
                                            193:1,13
   bedroom             beverages            195:2,19          blink
     34:22               197:7              202:23 218:14       188:20
   beer                bewildering        bills               blue
     197:12              192:10             24:19,21            101:23 200:24
   began               big                  139:1,18,23       Board
     9:1 27:19           15:24 49:19        140:11,12,14        131:20 132:5,
     71:10 72:25         56:11 63:8         183:6,17            17
     73:5 217:11         67:14 88:22        184:1,5


                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 237 of 316
 Alan Hays
 October 06, 2021                                                               9

   boisterous            52:10,15,19,       16,19,25            112:3,4,7
     77:6                21,23 53:6,        106:7 111:12        113:11,12,24,
   bolted                11,13 56:8         112:19 115:7        25 114:8
     206:12              63:3,4,11,16,      116:12 117:8        144:2,4,23
                         18,21 64:1,8,      123:13 125:1,       145:25 191:24
   bomb
                         14,18 65:2,6,      8,16,20,25          200:16 201:5
     204:5 205:7
                         12,14,21           126:8,10            203:3 204:13
     206:2
                         66:11,16,19,       127:5 141:19        213:24
   bombs                 20 67:8,10,17      142:1,2,5,13,       214:14,22
     206:7,8             68:16,22,25        21,23 144:16,       215:14 216:8,
   book                  69:15,25           24 146:12,16        16,19,24
     49:22 50:1          70:4,7,18,20,      153:3 200:19,       221:17 222:7
   bookkeeping           21 71:21           20 201:3,15,      Boy
     176:17              72:9,21,22,25      17,20,24            93:3
                         73:7,19,22         202:3,8,19,21
   booster                                                    Boyd
                         74:1,2,3,14,       203:8,10,13,
     15:7                                                       188:14
                         15 75:9,14,16      14,25 204:4
   bordered              76:10,23           205:3,8           Brad
     34:13               77:14 78:3,        206:12 207:7,       69:5 216:5,
   born                  12,16,17,25        16 208:4            16,17 217:15,
     203:20              79:15,23           210:20              20
   borne                 80:5,16,18,24      211:19,20         Brad's
     89:4,5              81:1,11,12,13      212:11,12,18,       217:17,19
                         82:7,12,14         25 213:9,22       brain
   borrowed
                         84:20,22,23        214:13,21           144:15
     37:1
                         85:21 86:8,22      215:8,18
   bother                                                     break
                         88:1,9 89:18,      217:8,9
     145:12                                                     16:20 18:15,
                         20 90:6,10,      boxes                 18 60:16,17,
   bottle                11,15 91:4         39:25 49:8,22       20,25 70:15
     196:18 198:20       92:12,18           50:1 62:22,24       84:11 88:7
   bottom                93:23 94:5,        63:1,12 70:24       98:19 106:11,
     119:13 143:11       14,16,19,20,       71:2,20 72:5,       17,23 108:6,
     206:16              21 95:1,18,19      13,20 76:3,         20 144:15
   Boulevard             96:9,10            13,20,24            148:15 166:5
     14:2                97:19,20           77:11 80:10         172:17,18
                         98:4,5,10          84:17,25
   bowl                                                         181:17 217:24
                         99:13 101:11,      85:11 86:1,7
     15:5                                                       218:3
                         12,17,20,21,       87:21 88:12,
   box                   22,23 102:4,                         breakfast
                                            19 91:23
     14:3 48:8           5,14,19,20                             186:3
                                            92:4,13 94:8
     49:5,9,12           103:10,11,14,                        Brevard
                                            96:12 104:3,
     50:2,7,8,13         18,23 105:7,                           9:25
                                            11 106:1,6


                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 238 of 316
 Alan Hays
 October 06, 2021                                                              10

   Brian                 20 173:10,15                           66:13,14,15
     96:24               174:1 180:3,9            C             67:13,16,21
   briefcase             181:9                                  70:7 85:17,
                                          cabinet
     15:4              building                                 23,24 103:25
                                            72:14
   briefly               36:24 37:3                           campaign
                                          calculate
     126:9,21            64:23 66:18                            135:6
                                            127:13 167:15
     158:6 167:6         86:12 112:16                         candid
                         137:10 201:9,    calendar
   Brigham                                                      154:20
                         14 202:18,19       65:8 122:11
     12:25                                                    candidate
                       buildings          call
   bring                                                        135:10
                         217:5              19:22 36:12
     15:2 49:4                                                candidates
                                            45:4 48:4
     52:9,18,22        built                                    31:23
                                            59:16 69:12
     80:22 94:7          112:14,16
                                            87:8 98:15        candidly
     118:16 123:18       202:19
                                            99:19 116:5         32:12 108:15
     197:6 198:20      bullet                                   180:22
                                            159:6 164:5
     214:3,4             119:17 152:21
                                            165:15 213:15     capability
   bringing            bunch                                    168:10
                                          called
     74:18 94:4          21:18 30:21
                                            54:10 163:13      capacity
     114:18              73:1 154:19
                                            178:10 190:9        43:8 131:7
   brings                212:16
                                          calling             capture
     117:9             bunches
                                            143:24              67:16,22
   broke                 119:22,23
                                          calls               capturing
     125:13            burden
                                            117:12 118:3        67:14
   brought               88:20,22,23
                                            185:13 193:17     car
     37:2 72:15          104:8,14
                                            205:9               66:23 67:2
     113:17 114:12       105:7 127:12
                                          camera                69:13 82:21
                         147:23 176:13
   Broward                                  49:15 64:24
                       burdens                                cards
     10:8                                   67:25 68:1,5
                         89:12 131:17                           178:9
   budget                                   69:15 70:13
                       Burleigh                               care
     33:19 131:21                           86:4 92:14
                         14:2                                   28:17 68:18
     132:17                                 144:17 146:7
                                                                82:22 83:5
   budget-wise         burn                 201:21 207:4,
                                                                117:23 134:11
     53:23               205:8              5 212:2
                                                                167:18
   Budhu               business           camera-
                                                              Carol
     9:8 107:20          13:25 69:2,3     monitored
                                                                93:1
     156:24 157:3,       212:13,19,21       84:19 103:10
                         217:10                               carrying
     5 164:13                             cameras
                                                                15:4
     165:7 169:17      busy                 39:22 49:11
     170:14 172:1,       68:18              50:4 64:24        case



                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 239 of 316
 Alan Hays
 October 06, 2021                                                              11

     13:11 14:11         12 92:24,25        189:16              223:1
     76:8 83:16          93:16,17 98:6    chapter             choosing
     157:7 159:16        99:3 100:9,18      178:20              102:4 137:9
     178:25              103:3 124:1,
                                          charge              chose
   cases                 5,10,17,18,25
                                            87:24,25            94:10
     13:8,10,13          143:8 146:18
                                            197:1             chosen
                         199:19 206:18
   Cassels                                charged               29:5
                         210:19 211:22
     45:10                                  178:5 179:16
                       chain-of-                              Christina
   cast                                   chasm                 10:12
                       custody
     147:17                                 135:5
                         73:9                                 chuckling
   cat                                    chat                  97:5
                       chaining
     165:18                                 12:3 18:25
                         72:21                                chunk
   category                                 44:21 116:12        208:11
                       chair
     219:13                                 123:20 141:5
                         183:1 198:3                          church
   caught                                 check                 78:1
                       chaired
     173:7                                  54:4 57:10
                         37:9                                 circle
   caused                                   69:9 80:8
                       chairman                                 96:16
     131:12 151:19                          81:25 123:13
                         37:11 42:25        125:1,8,16,       circumstance
   cautioned             137:1 140:24                           123:7
                                            20,25 126:8,
     49:23               186:16             10 127:5          circumstances
   Cecile              challenging          128:23 129:1        16:8 29:13
     12:24               13:9               212:25              88:1
   cell                champions          checked             citizen
     15:13 16:16         28:9               73:10               31:20,21
     59:15                                                      222:18
                       chance             checking
   center                100:21 103:19      48:8              citizens
     99:7 142:14         200:14                                 35:22 38:12
                                          checks
   central             change               39:14             citrus
     54:10 73:8          24:7 90:3,5                            34:19 202:17
                                          cherry
     95:4                101:24 109:21      204:5 205:7       city
   certification         149:2 151:4,6      206:2,8             30:16 34:24,
     27:16,25 28:1       188:20 189:15                          25 99:18
                                          Cheryl
   certified           changed              179:18              217:4
     12:15 27:11,        24:2 122:3                           civic
                                          choice
     13                  149:11,13,15                           109:15,16
                                            167:20
   chain                 158:17,18                              130:16
                         159:1 179:21     choose
     39:23 72:24                                              civil
                                            78:25 85:23
     73:6,12 74:5,     changing                                 104:20
                                            213:23 222:15


                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 240 of 316
 Alan Hays
 October 06, 2021                                                              12

   claims              clothes              82:19 83:5          185:10,12
     133:13,16           82:20            comfort               186:9,11,14,
   clarify             clue                 208:1               16
     17:22 50:24         82:9,15          comfortable         committees
     51:25 87:1        coach                45:17,18            25:10
     90:13 98:9          28:8               56:15 60:3        common
     104:18 105:6                           207:20              61:24 133:10
                       Coast
     113:4 142:11
                         22:25            comment             commonly
     154:7 155:16
                       code                 18:14 78:22         189:9
   clean
                         39:19 57:5,11    commented           communicated
     170:24
                       coincide             38:14 210:12,       188:7
   clear                                    16
                         62:10                                communication
     14:24 64:23
                       cold               comments              16:15 77:21,
     83:8 87:23
                         15:7               36:5 76:18,         23 169:13
     105:15 149:9
                                            20,21 77:10,        170:13
     163:8,9 177:1     colleague
                                            13 78:11          communications
     182:16              12:1 44:20
                                            139:2 140:6         222:24
   clearer               92:22 110:12
                                            186:23 210:18
     153:22              188:23                               community
                                          commissioners         32:2 34:23
   clerical            colleagues
                                            131:21 132:5,       77:24 139:11
     127:14 147:25       43:25 93:14
                                            18 208:22           185:17
     167:21            collect
                                          commitment          company
   clerk                 63:1 109:17
                                            32:21,25            91:9
     87:24               119:22
                                            33:9,16
                       collection                             compare
   Clermont                                 190:12
                         109:9,21                               47:4 58:9
     34:24                                committed
                         114:21 148:7                         compares
   client's                                 179:18
                         155:3                                  57:15
     203:25                               committee
                       collector                              comparison
   clients                                  24:12,15,17,
                         112:10 113:4,                          58:7
     13:2,4,6                               18,19,21,24
                         7,11,17,24                           complain
     133:12                                 25:3,6,7
                         114:12 115:6                           121:22
   clock                                    37:8,9,11
                         117:8,22,25
     185:24                                 42:14,23          complaining
                       collector's          43:20 111:1,        130:9
   close                 117:8              23 119:5          complaints
     44:20 64:20
                       collectors           134:20,21           129:9 130:8
     66:21 106:19
                         112:2 113:1        138:25 140:25
   closer                                                     complete
                         114:2,18           155:14 179:25
     176:6                                                      40:8 162:22
                       color                182:21 183:2,
                                            6,7,10 184:2


                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 241 of 316
 Alan Hays
 October 06, 2021                                                              13

   completed           concluded            99:10             context
     136:18              223:25           consideration         21:19 137:11
   completely          conclusion           139:25 183:10       140:7
     29:12 33:8          117:13 118:4     considered          contextualize
     72:9 83:14          193:18             42:20 127:17        111:15
     87:18 188:20      concrete             215:17            continue
     214:22              206:16,17                              61:3,12 94:6
                                          constituents
   completion          conduct              31:18 191:8         108:6 191:7
     27:10,20            13:16 83:12        210:12            continued
     211:24                                                     69:15 104:5
                       conducted          constitution
   complexity            128:10             185:13            continuing
     76:25                                                      196:2
                       confer             constitutional
   compliance            217:24             113:7             continuously
     202:23                                                     84:25 85:11
                       conference         constructed
   complied              133:9 154:17       202:20            contract
     72:8                                                       69:22 87:3,8
                       confidence         construction
   compliments           32:22,24           37:3 112:12         91:9 207:14,
     38:12               146:14 190:16                          20,22 208:1
                                          consultations
   comply                211:12,16                              210:25
                                            186:5
     69:18               212:6,7                              contrast
                                          consulted
   complying           confirm                                  142:20
                                            43:8 79:10
     167:8               29:19 82:2         138:14,15         control
   Compound              167:7 169:18       140:14,18           197:15
     191:16              170:2,16                             convenience
                                          consulting
                         180:25                                 48:16 56:8
   comprehending                            138:2
     155:11            confirmed                                79:7 94:6,11
                                          contact
                         170:21                                 126:11 222:25
   computer                                 15:19 16:2
     98:16             conflicts            131:1             convenient
                         139:15                                 106:17 147:14
   concern                                contacted
                       confused                                 159:11 218:8
     52:16 96:7                             44:1,2 200:2
                         101:10,15,16                           222:11
     97:3 102:13                          container
     153:6,25            113:10,14                            conversation
                                            95:22
                         201:2                                  201:3
   concerned                              content
     15:22 155:3,      confusion                              conversations
                                            45:15
     22 189:5            101:25                                 222:24
                                          contents
     203:25            conscientious                          conveys
                                            94:21 95:1
   conclude              160:25                                 222:20
                                          contest
     151:21            consent                                conviction
                                            135:6



                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 242 of 316
 Alan Hays
 October 06, 2021                                                             14

     103:23 178:25       163:1 164:3,       103:22 142:7        63:7,12 71:13
   cooler                17 166:10,13       153:15              76:13 78:25
     15:6                168:23 169:5,    counter               79:24 80:4
                         11 170:4,18        58:18               82:14,23
   cooperated
                         171:19,20,23                           89:14,19
     140:22                               counterpart
                         173:20 179:1                           90:7,15
   coordinate                               42:7
                         182:23 183:2                           91:18,22
     29:7                186:9 187:9,     counties              96:12 97:8,21
   copied                19,20 193:12,      10:2 11:3           102:17,18
     202:15              23 201:6           25:22 34:15         103:12 106:2
                         203:10,11          54:10 79:11         109:12,16
   copy
                         206:14,15          130:12 137:24       113:10,22
     46:13 115:22
                         207:16,17,18,      168:10,14           118:16 119:19
     152:13
                         24,25 213:25       202:15              120:1,7,11
   Corley
                         215:9 216:9      country               121:5,12,16
     96:24
                         221:25             97:11 217:13        123:12 124:2,
   corner                                                       14 127:23
                       correctly          counts
     57:10 172:9                                                129:12,16
                         43:1 54:2          178:5
   correct               69:6 98:18                             130:1,9,19,21
                                          county
     18:10 23:5,         149:12 154:14                          131:20,21
                                            9:23 10:5,14,
     16,21,24            178:24 182:22                          132:5,18
                                            17,20,22
     24:11 25:14         190:21                                 137:18
                                            22:20 23:11,
     26:6,11,16,                                                150:22,24
                       cost                 12,13,14
     17,22 35:15                                                163:6 168:1,
                         88:24 89:5         24:4,5,6,7,9
     37:7,20 46:23                                              21 169:5,22
                         167:8,14           25:15,23 26:1
     55:9 61:20                                                 171:19 172:16
                       costs                28:6 30:10
     68:12 70:1                                                 174:14,19,22,
                         89:2,3 148:2       31:4,18 32:3,
     72:1 74:6                                                  24 175:3,17
                         163:2 167:19       13 33:17,24
     81:21 84:8,9                                               176:5,6,7,12,
                                            34:1,12,15,
     89:19,22          couching                                 13,21,22
                                            22,25 35:1,5,
     90:18 91:7          155:20                                 180:13 193:22
                                            9 37:13 38:4,
     94:18 98:3,8,     counsel                                  201:5 202:16,
                                            12,19,22
     14 104:20,23        69:5 77:19                             17 204:24
                                            40:17,22
     110:5,11            81:21 180:4                            208:22 213:24
                                            41:2,17 42:1
     113:9 114:1,        205:13                                 214:14 217:12
                                            47:20,24
     4,9 120:22                                                 221:25 222:25
                       count                48:11,18 49:2
     121:3 123:16                                             County's
                         36:3 40:3          53:16,18
     124:11 134:5,                                              87:20 91:23
                         80:22              54:21 55:11,
     22 136:6
                       counted              13,16,21          couple
     137:3 142:2,7
                         30:21 51:15        60:12 61:2,17       45:16,17
     147:2 154:9
                         52:4 79:16,20      62:15,25            50:24 80:1
     160:16 161:18


                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 243 of 316
 Alan Hays
 October 06, 2021                                                              15

     116:2 132:23      crickets           custom                83:25 89:25
     133:13              68:23              49:12 50:2          101:3 105:10
   courses             crime              cut                   106:13 117:4
     27:20,21,22         110:2              89:3 107:16         133:1 136:21
                                            122:5 126:18        141:7 146:23
   court               criminal
                                            179:7               157:12,24
     16:25 17:5,13       115:18
                                                                171:8 194:5
     18:6,20 93:7      crisis             cute
                                                                219:4
     178:22,23           16:9               29:14
                                                              Danielle's
   courtesy            critical           CV
                                                                133:14
     184:15              102:8              157:8
                                                              data
   cover               CROSS              cybersecurity
                                                                159:20 162:25
     59:24 134:13        133:4 157:2        40:13
                                                                163:1 169:15,
   covered               181:23           cycle                 20 174:18,25
     156:13            cumulative           87:21 89:21         211:24
   covering              107:2              90:1,17 91:20
                                                              database
     190:4                                  129:5,13
                       cup                                      30:3,6 34:9
                                            147:23 149:1,
   covers                15:7 49:20                             83:4 159:9
                                            10,13,15
     50:11             cure                                     160:7 161:20,
                                            150:5,16
   COVID                 59:8                                   25 162:18
                                            194:16 212:13
     16:9 178:22                                                168:21 169:25
                       curious            cycles                170:18 171:19
   cow                   106:1              120:24 121:7,
     43:4                                                     date
                       current              14,20,24
                                                                30:7 52:3
   crackers              14:16 30:6         122:7 149:13
                                                                54:20 55:8
     203:14              44:3 78:13,16    Cyrus                 58:3 128:23
   crafted               90:13 91:21        9:6 133:2,8         136:10 159:8,
     138:8               92:3 142:19        139:24 154:2        12 160:13,17
                         152:25 153:3       156:21 171:8
   Craig                                                        166:15
                         176:9              192:18 219:5
     10:4,6 124:3,                                            dated
     25                curriculum           223:3,18
                                                                45:3 93:12
                         27:10
   crazy                                                      David
     204:22            curry                        D
                                                                10:22 124:5,7
                         35:20
   created                                daily               day
     176:17            custody
                                            66:6 71:8           29:6 31:11
                         39:24 72:24
   credit                                 Daines                40:9 42:13
                         73:6,12 74:5,
     44:8                                   9:13                46:13,19
                         12 98:6
   creek                                  Danielle              49:11 51:16
                         146:18 210:19
     217:13                                 11:14 12:20         52:12,16
                         211:23
                                            81:24 82:17         56:23 61:22



                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 244 of 316
 Alan Hays
 October 06, 2021                                                              16

     63:24 65:5,8,     decide             definitive            183:23
     11,16,21,25         89:1 208:8         27:23             dentist's
     66:2 67:23        decided            degraded              14:18
     71:10,12            42:18 79:12        97:17             deny
     79:4,15,19,20
                       decimated          degree                144:2
     80:21 82:25
                         34:20              24:25             department
     91:11 92:8
     95:5 102:10       decision           delays                55:19 56:22
     130:24 135:13       88:14,15           17:19 178:22        81:4 94:24
     142:6,24            188:24 208:8     deleting              107:3
     149:24 150:10     decisions            44:15             departments
     171:12 178:23       222:20           deletions             217:5
     189:4 195:12      decorum              190:2             depend
     196:20 197:19       197:1                                  51:17 173:23
                                          deliberate
     202:3 203:20
                       decrease             31:25             Depends
     208:9 223:10,
                         61:15,22         deliver               20:21
     17
                       dedicated            44:19 56:5        depiction
   days
                         35:19 36:19        144:5               136:16,17
     65:9,11 95:7
     97:13,14          dedication         delivered           deployed
     110:13 128:24       35:23              97:13 114:2         29:5 40:6
     142:17,19         deem               deliveries          deposed
     185:5,22            59:4               97:7,10             14:6,16,22
     186:7,8           deems              delivering            20:24
   daytime               198:2              74:17             deposition
     196:1             defendant          delivery              11:12 13:12
   deadline              9:12 10:4,8        97:17 155:19        15:3,20 16:3,
     59:9                                                       7,11,12,18,24
                       defendants         Democrat
                                                                17:9,18 18:6,
   deadlines             132:24             134:10
                                                                12,21 19:9,
     192:5             defer              Democrats             12,16,17
   deal                  76:6               178:8 184:8,        20:20 21:12,
     15:24 24:9        deficiency           21                  25 81:17 88:2
     88:22 185:19        163:1            demographic           157:11,25
     197:24 222:13                          82:8 83:3
                       define                                 depositions
   dealing               20:21 39:10,     demographics          11:9
     160:22              12 130:5           82:11             depositories
   dealt               defined            dentist               112:4
     184:1               110:4              14:13,14,17       depository
   December            definition           22:21,24            202:20
     122:23              21:14              28:21 137:7



                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 245 of 316
 Alan Hays
 October 06, 2021                                                             17

   deputy              detailed           digits              disclose
     197:1               28:19 75:24        160:3,10            20:1,2
   describe              211:8              164:9,10          discouraged
     28:4 73:23        details              165:19,24           222:10
     112:5               28:17,22,24        166:9,12,20
                                                              discovered
   describing            109:23 149:17    diligent              14:17 178:2
     75:3                180:24             32:7
                                                              discovery
   description         determine          diminish              73:15 81:18
     73:17 75:24         66:22              89:15               83:15
     112:25            development        dining              discrepancies
   deserves              139:24             58:18               14:17 18:14
     153:15            devote             direct                58:20
   design                214:10             12:16 93:9        discrepancy
     137:10 202:8,     Dianna               100:17 153:12       59:9
     16 203:4            9:22             directed            discuss
   designation         die                  81:3 140:6          86:16 180:8
     27:11,13,24         185:22           direction           discussed
   designed            differ               66:25 67:1          20:2,10 32:17
     96:10 203:6,8       75:23 174:20     directive             55:10 97:2
   designing           differed             69:5,10 70:12       109:9 115:16
     49:21               82:13              72:7,9,10           120:14,16
                                            216:22              127:1,4
   designs             difference
                                          directives            131:16 195:5
     202:13              37:6 58:16
                                            69:19               219:19
   desire                98:10 134:9
                                          directly            discussing
     103:7 222:18      differently
                                            94:23 98:7          45:18 88:13
   desk                  175:10
                                            105:1,3             104:3 127:8
     64:21             difficult
                                            169:10 206:1      discussion
   Desoto                11:8 126:22
                                          director              11:22 24:20
     9:25                147:8 168:5
                                            68:7 161:10         25:2 56:23
                         202:1
   destined                                                     98:23 108:7
                       difficulty         Disability
     204:23                                                     110:25 115:1
                         156:1              133:9
   destroyed                                                    116:19 140:2
                       dig                disabled              141:15 156:25
     103:20
                         128:21             153:25              161:12 170:10
   destruction
                       digging            disallowed            195:6 209:16
     70:20
                         149:17             128:25              219:3 220:13
   detail
                       digit              disbelieve          disfigured
     30:8 40:25
                         165:23             152:15              103:20
     74:7 112:14



                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 246 of 316
 Alan Hays
 October 06, 2021                                                           18

   disfigurement       documents            67:7                22 87:20
     105:17              12:2 21:11       driver's              88:8,12,19
   disingenuous          22:1,3             67:7 151:7          89:18,20
     144:1,11          dogs                 160:2,9             90:6,11,15
                         197:9              161:17,23           91:23 92:4,
   displeasure
                                            162:8 163:23        12,13 93:23
     77:7              dollars
                                            164:9 166:3,        94:5,8,16,19
   distance              40:12 91:12
                                            13,14,21            96:10 97:20
     66:21               208:13
                                                                98:4 101:17,
                       domestic           drives
   distinction                                                  20 102:5,19
                         51:23              195:23
     114:11                                                     103:10,14
                       door               driving               104:3,11
   distractions
                         64:13 95:23        67:6,9 82:21        105:7,16,19,
     16:17
                         112:17 130:22      196:1               25 106:1,6,7
   District
                         184:13           drop                  112:3,4,7
     23:10,11,13
                         197:11,13          49:5,8,9,22         113:11,12,24,
     157:8
                         223:8              50:7,8,13           25 114:8
   districts                                52:9,10,15          117:8 141:19
                       doors
     24:2,7                                 53:11,13            142:1,13,20,
                         32:14
   division                                 56:8,9 62:22,       21,23 144:2,
                       double
     69:20 129:2                            24,25 63:3,4,       4,16,23,24
                         88:11,16 89:1
     167:1                                  11,12,16,18,        145:25
                       doubt                21,25 64:8,         146:12,15
   Dixon
                         107:10 168:9       14,18 65:1,2,       153:3 176:11
     13:20
                       draft                6,12,14             191:9,24
   DL
                         46:22              66:10,16            200:16,19,20
     163:21
                       drafted              67:17 68:22,        201:3,5,15,
   DMV                                      25 69:25
                         138:2                                  17,20,24
     32:11 58:17                            70:4,7,18,24        202:3,8,19
     127:25 151:7      draw
                                            71:2,19 72:4,       203:2,8,10,
     163:20              183:19
                                            9,13 73:21,25       13,14,25
   document            drink                75:14 76:3,         204:4,5,13,22
     18:25 19:5          88:7 196:21        10,13,20,23,        205:7 206:12
     44:20 45:22         198:16,19          24 77:10            207:7,15,16
     46:1 84:1,4,5     drive                78:3,12,16,         208:4 209:4,
     92:23 101:2         65:1 66:25         17,25 79:15,        9,23 210:19
     110:19 111:19       67:1 172:8         23 80:5,10,18       212:11,12,25
     119:2 124:12        206:19             81:1,11,12          213:9,22,24
     131:25 132:4      drive-bys            82:7,12,14          214:13,21
     141:5 209:3         86:2               84:17,20,22,        215:8,13,18
   documentation                            23,25 85:11,        216:8,16,19,
                       driver
     159:3                                  21 86:1,7,8,        24 217:8,9


                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 247 of 316
 Alan Hays
 October 06, 2021                                                             19

     221:16 222:7        48:21 59:15,       71:3,7,12,18,       190:18
   dropped               18 92:24           22 72:5           effort
     80:16 113:22,       93:12,16,17,       73:22,25            27:23 31:22
     23 115:5            21 94:1 96:24      75:18 76:24         32:7 82:25
                         99:2,19            81:6,7 82:12
   dropping                                                   efforts
                         100:8,9,13,18      87:25 91:24
     73:18,21 94:5                                              31:25 177:14
                         101:4 103:4        92:5,7,9
     153:1 185:22                                               191:1,4
                         143:1,7,16         106:3 130:23
   drops                                                        198:11 217:13
                         152:9,13           146:12 177:21
     102:10              154:7,12,23        195:4 210:23      Eighteen
   drugs                 199:17,19,22       215:14,15,18        31:8
     22:10               215:3,9,25         217:3,7,11        either/or
   Ds                    216:4              223:10              65:3
     37:5              e-mailed           earn                elaborate
   due                   110:23             27:23               175:22 177:15
     16:9 24:23        e-mails            earned              elderly
     102:13 172:21       103:3              27:12 32:23         45:23 153:25
     178:22            Earley             earth                 195:6,9 196:5
   Duh                   10:20              178:11              197:22
     29:21             earlier            ease                elected
   duly                  58:23 94:14,       13:1                25:17,21,23
     12:14               15,19 105:23                           26:21 27:19
                                          easier
                         120:13 123:11                          30:25
   Dunaway                                  126:13
     93:1 99:4           127:23 136:4,                        election
                                          east
                         11 138:11                              25:4 27:3
   duplicating                              14:2 34:17
                         140:14 141:25                          28:10,18
     96:1                                 easy
                         145:8 146:17,                          29:2,5,6,10
   duplication           21 147:19          48:5 171:16         30:15,20,25
     96:3 108:8          185:3 187:6      edge                  31:4,10,12
   duration              190:25 192:25      49:10               33:12,13 34:4
     120:16 122:3,       193:21 197:19    education             37:18,19
     6,16 134:5          201:4 207:19       12:23 191:1,3       38:13,22
   duties                211:17 213:21                          39:11 40:8,9,
                                          effect
     28:9 29:15          216:15 218:7                           20 41:4,12,
                                            17:5 157:25
                         219:19 221:22                          20,25 48:10
                         222:17           effectively           51:16,20
             E                              155:4
                       early                                    52:12,16,19
   e-mail                29:6 40:6        efficiency            53:20 54:11
     15:16,19,23,        49:7,8 50:8        35:23 38:16         55:14,22
     25 16:3,15          59:18 63:2,      efficient             59:10 60:9
     33:3 39:15          15,23,24           33:10 109:2         63:5,9,10


                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 248 of 316
 Alan Hays
 October 06, 2021                                                               20

     65:4,11,16,         22:20 24:12,       190:13,19           76:2 88:10,20
     18,20,22,25         18,23 25:2,5,      193:11,22           94:22 160:25
     66:2 68:10,19       7,8,10,15,18,      194:2 198:24        216:25 217:16
     69:7 70:9           20 26:1,12,18      199:4 202:7       employment
     71:15 72:17         27:12,13           204:16 205:4,       31:13
     75:5,19             28:5,25 30:1,      6 207:23
                                                              empty
     78:13,16,21         10,11,12,16        208:3
                                                                98:5
     79:4,5,15,20,       31:1,3,7,17      electronic
     24 82:25 84:5       32:19 33:10                          enacted
                                            58:16,21
     86:11 87:21         35:14 37:13,                           188:2
                                          electronically
     89:21,25            14,23,24                             enactment
                                            57:14
     90:17 91:20         38:1,4,5,13,                           158:10 160:19
     92:4 98:4           19 39:3 40:22    eligible              174:11 175:7
     99:8,9 102:7,       41:1,5,7,21        31:20 222:18        180:10
     9,11 113:12,        42:14 43:9       eliminate           encourage
     25 114:8            46:8 47:2          221:20              151:3
     115:4 120:3,        60:12 62:16      elimination         encouraging
     23 121:2,7,8,       63:4,6,9,13,       221:13 222:6        144:5
     14,19,24            22 66:12 69:1
                                          Elizabeth           end
     122:7,12            70:5,10 76:14
                                            10:16               34:22 43:17
     123:9 129:5,        77:25 78:14,
     13 130:23           20 80:6 81:2     Ellis                 47:14 55:21
     131:5,9             89:21 90:16        10:16               57:21 102:8
     135:6,7             93:18 99:18      else's                122:11 132:23
     138:19 139:18       106:5 119:6        62:9                178:19,20
     140:12 142:6        120:9,12                               218:1
                                          emphasis
     145:1,5,20          124:13 127:10      33:9              endeavor
     147:23 149:1,       129:2 130:16                           111:8
                                          emphasize
     13,15 150:15        133:20                               ended
                                            202:10
     159:15,17           134:20,25                              71:13,14,18,
                                          employ
     163:14              135:3,8,9,11,                          22
                                            39:14
     168:15,19           12,14 137:17,
                                                              endless
     179:25 193:5,       20,22,23         employed
                                                                69:14 190:6
     10 194:5,19,        138:3,18,24        41:1
                                                              ends
     22 195:10           139:1,8,10,21    employee
                                                                26:7
     198:2 201:13        140:13 150:13      75:4,6 84:20
     205:8 209:25        153:9 159:16       87:2,6 91:3,      energy
     210:1 212:13        167:1 168:7,8      14,16 104:5         214:11
     216:17 223:10       172:16 182:21      202:22 207:22     enforcement
   elections             183:1,5,6,13       208:2 211:7         117:17
     9:23,25 10:9,       184:2 185:17     employees           engage
     11,14,17,23         187:24


                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 249 of 316
 Alan Hays
 October 06, 2021                                                              21

     24:20             envelopes          evolution             23,24 119:3,9
   engagement            48:14 49:14,       140:4               123:18,21
     19:22               18 57:4,19       exact                 124:1 126:21
                         58:4 73:10         34:13               135:17,25
   enhance
                         170:1 204:23                           136:1,22
     79:4 82:25                           EXAMINATION
                       equally                                  141:5,13
     212:6                                  12:16 133:4
                         27:8                                   151:25 152:1,
   enjoy                                    157:2 181:23
                                                                4 192:18,22
     36:10             equipment            219:10 220:7
                                                                199:7 200:8,
                         29:3 39:25       examining
   ensure                                                       19 209:15,19
     17:8 51:15        Erdelyi              45:22 46:1          215:21,22
     52:3 150:25         10:24              101:2 111:19        216:3,12
     160:20 210:9      ERDEYLI            excellent             217:18
   ensuring              10:24              32:25 157:23        220:19,22
     210:13            Escambia             190:17,24         exhibits
                         10:22              211:12              11:5,12,25
   enter
     127:15 217:18     essentially        exceptionally         15:24 98:16
     220:19              160:23 221:24      103:25              116:8 215:1
   entered             esteemed           excessive           exit
     136:21              35:19              130:10              131:2 197:19
   entire              estimated          exchange            expand
     20:23 58:1,5        167:8,14           125:4 188:8         217:12 221:14
     65:13 69:16       estimation         excuse              expect
     70:3 97:11          83:11 173:16       32:12               61:11 97:13
     134:5                                execute               122:24 210:25
                       ethics
   entitled              24:12,18           30:5              expectation
     44:17 84:4          42:14 138:24     executed              76:7
   entries               182:21 183:5       53:1              expecting
     148:1             evening            exhibit               101:12,21
   envelope              212:24 218:24      18:19,21,23       expend
     48:9 57:1,2,      event                19:5,13 44:22       177:17
     6,14 58:12,         22:17              45:4 50:18,19     experience
     17,19,22 59:1                          53:8,9,10           27:7 49:22
                       events
     73:3,4,6                               54:12 64:9          66:1 79:4
                         32:2
     74:9,10,12,                            65:15 66:11         82:25 97:8
     13,17,19,24       Everybody's          92:20 93:2,8        133:19 138:17
     76:5,10             112:22             94:17 99:3          156:20 163:16
     123:14 125:23     evidence             100:6,11            165:2 167:23
     210:2,10,14         68:16              110:15,16,18        182:14
                                            118:16,18,20,



                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 250 of 316
 Alan Hays
 October 06, 2021                                                              22

   experienced         extends            factually             177:21 192:23
     134:25 135:4        39:15              76:7                195:13
     189:3             extent             fail                federal
   expertise             32:16 47:22        218:10              37:14 38:1
     137:13              69:20 81:5,19    failures              80:6
   expired               83:2 98:10         38:18             feedback
     122:23              107:15 108:7,                          77:3 210:20
                                          fair
                         24 111:6
   explain                                  30:23 55:6        feel
                         171:2,3 180:3
     44:5 47:24                             70:2 86:6           35:18 45:17,
                         217:1
     49:1 86:20                             113:20 115:12       18 56:14 60:3
     88:23 90:22,      external             137:25              138:1,13
     24 93:21,25         39:22 63:18        138:13,23           152:17 171:3
     109:20 112:5,     eye                  147:12 155:23       207:20
     10 125:12,14,       188:20 211:19      206:11 214:25     feet
     19 137:15                            falsified             64:14,19
     144:11,22                   F          177:24              197:11,12
     145:14 148:7
                                          familiar            fell
     153:6 154:22      face
                                            41:5,7 62:11        217:13
     211:22              66:18 87:16
                                            86:17 105:24      felonies
                         115:18 128:22
   explained                                112:7,9,22
                         130:6                                  179:15
     176:1                                  128:9 153:8,
                       facility                               felony
   explaining                               10 220:25
                         95:4                                   178:5 179:14
     60:1 96:21                           family
     189:11            facing                                 felt
                                            44:18,19
                         207:7                                  42:22 79:8
   explore                                  110:3 115:17
     207:13            fact                 153:5             fewer
                         38:16 46:10,                           62:1
   exploring                              famous
                         15 84:19                             fiddling
     204:7                                  203:19
                         113:17 124:18                          15:25 167:16
   express                                famously
                         127:14 170:12                        field
     77:6 184:15                            201:15
                         180:14 186:15                          36:11
   expressed             188:6 202:15     fancy
     56:7 76:22                             216:23            figure
                         204:12
                                                                145:10 214:7,
   expresses           factor             favor
                                                                9
     221:10              56:4 222:25        35:20 156:5
                                            170:21            figured
   expressing          factors                                  200:13
     77:13               40:19            favorable
                                            210:18            figures
   expression          facts                                    55:1
     28:16               83:9             February
                                            45:24 154:12      file



                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 251 of 316
 Alan Hays
 October 06, 2021                                                              23

     12:2 110:20,        39:5 60:19       flag                fluent
     21 116:11           66:7 70:16         185:22              20:15
     122:22              78:9 81:17,20    Flagler             fluid
     151:12,13           82:16 83:14,       9:25                188:19
     189:15,24           19 86:25
                                          flap                focus
     194:1 199:9         87:10,20
                                            112:18              161:13
   filed                 88:4,17,18
                                          floor                 183:18,21
     21:16 183:17        104:4,15,20
                                            188:8               184:5
                         105:13 121:11
   filing                                                     focused
                         159:23 182:6     Florida
     189:22                                                     32:23
                         198:18 199:14      9:5,9 12:22,
   fill                                     23 14:3 23:6,     focusing
                       finish
     48:2 119:8                             17,23,25            183:23
                         17:12 132:10
     166:25 174:3                           24:10,23
                         203:16                               folder
     211:24                                 25:11,13,20
                       finished                                 141:7,8,10
   filled                                   27:9 32:13          152:4
                         13:16
     178:1,12                               35:13,22
                       fire                                   folks
   filling                                  41:6,8,12,21
                         203:13 217:4                           13:22 97:9
     174:5                                  42:8 44:17
                                                                107:2 109:10
                       firecracker          45:2,10 46:11
   final                                                        197:6
                         204:6              47:2 51:9
     43:7 46:25                                               follow
                       firecrackers         54:10 56:14
     88:14 115:22                                               36:16 42:6
                         206:3,6            60:3 62:19
     185:21 188:2                                               99:20,25
                                            84:17 85:19
     219:7             firewalls                                189:7
                                            102:17,18
   Finally               40:18
                                            107:21 110:8      follow-up
     18:15             firm                 111:23 112:21       219:7
   financial             69:23 70:3,18      113:6 120:11      font
     33:16 88:21,        103:23             122:19 128:12       96:23
     23 89:10,12       first-class          130:13 133:9,
                                                              food
     131:17 163:2        97:12              20 135:1
                                                                130:18 197:5
   financially         fiscal               137:20 147:14
                                            153:9 154:18      fool
     190:20              127:12,17
                                            156:22 157:6,       203:20
   find                  208:7
                                            8 160:2           footage
     28:1,2 58:14      fishing
                                            168:6,19            68:2,5,11
     69:24 101:21        115:13
                                            179:5,10          football
     156:12,14         fit                  182:17,19,25        36:11
     159:7 160:15        206:9              187:18,23
     179:22 180:23                                            forecast
                       five-minute          218:9 219:21
     213:13                                                     198:6
                         181:17 217:23    Florida's
   fine                  218:3                                foresee
                                            42:4


                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 252 of 316
 Alan Hays
 October 06, 2021                                                              24

     211:6               146:17             69:20,21          fullest
   forged              forms                152:17              69:20 107:15
     177:25              117:25 128:15    freezes             fully
   forget                194:10 211:25      34:20               72:3
     126:16            forward            frequent            function
   forgive               11:20 140:3        140:4 147:25        93:6 192:19
     15:21 64:18         151:14 159:16    frequently          Fund
     97:5 149:17       fouls                28:14 194:8         12:23 133:10
     189:10              36:12            Friday              funds
   forgot              Found                92:9 212:24         89:14
     117:3               137:4              213:3,10          furtherance
   form                four-year          friend                222:4
     18:7 43:19          34:11 122:5        74:18 192:18      future
     61:4,9 73:5,9     fourth               194:4               61:3 123:15
     74:8 76:16          33:15 89:10      friends
     85:3 87:11          170:20             20:24 182:16                G
     91:25 97:24                            190:25 213:21
                       frame
     103:15 104:9,                                            gain
                         99:9 154:11      front
     16 105:9                                                   24:22
                         165:17             45:5 49:9
     128:19 138:20                                            gallon
                       framework            52:23 64:13
     139:19,20                                                  95:21
                         91:21              67:2,11 85:20
     141:20 145:22
                                            114:25 115:22     games
     149:3 150:3,      Francesca
                                            116:1 130:22        165:18
     17,18 154:5         9:20 12:1
                                            142:1 144:17,     Gator
     155:6,7 164:4       100:7
                                            24 165:21           15:7
     165:5 169:6,9     Frank                217:9 223:8
     170:5 171:24        9:16,24                              gave
     173:21                               FSE                   114:22 157:24
                       frankly              35:15,17 37:8
     174:19,25                                                  158:6
                         36:8 147:14        43:12 47:14
     178:12,16                                                gears
                         167:15 189:1
     191:13,16                            FSE's                 35:11 47:19
                         208:12
     193:17 205:9,                          124:7               109:8 127:19
     16 206:5,21       fraud
                                          fulfilled             141:2 147:18
     208:6,17            62:12,15,19
                                            38:14             general
     214:15 222:5,       149:23 150:2,
                         5,14 151:18,     full                  9:5 21:1 25:5
     12 223:2
                         21 220:1           13:18,20            30:19,24
   formal                                   49:20               31:10 37:18
     27:2 112:19       fraudulent
                                          full-time             38:22 41:12
     185:9               180:6 219:22
                                            26:12 79:6          53:20 55:14,
   formalized          free
                                                                22 56:2 63:10



                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 253 of 316
 Alan Hays
 October 06, 2021                                                               25

     65:4 68:10          82:24 96:16        35:9,24 36:14       45:13 212:14
     69:5,6,8 84:4       109:18 111:17      37:1 40:11          214:19
     120:3,23            114:23             42:16,17          grand
     121:7,13,19         116:14,16          45:13 60:17,        168:14
     122:7,11            139:12 144:14      18 65:23
                                                              grateful
     161:25 179:25       159:22 160:8,      78:24 87:9
                                                                56:7
     201:3               11,13,14           97:9 121:2,6,
                         163:21 164:11      19 122:7,10       great
   generally
                         165:19,22,24       124:24 125:1        16:6 19:3
     41:5,7,9,15,
                         166:2 173:10       133:6 140:25        20:9 24:9,25
     21 42:6 48:22
                         176:2 179:23       145:17 146:13       28:19 31:11
     60:8 77:18
                         183:16 184:15      154:11 155:1        54:16 63:20
     128:9 133:14
                         205:19 214:2       157:4 160:8,        68:1 73:17
     134:24 157:19
                                            11 181:2,19,        78:10 124:17
     163:15,25         giving
                                            25 195:25           132:3 143:2,
     165:2               45:9 54:17
                                            206:22 208:10       24 156:21
   generous              75:23 192:8
                         208:22             218:23            greater
     36:22 59:14
                                          goodbye               24:5
   geographically      Glad
                         220:6              102:11            grief
     34:12
                                          goodness              11:13
   George              Glades
                         11:2               156:7             grocery
     9:11 107:4
                                          goopy                 78:1
     108:2 182:2       glance
     218:18 219:6,       152:14             204:21            grossly
     14 223:19                            GOP                   221:13,19
                       glass
                                            44:17               222:2
   get all               93:6
     134:13                               governing           ground
                       goal
                                            128:10              14:25 16:7
   get-go                32:25 89:10
                                                                206:13
     185:21              222:4            government
                                            111:1,23          group
   Gibson              goals
                                            113:5 133:20        35:19 36:19
     9:18,19,20          32:18 79:2
                                            217:5               37:23 184:11
     116:12              139:12,14
                                                                194:11 197:8
   Gilchrist             190:12 211:11    governor
                                            154:17 187:8      groups
     10:1              God
                                            188:3               108:25
   give                  195:11
                                                                109:15,16
     12:3,7 36:8       good               Governor's
                                                                130:16 196:13
     43:21 44:11         9:15,18            192:23
                                                              guaranteed
     46:10 57:20         11:12,19         grace
                                                                142:6
     58:6 59:8,9,        12:18 15:13        51:22
     14 64:16            16:1 20:18                           guard
                                          gracious
     73:17 76:11         30:9 33:19                             22:25 207:15,



                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 254 of 316
 Alan Hays
 October 06, 2021                                                              26

     21,22 208:2,4     Hall               Hardee                199:6,16,25
     210:25 212:10       179:18             11:2                200:11,23
   gubernatorial       halls              harder                202:5 203:12,
     30:15               217:4              11:8 147:1          24 204:8
                                                                205:24 206:11
   guess               hamburgers         harebrain
                                                                207:12 209:2,
     21:5 45:7           197:9              145:11
                                                                22 211:10
     64:15 69:22       hand               harms                 212:9 214:25
     70:25 71:2          12:6 36:3          105:17              215:2 216:1,
     76:1 77:17          72:16            harvest               14 217:22
     91:19 96:19
                       handicap             52:25 80:24         218:7 220:9,
     102:17 106:22
                         183:15           harvesting            16 223:15
     111:2 145:18
     146:22 149:9      handicapped          109:23            HB7041
     151:21 154:4        153:2 155:4        119:19,21           42:7 43:10
     155:2 162:5       handle               120:2,8,11        head
     203:21 206:22       174:16 175:8       152:22              17:10 28:8
     217:16 222:23                          153:13,16           55:15 71:11
                       handled
                                            155:21              158:16 160:24
   guessing              94:22 95:14
     53:22               180:18 181:7     hat                   163:4 177:3
                                            207:12              179:22 207:11
   guidance            handles
                                          hate                  208:10 223:4
     216:16,17           174:21
                                            121:21            headed
   guide               handling
                                          Hays                  66:25 67:1
     139:13              150:8
                                            11:7,21           heads
   Gulf                hands
                                            12:13,18            145:19
     10:1                95:12
                                            13:20,21 14:5     health
   guys                handwriting          18:22 46:9          16:9
     106:10 182:4        178:18             82:5 84:16
                                                              hear
                       Hang                 92:24 100:8,
                                                                42:15 78:7,9
             H           45:20 89:24        13 107:15
                                                                96:20 107:14
                       happen               109:7 111:13
   H-A-Y-S                                                      129:4 181:14
                         36:14 96:11        124:15 132:16
     13:21,24                                                   184:6,7
                         140:17 181:3       133:6 141:6,9
   habit                                    156:19 157:4      heard
                         193:11 206:20
     197:3                                  173:11,16           14:20 29:18
                       happened                                 36:5 42:19
   hair                                     181:10,25
                         178:6                                  55:2 102:21
     82:19                                  182:13 183:4
                       happy                185:5 187:4         139:4
   half                  115:8
     49:16 107:11                           189:6 190:11      hearing
                       hard                 191:19 193:20       136:5,10,15
     108:1 144:15
                         197:23             195:1 196:2,9
     219:1 220:10


                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 255 of 316
 Alan Hays
 October 06, 2021                                                              27

   heartbeat             39:2             hope                human
     53:24             highest              31:20 96:25         58:6 77:8
   heavy                 33:14              176:15              210:9
     34:19             Highlands          hoping              humanly
   heightened            10:1               99:4                33:11
     146:14            highly             horrible            humans
   held                  102:12 103:25      42:21               194:25
     31:4 193:22       Hillsborough       horror              hundred
   helpful               10:4 124:2         153:11              35:2 45:24
     21:22   29:17                        host                  195:13 213:7
                       hinterlands
     50:14   75:21                          48:14               223:8,9
                         217:14
     76:12   81:23                        hot                 hundred-year-
                       hired
     92:19   105:6                          196:20 197:9      old
                         31:12 69:12,
     173:6                                                      195:16
                         23 70:17         Houlihan
   helps                 179:11             10:13             hundreds
     61:15,21                                                   221:14,20
                       history            hour
     211:14 222:7                                               222:3
                         29:24 130:13       60:15 69:13,
   Hendry                153:9              14 107:11,22      hush
     11:2                                   108:1 208:9         29:16
                       hit
   hereinafter           195:13           hours
     12:15                                  49:11 56:9                  I
                       hold
   Herron                19:25 54:3         63:20,21,23,
                                                              ID
     10:19               118:2 198:18       25 64:2 69:2,
                                                                160:3 161:17,
   hesitation            218:13             3 70:7 91:10,
                                                                24
     21:13                                  24 92:5,6,8
                       Holmes                                 idea
                                            106:3,14
   hesitations           11:2                                   28:17 39:4
                                            107:2,11
     156:2             holy                                     66:3 92:21
                                            108:4,12
   hey                   43:4                                   93:22,25 94:2
                                            190:6 208:9
     159:6 198:18      home                                     101:13 121:10
                                            212:13,19,21
   hiccups               137:2,5,14                             124:21 145:15
                                            213:14 223:12
     38:8 194:6,15                                              163:2 167:13
                       honestly           House
   hiding                19:7 30:21                           ideally
                                            23:6,10,11,
     182:3               36:4 42:24                             221:24
                                            12,17 25:11
   high                  134:12 183:8       119:5 134:1       ideas
     32:4 35:23        honey                182:19              36:23 37:2
     38:24 39:8          219:15                                 96:17
                                          huge
     49:17 66:18       hoot                 58:15,16          identical
   higher                36:8               211:3               202:11 221:4



                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 256 of 316
 Alan Hays
 October 06, 2021                                                              28

   identification      imagine            improperly          inconvenient
     18:23 44:22         21:23 43:24        219:25              221:13,19
     50:19 54:12         101:18 148:15    improve               222:3
     93:2 100:11       immediately          77:4              incorporate
     110:16              25:14 27:19                            44:13 48:13
                                          in-person
     118:18,24           57:3 142:21        27:20 69:2,11     incorporated
     123:22 125:22
                       impact               129:22,24           37:2 50:2
     126:2 136:2
                         87:20,22           146:1,6             83:4
     141:14 152:2
                         127:17,18        inaccuracies        incorrect
     161:14 162:9
                         167:23 169:1       18:10               178:1
     163:11,16
     164:1,16,23       impacted           inadequate          increase
     165:3 167:3,        169:4,12,22        103:13              145:1 148:2
     9,25 168:22         170:3,12
                                          inbox               increased
     169:4,22            171:22 172:25
                                            15:16               53:16
     170:4 171:22        173:1,6,19
                                          inch                independent
     173:19 200:9      impair
                                            49:17               69:23 70:17
     209:20 215:23       22:6,10
     220:22                               incident            indeterminate
                       impart
                                            129:15 180:7        119:23
   identified            35:22
     162:18 163:6                         inclined            indicating
                       impermissibly
                                            108:15              28:12 83:8
   identify              194:12
                                          include               178:9
     158:19 162:17     implemented
     164:23                                 46:6,15,22        individual
                         195:20
                                            47:1 118:10         72:13 74:1,3,
   identifying         implying
                                          included              9 75:9 115:17
     158:21,23           83:16
                                            46:21 91:1          158:11 179:16
     161:21 162:20
                       important                                197:8
     165:12 169:15                        includes
                         17:17 27:8                           individuals
     174:7                                  104:15
                         32:21 33:4                             31:14 51:6,7
   identity              39:8 68:21       including
                                                                67:17 76:3
     74:21               77:3 107:16        34:1 64:12
                                                                82:11 109:12
   ill                   108:21 214:6       66:14 92:25
                                                                131:6 169:21
     95:21                                  104:4 106:2
                       impose                                   171:18,21
   Illinois              88:21 131:18     inclusive
                                                              individuals'
     199:24 200:4                           104:14
                       imposition                               51:7
   image                 104:12           inconsequential
                                                              industry
     53:8 218:19                            167:17
                       impossible                               34:21
   imagination           222:14           inconsistent
                                                              information
     203:21                                 18:11
                       impression                               22:17 35:6
                         162:2                                  74:4 82:8


                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 257 of 316
 Alan Hays
 October 06, 2021                                                              29

     83:14 105:11        131:1,3          interact            interviewed
     133:12,17           197:2,15           33:2 131:4          54:6
     134:14              223:3              197:17            introduced
     158:18,22,23      insight            interaction           92:21 188:21
     159:4 160:6,7       24:22              177:19 196:12     introduction
     169:25 170:18
                       install            interchanges          42:6,8
     171:18 176:16
                         79:12              140:5             invariably
     177:25 178:9
     179:23 180:5      instance           interested            28:16
     192:8 204:16        75:4,8,11          152:18            investigation
                         76:1 86:13       interesting           199:18,24
   informed
                         87:3 109:18        14:21 34:3          200:13
     31:22 68:14
                         114:18 150:13      179:17
     157:12                                                   investigative
     222:19,20         instances          interjecting          117:18
                         76:9 105:24        15:22
   informing                                                  invite
                         114:6 151:20
     102:4                                internal              198:4
                       instill              39:22 63:21
   Ingoglia                                                   invited
                         146:13
     124:25                               internally            195:14
                       instruction          40:17
   initially                                                  involved
                         157:16,18
     42:12,13                             interpret             29:19 133:19
                       instructions         125:15              184:7 187:7
   initials
                         20:7 157:12,                           210:23
     80:20                                interpretation
                         14 192:3,5,8,
   initiative                               122:25 123:3,     involvement
                         14
     162:17 163:3                           4                   187:22
                       insulting
   injected                               interrogatories     involves
                         87:17
     140:2                                  20:12,17            42:4
                       integrity            21:11
   input                                                      issue
                         33:14 119:6
     162:24                               interrupting          59:6,7,18
                         163:14
     174:18,24                              17:20               93:23 96:10
                       intend                                   98:17 155:21
   inquiries                              intervening
                         118:14                                 172:23 175:23
     83:13                                  34:7
                       intended                                 200:16
   inside                                 Intervenor
                         123:15                               issues
     63:17 64:1,22                          9:12
                       intense                                  31:23 140:20
     68:16 70:21                          intervenors
                         188:25                                 150:1 184:8
     71:6,21 72:14                          9:17,19 107:5
                       intent                                   185:20
     73:25 76:2                             108:2
     80:22 81:2          125:8                                iterations
                                          interview
     97:22 98:4,5      intentions                               115:22
                                            45:9 54:9,17
     99:13 106:4         95:21              145:7



                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 258 of 316
 Alan Hays
 October 06, 2021                                                           30

                       Joe                  165:13 168:20       95:10,11
             J           10:8 105:4         211:8             Lake
                       Johns              kinds                 22:20 23:11,
   jam
                         202:16             153:10              12,13 24:6
     185:18 186:6,
                       Johnson            king                  25:15 26:1
     8
                         9:22 10:21         34:20               28:6 30:10
   January
                                                                31:4,17 32:13
     31:5 201:8        judge              kiss
                                                                33:24 34:12
                         13:9 18:3          102:11
   Jazil                                                        35:5 37:13
                         185:1            kitchen
     9:10 85:3                                                  38:4,12,19,22
     87:11 102:24      judgment             58:18               40:22 41:17
     106:25 107:25       198:1            knew                  42:1 47:20,24
     138:20 139:20     judicious            21:16 44:3          48:11,17 49:2
     145:22 150:18       107:14             73:3,11             53:16,18
     155:7 181:14,     jug                  135:12 177:3        54:21 55:11,
     16,24 182:1,        95:21            knock                 13,16,21
     12 191:17                              148:17              60:12 61:2,17
                       July
     193:19 196:17                                              62:15,25
                         84:4             knowing
     200:7,10                                                   63:7,12 71:13
                       jump                 64:19 83:19
     203:18,23                                                  76:13 78:24
     205:11,13,23        158:6            knowledge             79:24 82:14,
     206:10,24         justification        24:22 41:11,        23 87:20
     208:14 209:1,       145:5              19 43:13            89:14,19
     14,17,21                               55:24 61:7          90:7,14
     214:17                                 62:18 63:5          91:18,22 95:4
                                 K
     215:20,24                              66:1,15 70:17       96:12 97:8,21
     216:11,13         keeping              76:4,12 92:2        99:22 103:12
     217:22 218:6,       208:3 211:19       96:11 97:19         106:2 109:12,
     16 222:5,12       Kenneth              109:16 120:9,       16 113:10,22
     223:2               9:13               10 121:4            118:16 120:7,
                                            130:20 139:16       11 121:5,11,
   Jefferson           key
                                            152:11 205:6        16 123:11
     10:1                40:20
                                            219:24              127:23
   Jerry               Kia
     11:1                                                       129:12,16
                         10:21
                                                    L           130:1,9,19,21
   job                 kind                                     137:17 142:14
     22:15 36:10         82:7,20,21       lack
                                                                150:22,24
     83:12 135:24        83:9 86:13         77:11 216:21
                                                                167:25 168:21
     168:18              112:13 133:16    lady                  169:22 171:19
     171:11,12           134:13 146:20      145:8               172:16 174:14
   jobs                  156:14 161:14    lag                   175:16 204:24
     26:15               164:18,22          16:22 78:8


                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 259 of 316
 Alan Hays
 October 06, 2021                                                               31

   lame                  155:25 182:1       143:13 182:14       186:24
     144:1             lawyers              183:1 185:6,      level
   language              104:18 108:17      14 187:7,22         33:14 35:23
     91:1 114:25                            188:17 195:3        40:17,18 89:6
                       Lay
     184:25              219:8            legislator            137:13 160:25
   laptops                                  135:11 144:22     Levy
                       layers
     15:5                                   185:16              11:2
                         40:15
   large                                  legislator's        librarian
                       leadership
     31:6 72:14                             189:8               49:21 203:8
                         182:24
   larger                                 legislators         libraries
                       leading
     24:3,4 72:19                           90:5 139:5          217:5
                         185:11
                                            140:5,20
   largest             leads                                  library
                                            141:1,22
     34:25 35:1          27:11                                  32:10 49:22
                                            143:21 144:1,
   late                League               10 145:13,19      license
     65:19 97:10         9:21 12:22         146:8 159:25        50:5 66:24
     129:7,11,19         13:2,5 184:18      189:12 221:10       67:3,9 151:7
     177:21                                                     160:2,9
                       learn              legislature
   Latimer                                                      161:17,24
                         83:21              36:7 42:8
     10:4,6 124:3,                                              162:8 163:23
                       leave                43:25 46:5
     25 125:2                                                   164:9 166:3,
                         28:16 59:16        103:8 134:21
                                                                13,15,21
   Laura                 65:13 88:8         137:18 138:17
                                                                207:8
     45:10               99:5               175:25 176:18
                                            182:19 183:5      lid
   law                 Leesburg
                                            187:18 189:4        201:25
     17:5 36:16          34:25
     51:18 69:19                            195:4             life
                       left                                     14:12,13
     84:16 87:5                           legitimate
                         15:9 57:19
     90:3,6,13                              160:21            lift
     91:1,2 92:3       legal                                    112:18
                                          length
     122:18 123:1        12:21 20:16
                                            144:18            light
     126:7 128:10        91:21 117:13
                                          lengths               203:14
     129:1 134:18        118:3 179:20
                         193:18 216:22      146:23            limit
     167:17,19
                                          Leon                  153:4 186:21
     176:9 202:24      legality
                                            10:20               202:8 203:22
     214:8,10            42:4
                                                                205:13
   lawsuit             legislation        letter
                                            13:22 43:18       limited
     21:16 42:3          184:16
                                            59:13 69:19         152:24 153:21
     56:23             legislative
                                            162:20            limiting
   lawyer                37:8 125:19
                                          letters               155:2
     118:9 123:5         135:2 140:25



                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 260 of 316
 Alan Hays
 October 06, 2021                                                              32

   limitless           litigation           5,13 186:12       Lux
     198:7               83:10              194:24 198:10       10:18 124:13
   limits              live                 223:16
     186:12,17           69:17 70:13      longer                     M
   lined               lives                84:19 92:7
                                                              machine
     148:11 190:1,       178:8              95:11 120:6
                                                                57:7,11,12,
     2                                      125:16 146:25
                       living                                   16,18 58:2
                                            147:9 148:15
   lines                 16:8 45:23
                                            151:1 186:20      machines
     38:17 61:18,      lobbying                                 39:24 153:12
     22 84:12                             look-up
                         43:22
                                            159:11            made
     130:2,13
                       lobbyist                                 27:23 36:5
     146:24,25                            looked
                         124:7                                  42:7 46:16
     147:9 149:7                            121:9 138:7
                       local                                    47:11 50:25
     198:10                                 183:24
                         142:13,15                              84:16 88:14
   lingo                                  Lord
                       located                                  99:7 108:23
     20:16                                  40:11 108:11
                         64:12 71:2                             153:11 154:2
   Link                                   lose                  173:23 183:11
                         94:13,14
     10:15                                  183:19              187:12 190:1
                         103:14
   liquid                                 lost                  191:5 193:5,
                       location
     49:20 95:22,                           103:21              14 195:2
                         75:16 81:8
     23 96:9                              lot                 Madison
                         82:12 94:6
   liquids               102:14 176:5       21:4 35:6           10:2 12:25
     49:25 202:1,8                          44:14 49:10       magnifying
                       locations
     203:9                                  75:2 183:12         93:6
                         71:3,7 81:6
   list                                     184:10 185:19
                         82:13                                mail
     28:11 30:4                             196:6 200:17
                       lodge                                    47:20 50:9,10
     47:4 57:21,                            203:1
                         102:25                                 51:13,15
     23,24 58:8                           loud                  52:2,3,8
     86:3 183:9        logistically         77:6 116:25         53:15,23 54:6
     223:11              189:21
                                          low                   55:13,21
   listed              logs                 66:19               59:17 61:1,3,
     151:13 192:6        73:14 74:4                             12,14,21,25
                                          lower
                         80:3,5,9                               62:4 65:12
   listen                                   57:9
                         81:1,5                                 97:12 112:17
     155:20 184:13                        ludicrous
                       long                                     142:14 147:4
   listened                                 91:11
                         28:11 29:14,                           166:23 191:21
     184:19,20,22                         lunch
                         15 35:3 38:17                          194:1 204:11,
   literally             51:10 60:19        70:15 106:11,       21 205:2,4
     27:22 64:21         61:18,22           17,19,23
                                                              mail-in
     83:6 204:4          62:25 130:2,       108:5,20



                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 261 of 316
 Alan Hays
 October 06, 2021                                                              33

     54:11,22            110:2 118:19     Mari                materials
   mail-type             122:20             9:24                205:8
     151:6               126:12,15,22     Maria               math
                         132:11,12          215:6 216:1         208:10
   mailbox
                         134:9 159:20
     49:21 67:25                          Marion              matter
                         172:4 176:25
     79:19                                  24:5 34:14          12:21 46:15
                         181:3 182:6,
   mailboxes                              mark                  133:16 180:14
                         15 188:24
     85:18 204:10                           10:19 18:20         186:15 188:6
                         197:3 201:25
                                            50:17 52:8          202:15
   mailed                208:15,19,20
     54:1 65:9           217:24 223:21      93:8 100:5        Matthews
     161:4 169:13                           110:14,18           215:6 216:1
                       makes
     174:18                                 135:25 141:4      maximum
                         51:25 75:2
                                            151:24 189:17       106:15 107:12
   maintain              112:25 122:19
                                            197:2,14            122:21
     29:23 80:5          129:4 131:10
                                            200:7 209:15
   maintained            134:2 148:16                         Mcvay
                                            215:13,21
     80:9 81:5,7       making                                   69:5 216:5,
                                            216:12
                         32:23 40:20                            16,18,20
   maintaining                            marked
     197:1               46:14 137:21                         meaning
                                            18:23 19:13
                         160:15 168:4                           17:2
   maintenance                              44:22 50:19
                         184:6 189:19                         meaningful
     30:3,4                                 54:12 93:2
                         222:2                                  152:23 153:20
   major                                    100:11 110:16
                       malbehavior          118:18,24         means
     56:4
                         86:13              123:21 136:1        13:11 71:16
   majority
                       malicious            141:13 152:1        100:2 101:6
     48:24 121:4
                         204:21             192:21 194:12       104:20 131:8
   make                                     200:8 209:19        149:14 175:4
                       man
     11:6 18:10                             215:22 220:22
                         78:3 172:19                          meant
     22:14 29:3,4,
                       managing           Mary                  55:4 100:23
     23 30:5 31:22
                         190:19             95:4 99:22          101:5 125:2
     32:1,8,17
                                            142:15              126:23 144:12
     33:12,19 37:6     manned
                                          master                212:20
     40:7,11,24          202:22
     44:8 47:20                             27:11             meantime
                       manner
     48:4 57:24                           match                 141:17 144:5
                         56:6 105:3
     60:16 66:22                            58:14 163:11      measure
                       March
     72:2 73:16,19                          167:9               64:15
                         45:3 70:9
     76:5 84:11                           matching            mechanical
                         110:10 111:24
     87:23 88:5                             56:16,17,18         25:8 189:1
                         136:12 177:21
     90:14 93:3                             60:5
                         195:4 199:17                         mechanics
     105:22 107:6
                                                                25:1,4


                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 262 of 316
 Alan Hays
 October 06, 2021                                                              34

   medication          Meros                33:18               170:17 171:18
     22:9                9:12 182:2,10    mind                misspelled
   meet                  217:24             87:7 99:9           199:21,22
     33:6                218:17,18,25       102:15 131:15     misstating
                         223:20             165:17 178:15
   meeting                                                      147:2
     36:2 185:23       mess                 199:15
                                                              mistaken
                         96:5             minds
   meetings                                                     162:3
     185:10,13,18      message              141:22
                                                              misunderstood
     186:9,12            123:19 124:1,    mine                  89:24
                         10,24 144:6        143:23 203:5
   member                                                     mixed
                         220:24 221:3       206:22
     22:25 23:6,23                                              205:1
     35:15,18 46:9     messages           minimize
                         124:20                               Mo
     110:4 137:18                           16:17
                                                                102:24 106:25
     153:5             method             ministerial           107:23 181:12
   members               16:4 125:8         117:17              182:1 183:8
     115:17 153:1      methods            minute                188:18 198:7
   memo                  158:17,25          12:4 45:20          203:1,16
     217:21              159:10             52:7 78:19          204:3 205:19
   memory              meticulous           89:24 98:15,        208:18 219:1,
     111:21 184:4        28:22,23           21 111:17           6
                       Miami-dade           116:16,18         model
   men
                         10:11 25:23        148:6 162:15        66:23
     36:20
                                            186:18 188:21
   mental              Michael                                modifications
                                            199:16 215:2
     101:23              10:10                                  36:25
                                          minutes
   mentioned           microphone                             Mohammad
                                            11:17 35:13
     22:21 29:22         16:19                                  9:10
                                            60:21 64:16
     35:12 51:5        mid                  107:22 110:24     moment
     66:10 127:24        177:21             132:12              16:9 53:4
     130:1 140:11      middle               186:19,20           80:13 98:19
     141:25 142:4        34:13 42:16        220:10              119:16 170:7
     146:21 160:17       152:18                               moments
                                          misdeeds
     164:22 169:24                                              144:20
                       miles                68:15,17
     170:16 171:17
                         34:16,17         misplaced           Monday
     197:18 211:17
                       milieu               103:20              65:15,25 66:2
     216:15
                         36:17                                  92:9 212:15,
   mercy                                  missed
                                                                24 213:2,3
     40:12 108:11      military             217:25
                         48:21                                money
   mere                                   missing
                                                                33:21 40:14
     113:17            million              169:15,20,25
                                                                89:9 181:2


                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 263 of 316
 Alan Hays
 October 06, 2021                                                              35

     208:11,15,19,       196:5              63:6 193:11,        214:15 220:8,
     23 211:4          motives              22 194:2            14,18,23
   monitor               214:8            mute                  222:8,22
     72:25 74:10,                           16:21               223:5,14
                       Motor
     14 75:3,19          56:22            myriad              Nasseri's
     88:2,9,25                              94:25               110:20
                       mouse
     146:12                                                   National
                         165:18
   monitored                                        N           179:10
                       mouth
     66:12 70:19                                              nature
                         14:15 28:23
     72:6,11 75:13                        NAACP
                                                                77:8
     80:9 85:1,12      move                 9:7 107:9
                         83:23,25                             nauseam
     86:9,24 87:2,                          133:9 141:10
                         102:15 118:12                          144:18
     3 88:19 91:2                           184:19
     92:14 103:24        150:25 174:9                         nearby
                                          Nadeen
     216:25              189:13 201:9                           102:4
                                            54:18
   monitoring          moved                                  necessarily
                                          Nadine's
     66:10 69:2,         34:18 86:12                            62:3 146:25
                                            55:1
     11,17 70:7,13       151:14 202:18                        needed
                                          nail
     72:4,22 74:2      moving                                   23:4 51:14
                                            169:3
     75:9,15,17          36:24 151:19                           68:4 149:22
                                          naked
     76:3 84:21        multifactor                              177:13
                                            211:20
     85:16 104:5,        39:17                                needn't
     6,11 106:6                           names
                       multiple                                 145:15
     144:2,4                                13:22 57:22
                         32:2,14 35:2                         negative
     146:1,6                              narrow
                         39:23 40:15                            210:20 211:3
     201:21 212:11                          49:14 206:2,9
                         43:4 44:4                            negligence
   monitors              52:6 56:7        Nasser
                                                                83:9,17
     75:25 80:11         58:11 59:11,       155:10
     81:4                                                     negligent
                         12 108:24        Nasseri
                                                                82:18
   months                145:14 151:8       9:6 107:9
     120:6               189:20 190:7                         negligible
                                            110:12 111:8
                         202:13 222:15                          168:2,3
   morning                                  133:3,5,8
     9:15,18 12:18     multitude            135:16,24         neighborhood
     53:2 145:8          19:19 20:22        136:3 138:21        53:22
     197:19 211:1        30:12 39:12        140:8 141:4,      neutral
     212:15,24           56:10              16,24 145:24        36:6 83:7
     213:2,11                               146:9 148:18,     News
                       multitudes
                                            23 149:20           54:9
   mother                20:24
                                            150:11,19
     45:23 155:14      municipal                              nice
                                            151:24 152:3,
     195:6,10            30:12 33:13                            40:14
                                            6 155:8


                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 264 of 316
 Alan Hays
 October 06, 2021                                                              36

   nicely              noticed            numbered            objecting
     140:22              52:5 206:12        40:1 209:15         191:15
   night               notification       numbers             objection
     51:20 52:19         216:24             34:6 40:1           17:16 102:25
     53:2 65:18,20     notify               54:3 62:2           118:3 128:19
     69:14 73:7          59:5               81:15,22            146:2 191:13,
     112:4 186:4                            125:22 126:2        16,19 193:17
                       notion
     202:20 211:1                           161:21 162:20       196:15 203:15
                         155:2
     213:10                                 164:6,8             205:9 206:5,
                       notorious            167:17,21           21 208:6,17
   night's
                         97:6,16            174:7
     68:22                                                    objections
                       November                                 18:2 205:14
   nightmare
                         71:16,17                 O
     176:17                                                   objective
                       NPA                                      217:2
   nodding                                oath
                         134:10
     17:9                                   17:2,4            obsolete
                       number                                   48:15
   non-family                               157:13,17,19
                         27:6 49:24
     153:1                                object              obvious
                         50:5 54:11
   nonballots                               17:14 18:2          198:8
                         55:16,20,21
     100:20 101:8        58:3 59:12,15      61:4,9 74:8       occasion
   nonforwardable        80:17,23           76:16 85:3          186:17
     151:16              81:13 84:3         87:11 91:25       occasions
                         116:15 119:23      97:24 103:15        56:7 145:14
   nonpartisan
                         135:18 149:5       104:9,16
     26:18 131:7                                              occur
                         151:3 160:3,9      105:9 117:12
   nonsolicitation                                              198:12
                         161:14,18,24       138:20
     196:7,11                               139:19,20         occurred
                         162:3,8,9
   norm                                     141:20 145:22       62:15,20
                         163:11,17,21,
     186:11                                 146:7 149:3         177:20
                         22 164:1,16,
   normal                23 165:3,11,       150:3,17          occurrence
     139:17              12 166:3,10,       155:6,7 164:4       109:19
                         15 167:9,25        165:5 169:9       October
   north
                         168:22 169:4,      170:5 171:24        55:5 122:20
     34:16
                         11,18,21,23        173:21              215:18,19
   Northern                                 205:15,20
                         170:4 171:23                         offer
     157:7                                  211:5 214:15
                         173:19 175:21                          48:15 105:11
   notes                 183:16             222:5,12
     15:12                                  223:2             offhand
                         190:16,17,19
                                                                131:15 143:9
   notice                196:24 209:4     Objected
                                                                160:22 175:21
     18:21 19:8,12       220:19             128:19
                                                                180:2
     97:11 105:4



                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 265 of 316
 Alan Hays
 October 06, 2021                                                              37

   office                166:8 167:7      omitted             opportunities
     14:2 20:23          169:13             74:7                151:8
     26:19 27:19         174:12,16,21     on-the-job          opportunity
     28:15 29:19         175:2,8,20         27:7                17:15 18:9
     31:7 32:20          176:4,6,7,8,                           169:14 205:20
                                          online
     33:22 36:24         12,14,21
                                            27:21 32:9        oppose
     48:17 49:5,10       177:5,16,20
                                            48:1 127:25         43:22
     50:14 52:23,        178:3 180:18
                                            166:24 188:9      opposed
     24 53:12,14         181:7 182:2
     63:4,17 64:1,       186:4 190:14,    open                  85:1,12
     2,5,10,11,12,       19 192:23          11:13,23          option
     13 65:6 66:12       201:8 202:22       15:16 32:15         40:25 48:12
     69:1 71:6,22        207:23 208:3       49:7 92:7,8,        53:4 123:12
     72:8 73:9,11        209:5,10,23        10 95:22
                                                              oral
     74:1 75:4,14        210:5,24           152:7 184:13
                                                                77:21
     76:2,3 77:25        211:7 212:2      opened
                                                              Orange
     79:3 81:2,8         216:25 217:10      57:2 64:2
                                                                24:7 34:13
     84:21 85:20       office's             79:1
                                                                176:5,7
     86:1,8 87:2,6       127:6,9          opening               204:24
     88:20 89:13,                           49:12,16
                       officer                                order
     21 90:16                               95:18
                         31:3                                   28:18 29:4
     91:3,14,16
                       officers           openness              87:18 130:10
     92:6,12,19
                         113:7              36:22
     94:22 95:3,8,                                            ordinary
     14 97:21          offices            operation             189:3
     98:6,7,13           32:11 37:1         77:1 188:19
                                                              organization
     99:14,15,22,        112:3 113:11     operational           128:2 129:18
     23 101:19           115:6 203:2        63:25               150:7 157:6
     102:5 103:13      official           operator              175:5,14
     106:4 109:13        43:12 47:15        178:4               176:11
     115:6 117:16,       113:5,24                               177:18,23
                                          opinion
     17,21,23            185:9                                  178:4 179:6,9
                                            35:17 42:11
     127:24 130:17                                              180:7,21
                       oftentimes           84:24 85:5,7,
     131:18 134:11                                              219:21
                         114:2              10 86:5
     135:13 142:2,
                       Okaloosa             103:18 115:3      organizations
     14,16 144:17,
                         10:17 124:14       145:19 147:21       128:7,11
     24 146:13
                                            151:17 216:22       129:7,11
     147:24 148:3      Okeechobee
                                          opinions              174:10,13
     150:6 151:14        11:3
                                            137:6,19            175:9,20
     160:19            Olivo                                    176:4 177:5
     162:10,25           11:1             opponents
                                                                180:12
     164:14,22                              149:21



                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 266 of 316
 Alan Hays
 October 06, 2021                                                              38

   organizations'      oversight          pandemic            party
     177:14              111:24             56:3,11             26:24 158:20
   oriented            overthink          paper                 179:10 184:12
     28:20               21:15              15:11 58:23         195:14,16
                                            73:1 190:5          197:8
   origin              overview
     192:10              43:21            paperwork           Pasco
                                            211:8               96:24
   original            overwhelming
     164:16              48:24 176:13     paragraph           passage
                                            136:25 137:15       42:9 43:7
   originally          owned
                                            143:16 144:7        109:11 120:19
     24:3 163:17         90:8
                                            189:18              218:13
     164:2,24
     187:12                               paragraphs          passed
                                 P
                                            138:5               183:17 195:19
   originated
                       p.m.                                   passenger
     209:11,24                            paraphrasing
                         51:20,24                               67:10
   Orlando                                  211:5
                         52:19,25 53:3
     34:23                                pardon              passenger's
                         59:10 63:24
                                            190:18 191:14       207:6
   Osceola               64:3,4 65:23
     34:15                                Park                passing
                         71:8,15,17
                                            176:4               189:2
   other's               93:13 96:23
     156:17              100:9 101:1      parking             password
                         103:4 109:4,5      49:10 211:6         11:15,20
   out-of-county
                         148:21,22                              39:16,18
     175:8,18                             part
                         181:21,22                              141:12
     177:4 181:6                            23:13,14,25
                         212:20,24          25:5 27:23        past
   outlaw
                         213:10 218:4,      30:2 38:15          89:7 130:16
     146:6
                         5 223:25           73:13 80:25       patience
   outset
                       packed               83:4,15 93:9        11:11
     157:25
                         185:18,21,23       143:14 146:7      patient
   outstanding           186:6,8            173:8 195:5         170:19
     168:6,18                               196:25 212:8
                       pad                                    patient's
   overnight             15:11 56:21      participating         28:23
     212:17              58:16,21           16:10
                                                              patients
   oversaw             paid               parties               14:14
     30:25               20:6 51:10         196:13
                                                              patrol
   overseas              75:5,14          partisan              69:13
     48:20,22            184:10             26:18 36:5
     51:21 65:10                                              Paul
                       Palm                 134:17
                                                                10:17 124:13
   oversee               10:14            parts
     28:10                                                    pause
                                            44:6


                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 267 of 316
 Alan Hays
 October 06, 2021                                                              39

     132:14 173:14       159:6,11,24        75:4,15 76:2        44:17 45:2,10
   pay                   164:10           permitted           phone
     50:9 66:5           168:19,25          13:10 114:20        15:14 16:3,16
     77:1 82:18          169:12 178:7                           33:3 48:4
                                          person
     88:17,25            181:2 186:2                            59:15 186:5
                                            32:9 33:1,2
     91:7,10,13          188:16 191:24
                                            48:5,23 49:5      photo
     104:21,22           196:6 197:4,
                                            72:13,22,25         64:9
     167:21 181:2        17 198:8
                                            74:2,17,19,21     phrase
                         204:17,22
   PDFS                                     80:17 82:19,        172:6 194:8
                         211:20 212:12
     11:14                                  23 85:17
                         213:14,22                            phrasing
   Peg                                      87:8,24,25
                         214:3,12                               172:24
     10:5                                   88:6,9 95:2,
                         222:10,15,25                         physical
                                            20 116:23
   pen                   223:1                                  39:21 51:19,
                                            118:10 127:24
     15:11             people's                                 23 75:16
                                            130:11 137:9,
   penalties             214:7              12 147:9            176:5 198:14
     115:19 152:23     Pepsi                149:24 158:23     physically
     153:20              198:17             160:16 178:22       85:1,12
   penalty             percent              191:11 192:2      pick
     86:17               38:23 54:21,       195:24 196:22       44:18 48:23
   pending               25 55:2 82:24      198:18
                                                              picks
     18:17 30:13         83:7             person's              50:5
   people              percentage           73:4 212:8
                                                              pickup
     13:21 20:23         55:11,13         personal              65:20 99:5
     21:2,4 28:14,       61:2,11 62:7       155:14
                                                              picture
     20 31:12 32:8     perfect            personally            50:13 51:2
     33:17 39:14         194:22             153:18 213:6        57:13 67:2,8,
     45:12 50:6
                       performed          personnel             14 94:16
     51:10 52:21
                         14:14              75:15               200:19 203:13
     58:12,15
                       period             perspective           206:12
     61:25 62:1,3
     64:22 67:22         34:11 51:22        186:14 204:1,     pictured
     72:15 76:7          127:5,7            2 218:2             65:14 66:11
     78:3 80:19,20       128:16 149:16    pertaining          pictures
     88:24 95:15,        215:12             147:20              206:14
     16 99:5           periods            phenomenon          piece
     101:10 119:22       38:17              113:21              58:23 104:7,
     135:4 139:3       permanency                               14
                                          philosopher
     147:2,3,20,22       122:3              203:20            pieces
     150:14 153:2,
                       permanent          Phoenix               205:2
     25 155:4


                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 268 of 316
 Alan Hays
 October 06, 2021                                                              40

   place               planned            pointing            portion
     16:12,18            48:13 53:23        53:5,7,8            23:12 24:3,4,
     60:22 62:2,5      planning           points                5,6 110:13
     80:11 86:11         102:17,19,21       32:20 58:8          111:22
     90:12 91:21         107:1,18           108:23              152:18,20
     94:14 109:4         108:6 156:22       154:20,21         pose
     112:22 125:5,                          190:12              88:20
                       plans
     10 130:23,24
                         90:13 107:7      police              posed
     148:21 150:25
                       plant                217:4               216:19
     175:15 181:21
     195:24 197:3        39:21            policy              position
     198:9,19,21       plaque               36:9,15,16          25:21 26:12
     215:13 218:4        27:17              100:20 101:5,       43:12,15,16
                                            8 145:15            44:3 47:15
   places              plate
                                            149:8,19            179:25 182:24
     29:1 45:4           207:8
                                            184:6,13          positioned
     78:2 223:7        play                 185:1 210:5,8       57:4 72:14
   plain                 40:19 165:18
                                          political             74:13
     64:20 172:4,      pleased              36:17 196:13      positions
     11 190:5            38:15
                                          politics              40:16 184:25
   plaintiff           plop                 36:9              possession
     108:25              211:21
                                          Polk                  51:19,24
   plaintiffs          plugged              34:15             Possibility
     9:7,9,21            98:17
     12:21 13:2,3,                        poll                  215:17
                       pocket               197:1
     5,15 18:13                                               possibly
                         104:21 208:21
     107:9,21                             polling               30:7 206:6
     108:7,22          point                29:1 62:2,5       post
     157:5,7             33:9,15,20         130:22 131:2        14:2 29:9
     205:20              70:6,8 71:19       195:23 197:2,       85:25 95:3,8
                         87:22 96:25        20 198:9
   plaintiffs'                                                  99:22 142:13,
                         101:25 102:3       223:7
     11:11                                                      15 151:14
                         107:19 108:21
   plan                                   polls               postage
                         115:14 119:17
     26:9 88:11                             61:19,22            50:10
                         126:24 135:19
     90:15 92:3                             130:2,14
                         140:1,3,6                            postal
     102:3 108:25                           196:5,7
                         154:2 157:18                           48:19,25
     127:6,9             204:3,6 205:1    poor                  51:18 56:5
     167:15 199:3        219:1              208:12              59:13 64:18
   planet              pointed            popular               78:18 84:22
     165:13              66:18,19           66:2 76:13          85:21 90:8
                                                                95:4,15,19



                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 269 of 316
 Alan Hays
 October 06, 2021                                                             41

     97:6,10,16        precinct           presented           previous
     98:12 99:14,        40:6 130:9         19:20 68:6          14:13,18
     23 100:1          precisely          presenter             149:8,19
     101:11 105:16       221:11             186:17,19           150:2 151:1
     144:3,23                                                   152:4 154:8
                       preclude           presenting
     151:5 199:18                                               175:22 176:24
                         87:7 103:21        74:21
     200:2 204:4,                                               177:2 211:4
     10 205:2          prefer             presents
                                                              previously
     214:20              115:23             74:10
                                                                32:6 34:18,25
   postmaster          preference         President             103:14 169:15
     99:5,12             30:17 37:17        221:6
                                                              pride
   postmistress        preliminary        presidential          28:19
     94:7 95:6           154:22             30:17,24
                                                              primary
                       preparation          33:13 34:4
   potential                                                    30:18,19,24
                         21:12,20           37:17 39:3
     105:17 116:7                                               37:18 69:7
                       prepare            presiding             72:19 80:8
   potentially
                         20:5 148:10        31:3                201:13
     75:23 95:11
     112:11            prepared           press               printed
                         19:16,17           154:17,19           74:11,22
   potty
     88:6                53:23 136:18     pressed             printer
                         148:12 156:6       88:15               40:4
   pour
                         182:7            presume
     49:19,25                                                 prior
     95:23             preparing            141:23              109:11 135:9
                         21:14            pretend               158:10,14
   pouring
     96:8              preposterous         141:22 222:13       160:6,18
                         211:2            pretty                161:2 174:11
   power
                       preprinted           33:24 50:11         182:22 192:25
     38:18
                         48:14              59:24 75:22         209:17
   PPP
                       preregister          102:11 112:6      priorities
     70:9,10 80:7
                         32:4               161:8 174:23        46:7,16,21,23
     178:6
                                            185:18 187:6        47:1,4
   practice            prescribed
                                            202:5             private
     122:15 153:16       30:4
                                          prevailing            94:5
   practiced           present
                                            56:3              privileged
     28:22               13:15 43:19
                         93:25 154:5      prevent               35:18
   practicing                               149:22 151:18
                         186:18                               privy
     14:13                                  155:4 203:9
                       presentation                             36:8
   pray                                   prevented
                         136:19                               proactive
     176:15 195:12                          129:16 150:14       192:7



                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 270 of 316
 Alan Hays
 October 06, 2021                                                              42

   problem               212:4            promptly              147:19 148:25
     61:18 120:8,      produce              97:1                167:9
     10 132:13           81:15 132:2,     promptness          provisions
     174:8               18                 97:3                176:19 210:3
   problems            produced           properly            public
     106:6 129:5         73:14 77:22        138:2               35:19 95:20
     131:12 150:6        81:20,22,25                            96:19 119:6
                                          proposed
   procedure             84:3 124:13        131:21              145:15 187:12
     158:8 166:22        131:25 132:1                         publication
                                          proposing
   procedures          production           217:2               55:8
     128:22              77:20 209:4                          published
                                          prosecutorial
   proceeding          productive           117:19              55:4,5 193:1
     179:20              214:11                               pull
                                          protected
   proceedings         profession           141:12              12:3,4 18:19
     9:1 223:25          168:17                                 44:16 50:13
                                          proud
   proceeds            professional                             54:8 100:5
                                            168:17
     74:5                22:19 27:12,                           110:14 115:8
                                          proved                116:10,17
   process               14 36:20
                                            38:9 168:8          135:17 143:3
     44:10 47:12,        139:10 195:17
                                          proven                151:23
     21 56:16 59:8     professionals
                                            126:1             punctuation
     60:4,10,12          137:20,22
     75:22 96:1                           provide               189:17
                       program
     101:23                                 17:15 167:24      purely
                         30:4 156:9
     114:15,17                              174:6 180:5         208:7
                       programs             186:23 197:9
     139:14 140:14                                            purpose
                         29:7
     142:18 162:5                         provided              113:19
     164:22 166:4      progressed           18:8 81:14
                         47:11                                purposes
     167:2,3                                125:21 130:18
                                                                107:1
     175:20 176:14     prohibit             163:17 164:1
     177:9,13            153:1 195:21       165:11 180:4      pursuant
     187:7,22                               194:11 209:5        19:12
                       prohibits
     188:17 195:3        109:22           providing           put
     209:4,10,23,                           79:7 168:18         12:1 27:9
                       promote
     24 210:21                              190:16,17           43:18 44:20
                         211:12
     211:9                                                      49:13,17 50:7
                       promotes           provision
   processed                                                    51:1,6 58:2
                         211:16             86:18 104:2,
     100:3 177:6                                                59:22 65:12,
                                            6,7,10,15
                       prompted                                 23 72:16,17
   processing                               116:2,3 118:1
                         187:17                                 74:2,14 80:11
     97:23 98:12                            144:25
                                                                85:21 86:2
     99:15 177:17                           145:21,23


                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 271 of 316
 Alan Hays
 October 06, 2021                                                              43

     92:23 94:8          65:25 75:25        45:16 47:21       quotes
     97:11 99:17         83:15 85:8         62:24 64:8          45:3
     102:3 112:20        97:5,25 98:2       66:9 80:1
     125:20,25           101:3 102:25       83:22 107:5,                R
     130:7 141:5         103:3 104:12       8,19 108:1,
     142:24 144:16       105:14,19          14,22 109:1,8     raccoons
     152:23              108:11,16          116:2 120:4,        68:23
     153:20,21           111:11,15          18 129:21         race
     154:11,18           115:9,24           132:22,23,24        82:8
     167:2 169:10        117:4 121:15       133:11 136:19     radius
     176:12,19           127:2 129:12       148:10,11,13        130:22,25
     186:17,21           132:16 134:7       156:6,18,23         131:1,4
     192:3 202:1         154:4 155:12,      157:10 171:14
                                                              raise
     204:17 213:4,       19 156:7,8         181:9 182:7
                                                                12:5
     9,14,18,19          164:18,20          191:8,11,20,
     214:20 215:12       170:6,24           23,24 192:1,      Ramba
     217:6               171:3,5,8          7,9,13 199:8        124:5,7
   Putnam                172:3,7,24         200:17 204:1      ran
     34:14               173:12 175:23      216:8,18            38:13
                         176:25 177:2       217:21            rare
   puts
                         180:23 181:4       218:16,22           186:19
     67:10 108:4
                         188:11 192:15      219:5 220:4,
     142:5                                                    rarely
                         193:4 202:25       10 223:14
   putting                                                      185:24
                         203:16 205:25    quick
     101:19 102:6        211:4,5                              rationale
                                            140:10 148:14
     145:18 219:2        212:10 214:1                           141:18 149:2
                                            163:19 164:11
                         215:8,13                             re-election
                                          quicker
             Q           216:14 218:1,                          26:9
                                            19:4
                         20,21 219:17                         reach
   quality                                quickly
     96:4              questioning                              98:13 99:15
                                            70:23 133:18
                         13:16 60:15                          reached
   quantify                                 146:21 148:24
                         107:2 132:10                           99:11,16
     61:24                                  220:11
                         158:1 164:15
   queried                                quiet               reaction
                         172:19,21
     162:18                                 85:5 218:23         128:25
                       questions
   question                               quit                read
                         13:17 14:19
     17:12,21,23,                           185:25              18:9 45:8,14
                         16:25 17:1
     24 18:17,18                                                46:13 96:22
                         18:2,4 19:15,    quiz
     19:4 21:15,19                                              100:21 103:6
                         20 20:11           119:4 120:5
     29:16 33:7                                                 111:14,17
                         21:10 22:18      quote
     55:19 64:4                                                 116:25 118:9
                         35:12 37:21        194:5               119:16 123:24


                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 272 of 316
 Alan Hays
 October 06, 2021                                                              44

     139:3 149:6         163:20,21          93:16 119:2       recording
     171:16 187:1,       164:16 165:2       143:7 152:9         56:19
     3 223:24            166:20 179:7,    recollection        records
   reading               21 180:1           54:7 81:9           59:2 73:13
     111:18 117:3        194:6,12           87:5 104:17         83:3
                         195:7 199:24       201:12
   reads                                                      recount
                         200:5 203:19
     57:11                                recommend             29:12 168:11
                         204:15 209:7,
   ready                                    52:1,11           recounts
                         12 210:20
     148:11 167:4        214:1 215:25     recommended           29:12 168:8
   real                  216:20 218:11      46:7 47:1         recovered
     14:12 40:14         221:2            reconstruct           199:9,23
     96:4 154:11       receive              126:25            RECROSS
     163:19 172:7        76:18,19         reconvene             220:7
   realize               86:23 114:7        106:24 109:3      recruit
     19:24 33:4          119:18 120:1     record                29:2
     211:17              128:4,5 130:8      11:22 13:19       rectified
   reason                142:21 174:12      16:20,22            125:18
     13:14 18:16         175:2              17:9,16 43:5
                                                              rectify
     57:24 82:10       received             44:3 45:12
                                                                169:19
     88:8 116:3          38:11 55:7         53:6 54:11
     124:22              77:10,12           55:16,19,20       REDIRECT
     147:15,16           78:12 170:12       57:12 58:11,        219:10
     152:12,15           180:11             24 61:10 73:2     redistricting
     164:14 205:15     receiving            80:15,16,19,        24:17
     218:9               178:8              23,25 98:20,      reduce
   reasons                                  23 108:20           18:7 89:6
                       recent
     41:16,25                               110:25 116:19
                         39:2 53:16                           reelected
     56:11 149:5                            141:15 148:19
                       recently                                 26:3
     222:16                                 156:25 157:1
                         61:18 95:6         160:10 161:5      Reese
   rebuilding            97:11 180:16                           10:5
                                            163:9,12
     137:14              202:17             164:6 168:6       refer
   recall              recess               169:16 170:24       13:1,6,21
     20:6 25:2,12        60:22 109:4        191:16 201:12       36:4 42:5
     43:1 46:12,14       148:21 181:21      209:16 219:3        117:20 137:22
     47:5 54:2           218:4              220:13              221:16
     69:6 76:21,23
                       recognition        recorded            referee
     77:23 113:14
                         58:7               40:2 56:21          36:11
     125:4 136:9
                       recognize            58:24 74:22       reference
     157:10,13,21
                         45:4,7 54:16       81:13 167:4         21:25 112:2
     158:15


                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 273 of 316
 Alan Hays
 October 06, 2021                                                              45

     154:24              31:19,21           181:7             remains
   referenced            32:2,6,13,14     regular               90:12
     18:1 80:4           126:1 147:16       30:18 64:1        remarks
     145:8 168:20        153:14 160:1       185:6               46:13 110:9,
     179:15              161:16,23                              13 111:6,9,
                                          regulated
                         163:17 164:2,                          11,16 136:18
   references                               153:17
                         24 165:4                               138:8 154:22
     199:23                               reinforced
                         167:5 178:7
   referencing                              206:17            remember
                         179:13
     21:24 50:15,                                               19:7 21:3
                       registering        related
     23 155:2                                                   42:24 45:9
                         29:20 127:20       62:16,20
                                                                53:18,21
   referred              163:20             78:22 129:6
                                                                54:17 55:12
     138:10                                 134:20 150:4
                       registers                                71:10,12
   referring                                183:6 204:16
                         222:18                                 77:20 126:23
     102:1 194:16                           205:5,6,8
                       registration                             149:12 154:13
                                            216:8
   refers                29:24 30:3                             165:10,14
     221:15                               relating              185:17 205:24
                         34:9 48:2
                                            180:5               206:8
   reflect               56:20 128:2,
     60:6 111:22         7,11,15          relation            remembered
                         129:6,10,17,       120:2               20:17
   Reforms
     44:18               18 150:7,8       relationship        remind
                         160:4,6 161:9      141:1               135:18
   refresh
                         165:11           relative
     54:7                                                     remodel
                         166:23,25          74:18 76:24
   refresher                                                    137:1,5
                         174:3,6,10,        77:10
     14:25               13,21,23,25                          remotely
                                          release               11:9 12:14
   refund                175:5,9,19
                                            154:19              16:13
     89:16               176:11,15,16
                         177:5,14,18,     released            removal
   refusing
                         22 180:6,12        42:12,13            105:7
     172:3
                         194:10,11          43:10 47:14
   regard                                                     remove
                         204:17           relevant              52:21
     97:3 105:25
                         219:21,23          83:10,11
     127:4                                                    render
                         220:1            reliable
   register                                                     48:15
                       registrations        188:22
     32:1,5,9,10,                                             renew
                         34:9,10          rely
     11 127:23                                                  48:7 148:25
                         128:5,10           198:8
     128:1,6                                                    150:15
                         174:12,17
     164:17 168:5                         remain              renewal
                         175:3,8,19
     177:11 218:10                          16:19 26:24         150:5
                         177:4,18
   registered                               194:24
                         180:11,19


                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 274 of 316
 Alan Hays
 October 06, 2021                                                              46

   rent-a-cop            47:17 133:8        126:12 158:8,     respect
     69:12 87:7          136:8,13           13,20,23            172:21 192:11
     211:7             representative       159:1 161:2,3     respected
   Rep                   43:23              166:7 178:13        185:24
     143:24            Representatives    requests            respond
   repeat                23:7,17 119:5      48:7 55:7           101:4
     133:15,22                              127:15 149:1
                       representing                           response
     156:11 180:15                          150:15 175:24
                         13:14 184:11,                          84:3 118:17
                                            193:5,9,14,25
   repeatedly            12                                     119:25 156:17
     52:5                                 require
                       Republican                             responsibilitie
                                            147:25 210:8
   repetitive            26:21,24                             s
     108:14              134:4,9          required              28:5
                         179:10             87:10 108:18
   rephrase                                                   responsible
                                            193:10
     164:21 173:12     Republicans                              33:16 190:20
                         178:10           requirement
   replace                                                    rest
                         179:11,12          84:25 85:11
     102:18,19                                                  36:12 94:9
                         184:8,21           86:4 88:19
   replaced                                                     217:12
                                            104:4 161:14
     142:1 168:12      request                                restarts
                                            167:24 168:23
                         47:25 48:6                             156:2
   replied                                  169:23 170:4
                         84:3 99:7
     101:9                                  171:23 173:20     restate
                         120:15,17,20
   reply                                  requirements          85:8 97:25
                         121:1,6,13,
     217:17,19                              160:4               98:2 121:15
                         17,19,23
   report                122:4,8,9,19,    requires            restriction
     106:6               21,22,23           209:24              145:5

   reported              123:8,12         requiring           restrictions
     105:23              126:16 127:8       104:11 145:25       103:8 114:20
                         147:21,22          146:5 147:20,       141:19
   reporter
                         151:12 158:11      22 193:14         restroom
     17:1,14 18:6,
                         160:20 161:6                           181:18
     20 93:8                              residence
                         165:16
   reporters                                174:19            result
                         173:18,22,24
     45:13                                resides               17:19 153:13
                         174:4 176:18
                                            176:22              219:25
   reporting             209:3
     29:9 54:10                           resolution          results
                       requested
                                            59:21               38:9
   reports               53:19 54:22
     58:5 119:18         55:12,17         resolve             retention
     120:1               81:18 121:5        59:7,20             80:25

   represent           requesting         resources           Retired
     12:20 23:9,25       48:3 125:9         177:13,16           12:23



                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 275 of 316
 Alan Hays
 October 06, 2021                                                             47

   retrieve              19:18 20:11        19:21 99:20,        215:20 216:11
     67:23               21:17 68:1         25 100:1            220:18
   retrieved           ridiculous           128:21 129:1      satisfactory
     95:2                144:14             157:23              14:16
   retrieving          Rights             run                 satisfied
     95:16               133:10             30:10 57:7          60:11
                                            130:21
   return              Rising                                 Saturday
     33:21 49:3          9:9 107:21       running               71:14,17
     50:1,9,10           156:22 157:6       26:9 68:23          213:10
     51:7,13,14                             96:1 98:24
                       road                                   Saturdays
     89:8,13                                99:6 135:6
                         183:20                                 92:10
     109:11,12                              179:24
                       Robert                                 SB
     110:2 115:17                         Ryan
                         12:24                                  42:5,6,11
     125:23 151:5                           9:8 107:20
                       rocket                                   43:21,22
     154:1 196:3                            156:24 157:4
                         198:22                                 46:25 47:15,
     204:23                                 160:22 162:15
                                                                16,23 49:1
   return-to-          Rodriguez            169:10 170:19
                                                                51:6 84:24
   sender                42:25              172:22 181:12
                                                                85:10 86:18
     100:19 101:5,     Rogers                                   87:10 89:23
     7                   12:24                    S             90:12,20,24
   returned            role                                     91:13,21
                                          sad
     48:9 51:23          14:11 40:20                            93:23 104:2,
                                            222:14
     54:1 57:1           135:10 137:17                          8,10 109:11,
                                          safe
     73:8              rookie                                   21 110:1,8
                                            194:19
   returning             160:23                                 114:20 115:8,
                                          safeguards            15,25 117:11
     51:5 52:1,14      room
                                            150:24 151:3,       120:14,19
     58:19               16:10 58:18
                                            17                  125:7,9 136:5
   returns             rooms
                                          safer                 137:12 138:2
     49:23 162:24        39:23
                                            144:24              141:19 147:19
   REUSPSOIG           Routinely                                149:21 158:10
                                          sake
     199:9               191:22                                 160:19 161:15
                                            17:13 161:11
   reversion           Rs                                       162:6 163:9
                                            170:9
     149:8,18            37:5                                   167:9,24
                                          sakes
   review                                                       169:5,23
                       ruin                 156:8 214:19
     21:11 22:2                                                 170:4 171:22
                         96:2
                                          Salzillo              173:19 174:11
     46:18 47:4
                       rule                 10:7 118:13
     68:4,7,8,11                                                175:7 180:10
                         150:2
     76:4                                 Sandi               SB90
                       rules                50:17 117:2
   reviewed                                                     43:13 84:16
                         14:25 16:7         135:17 209:14


                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 276 of 316
 Alan Hays
 October 06, 2021                                                              48

   scenes              seat               seeking             send
     36:13               35:2 67:7          137:1,5             48:3 59:13,17
   schedule            second-to-the-     self-                 80:19 132:4
     97:17             top                explanatory           141:10
                         100:18             112:6               151:12,15
   scheduled
                                                                159:6,23
     42:15             Secretary          Seminole
                                                                160:15 161:6
   schools               9:11,14 69:4       23:14 24:4
                                                                162:10,11,23
     32:4                72:8 102:24        34:14 176:6,
                                                                167:3 175:13,
                         108:3 182:1        12,13
   science                                                      15,16 176:20
     198:22            section            Senate                177:10
                         42:16 189:14       13:9 21:17,24       180:20,21
   Scoon
                       sections             23:23 24:1,2,       181:1 221:3,4
     12:24
                         42:16,17,22        8,11 25:11,14
   Scott                                                      sending
                                            42:4,14 43:9
     10:8              secure                                   48:17 170:1
                                            44:6 46:6,11,
                         29:1 39:10                             215:25
   scratch                                  17 110:8
                         40:20,22,25                          sends
     148:8 150:23                           111:23 114:25
                         41:22 42:1                             151:11
     154:6                                  115:21 118:19
                         79:8 86:7,8,
   screen                                   122:3,9           seniors
                         14 94:14,20
     45:5 165:20                            125:15              153:2
                         95:13,15,20
     192:19 199:11                          131:13,17         sense
                         103:9 104:1
     209:5 220:11                           133:25 139:25       21:1 35:9
                         144:19 194:19
                                            154:2,24            51:25 61:24
   screening           security             155:13              75:2 82:6
     167:2               39:13,15,22        158:14,16           95:13,15 96:3
   screws                40:15 49:11        159:3 161:2,3       107:1 112:25
     206:13              56:15 60:4,8,      176:19              129:4 131:10
   scroll                10,11 69:23        182:20,21           148:16 166:6
     199:18,20           70:3,6,18          183:5 187:5,        169:20 212:11
     216:7               86:14 87:3,8       8,21 189:2
                         91:9 145:1,6                         sentence
   seal                                     191:5 193:13
                         146:14 160:3,                          100:21 101:6
     40:1                                   195:2,18
                         10 161:18,24                           103:6 221:12
                                            202:23 218:14
   sealed                162:3,9                              sentiments
                                            221:6
     40:1 210:1,         166:10,17                              221:11
     10,14                                senator
                         167:2 203:25                         separate
                                            42:25 43:23
   seals                 207:15,21,22                           24:17 141:8
                                            111:14
     40:1                208:2,4
                                            188:13,14         separately
   season                210:25 212:10
                                          senators              110:22
     102:7             seek
                                            136:20 188:7      September
                         137:6,19
                                                                215:4 216:4


                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 277 of 316
 Alan Hays
 October 06, 2021                                                              49

   sequence              185:6,9,14       shop                significant
     58:3                188:18             78:2                44:9 61:2,11
   sequential          set                short                 137:21
     216:12              29:13 197:10,      42:5 127:2          138:19,25
                         11 198:9           132:14 173:14       139:9
   series
     189:23 216:7        201:21             202:25            Significantly
                       setting            shorter               187:25
   servants
     35:19               72:20 125:4        52:15 127:5,7     signing
                         126:25 142:19    shortly               58:16,17
   serve
     25:9              seven-section        179:19            similar
                         47:9 138:9       show                  41:24 57:8
   served
                       Seventeenth          103:7 178:16        112:3 113:2
     23:16 24:11
                         133:24                                 133:14 137:14
     44:1,2 134:2                         showing
                                                                192:13 202:8,
     182:18,20         shade                94:9
                                                                10 203:4
   service               198:4            sic                   221:5
     23:3 33:1         shaking              155:10 200:7
                                                              simple
     48:20,25            17:10            side                  94:2 112:17
     51:18 56:5        shame                25:8 78:8           171:15 174:23
     59:13 64:18         215:12             183:24 207:7
     78:18 84:22                                              Simplest
                       shaped             sign                  109:22
     85:21 87:4
                         201:24             39:16 102:4
     89:6 90:8                                                simply
                       share                143:24 146:13
     95:19 97:6,                                                74:22 91:2
     10,16 98:12         186:13 187:17    signature             121:1 122:5
     99:8,14,24          192:19 199:11      56:16,17,18,        171:6,10
     100:1 101:11        209:5 215:1        19,21 57:5,7,       189:17
     105:16 135:2        220:11,15          9,13,14,18,22
                                                              Simpson
     144:3,23          shared               58:7,9,12,21
                                                                221:7
     151:5 183:15        192:18,23          59:5,6,9,19
                                            60:5 125:23       sine
     190:17,24         sharing
                                            178:17 210:3,       185:22
     199:18 200:2        36:22
     204:4,10                               10,15 212:4       single
                       she'll                                   46:6 121:2,7
     205:2 211:12                         signatures
                         195:13                                 204:4
     214:20                                 57:15 58:11,
                       sheet                13 177:25         sir
   services
                         73:1 74:12                             134:23 151:2
     89:3 137:6                           signed
     168:19            sheets               58:23 76:5          167:12 174:15
                         58:5               128:24 161:6        181:15 183:2,
   session
                       shining              187:8 188:2         3 184:23
     125:19
                         168:14                                 185:4,15
     143:20,25


                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 278 of 316
 Alan Hays
 October 06, 2021                                                              50

     187:10,19         sitting              205:9,17            138:14
     188:1 189:10        107:4 138:24       206:5,21            140:14,18
     190:22,23           157:9 165:20       208:6,17          software
     193:3,16,24         211:20             219:11 220:3        17:19
     194:3,7,13,       situated           size                solely
     17,18 195:1,7       66:14              31:9 95:21          86:7,9
     196:10,14
                       situation          skimmed             solicitation
     197:24
                         197:24 219:19      46:2                130:24
     199:13,20
     200:1,15,25       situations         slap                  197:16,17
     201:18,19,23        140:17             87:16             solved
     202:2,9           Sivalingam         slip                  98:19
     203:7,10,11         11:4,16,19,24      206:2 208:21      somebody's
     207:24 209:7,       12:17,20         slit                  223:8
     8,11,13             18:24 20:8         206:9             sooner
     210:3,12            44:23 45:1
                                          slot                  106:21
     211:14 212:22       50:17,21
                                            50:15,25 51:2     sort
     213:25 215:10       54:13 60:14,
                                            112:17              78:6 97:15
     216:9,10            21,24 61:6,13
     218:11,15           75:1 76:17       slow                  99:12 134:20
     222:1               82:1,4 84:7,       121:21              156:2 160:14
                         10,14 85:6       small                 179:20 211:2
   sit
     13:11   24:19       87:12 92:1,22      50:25 96:23       sorts
     64:21   67:7        93:4,7,10          189:14              40:18 129:2
     68:21   69:13       96:6 98:1,22     smoke               sound
     88:25   91:10       99:1 100:7,12      190:3               16:14 17:18,
     198:4   214:7       103:1,16                               24 110:8
                                          smooth
                         104:13 105:5,                          185:1
   site                                     28:18 38:13
                         12 106:10,14,
     40:7 49:8                            Snyder              sounded
                         18 107:13
     63:3,25 64:17                          143:24              201:4
                         109:6 110:17
     72:5 73:22,25                                            sounds
                         111:3,4          social
     146:13 210:24                                              14:21 15:13
                         115:11             160:3,10
   sites                 116:13,16,20       161:18,24           16:15 20:18
     29:5 49:8           117:5,14           162:3,9             21:4 30:9
     50:8 63:15,23       118:6,13,15,       164:9,11            33:23 69:24
     75:18 87:25         21 119:1           165:20,23           78:24 87:9
     92:5 215:14         123:17,23          166:10,20           91:5 96:9
     217:3,7             129:3 132:9,                         south
                                          SOE
   sits                  15,21 191:13,      124:2 144:5         34:16,22
     34:12 52:23         15 193:17                              154:18
                                          SOES
     65:21               196:15 203:15


                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 279 of 316
 Alan Hays
 October 06, 2021                                                              51

   speak               speculative        Stafford              134:25 137:20
     20:19,21            172:10 207:1       9:4 10:22           160:1 161:17,
     45:12 52:25       speech             stage                 24 162:8
     76:7 77:19          46:18              43:17 139:24        177:8,10
     78:11 188:4                                                178:3 179:24
                       speed              stakeholder
     205:2 217:19                                               182:25 183:12
                         51:17              185:16
   speaker                                                      187:23 202:6,
                       spelled            stakeholders          24 218:11
     186:13
                         13:20 14:3         184:7 186:23
   speakers                                                   State's
                       spent              Stamoulis             69:4 72:8
     188:11
                         19:21 40:13        100:19 103:5        182:2
   speaking
                       spite              stamp               stated
     13:4 41:15
                         198:10             58:4 84:8           21:21 43:18
     43:20 90:11
     91:20 163:15      spoke              stand                 137:4 222:17
     205:14,21           46:22 147:19       155:15 197:10     statement
     218:22              203:8              221:18              46:4,5,10,14,
   speaks              spoken             standards             17 47:14,16
     97:15               20:22 21:2         19:23               60:2 111:21
                       sponsor            standing              125:2 136:14
   specific
                         140:21 188:10      197:23              138:1 146:23
     36:4 45:16
                                                                188:22 218:20
     56:2 58:8         sponsors           stands
                                                                221:18 223:22
     66:9 75:22          188:9              90:6
     77:9 87:23                                               statements
                       St                 start
     115:23 157:18                                              45:17 136:16
                         202:16             93:12 185:24
     210:17                                 212:3             states
                       stack
   specifically                                                 153:10 162:2
                         49:18 57:4       started
     18:4 20:25          59:22              24:16 180:1       statewide
     28:9 53:21                                                 29:12 41:6,
                       staff              starts
     64:11 89:17                                                12,21 46:8
                         20:23 31:6         136:25 143:20
     152:19                                                     168:8
                         52:21 67:22        152:21 156:1
   speculate             68:4 76:19                           stating
                                          state
     62:6 66:20          79:6,7 88:16                           47:15
                                            9:11,14
     147:11 170:7,       89:1 94:13                           stations
                                            13:18,25
     15 213:23           167:21 187:3                           217:4
                                            17:15 34:13
   speculating           191:11,20          37:22 40:18       statistics
     169:2               192:1 196:22,      41:6,8 43:23        29:24 121:9
   speculation           25 197:24          62:19 81:4        status
     147:10 172:25       210:13 212:25      85:19 94:10         120:20
     205:10            staffing             107:3 117:20,
                                                              statute
                         88:11              22 133:9,25


                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 280 of 316
 Alan Hays
 October 06, 2021                                                              52

     30:5 110:4        stipulation        structured          sued
     152:25              104:19             195:19              14:14
   statutes            stops              stuff               sufficient
     51:9 137:21         94:25 156:1        112:18,20           151:18 194:1
     217:6             store                129:2 139:15      sufficiently
   stay                  78:1               150:5 156:3         138:14
     36:13 108:13                           183:18 189:2
                       stored                                 suggest
                                            211:2 214:8
   stayed                92:16,17                               193:9
     64:2                                 subject
                       stories                                suggested
                                            86:24 88:3
   stays                 153:11                                 184:24
                                            200:17
     174:25            story                                  suggestion
                                          subjecting
   stealing              150:9 178:19,                          196:24
                                            103:19 105:16
     70:21               20,21                                suggestions
                                          subjective
   steel               straight                                 44:13
                                            130:7
     206:17              170:25 180:22                        suitable
                         214:2            submit
   STENOGRAPHER                                                 215:14 217:3
                                            190:3
     12:5,11           streamline                             summarize
     116:24 135:20       108:3,8,22       submitted
                                                                187:3
     157:1 220:21                           131:20 132:17
                       streamlined                            summary
                                            219:22
   step                  189:22                                 188:22
     140:11 146:21                        subsequent
                       street                                 Sumter
                                            187:13
   step-by-step          85:25                                  24:9 34:14
     59:8                                 substance
                       stress                                 supervisor
                                            21:7
   Stephen               59:11                                  9:23 10:8,11,
     10:3                                 substitute
                       strict                                   14,17,20,22
                                            103:13
   steps                 122:24 123:3                           11:7,21 12:18
     40:24 43:22                          success               14:5 22:20
                       strike
                                            38:5,20 41:13       25:15,17,20,
   steward               148:8 188:20
     33:19               189:7 190:10     successful            22,24,25
                         196:4              201:16              26:11,17 28:5
   stewardship
                                          successfully          30:11 31:7,17
     33:16 89:10       strong
                                            35:22 63:8,11       32:18 35:13
   stick                 103:7
                                            79:11,13            43:9 46:8
     112:18            strongly                                 47:2 63:3
                                            202:14 203:3
   sticking              42:22                                  66:12 68:8
                                          sudden
     117:21            structural                               69:1 81:2
                                            101:22
   stimulate             202:2                                  82:5 84:16
                                          suddenly              90:16 92:24
     156:7             structure
                                            178:8               93:1 96:24
                         206:7



                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 281 of 316
 Alan Hays
 October 06, 2021                                                              53

     99:4 100:8,       supervisors          64:24 69:16         77:5 146:15
     13,19,23            9:24 10:25         70:19 86:4
     103:5 107:15        27:9 79:10         144:17 146:7             T
     109:7 111:13        89:20 92:21,       212:2 221:17
     113:11,25           25 93:18           222:7             T-A-V-A-R-E-S
     114:8 115:4         94:1,10                                14:3
                                          surveilled
     120:12 124:13       137:23 138:3       85:1,12           table
     125:1 132:16        168:12 176:6,                          58:18 72:20,
                                          survey
     133:6 134:3         7 182:25                               21
                                            118:17 119:7,
     135:3,9,14          187:23 202:7                         tabulated
                                            8,25
     137:17 138:18       207:23 208:2                           59:3,23
     139:21 140:13       216:19,21        Susan
                                            10:24 12:24       tabulation
     141:6,9           supervisors'                             29:8 39:24
     145:20 150:12       37:1 90:4        suspect
                                                                40:7,10
     156:19 160:23                          117:19
                       supplied                                 153:12
     181:25 182:13                        suspected
                         177:22                               tag
     183:4 185:5                            68:15 86:13
     187:4 188:12      supplies                                 50:5 66:24
                         39:25            suspicion
     189:6 190:11,                                              67:3,9
                                            70:20
     13 191:19         supply                                 tailored
     192:16,17           72:14 169:14     suspicious
                                                                49:13 50:2
     193:20 195:1                           69:24 105:24
                       support                                takes
     196:2,9             36:22 43:19      swear
                                                                57:13 95:2
     199:6,16,25         47:16 188:1,       12:6
                                                                156:13 222:19
     200:11,22           12,15            swearing
                                                              taking
     202:5 203:12,                          17:3
                       supported                                12:19 16:12,
     24 204:8
                         188:5            sweet                 18 17:1 18:21
     205:24 206:11
                       suppose              208:22              19:8 68:18
     207:12 209:2,
                         113:16 124:19    switch                127:14 146:20
     22 211:10
                         157:15 164:18      109:7 141:2         190:6 199:15
     212:9 214:25
                         179:20 197:21      147:18            talk
     215:2 216:1,
     14 217:22         supposed           switched              21:6 29:14
     218:7,18            74:23 125:24       178:13              78:19 92:20
     220:9,16            162:13 175:15    switching             96:15 122:16
     223:15              204:18             35:11 47:19         127:20 148:6
                                            127:19              159:2 184:3
   supervisor's        surface
                                                                187:4 190:24
     53:11,14 65:6       62:8             sworn
                                                                196:3 200:15
     97:21 98:5        surprise             12:14 36:3
                                                                208:22
     99:13 103:12        149:25             157:20
     176:21 205:3                                             talked
                       surveillance       system
     212:1                                                      49:21 50:12


                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 282 of 316
 Alan Hays
 October 06, 2021                                                             54

     60:8 61:15          89:4,5 104:21      43:2 61:17          56:12 78:6
     62:22 80:2        team                 71:1 110:7          79:9 84:18
     100:16 110:6        27:24 28:7,8       113:10 123:11       86:16 88:25
     131:14 145:16       38:15              218:8               93:3 95:24
     161:15                               testify               115:20 120:15
                       technology
     190:11,25                              22:6 136:5          139:24 151:6
                         16:11 57:8
     194:9 212:10,                          157:20              158:15 160:14
     23                teeth                                    182:8 194:22
                         183:24           testifying
   talking                                                      198:9 204:22
                                            17:5
     47:19 50:16       telling                                  207:3
                         109:10 180:21    testimony
     51:1 60:25                                               things
                                            12:7 13:10,13
     84:1 89:18        tells                                    15:1,6 21:18
                                            18:7,11 21:7
     100:24 104:5        57:12 113:18                           28:13,15
                                            22:10 46:4,17
     108:12 146:22     temporary                                35:4,24
                                            62:23 96:19
     154:20,21           31:13,15                               36:10,14
                                            111:22 113:1
     194:4 195:2         75:6,12,19                             44:15 49:25
                                            136:11 138:11
   Tallahassee           76:1 79:7                              56:10 68:21
                                            154:3 155:13,
     42:18,23 44:4                                              77:2,7,17
                       ten-day              15 158:7
     187:17                                                     100:16 125:17
                         51:22              169:21 171:10
                                                                130:21
   tan                 tent                 182:22 185:2
                                                                145:10,11
     83:6                197:12             187:5 193:21
                                                                156:11,13,17
   tardy                                    195:4,5 201:4
                       tenure                                   159:24 161:11
     97:6                                   207:6,19
                         150:12                                 176:14 182:16
                                            213:21 216:15
   tasks               term                                     183:12 189:16
                                            218:11
     181:3               13:5 25:25                             198:6,11
                                          text                  209:25 210:17
   taught                26:7 62:11
                                            21:17 115:8         211:21 214:6,
     27:21               130:7
                                            116:4 123:19        11 217:6
   Tavares             terms                124:1,9,17,         221:23
     14:3 35:1           37:13 51:5         20,24 189:20
     95:3,8 212:2        60:9 72:4                            thinker
                                            220:24 221:3
                         81:11 82:8                             69:21
   tax                                    texted
     112:2,9             169:19 179:14                        thinking
                                            188:13,15
     113:1,4,7,11,       185:24                                 22:3 141:23
                                          theoretical
     17,24 114:2,      test                                   third-party
                                            122:17
     12,17 115:6         95:6 97:1                              128:1,6,11
     117:8,22,24                          thereof               129:6,10,17
                       tested
                                            77:11               150:7 174:10,
   taxpayer              29:3
     91:12 208:13                         thing                 12 175:4,9,
                       testified
                                            29:18 45:14         13,14,19
   taxpayers             12:15 42:23
                                            49:19 51:4          176:3,10


                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 283 of 316
 Alan Hays
 October 06, 2021                                                             55

     177:4,13,17,        63:24 186:4        220:5 222:19        207:19 211:18
     20,23 180:6,      time               timely                213:21 218:7
     11,21 194:10        12:19 13:12        56:6                219:14,19
     196:12 219:20       16:22 18:16                            220:5 222:17
                                          timeout
   thirsty               19:21 23:10        98:15             today's
     196:21              24:7,8,10                              16:7 19:16
                                          times
   Thirtieth             25:10,13                               20:19 21:12
                                            14:8 21:16
     143:18              27:22 28:8                           Todd
                                            22:1 38:14
                         29:15 34:11                            10:3
   thought                                  44:4 50:24
                         36:4,13,23
     42:16,17 43:3                          52:6 57:19        told
                         38:9 39:19
     98:17 114:22,                          59:11 72:23         14:18 18:4
                         42:15 44:7
     23 206:23                              108:16,24           35:14 43:2
                         45:6 46:14
     214:3                                  112:19 118:5        71:6 105:23
                         47:17 48:19
   thoughts                                 155:12 171:25       178:19 192:13
                         49:6,14 56:3
     62:8,9 107:8                           173:2,9 182:8     tongue
                         58:2,3 60:18
     187:18 192:22       63:7 65:9,13     tinker                109:24
   thousand              69:16 70:3,6,      212:3             tonight
     34:5                8,18 80:21       tip                   212:1
   thousands             86:23 102:8        109:24            tool
     40:12 85:18         106:5,17         tiring                189:8
                         107:6,24           156:20
   three-quarters                                             toolbox
                         112:14 116:5
     49:16                                title                 189:9
                         122:21 127:15
   throw                                    44:21             tooth
                         130:10 138:1,
     203:14 206:18       12 145:10        titled                183:24
   throwback             146:19             199:9 209:3,9     top
     183:22              149:10,16,24     TNT                   46:7,16,22
   thrown                152:17 154:16      206:7               47:1 55:15
     203:9               156:14,19        today                 71:11 100:8
                         157:17             12:19 13:13,        158:16 160:24
   thumb
                         167:16,21          15,17 14:24         163:4 177:3
     58:13
                         170:20 174:15      15:3 17:4           179:22
   Thursday
                         176:9 181:20       19:12,17 21:7     topic
     59:10 103:4
                         184:15             22:7,11 26:25       183:16
     215:3
                         185:15,17,19       60:6 64:17        topics
   tickled               186:12,17,21       75:17 88:15         133:14
     36:1                188:25 191:18      90:6 138:11
                                                              Torres's
   tightly               192:20 193:2       144:18 155:13
                                                                111:15
     153:17              195:15 197:23      156:5 157:17
                         198:3 199:12       187:6 201:4       total
   till
                         201:7,14                               63:18 167:8


                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 284 of 316
 Alan Hays
 October 06, 2021                                                            56

   totally               44:5 47:10         209:3             uh-huh
     83:6,7 87:17        138:6            turned                17:11
     187:20            treat                128:15,23         uh-uh
   totals                192:11             178:2 179:19        17:11
     66:6              treated            turning             ultimately
   touched               192:12             103:2 126:21        89:4
     167:6 177:12      treatment            129:7,11,18       unacceptable
   tours                 14:15            turnout               59:5
     28:15             trial                38:21,25 39:8     unclear
   TPROS                 18:14            TV                    17:21
     176:20            trip                 145:7             uncommon
   TPVRO                 99:21            twenty                186:1
     179:4             trivial              31:8              underlined
   track                 77:2             Twenty-nine           190:1
     43:5 44:3         trouble              55:3              understand
     168:6               168:11           twilight              13:5 17:6
   train               truck                213:14              19:10,11
     29:2 88:5           206:19           two-day               32:18 47:21
   trained                                  95:10               58:15 72:3
                       true
     49:11 58:6                                                 73:16,20
                         62:3 218:13      two-year
     75:19                                                      76:25 84:16
                       trust                122:6 149:16
                                                                90:9 96:7
   training              56:5 188:23      type                  99:21 109:20
     22:22 27:2,5                           159:3 163:3
                       trusted                                  110:1 114:10,
     28:21 38:16                            198:6 214:2
                         33:17                                  17 116:25
     76:6 87:23
                       truth              typed                 117:16 119:20
   traipsing                                39:18               122:8,14,18
                         12:8,9 140:15
     144:19                                                     135:5,15
                         157:20 195:23    types
   transcribed           222:14             82:6 174:17         141:2 144:1,
     110:13 111:8,                                              11,15 156:6
                       truthfully
     9                                                          158:3 159:25
                         22:7                       U
   transcript                                                   168:24
                       truthfulness                             170:10,22
     18:8,9 136:14                        U.S.
                         17:3                                   171:1,3,7
     171:16 177:1                           48:19,25 56:5
                       turn                 64:17 78:17         178:24
   transcription
                         16:14 31:23        95:15 97:6,16       182:18,22
     110:14 111:5
                         117:22,25          98:12 99:14         188:16 189:11
   trap                  128:16 136:24                          190:15,21
                                            199:17 200:2
     95:23               158:5 192:17                           191:4 193:13
                                            204:4,10
   travesty              198:5 199:6                            198:13 209:2



                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 285 of 316
 Alan Hays
 October 06, 2021                                                              57

     211:15 223:13     unsigned           validity              143:24
   understanding         76:10              127:5,7           video
     20:15 21:19       unusual            valuable              17:17 54:8
     41:11 86:20,        16:8 17:18         28:2,3              70:19 85:2,13
     22 87:4             138:19           vandals               86:9 144:2
     111:10 117:24     unwarranted          49:24               201:21 213:16
     122:2 141:18        87:18                                  221:17 222:7
                                          vary
     145:2 149:2,4                                            videoconference
                       upcoming             112:12
     162:6 163:10                                               16:11,13
                         195:10           VBM
     185:2 187:6,
                       updated              126:22            view
     9,11,19
                         160:6                                  64:20,23
     193:20 196:8,                        vehicle
                                                                67:14 131:13
     9 203:7,10        upfront              50:5,6 67:11
     204:9 206:14        192:8                                views
                                          vehicles
     207:5,14,19,                                               47:17 60:6
                       USPS                 56:22 213:17
     24 212:21                                                  184:16
                         89:18 90:10      verification
     213:20,25           92:18 94:20,                         violation
                                            57:7,25 212:4
   understood            25 96:9,12                             117:11
                                          verified
     17:24 65:24         97:1,4,19                            virtue
                                            57:22,23
     69:22 189:6         98:10 99:13                            25:6 75:15
     190:11              101:17 102:6,    verifies
                                                              visible
                         14,20 103:11,      57:16
   undertake                                                    57:6
     191:1,3             18 142:2,5,13    verify
                                                              visited
                       utilization          57:9,20 58:24
   undertaken                                                   36:25
                         105:15 208:13      59:1,4 125:22
     191:6                                                    voice
                                            164:7 165:25
   undue               utilize                                  42:19 59:17
                                            166:4,8,9
     176:13              58:8                                   153:15
                                            209:25 210:2
   unintelligible                         verifying           volunteer
     116:23                      V                              75:8
                                            58:12
   United              vacation           version             volunteers
     162:2               40:14              46:25 47:8,9        130:17
   universe            vague                138:9,10,12       Volusia
     172:13,15           208:25             141:11 154:8        23:14 24:4
   unnecessary                              187:13,16           34:14
                       Valdes
     87:17 103:19        10:10            versus              vote
   unopened                                 58:17,21            24:20 31:24
                       valid
     199:23 200:3                           70:13 135:7         61:3,12 62:3
                         123:8 125:16
                                            189:17              66:2 127:21,
   unpaid              validation
                                          Vicki                 23 128:1,6
     51:6 109:12         56:16 60:5
                                                                130:10,19


                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 286 of 316
 Alan Hays
 October 06, 2021                                                              58

     142:7 147:4       voted                13,17,18,22         167:24,25
     151:1 160:2         55:13 79:23        178:9 180:6,        168:21 169:3,
     163:18 164:2,       80:5 81:13         11 181:6            25 170:3,17
     17,25 165:4         219:25             190:16 192:11       172:14 173:17
     168:5 177:11      voter                194:10,11           174:13,21,24
     191:10,21           29:24 30:3,6       204:17              180:12 184:18
     192:2 194:1         31:19,21           211:11,16           191:2,4,21
     195:7,10            32:22 38:21        219:20,22,25        194:1 196:3,
     196:7 218:9,        39:8 47:25         222:19              13 197:18
     10 222:15           48:2 49:2        voter's               217:9,10
     223:1,9             51:13 52:14        58:11 120:17        221:14,20
   vote-by-mail          56:19,20           151:13              222:3,10
     29:7 47:25          57:12 58:19,                           223:4
                                          voters
     48:3,6,8,18         22 59:5,22         12:22 29:20       voters'
     49:3 51:5,14        62:12,15,19        32:24 34:1,2,       48:18 109:13
     53:19 55:7,         73:2,23,24         11 48:7,20        votes
     12,17,18            74:11,14,23        51:8,12,21          103:22 195:24
     56:15 60:4,         79:5 82:23         52:1,11 53:19       196:6
     10,11 62:16,        85:21 94:23        54:21 55:11,      voting
     20 79:14,18         113:18             13,17,21            29:6,24 40:7
     94:4,24             120:14,19          57:22 61:2          47:19 49:7,8
     113:23 117:7        121:16 122:19      64:25 65:5          50:8 53:15
     120:15,17,20        125:21,24          76:19,20 80:5       54:6 55:21
     121:2,6,13,18       126:1,2,11         81:13 82:6          61:1,14,21,
     122:4,10,20,        127:22 128:1,      85:18 89:9,14       22,25 63:2,
     22 123:13           5,7,10,11,14       90:7 91:23          15,23,25
     125:9 126:13,       129:6,10,11,       94:3,11             71:3,7,12,18,
     16 127:8,15         16,17 146:14       101:16 104:8,       22 72:5
     147:1,8,21          149:23 150:1,      12 105:2,8,18       73:22,25
     150:4 158:6,        5,8,13 151:11      113:10,14,22,       75:18 76:24
     8,11,13             153:14             23 121:1,5          81:6,7 82:12,
     159:4,7,14          158:19,21,22       125:7 127:25        13 87:25
     160:20 162:7,       159:13,21          128:6 129:10        91:24 92:5,8,
     10,12 165:16        161:1,6,9          130:8,18            9 106:3
     166:8 168:25        162:7 163:10,      131:1 144:3         129:16,22,24
     170:9,11            12 164:24          150:25 151:4,       130:23 146:12
     173:18,22           165:10             6 160:1,5           147:13 155:5
     174:4 191:9,        166:23,25          161:17,19,23        190:7 195:21
     10 192:4            167:4 174:3,       162:19,21           210:24
     193:4,14,25         5,10,12            163:16,25           215:14,15,18
     196:3 209:9         175:5,9,19         164:15 165:2        217:4,7,11
     210:1               176:22 177:5,


                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 287 of 316
 Alan Hays
 October 06, 2021                                                              59

     221:25 222:2,     watching           wet                 WKMG
     10,11 223:10        69:14 188:9        95:24               54:18
                       water              whatnot             woman
             W           15:5,6,8 88:7      186:6               179:25
                         96:8 130:18      whatsoever          women
   wad
                         196:19 197:4,      70:22 144:4         12:21,22
     206:15
                         9 198:17           145:21              36:20 184:18
   wait
                       ways               whichever           Wonderful
     15:25 17:12
                         39:12 44:4         176:22              23:5
     52:7 53:3
                         49:2 52:6
     130:10 162:15                        white               wondering
                         59:12 109:10
     198:5                                  10:12 101:20        77:16 117:6
                         120:14 127:1,
                                            153:23            word
   waiting               22 147:13
                                            200:24,25           45:11 47:10
     38:17 130:18        158:7,9,10,13
     178:23 196:19       160:18 218:8     whoop-di-doo          85:14 111:9
     197:21 207:15                          154:19              144:13 189:21
                       wear
                                          wide                  216:21,23
   walk                  207:12
     50:6 65:1                              32:14 49:17       wording
                       wearing
     67:17 223:9                            67:14 135:5         87:5 122:25
                         82:20
                                            184:13            words
   walked
                       website
     165:9                                widespread            13:22 120:23
                         48:1 166:24
                                            62:14,19            138:7 189:17
   walks                 192:4
     73:25                                William             work
                       week
                                            9:4                 14:18 24:15,
   wander                19:18 42:20
                                          Wilton                18,23 37:4
     146:15              52:12,16
                                            221:6               64:22 143:20,
   wanted                79:24 102:9
                                                                25 183:13
     72:2 100:17         188:18           win
                                                                185:18 199:12
     114:10 126:10     weekend              183:19 218:21
                                                                208:15,19,20
     131:10              212:17,23        wind
                                                              worked
     173:17,22           213:1              189:19
                                                                135:13 199:14
     196:18 200:11                        winning
                       weekends
     217:18,20                                                worker
                         56:9               135:6,10
                                                                75:5,12 79:6
   warehouse                                219:13
                       weeks                                    113:5 198:2
     39:23 92:16,                         Winter
                         185:10,12                              209:25 210:1
     17                                     176:4
                       Wendy                                  workers
   waste                                  wisely
                         10:15                                  29:2 38:13
     167:16                                 33:20
                       west                                     72:17 75:20
   watch                                  wished
                         34:17                                  98:4 131:5,10
     68:22                                  121:12,17,23



                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 288 of 316
 Alan Hays
 October 06, 2021                                                         60

   working                                  189:4
     29:4 98:18                  Y        yes-or-no
     179:9 219:20                           171:5
                       y'all
   works                                  yesterday
                         15:24 28:17
     86:21 106:18                           180:14,16
                         189:12 190:13
     122:15 222:3
                         200:20 207:14    Yeti
   world                 211:11             15:7
     101:24
                       Yanes
   worry                 54:18                      Z
     74:19,20
                       yards
     212:7                                Zacherl
                         223:8,9
                                            9:15,16
   worth
                       yay
     108:1 204:7                          zip
                         206:8
     220:10                                 110:20,21
                       year                 116:11
   worthless
                         30:14 32:4
     214:10                               Zipped
                         33:18,21
                                            11:13
   would've              34:11 80:6
     71:20               87:4 122:11      zone
                         133:21,23,24       130:24 196:8,
   wound
                         134:2 149:14       12 197:15
     72:20 178:3
     179:24              185:14 193:5,    Zoom
                         10,15,22           9:1 93:6
   wow
     28:16 45:25         202:18

   wrap                year's
     143:13 223:23       159:16

   wrinkle             years
     100:20 101:8        14:9 23:1,18,
                         19 25:3 26:2
   writes
                         27:6 28:21
     74:3,11
                         34:8 35:2
   written               36:21 37:10
     18:7 46:18          53:16 89:7
     47:7 58:22          97:18 120:21
     73:3,5 77:21,       127:16
     23 99:19            133:19,24
     161:5 178:21        138:16 139:22
     182:10 186:23       140:12,23,24
   wrong                 149:14 168:7,
     73:24 74:7          13 182:19
     103:8 207:18        183:15,23


                           www.phippsreporting.com
                                (888) 811-3408
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 289 of 316




                     Kolg?
                        Ty ‘Ca,
                     LAKE COUN




                                        Exhibit          A. HAYS

                                        171
                                     ________________   Exhibit 3
                                   4:21-cv-186-MW/MAF    S. Nargiz 10/6/21
             =                                 Case 4:21-cv-00186-MW-MAF Document
                                                                          CLICK 549-2 Filed 02/05/22 Page 290 of 316
                                                                                                     ORLANDO om                                                                      Tete



            NEWS                 GETTING RESULTS.                        WEATHER           Daa                  FEATURES        PODCASTS          SPORTS                       NEWSLETTERS

                   BREAKING NEWS                Tracking the tropics: What's the deal with that system near Florida?                                                           ©@   SHOW MORE   Y




                                                                                                                                                                                  A. HAYS
                                                                         Collect e-signatures
                                                                         and payments   together.                                                                            Exhibit 4
                                                                                                                                                                                 S. Nargiz 10/6/21



                                                                                                                                                                                    Exhibit


                                                                                                                                                                                    172
                                                                                                                                                                               ________________
                                            LOCAL NEWS                                                                      e                           e
                                                                                     Central Florida counties                                                                4:21-cv-186-MW/MAF



                           Published:
                                            Nadeen   Yanes,   Reporter
                                        October 7, 2020 12:48 pm                     repo Pay recorel num                                                     er             malnllfe
                   Tags: Lake County, Election 2020, Trending                        in ballots this election
                                                                                     Lake County Supervisor of Elections office                                seeing 84%
                               Sign up for our Newsletters
                                                                                     increase in mail-in ballots
                  Enter   your email   here!



                                        f       Vu


             Qo



                  Acrobat Pro DC




                                                                                     LAKE COUNTY, Fla.      County Supervisor of Elections Alan Hays said 2020 is breaking records when it
                                                                                                            -

                                                                                                                Lake

                                                                                     comes to the number voters wishing to cast their ballot by mail.
                                                                                                       of
                                                                                    According    to the latest numbers   Monday afternoon, 76,073 voters of the now more than 261,475
URL
https://www.clickorlando.com/news/local/2020/10/05/central-florida-counties-reporting-record-number-of-mail-in-ballots-this-election/
Timestamp
Mon Oct 04 2021 10:38:20 GMT-0500 (Central Daylight Time)
                                                    Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 291 of 316




                                               hesbcleys
                                                        ard
                                                                                                     County Supervisor of Elections Alan Hays said 2020 is breaking records when it
                           cecal                                 we)

                                                                            LAKE COUNTY, Fla.                Lake
                            toe an afer beau rofotofaa
                                                   neof MaceRa
                             ire   sevachubae          thar                                              -




                                                                            comes to the number of voters wishing to cast their ballot by mail.



                                                                            According to the latest numbers Monday afternoon, 76,073 voters of the now more than 261,475
                                                                            registered to vote have requested a mail-in ballot. That’s about 29%.
                                                                            [TRENDING: DeSantis               to lift restaurant   limits in Fla.    |   Here’s how to track         your mail-in ballot |
                                                                            How      can  | tell difference between flu and COVID-19?]
                                                                            Moreover,  Hays said in 2016 only 41,244 voters requested mail-in ballots which means this year is an 84%
                                                                            increase compared to the last Presidential Election.

                             RELATED STORIES
                                                                                                                                                  SPONSORED
              2020 VOTER GUIDE: Everything you need to
                 know ahead of the presidential election                                                                                          What to know about the BRCA
                                                                                                                                                  gene when it comes to breast
              Can a voter fix a      problem on a mail-in ballot?                                                                                 cancer

                                                                                                                                                  BY RYAN BISSON, MS, CGC GENETIC COUNSELOR, ORLANDO HEALTH



             NEWS



             sect
             KIRSTIN O'CONNOR
              WEEKDAY MORNINGS                                              “That's   a   record number for Lake        County,” Hays said. “Everything this year in the vote-by-mail department
                                                                            is arecord. No         question.”
                                                                            Outside of the         Supervisor of Elections office, there was a steady stream of cars and people dropping off
                                                                            their ballots inside their ballot box, while others waited to                get buzzed   inside to hand-deliver their ballot in

                                                                            person,       like   Dorothy Smith, 87.
                                             LATEST NEWS                    “| decided that | wanted to make           sure   my vote was counted,” she said. “Because           |   really don’t trust the post
                                   34 MINUTES AGO
                                                                            office   right now.”
               Titusville natives open new
                   restaurant in hometown
                                                                            Hays said there is a growing concern in the election integrity but tells voters not to worry.
                                   42 MINUTES AGO
              Construction worker struck,
                  killed by dump truck in
                                                                            “Here in Florida, | feel         very, very comfortable   in the   security of the vote-by-mail process and in the
                                Orlando                                     validation of the        signature matching,” Hays said. “In fact, last week we had a conference call with the post
                   Casey DeSantis, wife of
                                          1 HOUR AGO
                                                                            office and       they are doing everything that they can do to handle the ballots properly.”
               Florida Gov. Ron DeSantis,
            diagnosed with breast cancer                                    Hays adds the ballot box in front of the elections office is monitored by not one but three security-




                                          1 HOUR AGO
                                                                       lo
                                                                            cameras and they empty the box almost every hour. Inside, the ballots go into a room under lock and key
                   Victims, carjackers still
             missing after weekend crime                                    where     they get their signatures validated and where they stav until thev are ready to be counted.
URL
https://www.clickorlando.com/news/local/2020/10/05/central-florida-counties-reporting-record-number-of-mail-in-ballots-this-election/
Timestamp
Mon Oct 04 2021 10:38:20 GMT-0500 (Central Daylight Time)
                                                                                                                         se
                                                                                                Poet

                                                                                           that they can do to handle the ballots properly.”
                                               4:21-cv-00186-MW-MAF they  doing everything
                                  1 HOUR AGO
                                                                       office and             are
                                   Case
                  Casey DeSantis, wife of                             Document    549-2 Filed        02/05/22 Page 292 of 316
               Florida Gov. Ron DeSantis,
            diagnosed with breast cancer                               Hays adds the ballot box in front of the elections office is monitored by not one but three security-




                                  1HOURAGO                             cameras and they empty the box almost every hour. Inside, the ballots go into a room under lock and key
                   Victims, carjackers still
             missing after weekend crime                               where they get their signatures validated and where they stay until they are ready to be counted.



             NEWS



             RESTS
                                                                                               we
                                                                                                  Poe
                                                                                             GOOGG*. MORE WAYS
                                                                                                    Er,             AY
                                                                                                                                                        odd
                                                                                                                                                         TO WIN
                                                                                                                                                                                           ey
             KIRSTIN O'CONNOR
              MUL                   ay
                                                                       “Right now our No. 1 priority is to make sure that we verify all the signatures as quickly as possible so we
                                                                       have as much time for these voters to resolve any mis-match issues with the signatures,” Hays said. “Then

                                                                       on the 14th of October we will begin the actual open of the ballots and tabulation that will continue right

                                                                       on to Election Day.”



                                   LATEST NEWS                         Hays said the deadline to request a vote-by-mail ballot is Oct. 24 and they must be returned to Supervisor
                                                                       of Elections office by 7 p.m. on Election night. He did say the increase of mail-in ballots could delay
                             34 MINUTES AGO
               Titusville natives open new                             election results.
                  restaurant in hometown

                             42 MINUTES AGO                            “One county in 2016 received 10,000 ballots on Election day from the post office, there is no way they
              Construction worker struck,
                  killed by dump truck in                              would have gotten to them on election night but every one was counted,” Hays said. “The late arrival of
                                Orlando
                                                                       ballots      can   delay the publication of the results even though they arrive late, they still need to have every
                                  1THOUR AGO

                  Casey DeSantis, wife of                              signature verified.”
               Florida Gov. Ron DeSantis,
            diagnosed with breast cancer
                                  1 HOUR AGO

                                                                                                                                                              Call us for employment
                   Victims, carjackers still
             missing after weekend crime
                  spree in Orange County
                                                                                            SOM     MU we


                                                                                             LEGAL SERVICES
                                                                                                                                       Wee aTBEST
                                                                                                                                       PASAT
                                                                                                                                               0   aK                            one
                                                                                                                                                                                     and
                                                                                                                                                              volunteer opportunities.
                                                                                                            of   MID-FLORIDA
                                                                                                                                       x




                                                                       It's   why he says to get your ballots in by “yesterday.”
                                                                       Here's       a   breakdown   of what other Central Florida counties are seeing in mail-in ballots this year:
                                                =




                                                                       MARION COUNTY
            Breathe fresher air       Skip trip to the
                                           a
            with this NASA-           Genius Bar with this
            inspired germ and         iOS repair software              2020     -



                                                                                    Requested: 85,194; Returned:              16,515
            odor eliminator

                                                                       2016     -



                                                                                    Requested: 45,426; Returned: 38,016
                                                                       ORANGE COUNTY


                                                                       2020     -



                                                                                    Request: 290,232 vote-by-mail, an increase by 24.6% and growing
                                                                       2016 218,817
                                                                                -



                                                                                             vote-by-mail ballots requested,               159,512 ballots were returned and counted

                                                                       VOLUSIA COUNTY
URL
https://www.clickorlando.com/news/local/2020/10/05/central-florida-counties-reporting-record-number-of-mail-in-ballots-this-election/
Timestamp
Mon Oct 04 2021 10:38:20 GMT-0500 (Central Daylight Time)
                                      Case 4:21-cv-00186-MW-MAF    Document
                                                          2020 Request:            549-2 anFiled
                                                                        290,232 vote-by-mail,
                                                                                -


                                                                                                    02/05/22
                                                                                              increase by 24.6% andPage   293 of 316
                                                                                                                    growing
                                                                       2016 218,817
                                                                                -



                                                                                                     vote-by-mail ballots requested, 159,512 ballots were returned and counted
                                                                       VOLUSIA COUNTY


                                                                       2020 158,046 mailed
                                                                                -

                                                                                                               as   of Oct. 3
             NEWS

                                                                       2016 93,183 mailed; 75,528 returned
                                                                                -




             see
                                                                       OSCEOLA COUNTY
             KIRSTIN O'CONNOR
              WEEKDAY MORNINGS                                         2020     -



                                                                                    Requested: 89,728; Returned: 20,098 as of Oct. 7
                                                                       2016     -



                                                                                    Requested: 59,555; Returned: 45,533
                                                                       News 6 reached out to                  every local supervisor of elections office about their mail-in ballot totals and is still
                                                                       waiting to hear back from some.                     This   story will be updated with more responses as they come in.



                             34 MINUTES AGO
               Titusville natives open new                             ABOUT THE AUTHOR:
                   restaurant in hometown

                             42 MINUTES AGO
              Construction worker struck,
                  killed by dump truck in
                                Orlando

                                  1THOUR AGO                           Nadeen Yanes
                  Casey DeSantis, wife of                              Nadeen       Yanes
                                                                                     joined News 6 as a general assignment reporter in 2016. She grew up in        Leesburg and graduated from the University of
               Florida Gov. Ron DeSantis,                              Florida. Nadeen has won three Associated Press Awards for her reporting on the Pulse        Nightclub shooting, the trial of the Pulse gunman's
            diagnosed with breast cancer                               wife and the capture of an accused cop killer, Markeith Loyd.

                                  1 HOUR AGO
                                                                          email       [ifacebook              twitter

                   Victims, carjackers still
             missing after weekend crime
                  spree in Orange County
                                                                       Conversation                                                                                                                                FOLLOW




                                                                                        Join     the conversation                                                                                          LOGIN   SIGN UP




                                         i




                                                                                                                                                                                                       D
                                                                         ALLCOMMENTS             2


                                                           *


                                                                                        Chris agnew       -
                                                                                                              OCTOBER 5, 2020
            Breathe fresher air       Skip trip
                                             a    to the
            with this NASA-           Genius Bar with this                              Uh oh...Dave’s going to lose it..!
            inspired germ and         iOS repair software
            odor eliminator


                                                                            1          SHOWOLDERREPLIES

                                                                                        Add      your reply


                                                                       ACTIVE CONVERSATIONS


                                                                                        Family, attorney say more                                ‘Just glad to be home:’
                                                                                        safeguards could have prevent...                         Hospitalized officer recovers fro...
                                                                                            Pp   4                                                 18
URL
https://www.clickorlando.com/news/local/2020/10/05/central-florida-counties-reporting-record-number-of-mail-in-ballots-this-election/
Timestamp
Mon Oct 04 2021 10:38:20 GMT-0500 (Central Daylight Time)
                                                                                                              Add your   reply
                                            Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 294 of 316

                                                                                                              Family, attorney say more                    Be             Just glad to be home:’




                                                                                                          |
                                                                                                                                                                   va



                                                                                                              safeguards could have prevent...                            Hospitalized officer recovers fro...
                                                                                                                 14                                                           18




                                  34 MINUTES AGO                                                                                                                                                                        Powered            viafoura
                 Titusville natives open new
                    restaurant in hometown

                                                                                                                                 2020
                                                                                                                                                                                                                     Provided-by:
                                  42 MINUTES AGO

              Construction worker struck,
                                                                                                                                                                                                                     IRONMAN
                  killed by dump truck in
                                Orlando

                                      1 HOUR AGO


                    Casey DeSantis, wife of
                 Florida Gov. Ron DeSantis,
            diagnosed with breast cancer
                                      1   HOUR AGO

                        Victims, carjackers still
             missing after weekend crime
                  spree in Orange County



                                            SHOP DEALS


                                                                                                      it
                                                                  as                                  First ‘Iron Man’ with Down syndrome prepares for
            Breathe fresher air              Skip a trip to the                                       Boston Marathon, co-writes book
            with this NASA-                  Genius Bar with this
            inspired germ and                iOS repair software
            odor eliminator




            TV   Listings                        Contests and Rules                 Email Newsletters                    RSS Feeds                                                                               FOLLOW US

                                                                                                                                                                                                                 f                   EN
            Closed      Captioning                eet Follow             on
                                                                                    Careers at WKIMG                     Terms of Use
                                                                                                                                                                                                                 GET RESULTS WITH OMNE

            Privacy Policy                       Public File                        FCC Applications                     EEO     Report
            Disability Assistance                Do Not Sell   My Info
                                                                                                                                                                                                                         O                  n
                                                                                                                                                                                                                             CRAHAM MEDIA GROUF COMPANY




            If you need     help with the Public File, call 407-291-6000.



                        GRAHAM
                                             GRAHAM
                 meme   MEDIA                            Copyright ©   2021 ClickOrlando.com   is   managedby Graham Digital   and   pubished by Graham   Media   Group, a division of Graham Holdings.
                        GROUP                DIGITAL



URL
https://www.clickorlando.com/news/local/2020/10/05/central-florida-counties-reporting-record-number-of-mail-in-ballots-this-election/
Timestamp
Mon Oct 04 2021 10:38:20 GMT-0500 (Central Daylight Time)
From:      Case 4:21-cv-00186-MW-MAF
                       Hays, Alan    Document 549-2 Filed 02/05/22 Page 295 of 316
Sent time:                         05/27/2021 10:12:08 AM
To:                                Carol Dunaway <carol@jacksoncountysoe.org>
Subject:                           Re: SB 90 Compliance For The Convenience of our Voters

Carol,
At this time, you are correct except we pay return postage so our voters don’t need to bother.
I’m hoping to get the postmaster to have their pickup people leave the ballots here with us instead of running them through the center. I have not made that request yet but
hopefully she will be in her “election service” frame of mind as we near the election this will consent.

Get Outlook for iOS                                                                                                                                          A. HAYS
From: Carol Dunaway <carol@jacksoncountysoe.org>
Sent: Thursday, May 27, 2021 10:07:18 AM
To: Hays, Alan <alan@lakevotes.com>
Subject: Re: SB 90 Compliance For The Convenience of our Voters
                                                                                                                                                      Exhibit 5
                                                                                                                                                            S. Nargiz 10/6/21

CAUTION: This email originated from outside of your organization. Do not click links or open attachments unless you recognize the sender and know the content is safe.


Alan,

Good Morning. Quick question about your new blue box. It’s genuinely a USPS box in which ballots and all other types of mail can be deposited - all requiring postage. The
mail will be retrieved by the USPS and taken to a processing center and then ultimately delivered back to your office.

Is that correct? If not— what’s your arrangement with the USPS?
                                                                                                                                                                Exhibit
Thanks so much,

Carol Dunaway
                                                                                                                                                                173
                                                                                                                                                          ________________
Get Outlook for iOS                                                                                                                                    4:21-cv-186-MW/MAF

From: Hays, Alan <alan@lakevotes.com>
Sent: Wednesday, May 26, 2021 8:54:44 PM
To: Aletris Farnam <vote@voteglades.com>; Amanda Seyfang <amanda_seyfang@bradfordcountyfl.gov>; Bill Keen <info@sumterelections.org>; Bobby Beasley
<bbeasley@votewalton.com>; Brenda Hoots <supervisor@hendryelections.org>; Carol Dunaway <carol@jacksoncountysoe.org>; Carol Rudd <crudd@wcsoe.org>; Charles
Overturf <charles.overturf@putnam‐fl.com>; Chris Anderson <anderson@voteseminole.org>; Chris Chambless <cchambless@clayelections.com>; Chris Milton
<chris.milton@bakercountyfl.org>; Christina White <christina.white@miamidade.gov>; Connie Sanchez <elections@gilchrist.fl.us>; Craig Latimer <clatimer@hcsoe.org>;
Dana Southerland <taylorelections@gtcom.net>; David Ramba <david@rambaconsulting.com>; David Stafford <dstafford@escambiavotes.com>; Deborah Osborne
<debbie.osborne@unionflvotes.com>; Diane Smith <diane@hardeecountyelections.com>; Gertrude Walker <gertrude@slcelections.com>; Grant Conyers
<vote@libertyelections.com>; Heath Driggers <hdriggers@votemadison.com>; Heather Riley <heather@votefranklin.com>; Janet Adkins <jadkins@votenassau.com>;
Jennifer Edwards <jennifer.edwards@colliervotes.gov>; Jennifer Kinsey <jkinsey@suwanneevotes.com>; Joe Scott <jscott@browardsoe.org>; John Hanlon
<jhanlon@votegulf.com>; Joseph (Joe) R. Morgan <jmorgan@wakullaelection.com>; Joyce Griffin <info@keys‐elections.org>; Julie Marcus <jmarcus@votepinellas.com>;
Katie Lenhart <klenhart@flaglerelections.com>; Kim Barton <kbarton@alachuacounty.us>; Laura Hutto <lhutto@hamiltonvotes.com>; Leslie Swan
<lswan@voteindianriver.com>; Lisa Lewis <llewis@volusia.org>; Lori Edwards <loriedwards@polkelections.com>; Lori Scott <LScott@votebrevard.com>; Mark Anderson
<baysuper@bayvotes.org>; Mark Earley <earlym@leoncountyfl.gov>; Mark Negley <mnegley@votedesoto.com>; Marty Bishop <soe@jeffersoncountyfl.gov>; Melissa
Arnold <melissa@voteokeechobee.com>; Mike Hogan <mhogan@coj.net>; Paul Lux <plux@co.okaloosa.fl.us>; Paul Stamoulis <paulstamoulis@charlottevotes.com>;
Penny Ogg <pogg@votehighlands.com>; Ron Turner <rturner@sarasotavotes.com>; Sharon Chason <schason@votecalhoun.com>; Shirley Anderson
<shirley.anderson@hernandovotes.com>; Shirley Knight <shirleyknight@gadsdensoe.com>; Starlet Cannon <dixiecountysoe@bellsouth.net>; Tammy Jones
<tammy@votelevy.com>; Tappie Villane <villane@santarosa.fl.gov>; Therisa Meadows <therisa@holmeselections.com>; Tomi S. Brown <election@votecolumbia.com>;
Tommy Doyle <tdoyle@lee.vote>; Travis Hart <lafayettesoe@gmail.com>; Vicki Davis <vdavis@martinvotes.com>; Vicky Oakes <voakes@votesjc.com>; Wendy Link
<wendylink@pbcelections.org>; Bill Cowles <bill@ocfelections.com>; Mary Jane Arrington <maryjane@voteosceola.com>; Mike Bennett <mike@votemanatee.com>; Ron
Labasky (rlabasky@bplawfirm.net) <rlabasky@bplawfirm.net>; Wesley Wilcox <wwilcox@votemarion.com>
Subject: Fw: SB 90 Compliance For The Convenience of our Voters


      CAUTION: This email originated from outside the organization. Do not click links or open attachments unless you recognize the sender and know the content
      is safe.

From: Hays, Alan <alan@lakevotes.com>
Sent: Wednesday, May 26, 2021 9:53 PM
To: Brian E. Corley <bcorley@pascovotes.com>
Subject: Re: SB 90 Compliance For The Convenience of our Voters

My election workers won't have anything to do with this box, it is a USPS box!!

Not to be monitored by me, not to be opened by me, nothing more than a convenience for my voters who have become accustomed over the last 5 elections to
bringing their VBM's to be dropped into the box in our parking lot.

Thanks to the so‐called wisdom of our stellar legislature, those voters will now have to use the USPS box instead of our private box. UGH!!! I just hope USPS gets
the ballots to us promptly.

From: Brian E. Corley <bcorley@pascovotes.com>
Sent: Wednesday, May 26, 2021 9:43 PM
To: Hays, Alan <alan@lakevotes.com>
Cc: Amanda Seyfang <amanda_seyfang@bradfordcountyfl.gov>; Bobby Beasley <BBeasley@votewalton.com>; Bill Cowles <bill@ocfelections.com>; Brenda Hoots
<supervisor@hendryelections.org>; Carol A. Dunaway <carol@jacksoncountysoe.org>; Chris Anderson <anderson@voteseminole.org>; Chris Chambless
<CChambless@clayelections.com>; Chris Milton <chris.milton@bakercountyfl.org>; Christina White <christina.white@miamidade.gov>; Connie Sanchez
<elections@gilchrist.fl.us>; Craig Latimer <clatimer@hcsoe.org>; Carol Rudd <crudd@wcsoe.org>; Dana Southerland <taylorelections@gtcom.net>; David Ramba
<david@rambaconsulting.com>; David Stafford <dstafford@escambiavotes.com>; Diane Smith <diane@hardeecountyelections.com>; Mark Earley
<earlym@leoncountyfl.gov>; Gertrude Walker <gertrude@slcelections.com>; Grant Conyers <vote@libertyelections.com>; Heath Driggers <hdriggers@votemadison.com>;
Heather Riley <heather@votefranklin.com>; Joyce Griffin <info@keys‐elections.org>; Bill Keen <info@sumterelections.org>; Janet Adkins <jadkins@votenassau.com>;
Jennifer Edwards <jennifer.edwards@colliervotes.gov>; Jennifer Kinsey <jkinsey@suwanneevotes.com>; Joe Scott <jscott@browardsoe.org>; John Hanlon
<jhanlon@votegulf.com>; Joseph (Joe) R. Morgan <jmorgan@wakullaelection.com>; Kim Barton <kbarton@alachuacounty.us>; Katie Lenhart
<klenhart@flaglerelections.com>; Laura Hutto <lhutto@hamiltonvotes.com>; Lisa Lewis <llewis@volusia.org>; Lori Edwards <loriedwards@polkelections.com>; Lori Scott
<lscott@votebrevard.com>; Leslie Swan <lswan@voteindianriver.com>; Julie Marcus <jmarcus@votepinellas.com>; Mark Anderson <baysuper@bayvotes.org>; Marty
Bishop <Soe@jeffersoncountyfl.gov>; Mary Jane Arrington <maryjane@voteosceola.com>; Maureen Baird <MBaird@votecitrus.gov>; Melissa Arnold
<melissa@voteokeechobee.com>; Mike Bennett <mike@votemanatee.com>; Mike Hogan <mhogan@coj.net>; Mark Negley <mnegley@votedesoto.com>; Paul Lux
        Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 296 of 316
<plux@co.okaloosa.fl.us>; Paul Stamoulis <paulstamoulis@charlottevotes.com>; Penny Ogg <pogg@votehighlands.com>; Charles Overturf <charles.overturf@putnam‐
fl.com>; Ron Labasky (rlabasky@bplawfirm.net) <rlabasky@bplawfirm.net>; Ron Turner <rturner@sarasotavotes.com>; Sharon Chason <schason@votecalhoun.com>;
Shirley Anderson <shirley.anderson@hernandovotes.com>; Shirley Knight <shirleyknight@gadsdensoe.com>; Starlet Cannon <dixiecountysoe@bellsouth.net>; Tammy
Jones <tammy@votelevy.com>; Tommy Doyle <tdoyle@lee.vote>; Therisa Meadows <therisa@holmeselections.com>; Tomi S. Brown <election@votecolumbia.com>;
Travis Hart <lafayettesoe@gmail.com>; Deborah Osborne <debbie.osborne@unionflvotes.com>; Vicki Davis <vdavis@martinvotes.com>; Vicky Oakes
<voakes@votesjc.com>; Tappie Villane <villane@santarosa.fl.gov>; Aletris Farnam <vote@voteglades.com>; Wendy Link <wendylink@pbcelections.org>; Wesley Wilcox
<wwilcox@votemarion.com>
Subject: Re: SB 90 Compliance For The Convenience of our Voters

CAUTION: This email originated from outside of your organization. Do not click links or open attachments unless you recognize the sender and know the content is safe.


Nice!
Just be sure one of your early voting workers doesn't have a bathroom emergency… could be an expensive potty trip ... Just a mere $25,000 fine to you my friend



Regards,

Brian Corley, MPA
Supervisor of Elections
Pasco County
“Repeat a lie often enough and it becomes the truth” Joseph Goebbels


      On May 26, 2021, at 9:07 PM, Hays, Alan <alan@lakevotes.com> wrote:




                                           OUTSIDE EMAIL: Take caution with links or attachments.
      Colleagues,
      The voters of Lake County will now have the convenience of dropping off their VBM ballots right in front of our office while our office is in compliance
      with SB 90! Thanks to the cooperation of our wonderful USPS Postmaster, we now have a USPS drop box in our front parking lot.

      While we don't have to staff it, it is located at the same place our earlier, more secure, box was located. Therefore we have continued to have the
      new box monitored by all three cameras.

      We shall endeavor to continue to serve the needs of our voters is the best way possible while complying with the law.

      All the best,
      Alan
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 297 of 316
 Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 298 of 316




            Committee on Governmental Oversight and Accountability


Senator Stewart       Thank you. I don’t know whether to call you Senator
                      Hays or Commissioner. Either one I’m sure will do. I
                      would like to know and I know you read through this
                      bill and every word is there any suggestions you would
                      have that would improve our election performance.


Chairman              Y ou are recognized
                      .
Supervisor Hays       Thank you Senator Stewart that’s an excellent
                      question. Our association of supervisors has
                      submitted 10 priorities that we are making suggestions
                      proactive suggestions to improve the voting process.


                      I can read them if you’d like Mr. Chairman or I can
                      just let you … we can have them sent to everyone by
                      email which ever it would be your preference.


Chairman              Senator Stewart do you have preference?


Senator Stewart       Well, I don’t know who has received these. I don’t
                      know if the bill sponsor has seen them or received
                      them. I know I have not so I am curious because there
                      may very well be improvements that are needed for a
                      better election performance. But I’m not certain that
                      this bill takes care of it in fact seems like, I’m not sure
                      what it seems like but I’d like to know what you feel.


Supervisor Hays       Senator Stewart perhaps I might clarify. As I just
                      stated that nothing in this bill is on our list of
                      suggestions with the exception of that one section
                      giving us the authorization to begin canvassing to vote
                      by mail ballot after the logic and accuracy testing is
                      completed. That’s the only thing that we are in favor
                      of in this bill.


Chairman              Seeing no further questions. Senator Torres you are
                      recognized.

                                                              Exhibit               A. HAYS

                                         1                    175
                                                           ________________     Exhibit 7
                                                         4:21-cv-186-MW/MAF         S. Nargiz 10/6/21
 Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 299 of 316




Senator Torres      Former Senator Hays this is Senator Torres. My
                    question is on the drop boxes would you say 90% of
                    the drop boxes or more are secured in secure
                    locations?
Supervisor Hays     Senator Torres the rule promulgated by the division of
                    elections requires every dropbox in the State of Florida
                    to be monitored. To the best of my knowledge that
                    rule was followed to the letter in this past election.
                    There have been all sorts of allegations about this or
                    that or the other but I have yet to see anybody who can
                    give us concrete evidence that that rule was violated. I
                    know what happened in Lake County and here’s
                    another question sir, who’s going to monitor the US
                    Postal Service boxes? Y ou know I’m sorry but there’s
                    a dichotomy here that I personally cannot deal with,
                    you’re not gonna pay for a cop to stand at the Post
                    Office box are you? Y ou are going to disallow the use
                    of the Postal Service and require those ballots to be
                    returned to us? I think not. I think this bill needs a lot
                    of work.


Senator Torres      I have one more question. The question I have Mr.
                    Hays is are there other on those lockboxes or the
                    dropboxes rather, do we have other uses for that like
                    dropping off registration forms or sometimes
                    candidates can drop off some of their forms. Do you
                    know if that’s being used as well in those dropboxes?


Supervisor Hays     I don’t know I’m sure the ones that are manned are
                    not done that way but we have tax collectors that have
                    dropboxes in their offices similar to dropboxes that
                    banks use for night depositories. And tax collectors
                    actually brought mail ballots to our office that were
                    dropped in their dropbox. Just like the post office
                    brings us ballots that were dropped in their dropboxes.
                    So, they bring all sorts of things like that that are put
                    in the tax collectors boxes and the mail boxes.


Senator Torres      Follow up Sir.




                                       2
 Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 300 of 316




Chairman            We’re going to do one more. We have a lot of people
                    who want to speak Senator Torres and then we’re
                    going to leave this alone.
Senator Torres      But you would say that let’s say a tax collector would
                    have somebody filling out a register form could drop it
                    off in the dropbox. Am I correct?
Supervisor Hays     Senator Torres, we have no control over the American
                    public and they put all sorts of things in those boxes.
                    The voter registration application can be done online,
                    it can be brought in and hand delivered to our office, it
                    can also be mailed to us and yes, some people take that
                    voter restoration application and drop it in the tax
                    collectors dropbox and they turn around and bring it
                    to our office. That’s just the way life is out there in the
                    real world.


Chairman            I’ll just ask one question. I heard you mention the vote
                    by mail procedure and your concerns with the Post
                    Office. Do you have any evidence that the Postal
                    Service in Lake County has not delivered your ballots
                    or has misdirected your ballots?


Supervisor Hays     No Sir.
Chairman            Are you promoting vote by mail?
Supervisor Hays     But I can assure you that not one of their dropboxes,
                    their Post Office dropboxes is manned by any security
                    personnel in any form at all.
Chairman            Have you ever heard of a US postal security dropbox in
                    Lake County being burglarized, vandalized or stolen?
Supervisor Hays     No sir.
Chairman            Thank you sir. I appreciate your time. Thank you for
                    your testimony.


                    Next we’re moving to Mark Early who is the Leon
                    County Supervisor of Elections




                                       3
             Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 301 of 316




10:48 7                                                                                        >




                                             >


                           3       People
    David Ramba

     At least we should be
     done in an hour
2
    Alan   Hays
     Yes                                                                                         A. HAYS

                                                                                             Exhibit 10
                                                                                                S. Nargiz 10/6/21




                                                                                                   Exhibit




    Hillsborough County                                                SOE                         178
                                                                                               ________________
                                                                                             4:21-cv-186-MW/MAF




     Ingoglia just                                          said                       our
     checkbox is                                           no               good
    Alan   Hays
     Another way to make
     VBM difficult
 Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 302 of 316




Good Morning Chair Rodrigues and members,
I must comment it is quite different to testify from the civic center
instead of from the podium when I was presenting bills a few short
years ago.
Thank you for the time to speak this morning on this PCS for SB 90.
The accolades each of you have heard from our Governor and our
Secretary of State relating to the outstanding administration of the
2020 elections are absolutely true. Those elections were superbly
accomplished under extremely complicated conditions. Those elections
were very transparent and efficient. We election professionals of
Florida are deservedly proud of the job done by everyone including the
voters.
Mr. Chairman, if I were seeking to remodel my home, I would seek the
services and opinions of an architect and a building contractor, I would
not ask a dentist how to do the remodel.
Sir, now in my role as the Elections Supervisor of Lake County, I am
asking each member of the legislature to seek the opinions and take
the advice of the elections professionals of the State of Florida before
making significant changes to our statutes.
Please take a walk with me through the PCS. Page 5, line 138 restricts
the pickup of a VBM to an immediate family member. Do you have any
idea how many people like my mother don’t have immediate family
members living near them thus aren’t able to have their ballot picked
up? Current law allows the voter to “designate in writing a person to
pick up the ballot for the elector.” Please leave current language as the
law.

                                               A. HAYS                  Exhibit


                                            Exhibit 11                  179
                                                                     ________________
                                               S. Nargiz 10/6/21   4:21-cv-186-MW/MAF
 Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 303 of 316




Page 9, line 241 is good policy and we appreciate the Governor’s
previous order enabling this improvement and now this proposal
codifies that good policy.
Page 11, line 309 begins a travesty. All of us are aware of the perils,
perceived or actual, of trusting the USPS to deliver ballots on time. Last
year in the general election, 4.4 million Floridians returned their VBM
for tabulation. Of those 4.4 million, 1.5 million were placed in drop
boxes. If you allow section 5 of this PCS to stand as it is currently
worded, you have outlawed the use of drop boxes, and you have just
played havoc on 1.5 million Floridians not to mention the added burden
on the Supervisors of Elections. Is that really your intention?!
Now for page 12, line 336, Section 7…..
The true estimated statewide cost of this one section is $14-16 million
dollars. Meeting the requirements stated in Section 1 of this PCS
necessitates sending the information to us in a manner other than a
postcard. This section will require us supervisors to mail the 6 million
voters who received VBM ballots last year, to let them know their
request currently valid through 2022, has been invalidated by this
legislature. If they want a VBM for the 2022 election, they must now go
through another, more involved process to request a VBM. Do you
really wish incur or impose on the counties, this expense and alienate 6
million voters?!!
Thank you for your time and I’m happy to answer any questions you
may have.
From:
        Case 4:21-cv-00186-MW-MAF
                  Hays, Alan
                                  Document 549-2 Filed 02/05/22 Page 304 of 316
Sent time:             04/30/2021 08:15:29 AM
To:                    Vicki Davis <vdavis@martinvotes.com>
Subject:               Re: LEGISLATIVE REPORT Final Edition for this session ( I expect!!)

Thanks Vicki. Rep. Snyder calling you is a great sign the contact program is working as designed. He considers you his
subject matter expert thus he called you for guidance!! Yea!!

We shall work next session to help all the legislators understand how disingenuous and lame it is to deny use of video
monitoring of drop boxes while allowing voters to use the USPS drop boxes that have no monitoring whatsoever. In the
meantime, I'm encouraging each SOE to deliver that message to the legislators as they come in contact with them.

I appreciate you,
Alan

From: Vicki Davis <vdavis@martinvotes.com>
Sent: Friday, April 30, 2021 8:06 AM
To: Hays, Alan <alan@lakevotes.com>
Subject: RE: LEGISLATIVE REPORT Final Edition for this session ( I expect!!)

CAUTION: This email originated from outside of your organization. Do not click links or open attachments unless you recognize the sender and
know the content is safe.


One of my reps called me yesterday (Rep. John Snyder) wanting to know if SOE’s supported the bill, this was prior to SB90
coming back late afternoon. John is a freshman legislator and didn’t know how to respond to me when I told him SOE’s did not
support the bill, which included the ID requirements. He had been asked to debate the bill on the floor on behalf of the
Republican legislators. Thank goodness Senator Simpson agreed to take out the ID requirements!

Thank you, Alan, for all of your efforts and use of your knowledge of the legislative process having served in both chambers.

Have a restful weekend,
Vicki

Vicki Davis, CERA, MFCEP
Martin County Supervisor of Elections

772‐288‐5637 office
772‐288‐5765fax
www.MartinVotes.com                                                                                                                        Exhibit


                                                                                                                                           180
                                                                                                                                       ________________
                                                                                                                                    4:21-cv-186-MW/MAF


Under Florida law, e-mail addresses are public records. If you do not want your e-mail address released in response to a public records request, do
not send electronic mail to this entity. Instead, contact this office by phone or in writing.


From: Hays, Alan <alan@lakevotes.com>
Sent: Friday, April 30, 2021 7:57 AM
To: Vicki Davis <vdavis@martinvotes.com>; Mark Earley <Mark.Earley@leonvotes.gov>; Wesley Wilcox
<WWilcox@votemarion.gov>; Paul Lux <plux@co.okaloosa.fl.us>; rturner@sarasotavotes.com;
clatimer@votehillsborough.gov; David Ramba <david@rambaconsulting.com>
Subject: Re: LEGISLATIVE REPORT Final Edition for this session ( I expect!!)                                                            A. HAYS
Thanks Vicki. I’m quite proud of the effort each of our members put into this challenge.
                                                                                                                                 Exhibit 12
Get Outlook for iOS                                                                                                                    S. Nargiz 10/6/21

From: Vicki Davis <vdavis@martinvotes.com >
Sent: Friday, April 30, 2021 7:24:10 AM
To: Hays, Alan <alan@lakevotes.com>; Mark Earley <Mark.Earley@leonvotes.gov>; Wesley Wilcox
<WWilcox@votemarion.gov>; Paul Lux <plux@co.okaloosa.fl.us >; rturner@sarasotavotes.com <rturner@sarasotavotes.com>;
clatimer@votehillsborough.gov <clatimer@votehillsborough.gov >; David Ramba <david@rambaconsulting.com>
Subject: RE: LEGISLATIVE REPORT Final Edition for this session ( I expect!!)

CAUTION: This email originated from outside of your organization. Do not click links     or open attachments unless you recognize the sender
and know
     Casethe content is safe.
              4:21-cv-00186-MW-MAF                        Document 549-2 Filed 02/05/22 Page 305 of 316
Good Morning Alan, David and Team,

Many, many thanks for all of your efforts throughout this legislative session. What started out as very restrictive and
concerning bills is now much more manageable from an administrative level and also for our voters due to your investment of
time and dedication to the process.

I appreciate each of you and your leadership throughout this tumultuous session.

Sine die,
Vicki

Vicki Davis, CERA, MFCEP
Martin County Supervisor of Elections

772‐288‐5637 office
772‐288‐5765fax
www.MartinVotes.com




Under Florida law, e-mail addresses are public records. If you do not want your e-mail address released in response to a public records request, do
not send electronic mail to this entity. Instead, contact this office by phone or in writing.


From: Hays, Alan <alan@lakevotes.com>
Sent: Thursday, April 29, 2021 9:56 PM
To: Amanda Seyfang <amanda_seyfang@bradfordcountyfl.gov>; Bobby Beasley <bbeasley@votewalton.com >; Bill Cowles
<bill@ocfelections.com >; Brenda Hoots <supervisor@hendryelections.org >; Brian Corley <bcorley@pascovotes.com>; Carol A.
Dunaway <carol@jacksoncountysoe.org>; Chris Anderson <anderson@voteseminole.org >; Chris Chambless
<cchambless@clayelections.com >; Chris Milton <chris.milton@bakercountyfl.org >; Christina White
<christina.white@miamidade.gov >; Connie Sanchez <elections@gilchrist.fl.us >; Craig Latimer <clatimer@hcsoe.org>; Carol
Rudd <crudd@wcsoe.org>; Dana Southerland <taylorelections@gtcom.net >; David Ramba <david@rambaconsulting.com>;
David Stafford <dstafford@escambiavotes.com>; Diane Smith <diane@hardeecountyelections.com >; Mark Earley
<earlym@leoncountyfl.gov >; Gertrude Walker <gertrude@slcelections.com >; Grant Conyers <vote@libertyelections.com >;
Heath Driggers <hdriggers@votemadison.com >; Heather Riley <heather@votefranklin.com >; Joyce Griffin <info@keys‐
elections.org >; Bill Keen <info@sumterelections.org >; Janet Adkins <jadkins@votenassau.com >; Jennifer Edwards
<jennifer.edwards@colliervotes.gov >; Jennifer Kinsey < jkinsey@suwanneevotes.com >; Joe Scott <jscott@browardsoe.org>;
John Hanlon <jhanlon@votegulf.com >; Joseph (Joe) R. Morgan <jmorgan@mywakulla.com>; Kim Barton
<kbarton@alachuacounty.us>; Katie Lenhart <klenhart@flaglerelections.com >; Laura Hutto <lhutto@hamiltonvotes.com >; Lisa
Lewis <llewis@volusia.org >; Lori Edwards <loriedwards@polkelections.com >; Lori Scott <LScott@votebrevard.com>; Leslie
Swan <lswan@voteindianriver.com >; Julie Marcus <jmarcus@votepinellas.com >; Mark Anderson <baysuper@bayvotes.org>;
Marty Bishop <soe@jeffersoncountyfl.gov >; Mary Jane Arrington <maryjane@voteosceola.com>; Maureen Baird
<mbaird@votecitrus.gov>; Melissa Arnold <melissa@voteokeechobee.com >; Mike Bennett <mike@votemanatee.com >; Mike
Hogan <mhogan@coj.net>; Mark Negley <mnegley@votedesoto.com >; Paul Lux <plux@co.okaloosa.fl.us >; Paul Stamoulis
<paulstamoulis@charlottevotes.com >; Penny Ogg <pogg@votehighlands.com >; Charles Overturf <charles.overturf@putnam‐
fl.com>; Ron Labasky (rlabasky@bplawfirm.net ) <rlabasky@bplawfirm.net >; Ron Turner <rturner@sarasotavotes.com>; Sharon
Chason <schason@votecalhoun.com>; Shirley Anderson <shirley.anderson@hernandovotes.com >; Shirley Knight
<shirleyknight@gadsdensoe.com >; Starlet Cannon <dixiecountysoe@bellsouth.net >; Tammy Jones <tammy@votelevy.com>;
Tommy Doyle <tdoyle@lee.vote >; Therisa Meadows <therisa@holmeselections.com >; Tomi S. Brown
<election@votecolumbia.com >; Travis Hart <lafayettesoe@gmail.com >; Deborah Osborne
<debbie.osborne@unionflvotes.com >; Vicki Davis <vdavis@martinvotes.com>; Vicky Oakes <voakes@votesjc.com>; Tappie
Villane < villane@santarosa.fl.gov >; Aletris Farnam <vote@voteglades.com >; Wendy Link <wendylink@pbcelections.org >;
Wesley Wilcox <wwilcox@votemarion.com >
Subject: LEGISLATIVE REPORT Final Edition for this session ( I expect!!)

First, the good news..... A ​HUGE THANK YOU ​to David Ramba, Craig Latimer, Paul Lux for riding the roller coaster
of these last 3 days!! Holy Cow, what a ride it has been. Mark Earley, Wesley Wilcox, and Ron Turner were right there
for us as well. No team has ever tried with more effort than those guys and honestly, we did pretty darn good. With the
help of many of you, we took what began as a real stink‐pot of a bill that became much worse, then we were able to
finally get it to a tolerable level. No, it isn't a clear victory for us, but when last did we have a legislative bill that we
liked every aspect of it? We shall live to fight another day and for now let us be thankful the legislators did listen to us
on most things.
DAVIDCase
        RAMBA  4:21-cv-00186-MW-MAF
                 was as terrific quarterback on theDocument
                                                    field for us!!!549-2    Filed
                                                                    He was able    02/05/22
                                                                                to contact        Page
                                                                                           legislators way306  of 316
                                                                                                           beyond the
ability of any of us alone!! Thanks David!!!

I so deeply appreciate each of you who contacted your legislators. Several of you were in touch with Daivd, Craig, or me
trying to determine what can be done nextand that effort was quite effective and appreciated by us all.

SB 90 did pass tonight shortly after 9 and is on its way to the Governor. I have attached to this email the final language
passed by the Senate then by the House.
You can read it and see the changes we will need to make.

David and I will have a report at the summer meeting and at that time we will have a synopsis of the changes for
distribution. One glaring change is except for the drop boxes in our offices, drop boxes now must be monitored by living
people, at all times, and are to be available only during Early Voting hours of operation. We are NOT allowed to have
them monitored by video only. Another issue we weren't fully successful on was the acceptance of private money.
We are specifically able to accept donated spaces for polling places though.

As you will see we were successful in eliminating the horrific provision requiring those depositing ballots into drop
boxes to provide ID. That was a huge victory for us!!

Since next year's session begins in January, perhaps we will be able to convince the legislature they need to revise the
restrictions on drop box use.

I am going to sign off for now but again, a huge thank you for a group victory!!!

All the best,
Alan
          Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 307 of 316




Attorney-Client Communication




                                                                                            A. HAYS
From: Hays, Alan
Sent: Sunday, February 21, 2021 10:41 PM                                                Exhibit 13
To: stephanie.kopelousos@eog.myflorida.com                                                  S. Nargiz 10/6/21
Subject: Comments from Alan Hays

Hello Stephanie,
In light of the press release last Friday having to do with elections, I offer the following thoughts. I am not
speaking officially for the FSE Association, I am speaking only as Alan Hays, Supervisor of Elections of Lake
County, Florida. If I may, please allow me some general comments first, then I will be specific to each bullet
point of the release.

I agree with the Governor's comments relating to the fine administration of the 2020 elections. I am confident
the Governor's executive order was significant in providing us the flexibility to adapt to the unusual
circumstances in which we found ourselves operating. We appreciate very much, his leadership! The
executive order played a very essential role in allowing the voting centers in Bay and Gulf Counties. That same
order was very helpful in guiding the legislature to put into statute the authority to begin canvassing vote by
mail ballots 22 days before the election day. The elections professionals of Florida administered all three of
the 2020 elections in a very efficient and accurate manner and all Floridians are proud of that fete.

It is my thought that anyone proposing changes to the Florida Election Code must consider the vast
differences of the various sized counties in Florida. Many of our counties have fewer than 10,000 registered
voters and processes that work in large counties simply will not work in the smaller counties. Those
differences require flexibility in statute to allow those Supervisors of Elections in each county to customize
                                                                                                                   Exhibit
                                                        1

                                                                                                                   181
                                                                                                                ________________
                                                                                                            4:21-cv-186-MW/MAF
          Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 308 of 316

their processes to meet the needs of their citizens. I readily recognize we must have statutory constraints in
order to maintain the integrity and uniformity of the election and at the same time allow flexibility. An
example of that need relates to the use of drop boxes in Madison County which is completely different from
the use of drop boxes in Pinellas County. There are many other examples but I won't bore you with too many.

The FSE Association has provided a list of priorities for this legislative session. Please use that list because it
comes from the election professionals of Florida, it is well thought out, and it has been discussed at length by
the Association. I am sure the Association is willing to work with the Governor's office and the legislature to
craft modifications deemed as improvements. The current statutes worked quite well in 2020 so let's take
that into consideration as we go forward.

I have taken the liberty to provide comments to each bullet point in the release. My comments are in bold
print below. Please encourage your team and the legislators to seek input from the Association before making
significant changes to the current statutes. The Association members are the election professionals who take
great pride in administering fair and accurate elections in a very efficient manner. They want to be able to
continue this high level of performance.

I truly appreciate your time considering this very important subject!! Here are my comments:



                      Ballot Integrity

                                                         Monitoring is a
                              Address the use of ballot drop boxes.
                              good idea but remember USPS is not
                              monitored. It will be especially helpful to
                              allow drop box placement in other
                              governmental offices with
                              monitoring. PLEASE allow these drop
                              boxes to be available only during regular
                              hours of operation of that office. Don't
                              require them to be open same hours as EV
                              hours. Another thing to consider is
                              requiring each ballot placed into the drop
                              box to be logged in on a log book. This
                              will be the first step in the chain of
                              custody for that ballot and can be
                              accomplished by the person monitoring



                                                         2
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 309 of 316




               the box. I did this for the 2020 general at
               each EV site. Of course we don't do that
               at the USPS drop boxes but neither do we
               monitor those boxes to prevent deposits
               of multiple ballots by harvesters.
              Address ballot harvesting so that no person may possess ballots
                                                Yes! Put
               other than their own and their immediate family.
               meaningful penalties on it. However, there
               needs to be some limited accomodation
               as in current statute or this action may
               prohibit non-family members from
               dropping off ballots for seniors or
               handicapped people who can't or don't
               wish to go to the drop box. The current
               limit is 2 ballots other than your own or
               that of an immediate family member.
              No mass mailing of vote-by-mail ballots—only voters who request a
               ballot should receive a ballot.   Yes! Keep current
               statute.
                                                    We
               Vote-by-mail requests must be made each election year.
               can live with this even though it creates
               more work. It really should be worded
               "must be made each even numbered year"
               because many counties have municipal
               elections every year. I am one of those
               counties! The proposal of voiding those
               VBM requests currently on file is quite
               expensive ($6-8 Million) and will create a
               host of angry voters at the last



                                        3
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 310 of 316




                minute. This is in SB 90, Section
                3. Please let those requests on file stand.
               Vote by mail ballot signatures must match the most recent signature
                      This is may be good but due to
                on file.
                changing signatures it can create many
                more cures. Our current system allows us
                to scroll through previous signatues to
                see if one of them matches the
                envelope. People sign their names from
                different posture positions plus those
                signatures coming from DMV license
                offices often are poor matches. Thus if
                the DMV signature is the latest one, the
                chances of matching the envelope
                signature are not good. If you REALLY
                want to tighten it down, require voters
                desiring VBM to send a signed request
                with a copy of their photo ID with
                signature on it, to us every even numbered
                year. That way we will have a current
                signature and the photo ID at the same
                time. The signature on the request can
                then be compared to the ID signature
                before mailing the ballot so we know it is a
                valid request. This is a rabbit hole we
                likely don't wish to travel in!!

         Transparency in the Elections Process




                                       4
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 311 of 316




              Political parties and candidates cannot be shut out from observing
                                       If "observe" is
               the signature matching process.
               defined as being allowed to view the
               process through windows, this may
               work. Otherwise it will create
               chaos!! BAD IDEA!! We dare not set up
               the public as judges of validity of
               signatures!! They haven't been trained,
               they are partisan, and the only way this
               should be thought of is to hire handwriting
               experts for each county. We dare not
               allow the public into our secure spaces
               and that's what it would take. Are you
               proposing to allow the public to stand
               over the shoulder of my operators? NOT
               going to happen without huge
               objections!!! If you want the public to be
               able to look into the room through a
               window, ok, but that's really impractical
               due to the physical limitations of the
               various office structures across the
               state. It will also set us up to criticism
               because the public will be too far away to
               really see for comparison (second
               guessing) the signatures. I'm not aware of
               any real objections to how this worked in
               2020 so why tinker with it?
              Supervisors of Elections must post over-vote ballots to be
               considered by the canvassing board on their website before the




                                      5
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 312 of 316




                                  If required to post
                canvassing board meets.
                overvotes, why not undervotes as
                well? This is completely absurd!! There is
                nothing to be gained from this. The
                meetings of the canvassing board are
                noticed and the public is able to attend if
                they want to see how it's done. The sheer
                numbers of overvoted ballots will add
                hours to the process. I'm speaking
                literally of thousands. It will take hours of
                time we do not have and only add to the
                second guessing by the public. There is
                not time available to do this. NOT A
                GOOD IDEA!
               Prohibits counties from receiving grants from private third-party
                organizations for “get out the vote”
                        What??!! DOS took $400 K last
                initiatives.
                year themselves and used it for voter
                education if I'm not mistaken. I took
                $196,000 and none of it was used for
                GOTV activities. GOTV at election time is
                done by parties and other interested
                groups, not SOE. I bought a central count
                tabulator for over $100 K with mine and
                paid for the new early voting site we put
                into practice for the general election.

         Transparency in Elections Reporting




                                        6
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 313 of 316




              Requires real-time reporting of voter turnout data at the precinct
                   This will necessitate purchase of
               level.
               electronic poll books by some counties
               since not all of them currently have
               them. I expect the instruments are $2,500
               each PLUS annual fees that are not cheap
               either. Fiscally constrained counties can't
               afford this mandate.
              Supervisors of Elections must report how many ballots have been
               requested, how many have been received, and how many are left to
                         This is worded too generally to be
               be counted.
               clear, but my first reaction is totally
               negative. What we do now is just
               fine. Why do you want to add more steps
               in the middle of a time of high stress
               already? When do you expect this report
               to be made? If it is during the election day
               activities, forget it, we are too busy. If it is
               after the election, we do that already. If
               you are speaking only of VBM's not
               tabulated by 7:00 PM on election night, a
               system for that can be devised. Every
               ballot that is used currently is accounted
               for. Allow me to explain: We inventory
               the number of sheets of paper sent with
               each ballot on demand printer used in
               EV. We then compare the count of voters
               checked in with the number of ballots
               tabulated plus the number of voided or



                                       7
Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 314 of 316




              spoiled ballots at that site each day. The
              chain of custody follows those ballots
              back to our office each day. For VBM, we
              know daily how many are mailed, how
              many are returned, how many have
              signature issues, how many have been
              tabulated, so those who feel a need to
              know can do the math. As for ED ballots,
              each precinct submits a reports detailing
              each ballot issued, spoiled, and
              tabulated. The ballots are counted in the
              precincts then the results are transmitted
              back to our office that evening. My
              thought is this idea came from seeing the
              states that didn't begin counting VBM until
              election day. Our canvassing VBM begins
              early enough for us to usually be
              completely finished by 7:00 PM on election
              night. Only if we are blasted with a huge
              number of returned VBM ballots on the
              last day or two will you see a backlog of
              ballots waiting to be tabulated. IF that
              backlog does occur, as I stated earlier, we
              can devise a report for that occurance.




                                   8
 Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 315 of 316




1) Voter enters Early Voting location to drop off Vote-by-Mail ballot.
2) Election Worker will take possession of Vote-by-Mail ballot.
3) Verify that the Vote-by-Mail envelope is sealed.
4) Verify the back of the envelope has a signature.
5) Election Worker must log the voter’s name, date and time on Vote-By-
   Mail Custody Log.
6) Election Worker will place Vote-by-Mail ballot into secure drop box.
7) At end of day, Election Worker will fill out Vote-by-Mail Custody Slip
   and give to Clerk.
8) Election Worker and Clerk open VBM Ballot Box and collect VBM
   Ballots, placing them in Blue Transport Bag then seal bag.
9) Clerk gives Blue Transport Bag (including custody log, slip and ballots)
  to Zone Courier at drop off location.




                                                    Vote-By-Mail Custody Slip
    Vote-By-Mail Custody Log        Exhibit                                     A. HAYS

                                    183
                                 ________________                          Exhibit 15
                               4:21-cv-186-MW/MAF
                                                                                S. Nargiz 10/6/21
  Case 4:21-cv-00186-MW-MAF Document 549-2 Filed 02/05/22 Page 316 of 316



Does no one realize or care how stupid it looks to outlaw video surveillance of the Dropbox in front of the
SOE offices when no USPS dropboxes are monitored whatsoever?!!!
Elimination of these is grossly inconvenient for many hundreds of voters.




                                                                                         A. HAYS

                                                                                    Exhibit 17
                                                                                        S. Nargiz 10/6/21




                                                                                          Exhibit


                                                                                          185
                                                                                       ________________
                                                                                     4:21-cv-186-MW/MAF
